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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA

___________________________________
                          )
ATLAS, INC., et al.,      )             Case No.: 1:17-cv-01953-RDM
                          )
           Plaintiffs,    )             Hon. Randolph D. Moss
                       v. )
                          )
INTERNATIONAL BROTHERHOOD )
OF TEAMSTERS, AIRLINE     )
DIVISION, et al.,         )
                          )
           Defendants.    )
                          )

    DEFENDANTS’ MEMORANDUM IN OPPOSITION TO PLAINTIFFS'
         MOTION FOR PRELIMINARY INJUNCTIVE RELIEF




                      Union Exhibit 1:
    Collective Bargaining Agreement
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             COLLECTIVE BARGAINING AGREEMENT


                               between


                          ATLAS AIR, INC.


                                 and


               INTERNATIONAL BROTHERHOOD OF
                 TEAMSTERS, AIRLINE DIVISION




                            Representing
              THE FLIGHT DECK CREWMEMBERS IN
                       THE SERVICE OF
                          ATLAS AIR, INC.
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                    SECTION 1: RECOGNITION,  SCOPE,  
               SUCCESSORSHIP  AND  LABOR  PROTECTIVE  
                                          PROVISIONS    
      A. Recognition
          1.   ,QDFFRUGDQFHZLWKWKH1DWLRQDO0HGLDWLRQ%RDUG¶VFHUWLILFDWLRQLQ
               Case No. R- 7174, issued on December 22, 2008, Atlas Air, Inc.
               and Polar Air Cargo Worldwide, Inc. (a single Air Carrier
               FROOHFWLYHO\ UHIHUUHG WR DV WKH ³&RPSDQ\´  UHFRJQL]HV WKH
               International Brotherhood of Teamsters, Airline Division as the
               collective bargaining representative of the flight deck
               crewmembers employed by the Company.
          2.   This Collective Bargaining Agreement and any formal Letters of
               Agreement between the Company and the Union may be
               FROOHFWLYHO\UHIHUUHGWRDVWKH³$JUHHPHQW´
      B. Scope
          1.   Except as may be provided otherwise in this Section or
               elsewhere in this Agreement or Letter of Agreement between the
               parties, all present or future flying that is performed by the
               Company, including flying performed by a Related Entity (as
               defined below), and whether or not the crewmembers doing
               such flying are based outside the United States, shall be
               performed by Crewmembers on the Atlas Air, Inc. Pilot or Flight
               Engineer seniority lists in accordance with the terms and
               conditions of this Agreement or any other applicable agreement
               between the Company and the Union.
          2.   Notwithstanding paragraph B.1, above, the provisions of this
               $JUHHPHQW DQG WKH 8QLRQ¶V UHSUHVHQWDWLRQ ULJKWV ZLWK UHVSHFW
               thereto) shall not DSSO\ WR WKH &RPSDQ\¶V RU D 5HODWHG (QWLW\¶V
               flying or crewmembers if, and to the extent that: (a) the
               application of this Agreement or any provisions herein is
               impermissible in light of the applicable laws or regulations of a
               foreign country as those laws or regulations are presently in
               effect or may in the future be amended, interpreted, or
               supplemented, and whether those laws or regulations are
               administrative, regulatory, legislative, judicial or otherwise in
               nature, or (b) a foreign governmental authority denies or fails to
               provide the necessary immigration visas or work permits for
               Atlas Crewmembers to perform such work. The Company shall


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               use reasonable efforts to assist Crewmembers to obtain the
               necessary visas and permits. The Company shall promptly
               notify the Union of any local law or regulation as referred to in
               this paragraph.
          3.   Definitions
               a. 7KH WHUP ³5HODWHG (QWLW\´ VKDOO PHDQ DQ\ DLU FDUULHU WKDW LV
                  (a) wholly or majority owned (i.e., fifty percent (50%) or more
                  of the equity) by the Company, and (b) that is effectively
                  controlled by the Company.
               b. 7KH WHUP ³IO\LQJ´ DV XVHG LQ WKLV 6HFWLRQ VKDOO PHDQ DOO
                  revenue and non-revenue flying conducted on the
                  &RPSDQ\¶V RU D 5HODWHG (QWLW\¶V DLUFUDIW LQFOXGLQJ ZHW
                  leases for other carriers or entities, or contracting for other
                  carriers or entities (government, military or commercial), but
                  VKDOO QRW LQFOXGH IO\LQJ RI &RPSDQ\ RU D 5HODWHG (QWLW\¶V
                  aircraft conducted by other entities pursuant to a dry lease.
               c. $³GU\OHDVH´VKDOOUHIHUWRDVLWXDWLRQZKHUHLQWKH&RPSDQ\
                  or a Related Entity does not provide Crewmembers to fly the
                  aircraft that it has leased to another entity.
               d. 7KHWHUP³HIIHFWLYHFRQWURO´VKDOOPHDQWKDWWKH&RPSDQ\RU
                  a Related Entity has the decisive right, privilege, or authority
                  ± by contract or otherwise ± to direct, manage, or direct the
                  management of all or a substantial portion of the air carrier
                  joint venture or similar business arrangement.
      C. Affiliated Carriers
          Should the Company elect to directly or indirectly sell, lease, or
          otherwise transfer any aircraft in its control to any airline that is
          owned controlled, or operated by the Company or Atlas Air World
          Wide Holdings, Inc. and such transfer would directly cause a
          reduction in force of the Crewmembers covered by this Agreement,
          the Company shall exercise reasonable efforts to obtain the
          agreement of the receiving airline to allow the flying of such aircraft
          to be performed by Crewmembers on the Atlas Air seniority list in
          accordance with the terms of this Agreement.
      D. Subcontracted Revenue Flying
          1.   ³6XEFRQWUDFWHG 5HYHQXH )O\LQJ´ VKDOO LQFOXGH DQG EH OLPLWHG WR
               transactions in which the Company pays a sum of money to
               another air carrier or third-party contractor pursuant to an
               agreement whereby (i) the other carrier or third-party contractor


      2011 Contract | Section 1                                                (2)
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               transports cargo consignHG WR WKH &RPSDQ\ XVLQJ WKH FDUULHU¶V
               or third-SDUW\ FRQWUDFWRU¶V DLUFUDIW DQGRU FUHZPHPEHUV DQG LL 
               the Company receives all of the revenue collected for the
               transport of cargo on the aircraft.
          2.   The Company may only engage in Subcontracted Revenue
               Flying under the following circumstances:
               a. When the Company determines that it does not have
                  sufficient or appropriate aircraft to perform the
                  Subcontracted Revenue Flying; or
               b. When the Company determines that it does not have a
                  sufficient number of appropriately-trained Crewmembers on
                  the B747-100 or ±200 to perform the Subcontracted
                  Revenue Flying, and the Company utilizes both the aircraft
                  and crewmembers of the other carrier or third-party
                  contractor; or
               c. When the Company determines that it does not have a
                  sufficient number of appropriately-trained Crewmembers, on
                  aircraft other than the B747-100 or ±200, to perform the
                  Subcontracted Revenue Flying, and the Company utilizes
                  the crewmembers and/or aircraft of the other carrier or third-
                  party contractor.
          3.   The Company shall provide prompt written (but not necessarily
               prior) notice to the Union of each episode of Subcontracted
               Revenue Flying. Upon request, the Company shall furnish the
               Union with all information relevant to the subcontract, including
               reasons for the subcontract, the equipment to be utilized, the
               hours of flying, the duration, and the effect of the subcontract
               upon Crewmembers. The Union shall also have the right to
               periodically review any subcontracts.
          4.   Each episode of Subcontracted Revenue Flying under
               Paragraphs 2.a or 2.c shall be limited in duration to one hundred
               eighty (180) days, and each episode of Subcontracted Revenue
               Flying under Paragraph 2.b shall be limited in duration to ninety
               (90) days. The time limitations in this Paragraph are not
               applicable where the Company has exercised its best efforts to
               obtain sufficient appropriate aircraft or appropriately-trained
               Crewmembers, but has been unable to do so. In situations
               arising under Paragraph 2.b or 2.c, the Company shall begin the
               training of Crewmembers to fill vacancies created by the addition
               RIDLUFUDIWWRWKH&RPSDQ\¶VIOHHWZLWKLQWKLUW\  GD\VIURPWKH
               inception of the Subcontracted Revenue Flying.

      2011 Contract | Section 1                                             (3)
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          5.   The Company shall not implement a furlough of any
               Crewmember or reduce any Crewmember in status (i.e. reduced
               in job classification, position, type of aircraft, or relative seniority
               bid position) as a direct result of engaging in any such
               Subcontracted Revenue Flying.
          6.   In addition to the other restrictions on Subcontracted Revenue
               Flying set forth in this Section 1.D, the following provisions shall
               be applicable whenever there are Crewmembers on furlough:
               a.       The Company shall provide pay protection for each
                    episode of Subcontracted Revenue Flying when
                    Crewmembers are on furlough. The pay protection shall
                    equal the Total Pay Hours (i.e., Flight Hours or Trip Hour
                    Credit, whichever is greater) that would have been received
                    by the senior crew on furlough (i.e., the two senior pilots and
                    senior flight engineer) to fly the scheduled trip(s). Once the
                    VHQLRU FUHZ¶V SD\ SURWHFWLRQ LQ D PRQWK UHDFKHV WKH
                    applicable minimum monthly guarantee, any additional pay
                    protection for Subcontracted Revenue Flying in that month
                    shall be paid to the next crew (on furlough) in seniority order,
                    and so on.
               b. The pay-protection requirement in Paragraph 6.a does not
                  apply if the basis for the Subcontracted Revenue Flying is a
                  shortage of aircraft caused by the termination of an aircraft
                  lease. This exception to the pay-protection requirement is
                  only applicable to the first ninety (90) days of the
                  Subcontracted Revenue Flying and only if the Company has
                  exercised its best efforts to obtain additional aircraft. After
                  the first ninety (90) days of Subcontracted Revenue Flying,
                  the Company shall always provide pay protection under
                  Paragraph 6.a.
          7.   The provisions of paragraphs 2-6 herein are not applicable when
               the Company engages in Subcontracted Revenue Flying due to
               circumstances over which it does not have control. The
               Company may engage in Subcontracted Revenue Flying under
               such a scenario for a period not to exceed the duration of the
               FLUFXPVWDQFH EH\RQG WKH &RPSDQ\¶V FRQWURO  &LUFXPVWDQFHV
               EH\RQG WKH &RPSDQ\¶V FRQWURO VKDOO EH OLPLWHG WR DQ DFW RI
               nature; a labor dispute; grounding of any Company aircraft by a
               government agency or court after the effective date of this
               Agreement; loss or destruction of any Company aircraft;
               involuntary reduction in flying operations due to a decrease in
               available fuel supply or RWKHUPDWHULDOVFULWLFDOWRWKHFRPSDQ\¶V

      2011 Contract | Section 1                                              (4)
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               RSHUDWLRQ UHYRFDWLRQ RI WKH &RPSDQ\¶V RSHUDWLQJ FHUWLILFDWH RU
               route authorities; and war emergency.
          8.   Subcontracted Revenue Flying does not include flying
               performed by another air carrier whereby the other carrier
               transports cargo consigned to the Company pursuant to an
               interline agreement, a code-share agreement, a marketing
               agreement, a pro-rate agreement, or a blocked-space
               agreement. There shall be no contractual restrictions on such
               flying or any other flying performed pursuant to any other
               marketing or alliance arrangement, except that the Company
               shall not furlough any Crewmember or reduce any Crewmember
               in status (i.e. reduced in job classification, position, type of
               aircraft, or relative seniority bid position) as a direct result of the
               entry into or implementation of any such interline, code-share,
               marketing, pro-rate, blocked-space or alliance agreement or
               arrangement. It is understood and agreed, however, that
               nothing in this Paragraph D.8 shall prevent the Company from
               furloughing or reducing in status any Crewmember for economic
               UHDVRQV LQGHSHQGHQW RI WKH &RPSDQ\¶V HQWU\ LQWR DQG
               implementation of such transactions.
      E. Successorship
          1.   The Company shall require any successor, including, without
               limitation, any assignee or purchaser, transferee, administrator,
               receiver, executor and/or trustee to cause the Company (i.e., the
               airline entity that was acquired) to continue to be bound by all
               the terms of this Agreement as a condition of any transaction
               that results in a successor, subject to applicable procedures
               under the Railway Labor Act.            For the purposes of this
               paragraph, a successor shall be defined as an entity that
               acquires all or substantially all of the assets or equity of the
               Company through a single transaction or multi-step related
               transactions that close within a twelve (12) month period
                 ³6XFFHVVRUVKLS7UDQVDFWLRQ´ 7KH&RPSDQ\VKDOOSURYLGHWKH
               Union with written notice of any Successorship Transaction no
               later than thirty (30) days prior to the closing of the transaction,
               where practicable, such notice to be subject to any
               confidentiality restrictions that the Company in its discretion may
               impose on the Union or legal requirements that may apply.
          2.   The Company shall give written notice of the existence of this
               Agreement, and a copy of this Agreement, to any proposed
               Successor before the Company and the proposed Successor


      2011 Contract | Section 1                                             (5)
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               enter into any arrangement or agreement with respect to a
               potential successor transaction.
      F. Labor Protections
          1.   In the event the Company is acquired and thereafter the acquirer
               decides there will be a complete operational merger between (i)
               the Company and the acquirer, or the Company and another air
               carrier under the control of the acquirer, or (ii) if the acquirer
               notifies the Union of its intent to integrate the Crewmember
               seniority lists of the Company and the acquirer, or the Company
               and another air carrier under the control of the acquirer, the
               following shall apply:
               a. If the Union represents the Crewmembers of the successor
                  WKHQ WKH 8QLRQ¶V 0HUJHU 3ROLF\ VKDOO EH XWLOL]HG WR LQWHJUDWH
                  the two seniority lists.
               b. If the Crewmembers of the successor are not represented by
                  the Union then the Company shall use its reasonable efforts
                  to cause the acquiring carrier to provide a seniority
                  LQWHJUDWLRQSURFHGXUHSXUVXDQWWRWKH8QLRQ¶V0HUJHU3ROLF\
                  or Sections 3 and 13 of the Allegheny-Mohawk Labor
                  Protective Provisions, as applicable.
               c. The integrated list, including any restrictions or conditions
                  attached thereto, shall not impose any retroactive monetary
                  liability on the part of either pre-merger carrier, nor shall
                  such integrated list require any upgrade or transition training
                  of any crewmember from either carrier.
          2.   In the event (i) the Company acquires another air carrier and the
               Company decides there will be a complete operational merger
               between the Company and such other air carrier, or if the
               Company notifies the Union of its intent to integrate the
               Crewmember seniority lists of the respective carriers, or (ii) in
               the event the Company decides there will be a complete
               operational merger between the Company and an affiliated air
               carrier, or if the Company notifies the Union of its intent to
               integrate the Crewmember seniority lists of the Company and an
               affiliated air carrier, the following shall apply:
               a. Seniority List Integration:
                    i.   If the Union represents the Crewmembers of the carrier
                         WREHPHUJHGZLWKWKH&RPSDQ\WKHQWKH8QLRQ¶V0HUJHU
                         Policy shall be utilized to integrate the two seniority lists.



      2011 Contract | Section 1                                               (6)
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                    ii.   If the Crewmembers of the two pre-merger carriers are
                          represented by different labor organizations then the two
                          lists shall be merged using Allegheny-Mohawk Labor
                          Protective Provisions, Sections 3 and 13 unless the two
                          labor organizations mutually agree to utilize an
                          alternative method.
                    iii. If the Crewmembers of the carrier to be merged with the
                         Company are not represented by a labor organization,
                         then the two lists shall be merged using Allegheny-
                         Mohawk Labor Protective Provisions, Sections 3 and 13.
                    iv. The integrated list, including any restrictions or
                        conditions attached thereto, shall not impose any
                        retroactive monetary liability on the part of either pre-
                        merger carrier, nor shall such integrated list require any
                        upgrade or transition training of any crewmember from
                        either carrier.
               b. Collective Bargaining Agreements:
                    i.    If the Crewmembers of the acquired carrier are not
                          represented by a labor organization, then no later than
                          QLQHW\   GD\V DIWHU WKH 8QLRQ¶V SUHVHQWDWLRQ WR WKH
                          Company of a merged seniority list that complies with
                          the provisions of this paragraph F.2, the Company shall
                          cause the crewmembers of the acquired carrier to
                          become subject to and covered by the terms and
                          conditions of this Agreement.
                    ii.   If the crewmembers of the acquired carrier are
                          represented by a labor organization other than the
                          Union, then no later than ninety (90) days after (1) the
                          8QLRQ¶V SUHVHQWDWLRQ WR WKH &RPSDQ\ RI D PHUJHG
                          seniority list that complies with the provisions of this
                          paragraph F.2, and (2) a designation by the National
                          Mediation Board of the post-merger representative of the
                          integrated crewmember class and craft, the collective
                          bargaining agreement of the post-merger representative
                          that was in effect immediately prior to the integration of
                          the class and craft shall become applicable to all
                          crewmembers on the merged seniority list.
                    iii. If the crewmembers of the acquired carrier are
                         represented by the Union, then the parties shall on a
                         timely basis begin negotiations to merge the two pre-
                         integration collective bargaining agreements into one

      2011 Contract | Section 1                                               (7)
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                        agreement. If a merged agreement has not been
                        executed within nine (9) months from the date that the
                        Union presents to the Company a merged seniority list
                        that complies with the provisions of this paragraph F.2,
                        the parties shall jointly submit the outstanding issues to
                        binding interest arbitration, The interest arbitration shall
                        commence within thirty (30) days from the conclusion of
                        negotiations contemplated by this paragraph, and a final
                        decision shall be issued within sixty (60) days after the
                        commencement of the arbitration.
               3. )RUWKHSXUSRVHVRIWKLVSDUDJUDSK)³FRPSOHWHRSHUDWLRQDO
                  PHUJHU´VKDOOPHDQWKHFRPELQDWLRQRIDOORUVXEVWDQWLDOO\DOO
                  of the assets of the two carriers.
               4. Notwithstanding anything in this paragraph F to the contrary,
                  in the absence of a complete operational merger as
                  determined by the Company, neither the Company nor any
                  successor shall be under any obligation to integrate the two
                  work forces, and either may operate both workforces
                  independently pursuant to their respective pre-existing
                  collective bargaining agreements (if any).
      G. Management Rights
          1.   Except as may be limited by the express provisions of this
               Agreement, the Company retains the sole and exclusive right to
               manage and operate its business, including, but not limited to,
               direct its Crewmember workforce; determine the appropriate
               number of Crewmembers; hire, promote, and discharge
               Crewmembers; establish and enforce rules of conduct; maintain
               discipline and efficiency; introduce new equipment; determine
               the location(s) of the work force, operations, and facilities; plan,
               direct and control operations; expand, limit or curtail operations
               when its deems advisable to do so; sell all or part of the
               business; sell or lease aircraft or facilities; determine when and
               where to operate scheduled or unscheduled flights; determine
               marketing methods and strategies; enter into code-sharing,
               affiliation or marketing arrangements with other air carriers; and
               invests (including equity investments) in other business entities,
               including other air carriers.
          2.   7KH &RPSDQ\¶V H[HUFLVH RI DQ\ UHWDLQHG ULJKW LQ D SDUWLFXODU
               manner, or the non-exercise of such right in any particular
               manner, shall not operate as a waiver of the ComSDQ\¶V ULJKWV



      2011 Contract | Section 1                                            (8)
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                hereunder, or preclude the Company from exercising its right(s)
                in a different manner in the future.
           3.   The past practices, employment policies, interim agreements, or
                other understandings established prior to the effective date of
                this Agreement shall not create any precedent or contractual
                right(s) in favor of the Union or the Crewmembers it represents,
                nor shall such create any precedent, contractual, or legal
                obligation(s) on the part of the Company to continue such
                practices, policies, agreements, or understandings.
           4.   Notwithstanding the provisions of paragraphs G.1, G.2, and G.3,
                above, the Company agrees to engage in constructive dialog
                with the Union regarding any issue that the Union believes may
                or has materially impact(ed) the terms and conditions affecting
                the Crewmembers covered herein.
      H. Expedited Adjustment Board Procedures
           1.   Any grievance filed by the Company or Union alleging a violation
                of Section 1 shall bypass the initial steps of the grievance
                process and shall be submitted, heard, and resolved through
                binding arbitration on an expedited basis directly before the
                $WODV&UHZPHPEHUV¶6\VWHP%RDUGRI$GMXVWPHQWVLWWLQJZLWKD
                neutral arbitrator. The dispute shall be heard as soon as
                possible after submission to the System Board and decided no
                later than thirty (30) days after the close of the hearing, unless
                the parties agree otherwise in writing.
           2.   The neutral arbitrator shall be selected by the parties by mutual
                agreement, or by an alternate strike method, if necessary, from
                a standing panel of seven (7) arbitrators, each of whom shall
                belong to the National Academy of Arbitrators and be
                experienced in disputes arising under the Air Carrier collective
                bargaining agreements. The panel will be designated before
                this Agreement becomes effective.
      I.   Information Production
           The Company agrees to provide the Union, upon request, with
           documents and information reasonably necessary to determine
           compliance with Section 1. Proprietary, sensitive or confidential
           information shall be subject to a standard confidentiality agreement,
           if required by the Company.




      2011 Contract | Section 1                                         (9)
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      2011 Contract | Section 1                                   (10)
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                                          SECTION 2: DEFINITIONS
      A. Active Service: ³$FWLYH6HUYLFH´PHDQVDOOVHUYLFHZLWKWKH&RPSDQ\
      that is compensated via wages, sick days and vacation.
      B. Administrative Duty: ³$GPLQLVWUDWLYH 'XW\´ PHDQV :RUN IRU WKH
      Company other than Crewmember flight duties and duties related to
      flight duties (e.g., deadhead, layover, training).
      C. Affirmatively Accepts: ³$IILUPDWLYHO\ $FFHSWV´ PHDQV DQ DFWLRQ
      taken by a Crewmember when in a Minimum Rest Period or Pre-Duty
      Rest Period evidencing his consent (e.g., checking a box on an
      electronic communication indicating the revision has been accepted, or
      informing the Company by telephone that the revision has been
      accepted). Merely reading or receiving an electronic communication or
      discussing a revision with Company personnel is not affirmative
      acceptance.
      D. Agreement:          ³$JUHHPHQW´ PHDQV WKLV &ROOHFWLYH %DUJDLQLQJ
      Agreement and any side letters to the Agreement, memorandum of
      understanding and letters of agreement made contemporaneous with or
      expressly part of this Collective Bargaining Agreement.
      E. Base: ³%DVH´ PHDQV D JHRJUDSKLFDO ORFDWLRQDLUSRUW WR ZKLFK
      Crewmembers are assigned for bidding purposes.
      F. Bid Line: ³%LG/LQH´PHDQVWKH&UHZPHPEHU¶VDZDUGHGRUDVVLJQHG
      Trip Pairing(s) and Days Off for a Bid Month.
      G. Bid List: ³%LG /LVW´ PHDQV D %DVH-specific list ordered by seniority
      containing the names of Crewmember, their Position, and seniority
      number.
      H. Block Hours: ³%ORFN +RXUV´ PHDQV WKH SHULRG IURP WKH WLPH WKH
      aircraft blocks out until the aircraft blocks in again. Block in shall be the
      moment that an aircraft comes to complete rest in the blocks. Block out
      shall be the WLPHZKHQDQDLUFUDIW¶VEUDNHVDUHUHOHDVHGDQGSXVKEDFN
      or taxi begins.
      I. Captain: ³&DSWDLQ´PHDQVD&UHZPHPEHUZKRLVLQILUVWFRPPDQGRI
      the aircraft and its Crewmembers, and whose primary responsibilities
      include the manipulation of the controls of the aircraft while underway.
      J. Check Airman: ³&KHFN $LUPDQ´ PHDQV D &UHZPHPEHU ZKR LV
      authorized and qualified to give FAA and/or Company required checks
      and initial operating experience.



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      K. Contract Pilot: ³&RQWUDFW3LORW´PHDQVD3LORWQRWRQWKe Pilot System
      Seniority List, not covered by the Agreement, and not in the craft or class
      of Pilots.
      L. Crewmember: ³&UHZPHPEHU´ PHDQV D 3LORW RU )OLJKW (QJLQHHU
      whose name appropriately appears on either (or both) the Pilot or the
      Flight Engineer seniority list(s).
      M. Day: ³'D\´PHDQVDFRQVHFXWLYHWZHQW\-four (24) hour period 0000Z
      to 2359Z UTC.
      N. Day Off: ³'D\2II´PHDQVDVFKHGXOHGWZHQW\-four (24) hour period
      free from all Company duty beginning at 0000Z through 2359Z UTC.
      P. Duty Day: ³'XW\ 'D\´ PHDQV D WZHQW\-four (24) hour period, or
      fraction thereof, commencing at the scheduled or actual report time,
      whichever is later, of the Crewmember and continuing until his release
      time upon completion of duty.
      Q. First Officer: ³)LUVW2IILFHU´PHDns a Crewmember who is second-in-
      command of the aircraft and its Crewmembers and whose primary
      responsibilities are to assist or relieve the Captain in navigation,
      communication and manipulation of aircraft controls while underway.
      R. Flight Engineer: ³)OLJKW (QJLQHHU´ PHDQV D &UHZPHPEHU ZKR LV
      third-in-command of the aircraft and whose primary responsibilities are to
      assist the Captain and First Officer in the analysis, operation and
      monitoring of the aircraft systems and to inspect the aircraft before flight.
      S. GMT/UTC/Z/ZULU:        ³*07´ ³87&´ ³=´ DQG ³=8/8´ PHDQV
      Coordinated Universal Time.
      T. Layover Period: ³/D\RYHU3HULRG´PHDQV WKHSHULRG RIWLPHLIDQ\
      between the end of the Minimum Rest Period and the commencement of
      the Pre-Duty Rest Period.
      U. Longevity: ³/RQJHYLW\´ PHDQV WKH FXPXODWLYH WLPH D &UHZPHPEHU
      has been in Active Service with the Company as a Crewmember, and
      shall begin accruing the day the Crewmember begins training and shall
      continue to accrue uninterrupted except as provided in the Agreement.
      V. Management Crewmember: ³0DQDJHPHQW &UHZPHPEHU´ PHDQV
      the Vice President of Flight Operations, Director of Flight Operations,
      Director of Training, Manager of Training, Chief Pilot, Assistant Chief
      Pilot or any other individual occupying a position listed in the Flight
      Operations Manual and who is on the Pilot or Flight Engineer System
      Seniority List and whose principal Work assignment consists of the
      supervision or management of Crewmembers on the Pilot or Flight
      Engineer System Seniority List.


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      W. Minimum Rest: ³0LQLPXP5HVW´PHDQV DSHULRG RIWLPHIUHHRIDOO
      responsibility for Work or duty following completion of a duty period and
      during which time the Crewmember cannot be required to be contactable
      by the Company.
      X. New Hire: ³1HZ +LUH´ PHDQV D &UHZPHPEHU ZKR LV LQ KLV LQLWLDO
      training period who has not completed his operating experience.
      Y. Originally Scheduled Departure/Report Time:              ³2ULJLQDOO\
      6FKHGXOHG'HSDUWXUH5HSRUW7LPH´PHDQVWKHGHSDUWXUHUHSRUWWLPHWKDW
      was last communicated and scheduled prior to the Crewmember
      entering the Minimum Rest Period or Pre-Duty Rest Period, whichever is
      applicable.
      Z. Pay Day: ³3D\'D\´ZLOOEHWKHWKDQGWKHODVWGD\RIHDFKPRQWK
      Should a Pay Day fall on Saturday or Sunday the pay will be issued on
      the previous Friday. All pay above minimum guarantee, per diem and
      expense reimbursements for the previous Bid Month shall be on the
      second pay check of the month. Should a Pay Day fall on a holiday, the
      pay will be issued the day before the holiday.
      AA. Pilot: ³3LORW´PHDQV&DSWDLQRU)LUVW2IILFHU
      BB. Position: ³3RVLWLRQ´ PHDQV D &UHZPHPEHU¶V 6WDWXV HTXLSPHQW
      type and Base.
      CC. Position Vacancy: ³3RVLWLRQ9DFDQF\´PHDQVD3RVLWLRQSRVWHGRU
      to be posted for bidding in accordance with Section 24.
      DD. Pre-Duty Rest: ³3UH-'XW\ 5HVW´ PHDQV D WHQ   KRXU SHULRG RI
      time free of all responsibility for Work or duty prior to the commencement
      of a duty period and during which time the Crewmember cannot be
      required to be contactable by the Company. Pre-Duty Rest may overlap
      in whole or in part with Minimum Rest.
      EE. Transportation Local In Nature: ³7UDQVSRUWDWLRQ/RFDO,Q1DWXUH´
      means the rest accommodation is within thirty (30) minutes travel time of
      the location where duty begins or ends, except when the Company and
      Union agree on a different time(s) for a particular location(s) consistent
      with current practices.
      FF. Reserve Crewmember/Reserve Line Holder: $ ³5HVHUYH
      &UHZPHPEHU5HVHUYH /LQH +ROGHU´ PHDQV D &UHZPHPEHU ZKR KDV
      been awarded or assigned a Reserve Line.
      GG. Status: ³6WDWXV´PHDQV&DSWDLQ)LUVW2IILFHURU)OLJKW(QJLQHHU
      HH. Trip Pairing: ³7ULS 3DLULQJ´ PHDQV RQH RU PRUH FRQVHFXWLYH 'XW\
      Days and the specific assignments associated with such Duty Days.
      Except aV RWKHUZLVH VHW IRUWK LQ WKH $JUHHPHQW D ³7ULS 3DLULQJ´ EHJLQV

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      when a Crewmember first reports for duty and ends when the
      Crewmember is released into a Day(s) Off.
      II. Work: ³:RUN´ VKDOO LQFOXGH D IOLJKW DVVLJQPHQW D GHDGKHDG
      assignment, reserve, layover or training (other than home-based
      training).
      JJ. Work Day: ³:RUN'D\´ VKDOOEH DQ\GD\RQ ZKLFKD&UHZPHPEHU
      performs or is required to be available to perform Work.




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                                   SECTION 3: COMPENSATION
      A. RATES OF PAY.
      1. $ &UHZPHPEHU¶V KRXUO\ SD\ UDWH VKDll be based on his Longevity
         and Status in accordance with the following tables:
                       B747 SERIES CAPTAIN
      Longevity    DOS    DOS+1 DOS+2 DOS+3           DOS+4
          1       145.21 146.66 149.59 151.09         154.11
          2       149.56 151.06 154.08 155.62         158.73
          3       154.05 155.59 158.70 160.29         163.49
          4       158.67 160.26 163.46 165.10         168.40
          5       163.43 165.07 168.37 170.05         173.45
          6       168.33 170.02 173.42 175.15         178.66
          7       173.38 175.12 178.62 180.41         184.01
          8       178.59 180.37 183.98 185.82         189.54
          9       183.94 185.78 189.50 191.39         195.22
         10       189.46 191.36 195.18 197.14         201.08
         11       195.15 197.10 201.04 203.05         207.11
         12       201.00 203.01 207.07 209.14         213.32


                        B747 SERIES F/O & F/E
      Longevity     DOS     DOS+1 DOS+2 DOS+3         DOS+4
          1         75.00    75.75   77.27    78.04    79.60
          2         94.22    95.17   97.07    98.04   100.00
          3         99.36   100.36 102.36 103.39      105.45
          4        104.72 105.77 107.89 108.96        111.14
          5        110.32 111.42 113.65 114.78        117.08
          6        116.15 117.31 119.66 120.86        123.27
          7        121.37 122.58 125.03 126.28        128.81
          8        125.01 126.26 128.79 130.07        132.67
          9        128.76 130.05 132.65 133.98        136.65
         10        132.62 133.95 136.63 137.99        140.75
         11        136.60 137.97 140.73 142.13        144.98
         12        140.70 142.11 144.95 146.40        149.33




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          a.   First Officer and Flight Engineer Hourly Rates for 0 to 12 months
               of Longevity apply regardless of MTOW unless the aircraft type
               is subject to Section 32.C.
          b.   Longevity Increases. In a month in which a Crewmember
               changes Longevity steps (e.g., second year to third year), the
               higher hourly rate will be applicable for all Work performed in the
               month.
          c.   Changes in Rates of Pay
               i.    In a month in which a Crewmember changes to a higher
                     Status (e.g., upgrade from First Officer to Captain, or
                     transition from Flight Engineer to Pilot), including promotion
                     to a temporary Position, his hourly rate shall be the
                     applicable pay rate for the Work he performs in each Status.
                     For purposes of this subsection 3.A.1.c.i., the Crewmember
                     shall not be considered to have performed Work in the
                     higher pay Status until he successfully completes training,
                     including Operating Experience (OE), if applicable, for the
                     higher Status.
               ii.   In a month in which a Crewmember changes to a lower
                     Status (e.g., downgrade from Captain to First Officer, or
                     transition from Pilot to Flight Engineer) his hourly rate shall
                     be the applicable pay rate for the Work he performs in each
                     Status. For the purposes of this subsection 3.A.1.c.ii., the
                     time that a Crewmember begins any required training for the
                     change in Status shall be considered Work in that Status.
          d.   Overrides.
               i.    Standards Check Airman and Designated Examiner Pay. A
                     Standards Check Airman or Designated Examiner shall be
                     compensated at a rate of one hundred and fifteen percent
                     (115%) of his hourly rate for each Bid Month that he is listed
                     by the Company as a Standards Check Airman or
                     Designated Examiner for the Bid Month.
                     (1) The Company shall determine the number of Standards
                         Check Airmen and Designated Examiners needed in a
                         Bid Month. A list of the Standards Check Airmen and
                         Designated Examiners scheduled to be utilized shall be
                         published with the monthly bidding materials. The most
                         system senior Crewmember(s) in the Standards Check
                         Airmen and Designated Examiners shall be included on
                         the list.


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                     (2) If the Company requires additional Standards Check
                         Airmen or Designated Examiners in a given Bid Month,
                         the Company shall utilize the most senior
                         Crewmember(s) on the system seniority list who do not
                         appear on the monthly list; provided, the Company may
                         utilize a Standards Check Airmen or Designated
                         Examiner out of system seniority order if necessary to
                         PDLQWDLQ WKH &UHZPHPEHU¶V FXUUHQF\ DV D Standards
                         Check Airman or Designated Examiner. An out of
                         system seniority assignment may be made beginning
                         two (2) months preceding the month in which the
                         &UHZPHPEHU¶VFXUUHQF\ZLOOH[SLUH
                     (3) Nothing contained herein shall prohibit the Company
                         from assigning flight duties to a Crewmember on an
                         above-mentioned list.
               ii.   Line Check Airman, Simulator Check Airman and
                     Crewmember Training Instructor.     A Line Check Airman,
                     Simulator Check Airman or a Crewmember Training
                     Instructor shall be compensated at a rate of one hundred
                     and ten percent (110%) of his hourly rate for each Bid Month
                     that he is listed by the Company as a Line Check Airman,
                     Simulator Check Airmen or Training Instructor for the Bid
                     Month.
                     (1) The Company shall determine the number of
                         Crewmember Training Instructor, Line Check Airmen
                         and Simulator Check Airmen needed in a Bid Month.
                         The list shall be published with the monthly bidding
                         materials.    The most senior Line Check Airmen,
                         Simulator Check Airmen and Crewmember Training
                         Instructor on the system seniority list shall be included
                         on the list.
                     (2) If the Company requires additional Line Check Airmen
                         and Simulator Check Airmen in a given Bid Month, the
                         Company shall utilize the most senior Crewmember(s)
                         on the system seniority list who does not appear on the
                         applicable list; provided, the Company may utilize a Line
                         Check Airmen and Simulator Check Airmen out of
                         system seniority order if necessary to maintain the
                         &UHZPHPEHU¶V FXUUHQF\ DV D /LQH &KHFN $LUPDQ DQG
                         Simulator Check Airman. An out of system seniority
                         assignments may be made beginning two (2) months


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                         SUHFHGLQJ WKH PRQWK LQ ZKLFK WKH &UHZPHPEHU¶V
                         currency will expire.
          e.   Home-Base Training. A Crewmember shall be compensated at
               one hundred and fifty dollars ($150.00) for completion of any
               Company-directed home Base training up to four (4) hours and
               fifty ($50.00) for each additional hour or partial hour required as
               part of that same home-based training course. The Company, in
               consultation with the Union Training Committee (UTC), shall
               determine the time necessary for the completion of home-based
               training courses. Home-based training shall not include any
               preparatory study that a Crewmember must accomplish in
               advance of and/or during recurrent training, upgrade training,
               transition training, and/or similar training.
          f.   New Hire Training Pay. A New Hire Crewmember as defined in
               Section 2 of this Agreement shall receive $1,600.00 per month
               in lieu of any other compensation set forth in this Section 3 from
               his date of hire to completion of OE or for four (4) months,
               whichever occurs first. Thereafter, the Crewmember shall be
               compensated in accordance with this Section 3 in the same
               manner as other Crewmembers.
      2. Pay and Credit Ratios:
          a.   Pay and credit ratios shall be determined as follows:
               i.    When a Crewmember performs flight duty as part of a Two
                     Person Crew, Three Person Crew or Augmented Crew (as
                     defined under Section 12), actual block time or scheduled
                     block time for the segment on a one-for-one (1:1) basis,
                     whichever is greater.
               ii.   When a Crewmember Deadheads on a one-for-two and
                     eighty-five one hundredths (1:2.85) basis (i.e., 2.85 hours of
                     deadhead time equals one (1) hour of pay, or credit towards
                     guarantee, as applicable), Commercial Deadhead shall be
                     based on scheduled block time. Deadhead on Company
                     aircraft shall be based on scheduled block time or actual
                     block time, whichever is greater.
               iii. When a Crewmember reports for an operating flight that is
                    cancelled or experiences a block turn-back, or an air turn-
                    back, for actual Block Hours, or as provided in subsection
                    3.A.2.a.iv., below, whichever is greater.




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               iv. When a Crewmember reports for an operating flight or
                   deadhead duty at an airport and the flight does not operate,
                   or any other duty assignment, not less than two (2) hours.
               v. When a Crewmember is assigned to a training location other
                  for training for sixteen (16) or more days in the Bid Month as
                  a trainee, the Crewmember will receive 3.65 hours per day
                  for each day in ground school training, simulator
                  training/support/checking associated with recurrent training.
               vi. When a Simulator Check Airmen, Crewmember Training
                   Instructors or Designated Examiners performs required
                   simulator training/support/checking/briefing and/or de-
                   briefing, one (1) hour for each hour performed.
               vii. When a Crewmember provides ground school instruction,
                    five (5) hours for each day.
               viii. When a Crewmember performs Administrative Duty, four (4)
                     hours for each day of Administrative Duty. Crewmember
                     may not be involuntarily assigned to Administrative Duty
                     except as part of his regular duties.
               ix. When a Crewmember is performing duties at an airport in
                   conjunction with a scheduled flight and the Crewmember
                   performs a taxi movement(s), either prior to or after a flight,
                   the Crewmember shall be paid for the taxi movement on the
                   basis of block time. However, if a Crewmember reports to
                   the airport for the sole purpose of performing a taxi
                   movement with no planned flight activities, he shall receive
                   credit for actual block time or as provided in subsection
                   3.A.2.a.iv., above, whichever is greater.
               x. When a Crewmember is assigned R-3, one (1) hour for each
                  two (2) hours of R-3.
               xi. When a Crewmember uses a sick day, 3.65 hours of pay in
                   accordance with Section 14 of the Agreement.
               xii. When a Crewmember uses a vacation day, 3.65 hours of
                    pay.
          b.   Calculated Rig Time (CRT) shall be determined as follows:
               i.   Except as provided below, CRT commences when a
                    Crewmember:
                    A. First reports for an Operating Flight,



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                     B. Deadheads (excluding Deadhead travel between the
                        &UHZPHPEHU¶V %DVH DQGRU UHVLGHQFH DQG D &RPSDQ\
                        training facility)
                     C. Begins his first R-2 or R-3 period, whichever is
                        applicable,
                     D. Reports for a trip that departs from a training location
                        (including Deadhead).
               ii.   CRT continues until the Crewmember is released per his
                     actual schedule to R1, to training, or to a block of Days Off.
               iii. In a month in which a Crewmember participates in training or
                    Administrative Duties, CRT shall not accrue while performing
                    such duties or deadheading between the Work location and
                    the Crewmember's Base.
               iv. No CRT credit shall accrue on a calendar day in which a
                   Crewmember becomes unavailable for flight duties (e.g.,
                   uses a sick day, a personal emergency), regardless of
                   location.
               v. All such CRT calculations shall be based on the
                  Crewmember's actual schedule as posted in the Crew
                  Management System.
               vi. A Crewmember shall receive CRT credit equal to one (1)
                   hour of credit for every 4.95 hours of CRT.

      B. MINIMUM MONTHLY GUARANTEE
      1. Except as otherwise provided for in this subsection 3.B., a
         Crewmember who is available for Work on each day that he is
         scheduled for duty during the Bid Month shall be entitled to receive a
         Minimum Monthly Guarantee of sixty-two (62) hours of pay at his
         applicable hourly wage rate.
          a.   A Crewmember with less than one (1) year of Longevity shall
               receive a monthly guarantee of fifty (50) hours, except as
               provided for and subject to the provisions of subsection 3.E,
               below.
      2. If a Crewmember is not on pay status on any day(s) of his scheduled
         assignment for the Bid Month, his Minimum Monthly Guarantee shall
         be pro-rated to reflect the number of scheduled days missed, i.e.,
         reduced by one-seventeenth (1/17) for each Work Day the
         Crewmember is not available.
      3. The monthly guarantee for a Crewmember assigned to an Out-Base

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          shall be one hundred and five (105) hours.
      4. For each day in a Bid Month in which a Crewmember returns to Work
         from a leave of absence or furlough, his Minimum Monthly
         Guarantee shall be pro-rated to reflect the number of scheduled days
         missed, i.e., reduced by one-seventeenth (1/17) for each day of the
         month the Crewmember was not available.
      5. Each unassigned Crewmember who is eligible for flight duty shall
         receive pay under subsection 3.C., below.

      C. BID MONTHLY PAY
      Bid Month Pay for a Crewmember (other than a Crewmember in training
      for 16 or more days in the Bid Month) shall be the sum of the following:
      1. Pay for a Crewmember for Work performed on Duty Days that were
         included in his originally awarded or assigned schedule for the Bid
         0RQWK LHDQRULJLQDOO\VFKHGXOHGGD\³RQ´ VKDOOEHWKHJUHDWHURI
          a.   The sum of pay credits described in subsection 3.A.2.a., above,;
          b.   The sum of CRT described in subsection 3.A.2.b., above; or
          c.   The Minimum Monthly Guarantee under subsection 3.B., above.
      2. Pay for a Crewmember for Work performed, if any, on days that were
         not included in his originally awarded or assigned schedule for the
         Bid Month (i.e., an originally scheduled Day Off) shall be the greater
         of:
          a.   The sum of pay credits described in subsection 3.A.2.a., above;
               or
          b.   The sum of CRT described in subsection 3.A.2.b., above.
      3. If a Crewmember performed Work on days that were not included in
         his originally awarded or assigned schedule for the Bid Month (i.e.,
         an originally scheduled Day Off), exclusive of training and associated
         deadhead, then additional pay in accordance with the following:
          a.   First day, or portion thereof, beyond schedule: two (2) hours
          b.   Second day, or portion thereof, beyond schedule: four (4) hours
          c.   Third day, or portion thereof, beyond schedule: six (6) hours
          d.   If a Crewmember is involuntarily extended more than three (3)
               days beyond his originally awarded or assigned schedule, he
               shall receive twelve (12) hours of pay for each such day, or
               portion thereof, except in the case of a Crewmember who
               performs Open Time flying and is subsequently involuntarily

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               extended beyond a third day, in which case, subsection 3.C.3.c.
               applies to the days the Crewmember is involuntarily extended.
          e.   If a Crewmember volunteers (i.e., extends or Open Time flying)
               to Work more than three (3) days beyond his originally awarded
               or assigned schedule, he will receive extended duty pay under
               subsection 3.C.3.c., above.

      D. INITIAL, TRANSITION, AND UPGRADE TRAINING GUARANTEE
      1. If a Crewmember is in initial, transition or upgrade training for an
         entire Bid Month, he shall be paid the Minimum Monthly Guarantee
         under subsection 3.B., above.
      2. If a Crewmember is in initial, transition, or upgrade training for less
         than a full Bid Month, he shall be paid under subsections 3.C.1.a.
         and 3.C.1.c, above, except for New Hires who shall be paid pursuant
         to subsection 3.A.1.f.
      3. Extended Duty Pay provisions of this Agreement do not apply to a
         Crewmember while attending initial, transition, or upgrade training.

      E. OUT-BASE ASSIGNMENTS
      1. If an Out-Base assignment from the prior bid month carries over into
         the current bid month but the Crewmember does not Work an Out-
         Base assignment in the current bid month, any days of carry over
         shall count towards his required seventeen (17) days of regular Work
         in the current bid month and shall be credited against the
         &UHZPHPEHU¶VJXDUDQWHHIRUWKHFXUUHQWELGPRQWK
      2. ,I D &UHZPHPEHU¶V 2XW-Base assignment is cancelled after it has
         commenced, the Crewmember shall be entitled to only his normal
         monthly guarantee for up to seventeen (17) days of the Out-Base
         assignment and three (3) hours additional guarantee for each day
         beyond seventeen (17) days, provided that the total guarantee for
         the Out-Base assignment shall not exceed one hundred and five
         (105) hours.

      F. GENERAL
      1. $ &UHZPHPEHU¶V QRUPDO PRQWKO\ SD\ VKDOO EH GLVSHUVHG LQ WZR  
         payments, such disbursements to be made on the last day of each
         calendar month (to include one-half (1/2) of the Minimum Monthly
         Guarantee and overtime and per diem, if any, from the previous Bid
         Month) and on the fifteenth (15th) day of each calendar month (to
         include one-half (1/2) of the Minimum Monthly Guarantee). Should a


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          regularly scheduled payday fall on a weekend or bank holiday, the
          pay disbursement shall normally be made on the weekday
          immediately prior to such weekend day or holiday.
      2. The Company, at its discretion, may make pay distributions by
         electronic direct deposit.
      3. The Company shall provide each Crewmember with a pay
         disbursement record electronically by a secured means unless the
         Crewmember elects to have a hard copy mailed to the
         &UHZPHPEHU¶V UHVLGHQFH  7KH VDODU\ GLVEXUVHPHQW UHFRUG VKDOO
         include, at a minimum, the following:
          a.   Total amount of normal pay for the pay period.
          b.   Total amount of overtime pay for the pay period.
          c.   Per diem paid.
          d.   All deductions or withholdings made, including but not limited to
               federal and state taxes, FICA, insurance premiums, Union dues,
               and 401(k) savings withholdings.
      4. The Company shall make sick and vacation balance information
         available to Crewmembers on a monthly basis (e.g., on GlobalNet).




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                                   SECTION 4: PROFIT SHARING
      A. Crewmembers shall be eligible to participate in the Atlas Air, Inc.
         3URILW 6KDULQJ 3ODQ WKH ³3ODQ´  DV VXFK 3ODQ LV DSSOLFDEOH WR
         Crewmembers. The Plan shall be amended, as necessary, to
         provide for the matters set forth in this Section 4. The Company will
         provide any amended Plan documents to the Union in advance for
         review.
      B. The Annual Profit Sharing Allocation (as defined in the Plan) for
         Crewmembers shall continue to be calculated from Pre-Tax Profits
         (as defined in the Plan) consistent with the terms of the Plan;
         however, for Plan years 2011, 2012, 2013, 2014 and 2015, Pre-Tax
         Profits will be reduced by $75 million, and for each Plan year
         thereafter, Pre-Tax Profits will be reduced by $50 million.
      C. The Annual Profit Sharing Allocation for Crewmembers shall be
         EDVHG RQ WKH &RPSDQ\¶V $QQXDO 3URILW 6KDULQJ &RQWULEXWLRQ DV
         GHILQHGLQWKH3ODQ 7KHSHUFHQWDJHRIWKH&RPSDQ\¶VDQQXDO3UH-
         7D[ 3URILWV WR EH XVHG WR GHWHUPLQH WKH &RPSDQ\¶V $QQXDO 3URILW
         Sharing Contribution for Crewmembers shall be ten percent (10%),
         as provided in the Plan.
      D. Profit sharing, to the extent there are profits to be distributed, shall be
         paid no later than April 30th of the year following the year for which
         the profit sharing to be distributed is based.
      E. Employment by Polar Air Cargo Worldwide, Inc. shall be considered
         HPSOR\PHQW E\ $WODV $LU ,QF IRU SXUSRVHV RI WKH 3ODQ¶V
         Requirements for Participation; provided however, all employees (as
         defined in the Plan) who are hired subsequent to the effective date of
         WKLV $JUHHPHQW ZLOO EH VXEMHFW WR WKH 3ODQ¶V 5HTXLUHPHQWV IRU
         Participation.
      F. Crewmembers who are not actively employed on the date of
         payment, other than Pilots who resigned, were on furlough status or
         were discharged for just cause on or before the date of payment,
         shall receive payment pursuant to the terms of the Plan.
      G. All terms not specifically defined in this Section 4 shall have the
         meaning ascribed to them in the Plan.
      H. Except as provided herein, all terms and conditions of the Plan
         (including but not limited eligibility requirements or methods of
         allocation) shall remain in full force and effect and not be changed so
         as to materially reduce the level of participation by Crewmembers or


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          benefits provided to Crewmembers without the concurrence of the
          Union, except to the extent such changes are required by law.




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                                  SECTION 5: TRAVEL EXPENSES

      A. PER DIEM
      1. A Crewmember shall receive per diem, pursuant to subsection
         5.A.3., below, while on Company assignment as follows:
          a.   A Crewmember shall receive per diem from the scheduled or
               actual report time at the beginning of his assignment (whichever
               is later) at the Permanent Base until the actual release time at
               the end of his assignment at his Permanent Base. If a
               Crewmember is released from his assignment at a location other
               than his Permanent Base pursuant to an agreement between
               WKH &UHZPHPEHU DQG WKH &RPSDQ\ WKH &UHZPHPEHU¶V SHU
               diem will be calculated as if he had been released at the
               completion of his scheduled return at his Permanent Base.
          b.   When a Crewmember has been involuntarily assigned to a
               Temporary Base pursuant to subsection 24.G. he shall receive
               per diem for the entire period of assignment to the Temporary
               Base.
          c.   When a Crewmember has bid for and been awarded a Position
               in a Temporary Base, he shall receive per diem in the same
               manner as if he were performing an assignment at the direction
               of the Company out of his Permanent Base as set forth in
               subsection 5.A.1.a., above.
          d.   Except as provided for in subsection 11.A.7, a Crewmember
               shall receive per diem for his training assignment from the
               scheduled or actual report time (whichever is later) at his
               Permanent or Temporary Base until the actual release time at
               his Permanent or Temporary Base.
      2. There shall be no pyramiding of per diem entitlements under
         subsections 5.A.1.a. through 5.A.1.d., above.
      3. Per Diem Rate: $2.40 per hour or fraction thereof.

      B. REIMBURSEMENT OF ACTUAL EXPENSES
      1. When a Crewmember receives per diem pursuant to the provisions
         of subsection 5.A., above, he may also request reimbursement for
         actual expenses incurred as a result of unusual circumstances. Any
         such reimbursement shall be within the discretion of the Company.
      2. The Company shall indemnify and hold Crewmembers harmless for

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          any legitimate business-expenses charged to the Company credit
          card in accordance with Company procedures referred to in
          subsection 5.F, below.

      C. TRANSPORTATION TO HOTEL
      1. The Company shall arrange for transportation between the aircraft
         and the hotel.
      2. In the event the Company fails to arrange for transportation between
         the aircraft and the hotel, or the transportation does not arrive within
         thirty (30) minutes of the arrival of the Crewmember at the pick up
         location, a Crewmember may obtain such transportation by any
         reasonable means available. The Crewmember may utilize the
         Company credit card for such transportation, or at his election, the
         Company shall reimburse the Crewmember for the actual cost of
         such transportation upon receipt of adequate documentation from the
         Crewmember.

      D. HOTEL ACCOMMODATIONS
      1. When the circumstances listed in subsection 5.D.3, below, apply, the
         Company shall provide Crewmembers, at no cost, with a single
         occupancy hotel room that meets the following minimum standards
         (any charges for services or requirements set forth below, if not paid
         directly by the Company, shall be paid for on the Company credit
         card):
          a.   Adequate security;
          b.   7KH&UHZPHPEHU¶VVDIHW\LVQRWNQRZQWREHDWULVNE\VWD\LQJ
               at the hotel;
          c.   Satisfies basic standards of cleanliness;
          d.   There are restaurants in the hotel, or in the immediate vicinity of
               the hotel;
          e.   Equipped with telephone access;
          f.   Equipped with private bathroom and shower; and
          g.   Assigned to a non-smoking room unless the Crewmember
               requests a smoking room.
      In addition to the standards listed in subsection 5.D.1., above, the
         Company will attempt to meet the following guidelines in subsection
         5.D.1., below:



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          a. Free in-room broadband access (if free access has not been
             negotiated by the Company, any fees for access to be paid by
             the Company; provided, if broadband cost is on a per minute
             basis, the Company is not required to pay for fees in excess of
             (1) hour of usage per day but may do so upon request by a
             Crewmember). If in-room broadband access is not available,
             then the Company will attempt to secure free business center or
             hotel crew room broadband access. Such access fees shall be
             on the same basis applicable to in-room broadband access as
             described herein.
          b. Equipped with a microwave and refrigerator in the case of a
             training event scheduled to last ten (10) days or longer;
          c.   Access to exercise facilities on-site or in the immediate vicinity
               and arranged for by the hotel (any fees for exercise to be paid
               by the Crewmember).
      2. The Company will make every reasonable effort to contract with
         hotels which provide breakfast at no cost to the Crewmember. If the
         hotel offers free breakfast to other guests, the Company will not
         contract for a no-breakfast room rate.
      3. The Company shall           provide   hotel   accommodations       for   a
         Crewmember when he:
          a.   Is on a scheduled layover and/or requires legal rest away from
               his Permanent or Temporary Base except as provided for in
               Section 11.A.7; or
          b.   Is on an in-transit stop (e.g., maintenance delays, fueling,
               waiting to deadhead) scheduled for at least six hours and thirty
               minutes (6:30) from block-in to block-out; or
          c.   Is in training in accordance with subsection 11.A.7.; or
          d.   Is on R- ³+RWHO 5HVHUYH´  VWDWXV DW RU DZD\ IURP KLV
               Permanent or Temporary Base; or
          e.   Is performing non-flight assignments at a location more than fifty
               (50) miles from his residence; or
          f.   Is on a layover, scheduled or otherwise, of less than seventy-two
               hours (72:00) at his Permanent or Temporary Base; or
          g.   Is at his Permanent or Temporary Base at the end of his Duty
               Day, and his Duty Day has exceeded sixteen (16) hours
               (including any deadhead), and the Crewmember requests hotel
               accommodations.


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      4. In the event the Company fails to arrange for hotel accommodations
         as required under this subsection 5.D., above, or fails to provide the
         Crewmember with confirmation no later than thirty (30) minutes after
         block-in that such accommodations have been made, or the
         &UHZPHPEHUV¶ KRWHO URRP LV QRW DYDLODEOH ZLWKLQ WKirty (30) minutes
         DIWHUD&UHZPHPEHU¶VDUULYDODWWKHKRWHOD&UHZPHPEHUPD\REWDLQ
         hotel accommodations that are consistent with the provisions of
         subsection 5.D.1.a-g.          Prior to obtaining other hotel
         accommodations, the Crewmember must contact the Travel
         Department to provide the Company with an opportunity to resolve
         the hotel issue. If the Crewmember does not have access to his
         room within forty-five (45) minutes after contacting the Travel
         Department, the Crewmember may obtain other hotel
         accommodations. A Crewmember may utilize the Company credit
         card when exercising rights pursuant to this subsection 5.D.4.,
         including for transportation to the hotel, or at his election, the
         Company shall reimburse the Crewmember for the reasonable actual
         costs of such accommodations upon presentation of adequate
         documentation.
      5. The Company shall meet with the Union Hotel Committee no less
         than bi-weekly via telephone conferences, consistent with current
         practices, to review hotels utilized by Crewmembers relative to the
         criteria set forth in subsections 5.D.1. and 5.D.2., discuss
         improvements to the quality of hotels regularly utilized by
         Crewmembers, consider Committee recommendations before
         making additions and deletions to the group of hotels regularly
         utilized by Crewmembers, and to address related matters.

      E. CREW MEALS
      &UHZ0HDOVVKDOOEHSURYLGHGLQDFFRUGDQFHZLWKWKH&RPSDQ\¶V*URXQG
      Administration Manual and Appendix 5.A. Appendix 5.A. shall remain in
      effect unless modified by mutual agreement of the Company and Union.

      F. EXPENSE ACCOUNT
      The Company shall provide Crewmembers with a Company credit-card
      which shall be used for all legitimate business-related expenses where
      direct bill arrangements have not been made by the Company.

      G. GENERAL
      1. Hotel reservations shall be made in advance by the Company
         whenever possible.


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      2. When layover time is scheduled to exceed eighteen (18) hours, the
         &RPSDQ\VKDOOERRNDKRWHOWKDWLVORFDWHG³GRZQWRZQ´ LHORFDWHG
         ZLWKLQ D FLW\¶V FRUH EXVLQHVV GLVWULFW  or away from downtown but
         within walking distance of non-fast food restaurants, shops and/or
         movie theaters, consistent with current practice. This subsection will
         not apply when the Company determines, for safety reasons it is
         unsafe to place Crewmembers at a location referred to herein or
         where the Company flies to a location on an infrequent basis (i.e.,
         less than six (6) times per year).
      3. The Company shall publish to all Crewmembers its Pilot and Flight
         (QJLQHHU &UHZ 7UDYHO 3ROLF\ DQG 3URFHGXUHV ³7ravel Policy),
         including any amendments the Company may make during the term
         of this Agreement. The Travel Policy and amendments thereto will
         not conflict with the Agreement. Prior to publishing amendments, the
         Company shall send an advance copy of the amendments to the
         Union and will consider any changes proposed by the Union.




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                                         APPENDIX 5-A

                                  Crew Food Minimum Standards
                                                                      Block Time
                          Description                         0 to     4 to     8+
                                                              3:59     7:59     Hours
       Sandwich Tray (Equivalent Number of
       Sandwiches per CM)                                        2*        2           2
       Fresh Fruit (Equivalent of Whole Fruit per CM)            2         2           2
       Soda-Assorted (12 ounce cans per CM)                      2         3           3
       Water (Liters per CM)                                     1         2           3
       Hot Meals (per CM)                                        0         1           2



                              Hot Meal Type by Time
                                        Departure Time Local
                       0000 to 0600        0601 to 1400        1401 to 2359
       Meal            1st      2nd        1st      2nd         1st     2nd
       Type            Meal    Meal        Meal    Meal        Meal     Meal
        Breakfast       X                                                X
        Lunch                    X           X
        Dinner                                         X         X


       * If catering cannot deliver the sandwich tray to JFK without delaying the flight,
       the Company may provide power bars in lieu of a sandwich tray for flights that
       are two (2) hours or less.




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                                  SECTION 6: GATEWAY TRAVEL
      A. &RPSDQ\ SURYLGHG WUDYHO WR DQG IURP DQ HOLJLEOH &UHZPHPEHU¶V
         UHVLGHQFHDQGDFFRPPRGDWLRQVUHODWHGWRDQDVVLJQPHQW ³*DWHZD\
         7UDYHO´  ZLOO EH provided in accordance with and subject to the
         following:
      1. Gateway Travel Airports
          a.   The Company shall designate the airports from which and to
               which Gateway Travel will be provided to eligible Crewmembers.
               There shall be no minimum or maximum number of airports so
               designated. To qualify for designation as a Gateway Travel
               airport, the airport must have sufficient commercial Part 121 air
               carrier service so as to provide competitive airfares. The
               Company shall consider input provided by the Union regarding
               adding or deleting Gateway Travel airports, with the intent to be
               to provide airports that are convenient for the Crewmember
               while at the same time afford the Company the ability to
               minimize the cost of providing Gateway Travel.
          b.   The following airports are currently designated as Gateway
               Travel airports. The Company shall publish any additions or
               deletions to this list on a timely basis.
                 ABQ      CLE     DTW   IND   MCI   OGG    PVD    SMF
                 ANC      CLT     EWR   ISP   MCO   OKC    RDU     STL
                 ATL     CMH      EUG   JAN   MDT   OMA    RSW    SYR
                 AVL     COS      FAI   JAX   MDW   ORD    SAC     TLH
                 BDL     CRP      FLL   JFK   MEM   ORF    SAN     TPA
                 BHM     CVG      GEG   KOA   MGM    PBI    SAT   TUS
                 BNA     DAB      HLN   LAS   MIA   PDX    SEA     TYS
                 BOI     DAY      HNL   LAX   MKE   PHL    SFO    VPS
                 BOS     DCA      HOU   LGA   MSP   PHX    SGF
                 BWI     DEN      IAD   LIH   MSY    PIT   SHV
                 CHS     DFW      IAH   LIT   OAK   PNS     SLC
               No deletions shall be made to this or any future list of Gateway
               Travel Airports without the concurrence of the Union, provided,
               however, that such concurrence will not be withheld if an airport
               no longer meets the qualifications in subsection 6.A.1.a. Any
               disputes regarding the deletion or addition of a Gateway Travel


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               Airport shall be resolved pursuant to the provisions of
               subsections 20.B. and 20.D.
          c.   Unless mutually agreed otherwise between the Company and
               the Crewmember, Gateway Travel will be provided to an eligible
               Crewmember from a Gateway Travel airport located within one
               KXQGUHG DQG WKLUW\ PLOHV   IURP WKH &UHZPHPEHU¶V
               residence. If more than one Gateway Travel airport is located
               within one hundred and thirty miles (130) from the
               &UHZPHPEHU¶V UHVLGHQFH the Company shall designate the
               airport from which the travel is to be provided, which may vary
               from assignment to assignment.
          d.   Unless mutually agreed otherwise between the Company and
               WKH &UHZPHPEHU LI DQ HOLJLEOH &UHZPHPEHU¶V UHVLGHQFH LV
               more than one hundred and thirty (130) miles from the nearest
               Gateway Travel airport, then the Company, at its discretion,
               shall provide Gateway Travel either from the Gateway Travel
               DLUSRUW WKDW LV QHDUHVW WKH &UHZPHPEHU¶V UHVLGHQFH RU IURP D
               Gateway Travel airport that is within fifty (50) miles of such
               nearest Gateway Travel airport.
          e.   Unless mutually agreed otherwise between the Company and
               the Crewmember a Crewmember being provided Gateway
               Travel shall be returned to the same Gateway Travel airport
               from which he departed.
      2. Crewmember Eligibility for Gateway Travel
          a.   A Crewmember will not be eligible for Gateway Travel if his
               residence is within one hundred and thirty (130) miles of his
               Base.
          b.   A Crewmember who is based at a location within the United
               States but whose residence is outside the United States will not
               be eligible for Gateway Travel until he arrives in the United
               6WDWHV DW D *DWHZD\ 7UDYHO $LUSRUW RI WKH &UHZPHPEHU¶V
               choosing.
          c.   The application of the Gateway Travel Program to
               Crewmembers based at a location outside the United States, if
               any, shall be determined in accordance with Section 1 (Foreign
               Operations).
          d.   Nothing herein shall preclude the Company, in its sole
               discretion, from extending Gateway Travel benefits (either on a
               temporary or permanent basis) to an otherwise ineligible
               Crewmember in the event of extraordinary circumstances or

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               hardship. If such benefits are extended the Company may set
               out the parameters of eligibility, including but not limited to
               duration. The decision of the Company shall be final, and there
               shall be no right on the part of any Crewmember or the Union to
               utilize the provisions of Sections 20 or 21 to grieve or otherwise
               FKDOOHQJH WKH &RPSDQ\¶V GHFLVLRQ WR JUDQW RU GHQ\ *DWHZD\
               Travel benefits to Crewmembers in such circumstances or the
               parameters of such eligibility.
      3. When Gateway Travel is to be provided
          a.   In order to timely position a Crewmember for his assignment,
               Gateway Travel to an assignment may be required of the
               Crewmember on an otherwise scheduled Day Off, and shall not
               entitle the Crewmember to any compensation for such.
          b.   Gateway Travel from an assignment will be scheduled to return
               the Crewmember to his Gateway Travel Airport no later than
               twenty-four (24) hours after the conclusion oIWKH&UHZPHPEHU¶V
               assignment, provided, however, that no Gateway Travel from an
               DVVLJQPHQW ZLOO EH SURYLGHG LI WKH &UHZPHPEHU¶V QH[W
               assignment is to commence within forty-eight (48) hours of the
               actual conclusion of his current assignment.
      4. Gateway Travel Hotel Accommodations and Per Diem
          a.   If a Crewmember is required to Gateway Travel on a Day Off he
               will be provided with hotel accommodations at his Base until the
               start of his assignment.
          b.   If an otherwise Gateway Travel eligible Crewmember is not
               eligible for Gateway Travel at the end of his assignment
               pursuant to subsection 6.A.3.b., above, the Crewmember shall
               be provided hotel accommodations at his Base between such
               assignments.
          c.   Except as provided in subsection 6.A.4.d., below, a
               Crewmember shall not be entitled to per diem or other expenses
               as a result of any time spent in Gateway Travel or between
               assignments.
          d.   A Crewmember who is eligible for Gateway Travel shall receive
               per diem and hotel accommodations while assigned to reserve
               at his Base if reserve status at his Base is permitted under
               Section 25 and Section 31.
      5. Alternative Travel



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          a.   If a Crewmember eligible for Gateway Travel requests
               alternative travel (i.e., travel from other than a Gateway Travel
               airport within one hundred and thirty (130) miles of the
               &UHZPHPEHU¶V UHVLGHQFH RU WUDYHO WR D ORFDWLRQ WKDW LV QRW D
               Gateway Travel airport within one hundred and thirty (130) miles
               RIWKH&UHZPHPEHU¶VUHVLGHQFH DQGWKHFRVWRISURYLGLQJVXFK
               alternative travel is less than the cost of providing Gateway
               7UDYHOWKHQDWWKH&RPSDQ\¶VGLVFUHWLRQWKH&UHZPHPEHUPD\
               be provided with such alternative travel.
          b.   $W WKH &RPSDQ\¶V GLVFUHWLRQ DQG GLUHFWLRQ D &UHZPHPEHU
               eligible for Gateway Travel may be provided Gateway Travel to
               other than his Base to begin an assignment in lieu of Gateway
               7UDYHO WR WKH &UHZPHPEHU¶V %DVH IROORZHG E\ D GHDGKHDG WR
               flight duty. The provisions of this subsection 6.A.5.b. are not
               intended to cause the Crewmember to incur any loss of pay.
      6. Expeditious Travel
          a.   The Company shall arrange for Gateway Travel in accordance
               with the following (in descending order) and subject to
               subsections 6.A.6.b. and 6.A.6.c., below:
               (i) The Company shall arrange for non-stop travel when it is
                   available.
               (ii) If non-stop travel is not available, the Company shall arrange
                    for one-connection travel when it is available. The Company
                    shall select the shortest connection time available.
               (iii) If one-connection travel is not available, the Company shall
                     arrange for two-connection travel. The Company shall select
                     the shortest connection times available.
               (iv) The connect times in subsections 6.A.6.a.(ii) and 6.A.6.a.(iii),
                    above, shall be chosen after the cost triggers referenced in
                    subsections 6.A.6.b. and 6.A.6.c., below, have been
                    reviewed.
          b.   Notwithstanding the above, the Company may in the first
               instance arrange for Gateway Travel under subsection
               6.A.6.a.(ii), above, if the cost of Gateway Travel under
               subsection 6.A.6.a.(i), above, exceeds the cost of Gateway
               Travel under subsection 6.A.6.a.(ii), above by more than fifteen
               (15) percent of the Base Price and the scheduled connection
               time is less than two (2) hours.




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          c.   Notwithstanding the above, the Company may arrange for
               Gateway Travel under subsection 6.A.6.a.(iii)., above, if the cost
               of Gateway Travel under subsection 6.A.6.a.(ii), above, exceeds
               the cost of Gateway Travel under subsection 6.A.6.a.(iii), above,
               by more than fifteen (15) of the Base Price and the scheduled
               connection times are less than two (2) hours for each
               connection.
          d.   The Base Price is defined by as the lowest price available to the
               &RPSDQ\¶V WUDYHO GHSDUWPHQW E\ XWLOL]LQJ FXUUHQW DLUOLQH
               contracts and the reservation system used by the Company.
          e.   When arranging travel under subsections 6.A.6.a.(ii). or
               6.A.6.a.(iii)., above, the Company shall utilize the same carrier
               or a code sharing partner, unless it is not possible to do so.
          f.   If the Company cannot comply with subsection 6.A.6.a.(i). as a
               result of a labor dispute, weather or flight cancellations, or
               compliance would result in a Crewmember being illegal to
               perform a duty assignment, receiving less than twelve (12) hours
               of rest prior to an operating or deadhead segment or booked on
               the last flight of the day, the Company shall schedule Gateway
               Travel in accordance with the descending order provisions of
               subsection 6.A.6.a. unless one or more of the conditions
               referred to herein makes it impossible to do so. In such a case,
               the Company remains obligated to arrange for Gateway Travel
               in accordance with subsection 6.A.3.b.
      7. General
          a.   Gateway Travel shall not be considered Work or duty for any
               purpose, including but not limited to pay, per diem, or duty time
               limitations.
          b.   Crewmember travel to and from a Gateway Travel airport,
               including but not limited to mileage expense, tolls, parking, and
               any other related expenses shall be the responsibility of the
               Crewmember.
          c.   Gateway Travel by air shall be coach class and shall be booked
               RQ D FDUULHU RI WKH &RPSDQ\¶V FKRRVLQJ  )XUWKHU *ateway
               Travel may be provided on Company aircraft. Nothing herein
               shall preclude the Company from providing Gateway Travel via
               other than air transportation.
          d.   The Company is not responsible for delays, cancellations or
               flights missed by the Crewmember.



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          e.   The references in this Section 6 to the one hundred and thirty
               (130) mile distance shall determined be by the most direct
               ground transportation routing as determined by a reputable
               source (e.g., Mapquest, AAA, Google Maps).




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                                            SECTION 7: VACATION
      A. VACATION ACCRUAL
      1. Each Crewmember shall accrue vacation in accordance with his
         years of service, pursuant to subsections 7.A.1.a. and 7.A.1.b.,
         below, for each month in which he is on active status as a
         Crewmember for at least fifteen (15) days.
          a.   From the date of hire through the conclusion of five (5) years of
               active Company service, a Crewmember shall accrue vacation
               at the rate of one and seventeen hundredths (1.17) days per
               month.
          b.   A Crewmember with six (6) or more years of active Company
               service shall accrue vacation at the rate of one and three
               quarters (1.75) days per month.
      2. A Crewmember shall begin to accrue vacation on his date of hire, but
         shall forfeit any accrued vacation if he does not successfully
         complete new-hire training.
      3. There shall be no carryover of unused vacation. Vacations not bid in
         the preceding year for use in the current year, or otherwise used or
         paid out during the current year, shall be paid out on the second pay
         period after January 1st of the following year.

      B. VACATION PAY AND USAGE
      1. Vacation accrued during one calendar year may not be taken until
         January 1st of the following calendar year without Company
         approval.
      2. A Crewmember shall receive Vacation Pay at his then current hourly
         rate of pay as set forth in Section 3, and the Company shall make a
         FRUUHVSRQGLQJGHGXFWLRQIURPWKH&UHZPHPEHU¶VYDFDWLRQDFFUXDO
      3. Each day of vacation shall be paid at 3.65 hours per day.

      C. VACATION SCHEDULING
      1. On or before October 1st of each year the Company shall publish a
         system-wide vacation bid sheet containing the allocation of vacation
         periods for the following calendar year. The vacation bid sheet shall
         indicate the maximum number of Crewmembers, by Status and
         equipment type, who may be on vacation during each vacation
         period.


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      2. The Company shall post the vacation bid on the Company Website.
      3. Each vacation period shall consist of a single block of seven (7)
         consecutive days. The Company may permit Crewmembers to take
         additional vacation days that are consecutive with the seven (7) day
         vacation block.
      4. (DFK &UHZPHPEHU¶V ELG PD\ LQFOXGH PXOWLSOH UHTXHVWV IRU YDFDWLRQ
         periods, which shall be ranked in order of preference.
      5. The vacation bid shall close on November 1st of each year.
      6. For each Status and equipment type, vacations shall be awarded on
         the basis of seniority.
      7. Vacations shall be awarded by November 15th of each year. Awards
         will be published on the Company Website.
      8. After the vacations are awarded, any remaining available vacation
         periods may, subject to the operational needs of the Company, be
         awarded on a first come, first served basis; provided, the vacation is
         requested in writing prior to the date schedule lines are awarded for
         the bid month in which it will be taken.
      9. Vacations, once awarded, may be changed at any time by mutual
         agreement between the Crewmember and the Company.
      10. If a Crewmember voluntarily changes his Status and/or equipment
          type after the vacation bids have been awarded, he shall re-bid his
          vacation entitlement in the subsequent twelve (12) month period for
          his new Status and/or equipment type. Any such re-bidding shall be
          awarded in seniority order amongst those Crewmembers then
          rebidding. If there are less than four (4) vacation periods published
          as available for bidding for each Crewmember, the Company shall
          make additional vacation periods available so each Crewmember
          bidding has at least four (4) vacation period options. In the case of
          an involuntary change in Status and/or equipment type, the
          provisions of subsection 7.D.3., below, shall apply.
          a.   In lieu of re-bidding his vacation, the Crewmember shall have
               the option of being paid out for the lost vacation referenced in
               subsection 7.C.10., above. This Vacation Pay shall be added to
               the greater of Bid Monthly Pay under subsection 3.C. or monthly
               guarantee.

      D. GENERAL
      1. The Company shall make available each year a sufficient number of
         vacation periods to ensure that each Crewmember has an

      2011 Contract | Section 7                                         (40)
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          opportunity to receive a vacation equal to the amount of vacation
          accrued in the prior calendar year. There shall be no black out
          periods during the calendar year. Prior to publishing vacation
          periods for bidding, the Company shall meet and confer with the
          Scheduling Committee to discuss the number of vacation periods to
          be made available in each calendar week.
      2. 7KH&RPSDQ\VKDOODZDUG&UHZPHPEHUVWKHLU³EXGG\ELG´YDFDWLRQ
         preference(s). The senior Crewmember shall inform the Company
         that he wishes to be awarded the same vacation period(s) as a junior
         Crewmember. The Company shall provide Crewmembers with a
         form for exercising rights under this subsection 7.D.2.
      3. $ &UHZPHPEHU¶V YDFDWLRQ PD\ RQO\ EH FDQFHOOHG E\ WKH &RPSDQ\
         based on an operational necessity that was not reasonably
         foreseeable at the time of the posting of the vacation bid sheet during
         the prior calendar year. In the event of a vacation cancellation, the
         Company shall provide the Crewmember with as much notice as
         UHDVRQDEO\ SRVVLEOH ,I WKH &RPSDQ\ FDQFHOV D &UHZPHPEHU¶V
         vacation, the following procedures shall apply:
          a.   The Company shall reimburse the Crewmember, upon receipt of
               adequate documentation, for all non-refundable expenses
               GLUHFWO\ DVVRFLDWHG ZLWK WKH FDQFHOODWLRQ RI WKH &UHZPHPEHU¶V
               vacation. Nothing shall preclude the Company from attempting
               to recover any non-refundable expenses from third parties.
          b.   The Crewmember may select, and the Company shall grant, a
               make-up vacation period during the subsequent twelve (12)
               months, notwithstanding any limitations expressed in Section
               7.D.1., above. In furtherance thereof, the Company shall make
               available at least one (1) vacation period in nine (9) of the twelve
                  PRQWKV $ ³UHPDLQLQJ DYDLODEOH YDFDWLRQ SHULRG V ´ ZLWKLQ
               the meaning of subsection 7.C.8., above, shall count toward the
               &RPSDQ\¶V REOLJDWLRQ LQ D SDUWLFXODU PRQWK  7KLV UH-scheduled
               vacation may not be cancelled by the Company.
          c.   $W WKH &UHZPHPEHU¶V HOHFWLRQ WKH &RPSDQ\ VKDOO SD\ WKH
               Crewmember for the cancelled vacation in the month cancelled.
               This Vacation Pay shall be added to the greater of Bid Monthly
               Pay under subsection 3.C or monthly guarantee.
      4. The Company shall have the right, for any reason, to offer
         Crewmembers option of electing vacation pay in lieu of time off.
         This offer of vacation pay in lieu of time off may be extended for
         specific limited periods, and may be offered system wide or limited to
         RQHRUPRUH%DVHVDWWKH&RPSDQ\¶VGLVFUHWLRQ

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      5. A Crewmember on Military Leave of Absence under Section 13 of
         this Agreement shall be permitted to use accrued vacation one day
         at time while on such leave.
      6. If a Crewmember is on Military Leave of Absence during an awarded
         vacation period, the Crewmember may cancel the vacation period
         and choose from among vacation periods made available by the
         Company or exercise the rights afforded Crewmembers under
         subsection 7.D.3.c., above.
      7. Upon separation from employment with the Company for any reason,
         the Company shall pay the Crewmember (or designated beneficiary
         LQWKHHYHQWRID&UHZPHPEHU¶VGeath) for:
               (i) all accrued unused vacation that was to be taken in the
               current calendar year; and
               (ii) for all accrued unused vacation to be taken in the next
               calendar year if the Crewmember provides at least two (2) weeks
               notice prior to separation (other than in the case of the
               &UHZPHPEHU¶VGHDWKRUUHWLUHPHQWDWDJHVL[W\-five (65) or older)
               and was not discharged for just cause; provided, that a
               probationary Crewmember is not entitled to a vacation payout.
          3D\PHQWVKDOOEHEDVHGRQWKH&UHZPHPEHU¶V6Watus and Longevity
          at the time of the termination of employment.
      8. $ &UHZPHPEHU¶V YDFDWLRQ DFFUXDO RQ WKH GDWH RI VLJQLQJ RI WKLV
         Agreement shall be carried forward.




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                                        SECTION 8: DEADHEADING
      A. DEADHEAD BY AIR
      1. Deadhead by air shall include Company-directed travel:
          a.   )URP D &UHZPHPEHU¶V 3HUPDQHQW RU 7HPSRUDU\ %DVH WR
               another location for the purpose of an assignment; or
          b.   )URP D ORFDWLRQ RWKHU WKDQ D &UHZPHPEHU¶V 3HUPDQHQW RU
               7HPSRUDU\ %DVH EDFN WR WKH &UHZPHPEHU¶V 3HUPDQHQW RU
               Temporary Base at the end of an assignment; or
          c.   %HWZHHQ DQ\ WZR ORFDWLRQV DZD\ IURP WKH &UHZPHPEHU¶V
               Permanent or Temporary Base.
      2. Deadhead by air may be on Company aircraft, on commercial
         passenger carriers or by charter.
          a.   The Company shall not deadhead a Crewmember on a U.S.
               carrier or charter operator that is not FAR 121 or 135 certified.
          b.   When selecting foreign commercial passenger carriers or
               charter operators for deadhead travel, the Company shall make
               a reasonable effort, but is not required to exclusively select,
               FDUULHUV WKDW KDYH EHHQ GHWHUPLQHG E\ WKH )$$¶V ,QWHUQDWLRQDO
               Aviation Safety Assessment (IASA) program to comply with the
               standards established by the International Civil Aviation
               Organization (ICAO). Should the Union have any concerns
               regarding a specific foreign carrier or charter operator, the
               parties will meet and discuss the matter. Nothing contained
               herein shall limit Crewmember rights under Section 26.R of the
               Agreement.
      3. When deadheading on a commercial carrier the Company will
         proYLGH³EXVLQHVV-FODVV´WUDYHO RUEHWWHU IRUDOOLQGLYLGXDOGHDGKHDG
         segments that depart from or arrive at an international location (a
         location outside the fifty States). If business-class travel is not
         available the Crewmember may be required to travel LQ ³FRDFK´
         class.     For such an international deadhead segment that is
         scheduled for six (6) hours or more that the Crewmember is required
         to travel in coach class, he shall be entitled to compensation of three
         hundred dollars ($300.00). In no case may a Crewmember refuse
         commercial air travel in coach class if business class travel is
         unavailable.
          a.   %XVLQHVV FODVV WUDYHO RU EHWWHU ´ PHDQV EXVLQHVV FODVV RU ILUVW
               class, not coach.

      2011 Contract | Section 8                                              (43)
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          b.   If the Company is unable to provide business class travel (or
               better) in accordance with subsection 8.A.3., but the
               Crewmember is able to locate business class travel (or better)
               from the same metropolitan area, he may contact the Travel
               Department, and provided such travel does not interfere with
               completion of assignments in any way, subject to the approval of
               Crew Scheduling, the Travel Department will either authorize
               purchase on the Crewmember's credit card or will book the
               travel identified by the Crewmember. If business class is
               available, a Crewmember may not purchase first class travel.
               7KH &RPSDQ\ VKDOO QRW DVVLJQ RU FKDQJH D &UHZPHPEHU¶V
               departure location for the purpose of making business class
               travel (or better) unavailable.
          c.   The Company shall minimize excessive multiple segments
               between two (2) domestic locations.
      4. When scheduling deadheading, the Company shall use reasonable
         efforts to minimize multiple segments and long airport layovers, and
         multiple carriers that do not code share and/or require separate
         check-in.

      B. SURFACE DEADHEAD
      1. Surface deadhead shall be any Company directed non-local
         (scheduled one (1) hour or more) ground-travel between two airports,
         including ground travel from a hotel adjacent to an airport to another
         airport or vice-versa.
      2. The following table reflects the airport pairs for which surface
         deadhead is currently required:
               F rom/To     To/F rom    T ime    F rom/To    To/F rom          T ime
               AMS          DUS          2:30    DXB         FJR                1:30
               AMS          FRA          4:00    EWR         JFK                1:00
               AMS          HHN          4:00    FRA         DUS                2:00
               AMS          LGG          3:00    FRA         HHN                1:15
               AMS          LUX          4:30    FRA         LUX                2:15
               AMS          RMS          4:30    FRA         RMS                1:15
               BRU          OST          1:30    GLA         PIK                1:00
               CPH          MMX          1:00    GRU         VCP                2:00
               DXB          AUH          2:00    HHN         DUS                2:00



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               F rom/To     To/F rom    T ime    F rom/To    To/F rom          T ime
               HKG          SZN          3:00    MXP         LIN                1:00
               IGU          AGT          1:00    OKA         DNA                1:00
               JFK          DOV          3:15    OKO         NRT                2:00
               JFK          BDL          3:00    OSN         ICN                2:00
               JFK          HPN          1:00    OST         AMS                3:00
               JFK          WRI          2:00    PHL         DOV                1:30
               LGG          BRU          1:00    RMS         DUS                3:00
               LGG          HHN          2:30    RMS         HHN                1:15
               LGG          RMS          2:30    RMS         LUX                1:30
               LGW          STN          1:15    ICN         OSN                2:00
               LHR          LGW          1:00    SFO         MHR                2:00
               LHR          MHZ          1:30    SHJ         AUH                2:30
               LHR          STN          1:30    SUU         OAK                1:00
               LUX          AMS          4:30    SUU         SFO                2:00
               LUX          DUS          2:30    WRI         DOV                2:00
               LUX          HHN          1:30    WRI         PHL                1:00
               MFM          HKG          3:30    YHM         YYZ                1:00
               MXP          BGY          1:15    YUL         YMX                1:00

      3. If during the life of this Agreement the operation should require
         surface deadhead on a regular basis between additional airport
         pairs, the Company shall publish the scheduled deadhead time(s) for
         the new airport pair(s), which shall be based on an assessment of
         the actual time necessary to travel between the new airport pair(s) by
         the most expeditious route as determined by a reputable source
         (e.g., Mapquest, AAA, Google Maps). Nothing herein shall be
         construed to prohibit the Company from requiring surface deadhead
         between airports for which the scheduled surface deadhead time(s)
         have not yet been published. Should the Company require that a
         Crewmember surface deadhead between two airports for which no
         scheduled deadhead time has been published by the Company, and
         the actual time necessary to travel between such airports cannot be
         determined by using the above-mentioned reputable sources, the
         time in deadhead shall be based on a reasonable assessment of the
         normal surface transportation required for the most expeditious
         routing.
      4. Transportation Local In Nature to and from a layover hotel shall not


      2011 Contract | Section 8                                         (45)
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          be considered surface deadhead.

      C. ALTERNATIVE TRANSPORTATION
      1. A Crewmember request for alternative travel must be made in a
         timely manner and as directed by the Company. The decision to
         allow or disallow an alternative travel request shall be at the
         &RPSDQ\¶VVROHGLVFUHWLRQ
      2. Alternative deadhead transportation will be permitted if the cost of
         providing such is equal to or less than the cost of providing the
         scheduled deadhead transportation.
      3. A Crewmember must be released by the Company before he can
         elect to waive a deadhead segment at the end of a Trip Pairing.

      D. DEADHEAD PAY
      A Crewmember shall be entitled to pay for deadhead in accordance with
      the provisions of Section 3 of the Agreement.

      E. GENERAL
      7KH &RPSDQ\ VKDOO SURYLGH WKH &UHZPHPEHU¶V IUHTXHQW IO\HUUHZDUGV
      number (if the Crewmember provides it to the Company) to the airline at
      the time the reservation is made. The Company shall not be responsible
      for any errors, omissions or credits made related to frequent flyer
      numbers or points.




      2011 Contract | Section 8                                      (46)
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                        SECTION 9: MISCELLANEOUS FLYING
      A. ENGINE-OUT FERRY FLIGHTS
      1. Engine-out ferry flights shall be performed by qualified
         Crewmembers, including Check Airmen, qualified Crewmembers not
         covered by this Agreement, or other qualified individuals who have
         received training to perform engine-out ferry flights.
      2. A Crewmember who is not a Check Airmen may decline training for
         qualification to perform engine-out ferry flights.
      3. A Crewmember who has received training to be qualified to perform
         engine-out ferry flights may not decline an assignment to perform an
         engine-out ferry flight.
      4. A Crewmember who has received training to be qualified to perform
         engine-out ferry flights may resign such qualification at any time,
         provided, however, that once an assignment to perform an engine-
         out ferry flight has been made, the resignation of his qualification will
         not be effective until that assignment has been completed.

      B. MAINTENANCE ACCEPTANCE, NON-ROUTINE FLIGHT OPERATIONS                  AND
         FUNCTIONAL CHECK FLIGHTS
      1. At the Company's discretion, flights for the purpose of verification or
         calibration and maintenance acceptance flights that occur during
         revenue flights, except as provided in subsection B.2, below, may be
         assigned to qualified Crewmembers, including Check Airmen, or a
         qualified Crewmember not covered by the Agreement.
      2. Maintenance flights that do not occur during revenue flights and Non-
         Routine Flight Operations and Functional Check Flights, including
         but not limited to maintenance acceptance flights, where such
         operations and flights require the use of emergency, abnormal, or
         non-routine procedures or require any special training to verify
         performed maintenance shall be flown by:
          (a) qualified Crewmembers, Check         Airmen   or            qualified
              Crewmembers not covered by this Agreement; or
          (b) when qualified Crewmembers, Check Airmen or other qualified
              Crewmembers not covered by the Agreement are not
              reasonably available, by qualified other individuals.
      3. A positioning flight for the delivery of an aircraft to be purchased, sold
         or leased to or from the Company may be performed by:


      2011 Contract | Section 9                                          (47)
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          (a) qualified Crewmembers, including Check Airmen, qualified
              Crewmembers not covered by this Agreement; or
          (b) when qualified Crewmembers, Check Airmen or other qualified
              Crewmembers not covered by the Agreement are not
              reasonably available, by other qualified individuals.




      2011 Contract | Section 9                                 (48)
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                                           SECTION 10:
                          MANAGEMENT & NON-FLYING DUTY

      A. TRANSFER TO MANAGEMENT OR NON-FLYING DUTY
      1. A Crewmember transferred to a management or non-flying position
         shall retain and continue to accrue seniority and Longevity so long as
         he maintains at least a second class medical certificate and the
         UHTXLVLWHDLUPDQ¶VFHUWLILFDWHIRUKLVIRUPHU&UHZPHPEer Position. If
         VXFKD&UHZPHPEHU¶VPHGLFDOFHUWLILFDWHODSVHVKHVKDOOUHWDLQDQG
         continue to accrue seniority for a period of five (5) years after the
         initial lapse of his medical certificate. The Crewmember will be
         removed from the applicable Crewmember System Seniority List(s)
         on the fifth anniversary of the lapse of his medical certificate, unless
         he is reissued at least a second class medical certificate prior to the
         fifth anniversary.
      2. A Crewmember transferred to a management or non-flying position
         whose seniority as a Crewmember is such that he would be on
         furlough if he were in a Crewmember Position will be placed on
         furlough at the time he returns to a Crewmember Position.
      3. For purposes of this subsection 10.A.3., a Crewmember transferred
         to a management or non-flying position shall retain the Position he
         held prior to the transfer.         A Crewmember transferred to a
         management or non-flying position shall participate in all system
         bids. Pursuant to Section 24, such Crewmember will be awarded a
         place-KROGHU3RVLWLRQ ³SKDQWRPDZDUG´ ZKLFKZLOOEHGHVLJQDWHGDV
         such on the published bid award. If such Crewmember elects to
         return to line duty, he will be assigned a Position based on his
         phantom award. The returning Crewmember will not displace
         another Crewmember.           If the returning Crewmember has not
         completed the training required for the phantom award Position prior
         to returning to duty as a Crewmember, he shall be assigned to the
         Position he held prior to transferring to a management or non-flying
         position until the training is complete; provided, if the phantom award
         Position is at a higher rate of pay than the Position he held prior to
         transferring to a management or non-flying position and the
         Crewmember has not commenced training for the higher paying
         Position within one hundred twenty (120) days of his return to duty
         date, he shall be compensated at the higher rate of pay.
      4. Except as specifically addressed in this Agreement, the terms and


      2011 Contract | Section 10                                       (49)
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          conditions of employment for Crewmembers, including the right to
          appoint and remove Crewmembers who transfer to a management or
          non flying position, shall be within the discretion of the Company and
          shall not be subject to the terms of this Agreement. A Crewmember
          wishing to be released from a management or non-flying position
          may resign from such position. If feasible, a Crewmember wishing to
          resign will provide a minimum of thirty (30) days notice, but in all
          cases, as much notice as practicable.

      B. FLYING BY MANAGEMENT CREWMEMBERS
      1. A Management Crewmember may perform revenue and non-
         revenue flying for the Company; however, such Management
         Crewmember is not eligible to bid for a line of flying, except for
         bidding in a month in which the Management Crewmember is to
         return to line duty as a Crewmember.
      2. When a Management Crewmember performs awarded or assigned
         flying (except as described in subsection 10.C., below), the following
         provisions shall be applicable:
          a. Displacement of a Crewmember by a Management Crewmember
               (i) If a Management Crewmember displaces a Crewmember
                   who is a Regular Line Holder from an awarded or assigned
                   trip, the Crewmember shall be credited the greater of the
                   scheduled or actual pay/credit hours of the trip(s) from which
                   he was displaced.
               (ii) In the event of a displacement under subsection 10.B.2.a.i.,
                    above, the Company may require the Crewmember to fly
                    any other trip in lieu of the trip from which he was displaced;
                    provided:
                   (a) the Crewmember is given the new trip at the time of
                       notification of his displacement from the originally
                       awarded or assigned trip; and
                   (b) the newly-assigned trip is scheduled to depart no earlier
                       than the originally-assigned trip is scheduled to begin;
                       and
                   (c) the newly assigned trip is scheduled to be completed no
                       later than the last day of the original Trip Pairing.
                   (d) the newly-assigned trip does not make the Crewmember
                       illegal for his next scheduled trip assignment.



      2011 Contract | Section 10                                         (50)
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                   :LWK WKH GLVSODFHG &UHZPHPEHU¶V FRQFXUUHQFH WKH
                   displaced Crewmember may be assigned any other
                   replacement trip offered by the Company.
               (iii) A Crewmember who is a Reserve Line Holder who is
                     assigned a trip, but was subsequently displaced from the
                     assigned trip by a Management Crewmember, will revert to
                     reserve status.
               (iv) In the event a displaced Crewmember who is a Regular Line
                    Holder receives a new assignment under subsection
                    10.B.2.a.(ii), above, the pay/credit guarantee in subsection
                    10.B.2.a.(i), above, will not apply. Instead, the displaced
                    Crewmember shall receive the greater of:
                        (a) actual or scheduled pay/credit hours for the originally
                        assigned trip (whichever is greater); or
                        (b) actual or scheduled pay/credit hours for the newly
                        assigned trip (whichever is greater).
          b.   Open Time Flying by a Management Crewmember.
               (i) The Company may use Management Crewmembers to
                   perform Open Time flying when required to maintain the
                   0DQDJHPHQW &UHZPHPEHU¶V FXUUHQF\ DQG SURILFLHQF\ DV D
                   Crewmember and/or a Check Airman; provided, the
                   Company first complies with subsection 25.M. and such
                   procedures did not produce an available Crewmember within
                   seventy-two (72) hours of the scheduled departure of the
                   trip.

      C. EXCEPTIONS TO RESTRICTIONS ON MANAGEMENT CREWMEMBERS
      1. The provisions of subsection 10.B.2.b., above, do not apply to any
         flights operated by Management Crewmembers under Section 9 or
         Section 33




      2011 Contract | Section 10                                         (51)
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      2011 Contract | Section 10                               (52)
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                                             SECTION 11: TRAINING
      A. GENERAL
      1. The Company shall establish and implement training and checking
         programs consistent with this Agreement. Training and checking
         shall be in accordance with applicable FARs and Company policy, as
         set forth in the Flight Operations Training Manual, which may be
         amended from time to time by the Company. The Company will
         engage in prior consultation with the UTC as set forth in this Section
         11 on significant or material amendments to the Flight Operations
         Manual. Nothing contained herein shall prohibit the Company from
         complying with FAA-mandated changes to the Flight Operations
         Training Manual. Such training programs will include but not be
         limited to initial New Hire training, upgrade training,
         transition/differences training, recurrent training, and requalification
         training.
      2. Subject to subsections 24.L.2. and 24.M.3., the Company shall
         provide at its expense any training or checking required by the
         Company or FAA to qualify as a Crewmember or to obtain or
         maintain qualifications as a Crewmember. The Company shall not
         require payment for or reimbursement to the Company for any
         training or checking costs or expenses, or the execution of any
         training or checking bond, or other agreement with respect to the
         same. Any such agreement to the contrary shall be null and void.
      3. Subject to subsections 24.L.2. and 24.M.3., if the Company or FAA
         requires certification not in effect on the effective date of the
         Agreement, the Company shall afford Crewmembers the opportunity
         to secure such certification in a manner that will be applied equally
         and uniformly by the Company; provided, however, that the
         Company shall not be required to pay for the cost of a written
         examination (i.e., written ATP, FE wanting to be trained as a Pilot).
          a.   If the Company requires prior operating experience of any kind,
               the Company shall enter into a mutually agreeable Letter of
               Agreement with the Union establishing the terms and conditions
               of such prior operating experience, and related issues that arise
               as a result thereof, before posting any vacancies or otherwise
               awarding or assigning Crewmembers to such Positions.
      4. The Company will establish and publish the standards all
         Crewmembers are required to meet in order to successfully complete
         any training curriculum, including any oral examination or Checkride.


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          Such standards will be applied equally and uniformly by the
          Company recognizing that Instructors and Check Airmen have
          different styles of teaching and checking. The Company has the right
          WR HYDOXDWH DQ\ &UHZPHPEHU EDVHG RQ WKH &RPSDQ\¶V SXEOLVKHG
          standards, requirements, and the FARs, to determine his progress in
          training and checking.
      5. The Company may provide additional training beyond those required
         by this Section 11. Additional training referred to in this Section 11
         VKDOODWDPLQLPXPDGGUHVVD&UHZPHPEHU¶VVSHFLILFSHUIRUPDQFH
         deficiencies. When Crewmembers require additional training, access
         to such additional training shall be applied equally and uniformly by
         the Company.
      6. A Check Airman on the respective System Seniority List shall
         administer all Checkrides.
      7. Other than for Home Study, the Company shall provide
         transportation to and from training, together with per diem and
         ORGJLQJ IRU DOO WUDLQLQJ DZD\ IURP WKH &UHZPHPEHU¶V UHVLGHQFH
         However, the Company is not required to provide transportation
         EHWZHHQ D &UHZPHPEHU¶V UHVLGHQFH DQG WKH WUDLQLQJ ORFDWLRQ LI WKH
         Crewmember resides within seventy-five (75) miles of the training
         location based on the distance as determined by AAA. Upon request,
         the Company will provide Crewmembers who reside within seventy-
         five miles of the training center with lodging beginning the day prior
         to training and for any day(s) during training that the Crewmember
         does not return to his residence.
      8. A Crewmember may be assigned to simulator support duty as
         needed to provide a complete flight crew for various training and
         checking.     Except when otherwise required by the FARs, a
         Crewmember assigned simulator support duty shall not be subject to
         training, oral examination or checking requirements solely as result
         of such assignment. The Company may not assign a Crewmember
         simulator support duty if the assignment interferes with the
         &UHZPHPEHU¶V RZQ WUDLQLQJ RUDO H[DPLQDWLRQ RU &KHFNULGH RU
         preparation for the same.
      9. If a Crewmember does not pass a Checkride, the Company shall
         assign a different Check Airman for each subsequent Checkride until
         requalification has occurred or training has been terminated.
      10. The Company will not schedule any two (2) Checkrides within forty-
          eight (48) hours without Crewmember concurrence.
      11. Actual training within a training class shall be scheduled based on


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          the needs of the operation, taking into consideration, where possible,
          the seniority of the Crewmember to be trained. A Crewmember may
          not select a simulator period that conflicts with a known trip
          scheduled to begin upon completion of the training session. Training
          of Check Airmen takes precedence over all other simulator and flight
          training.
      12. The Company is not required to provide simulator training or other
          flight training to any Crewmember who has not satisfactorily
          completed any required ground school training.

      B. TRAINING COMMITTEE
      1. The Union shall appoint two (2) Crewmembers to the Training
         Committee, both of whom, in the sole discretion of the Union, have
         sufficient qualifications to serve on the Training Committee.
      2. The Company shall meet with the Training Committee on a semi-
         annual basis and when otherwise required by this Section 11.
      3. The Company shall meet and confer with the Training Committee
         prior to making substantial modifications to the Flight Operations
         Training Manual or when the Training Committee has identified
         possible improvements.
      4. The Company shall notify the Training Committee if a Crewmember
         invokes the change procedures set forth in subsection 11.C.2.,
         below, requires additional training under subsection 11.D.2 or does
         not pass a Checkride pursuant to subsection 11.E., below.
         Notification shall be provided within twenty-four (24) hours.
      5. The Union shall inform the Company of the Training Committee
         PHPEHU V  RU GHVLJQHH V  ZKR VKDOO EH WKH &RPSDQ\¶V SRLQW RI
         immediate contact in the event of a Training Conflict.
      6. The Company shall make reasonable efforts to release members of
         the Training Committee, or their designees, from conflicting duty to
         carry out Training Committee duties as set forth in this Section 11,
         consistent with current practice. If a Training Committee member, or
         designee, cannot be released on a particular occasion, the Company
         shall contact the Training Committee, or their designees, by
         telephone and provide the relevant information.       Flight pay loss
         procedures shall be as set forth in the Flight Pay Loss Letter of
         Agreement.

      C. TRAINING CONFLICTS
      1. If a Crewmember has concerns about any aspect of training or a

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          checkride, the Crewmember shall attempt to resolve the matter with
          the Fleet Captain or his designee. Nothing contained herein shall
          prevent a Crewmember from raising training related issues with other
          training management individuals he deems appropriate. The
          Company and Crewmembers may also refer concerns to the Training
          Committee.
      2. If, during any training event other than Recurrent Training, there is a
         personal conflict between the Crewmember and his training partner,
         or between the Crewmember and the Simulator Instructor or Check
         Airman, a Crewmember may request a change in training partner,
         Instructor or Check Airman, whichever is applicable. A
         &UHZPHPEHU¶V UHTXHVW VKDOO EH KRQRUHG RQH WLPH SHU WUDLQLQJ
         curriculum, to include the Checkride.
          a.   The ability to change Instructors or Check Airman shall be
               limited to those individuals currently available and qualified to
               administer the training curriculum, including the Checkride.
               ³&XUUHQWO\DYDLODEOH´PHDQVWKH,QVWUXFWRURU&KHFN$LUPDQLVDW
               the training location.      If an Instructor or Check Airman,
               whichever is applicable, is not available, the Company shall
               select an Instructor or Check Airman, after consultation with the
               Training Committee, who can be available within forty-eight (48)
               hours.
          b.   $ &UHZPHPEHU¶V ULJKW WR FKDQJH WUDLQLQJ SDUWQHUV VKDOO EH
               limited to a Crewmember who is participating in the same
               training curriculum, including the Checkride.
      3. To preserve the continuity of the training schedule, the Crewmember
         shall make the specific concern and/or personal conflict referred to in
         subsections 11.C.1. or 11.C.2., above, known to the Company as
         soon as the Crewmember becomes aware of the concern and/or
         conflict.
      4. Upon referral or notification in accordance with subsection 11.B.4. or
         11.C.1., above, whichever is applicable, the Training Committee, or
         designee shall meet with the Company in person or by telephone, as
         agreed upon by the parties, to discuss potential resolutions of the
         underlying issue(s).
      5. At the request of the Company, Crewmember or the Training
         Committee, a member of the Training Committee, or a mutually
         agreeable designee, shall be assigned to observe the training and/or
         Checkride that is the subject of the referral or notification unless an
         FAA official in attendance prohibits such an observer.


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      D. UNSATISFACTORY TRAINING PROGRESS
      If a Crewmember is not making satisfactory progress in a training
      curriculum, including, when applicable, obtaining a recommendation for
      an oral examination, obtaining a recommendation for a Checkride, or
      failing an oral examination required by the FAA for a type-rating, the
      following procedures apply:
      1. The Crewmember shall receive additional training.
      2. If the Crewmember does not make satisfactory progress in a training
         curriculum following additional training referred to in subsection
         11.D.1., above, the Crewmember shall receive additional training.
      3. If the Crewmember does not make satisfactory progress in a training
         curriculum following the additional training referred to in subsection
         11.D.2., above, the consequences shall be as set forth in subsection
         11.D.4., below.
      4. The Company may remove a Crewmember from the training
         curriculum after providing the additional training referred to in this
         subsection 11.D. Upon removal, a Crewmember will be returned to
         his last Position after completing any required re-qualification training
         curriculum.       If the Company removes the Crewmember for
         unsatisfactory progress in the training curriculum, or the
         Crewmember removes himself (except for circumstances beyond the
         control of the Crewmember, e.g., death of a family member, illness,
         divorce), the removal shall be considered an Unsuccessful
         Qualification Event (UQE) within the meaning of subsection 11.E.,
         below. The UQE will carry-IRUZDUG WR WKH &UHZPHPEHU¶V QH[W
         Checkride pursuant to subsection 11.E., below.

      E. CHECKRIDES
      If a Crewmember attempts but does not pass a Checkride, the failure
      shall be considered the first UQE. Following the first UQE, the following
      procedures shall apply:
      1. The Crewmember shall receive additional training.
          a.   If the Crewmember receives a recommendation for a second
               Checkride, and does not pass the second Checkride, the failure
               shall be considered the second UQE.
          b.   If the Crewmember does not receive a recommendation for a
               second Checkride, the Crewmember shall receive additional
               training (in addition the training provided pursuant to subsection
               11.E.1., above). If the Crewmember does not receive a


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               recommendation for a second Checkride following the
               aforementioned additional training , the failure to obtain a
               recommendation for a second Checkride shall be considered the
               second UQE.
      2. Following a second UQE pursuant to subsections 11.E.1.a. or
         11.E.1.b., above, whichever is applicable, the following procedures
         shall apply:
          a.   The Crewmember shall receive additional training.
          b.   If the Crewmember receives a recommendation for a third
               Checkride, and does not pass the third Checkride, the failure
               shall be considered the third UQE.
          c.   If the Crewmember does not receive a recommendation for a
               third Checkride, the failure to obtain a recommendation shall be
               considered the third UQE. The consequences of a third UQE
               shall be as set forth in subsection 11.E.4., below.
      3. UQE Carry-Forward. When a Crewmember attempts to qualify for
         any Position, UQEs resulting from the procedures set forth
         subsection 11.D.4. and 11.E., above, shall be cumulative, up to and
         including three (3) UQEs. Upon qualification in any Position, all
         previous UQEs will no longer be applicable for the purpose of this
         Section 11.     However, the FAA mandated Proficiency Watch
         Program (PWP) will still be applicable.
      4. Accumulation of Three UQEs
          a.   Prior to accumulating three (3) UQEs, a Crewmember shall
               remain on active status unless the parties mutually agree
               otherwise.
          b.   $IWHU DFFXPXODWLQJ WKUHH   84(V WKH &UHZPHPEHU¶V
               employment status shall be determined by the Company.;
               provided, there is just cause (e.g., termination, downgrade).

      F. CREWMEMBER TRAINING INSTRUCTORS
      1. Staffing
          a.   Crewmembers assigned each bid month as Ground School
               Instructors, Simulator Instructors, Proficiency Check Airmen,
               Aircrew Program Designees, and Designated Flight Engineer
               ([DPLQHUV VKDOO KHUHLQDIWHU EH UHIHUUHG WR DV ³&UHZPHPEHU
               7UDLQLQJ,QVWUXFWRUV´ ³&7,V´ 




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           b. The Company shall be obligated to staff in each Bid Month a
              sufficient number of CTIs to accomplish no less than fifty percent
                 RI WKH SODQQHG ³LQVWUXFWLRQDO WUDLQLQJ SHULRGV´ IRU WKH
              ground based flight training of Crewmembers (i.e. Pilots and
              Flight Engineers covered by this Agreement) to be accomplished
              LQWKDW%LG0RQWKDWWKH&RPSDQ\¶VWUDLQLQJIDFLOLWLes; provided, if
              CTIs staffed less than fifty percent (50%) of the actual
              instructional training periods in a Bid Month, then the fifty
              percent (50%) requirement in the second Bid Month thereafter
              shall be increased by the percentage difference between fifty
              percent (50%) and the percentage of instructional training
              periods staffed by CTIs. The monthly number of CTIs to be
              staffed shall be determined as follows:
               (1) A determination shall be made of the number of hours of
                   Crewmember ground based flight training to be conducted in
                   WKHELGPRQWKDWWKH&RPSDQ\¶VWUDLQLQJIDFLOLWLHV,QFOXGHG
                   in the determination of Crewmember ground based flight
                   training shall be:
                   i.    Initial training;
                   ii.   Recurrent training;
                   iii. Transition training;
                   iv. Upgrade training;
                   v. Re-qualification training.
                   Full motion simulator time and fixed base simulator (or
                   similar device) time associated with subsections 11.F.1.b.(1)
                   i.-v., above, shall be included in the determination referred to
                   above. Planned instructional training periods are those built
                   LQWR WKH &RPSDQ\¶V FUHZ PDQDJHPHQW V\VWHP &06  SULRU
                   to the start of a Bid Month.
               (2) In the event the name of the training programs identified in
                   subsection 11.F.1.b.(1), above, change, the parties shall
                   execute a letter of agreement substituting applicable the new
                   name(s).
          c.   Nothing in this Agreement shall be construed to restrict in any
               ZD\ WKH &RPSDQ\¶V ULJKW WR KLUH RU RWKHUZLVH HPSOR\
               ³3URIHVVLRQDO7UDLQLQJ,QVWUXFWRUV´ZKRVKDOOQRWEHFRYHUHGE\
               this Agreement; provided, Checkrides shall only be given by
               Check Airmen on the System Seniority List. The Company shall
               consider the application of any Crewmember interested in filling


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               a position as a Professional Training Instructor.            If a
               Crewmember is awarded a position as a Professional Training
               Instructor, he shall not be subject to the terms and conditions of
               this Agreement.
          d.   A Crewmember who is otherwise unable to perform duties as a
               Crewmember and is offered a position as a Professional
               Training Instructor shall be treated in accordance with
               subsection 11.F.1.c., above.
      2. Compensation. A CTI shall be compensated as provided in Section
         3.
      3. Training Periods
          a.   A CTI shall not be scheduled for more than one (1) training
               SHULRGSHUDVVLJQHG:RUN'D\ZLWKRXWWKH&7,¶Vconsent.
          b.   Training periods, which may include multiple events             or
               classroom sessions, shall not be scheduled for more than       ten
               (10) hours, including two (2) fifteen (15) minute breaks,      but
               exclusive of a one (1) hour break for lunch/dinner, without    the
               C7,¶VFRQVHQW
          A CTI shall be scheduled for a minimum of ten (10) hours of rest
          EHWZHHQ WUDLQLQJ SHULRGV ZKLFK FDQ EH UHGXFHG ZLWK WKH &7,¶V
          concurrence.
      4. Crewmember Training Instructor Scheduling.
      5. Proficiency Flying. The Company shall permit a CTI to perform, at a
         minimum, one (1) month of regular line flying every three (3) months;
         provided, if operational considerations require, the four (4) months of
         regular line flying may be accomplished at any time over the course
         of a twelve (12) month period.
      6. General
          a.   Nothing herein shall preclude the Company from assigning a
               CTI to training support.
          b.   The Company shall provide CTIs transportation to the location of
               the assignment and return, per diem and lodging in accordance
               with Section 5 for all training assignments, unless the CTI
               resides within seventy-five (75) miles of the training location.
          c.   A CTI who is assigned training duty shall receive pay and credit
               for travel between his Base and the training location.




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                               SECTION 12: HOURS OF SERVICE
      A. GENERAL
      1. Except as specifically set forth in this Section 12, Crewmembers are
         not required to exceed the flight time or duty period limitations
         contained in this Agreement.
      2. Except for Company flight operations, a Crewmember shall not
         perform any flying that would count towards his FAR flight time or
         duty time limitations without prior permission by the Company.
         Nothing herein shall prevent a Crewmember from flying military
         aircraft as part of any military reserve obligation.

      B. DUTY PERIOD REPORT TIME AND RELEASE TIME
      1. Except as provided in subsections 12.B.2. and 12.B.3., below, a
         &UHZPHPEHU¶V GXW\ SHULRG VKDOO FRPPHQFH ³UHSRUW WLPH´  DQG KLV
         GXW\ SHULRG VKDOO HQG ³UHOHDVH WLPH´  DV SURYLGHG LQ WKH IROORZLQJ
         table:

                    Crew               Report Time             Release Time

              Operating Flight     1:30 prior to scheduled 30 minutes after actual
               Crewmember                departure                block in
                Deadhead ±         1:30 prior to scheduled 30 minutes after actual
              Company Aircraft           departure             block in time
          Deadhead ± Commercial
                                1:30 prior to scheduled 30 minutes after actual
                   Flight
                                      departure             block in time
              (International)

          Deadhead ± Commercial
                                1:00 prior to scheduled 15 minutes after actual
                 Flight
                                      departure             block in time
               (Domestic)
             Ground Deadhead        Scheduled departure
                                                           Scheduled arrival time
              Transportation           time for Limo



      2. Time spent in Transportation Local In Nature from the location where
         the Crewmember was released from duty to lodging and from the
         lodging to a duty assignment does not count toward duty period
         limitations set forth in this Section 12.
      3. If the Crewmember fails to report as required for a flight or deadhead
         segment, his report time shall be the time the Crewmember actually

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          checks in for the flight or deadhead segment.

      C. DUTY TIME LIMITATIONS
      A Crewmember is on duty in accordance with the provisions of this
      subsection 12.C. Except when an applicable FAR requires a shorter
      duty period, the domestic and international flight and duty time limitations
      shall be as follows:
      1. Two Person Crew
          a.   When the duty period is scheduled to consist solely of an
               operating flight or flights (i.e., no deadhead), or of a deadhead
               followed by an operating flight or flights (i.e., deadhead to
               operating flight), the maximum scheduled duty period shall be
               fourteen (14) consecutive hours. Once scheduled, a duty period
               may be extended on account of operating flight delays caused
               by weather, mechanical, air traffic control, late ground handling,
               late loading or curfew, or with Crewmember concurrence if he
               was delayed on a commercial deadhead that precedes an
               operating flight to which he is assigned as a flight crewmember,
               to no more than sixteen (16) consecutive hours. If the duty
               period is extended, the applicable Minimum Rest Period shall be
               extended in one (1) hour increments based on the duty
               extension (e.g., if the duty period is extended by fifteen (15)
               minutes, the Minimum Rest Period shall be extended by one (1)
               hour; if the duty period is extended by sixty-one (61) minutes,
               the Minimum Rest Period shall be extended by two (2) hours).
          b.   When the duty period is scheduled to consist of an operating
               flight or flights followed by a deadhead (i.e., operating flight to
               deadhead), the maximum scheduled and actual duty period shall
               be eighteen (18) consecutive hours, of which no more than
               fourteen (14) consecutive hours (or no more than sixteen (16)
               consecutive hours if subsection 12.C.1.a., above, applies) of the
               duty period consists of the performance of operating flight
               crewmember duties.
      2. Three Person Crew
          a.   This subsection 12.C.2. applies to:
               (i) three (3) required Crewmember aircraft; and
               (ii) two (2) required Crewmember aircraft augmented with one
                    (1) additional Crewmembers.




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          b.   When the duty period is scheduled to consist solely of an
               operating flight or flights (i.e., no deadhead), or of a deadhead
               followed by an operating flight or flights (i.e., deadhead to
               operating flight), the maximum scheduled duty period shall be
               sixteen (16) consecutive hours. Once scheduled, a duty period
               may be extended on account of operating flight delays caused
               by weather, mechanical, air traffic control, late ground handling,
               late loading or curfew, or with Crewmember concurrence if he
               was delayed on a commercial deadhead that precedes an
               operating flight to which he is assigned as a flight crewmember,
               to no more than eighteen (18) consecutive hours. If the duty
               period is extended, the applicable Minimum Rest Period shall be
               extended in one (1) hour increments based on the duty
               extension (e.g., if the duty period is extended by fifteen (15)
               minutes, the Minimum Rest Period shall be extended by one (1)
               hour; if the duty period is extended by sixty-one (61) minutes,
               the Minimum Rest Period shall be extended by two (2) hours).
          c.   When the duty period is scheduled to consist of an operating
               flight or flights followed by a deadhead (i.e., operating flight to
               deadhead), the maximum scheduled and actual duty period shall
               be twenty (20) consecutive hours of which no more than sixteen
               (16) consecutive hours of the Duty Day may relate to the
               operation of a flight(s) (or no more than eighteen (18)
               consecutive hours if subsection 12.C.2.b., above, applies).
      3. Augmented Crews: Four or More Crewmembers
          a.   This subsection 12.C.3. applies to:
               (i) three (3) required Crewmember aircraft augmented to five
                   (5) Crewmembers; and
               (ii) two (2) required Crewmember aircraft augmented to four (4)
                    or more Crewmembers.
          b.   The maximum scheduled duty period shall be twenty (20)
               consecutive hours. Once scheduled, a duty period may be
               extended on account of operating flight delays caused by
               weather, mechanical, air traffic control, late ground handling, late
               loading or curfew, or with Crewmember concurrence if he was
               delayed on a commercial deadhead that precedes an operating
               flight to which he is assigned as a flight crewmember, to no
               more than twenty-two (22) consecutive hours. If the duty period
               is extended, the applicable Minimum Rest Period shall be
               extended in one (1) hour increments based on the duty
               extension (e.g., if the duty period is extended by fifteen (15)

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               minutes, the Minimum Rest Period shall be extended by one (1)
               hour; if the duty period is extended by sixty-one (61) minutes,
               the Minimum Rest Period shall be extended by two (2) hours).
      4. Deadhead
          a.   Deadheading at the direction of the Company is duty.
          b.   If a Crewmember is assigned to deadhead on Company aircraft,
               the Company shall assign the Crewmember a supernumerary
               seat unless a supernumerary seat is unavailable, in which case,
               the Crewmember may be assigned to the jumpseat for up to
               eight (8) hours in a single duty period. This provision shall not
               apply if the only available commercial travel interferes with the
               rest requirements set forth in this Section 12 or commercial
               travel is not available. An affected Crewmember may arrange for
               travel in accordance with subsection 8.A.3.b. of this Agreement.
          c.   If a duty period is scheduled to exceed sixteen (16) consecutive
               hours and the Crewmember is assigned to deadhead on a
               commercial airline(s) during such duty period, the Company
               shall purchase business class or better tickets, if available, for
               deadheading during the duty period. If the Company is unable
               to provide business class travel (or better) in accordance with
               this subsection 12.C.4.c, an affected Crewmember may arrange
               for travel in accordance with subsection 8.A.3.b. of this
               Agreement.
          d.   A duty period that consists solely of deadheading will not be
               scheduled to exceed twenty (20) consecutive hours; provided,
               when a Crewmember is released into a block of Days Off from a
               point other than their Base, the maximum deadhead will not be
               scheduled to exceed twenty-two (22) hours. As operations
               require and with the concurrence of the Crewmember and the
               Chief Pilot, the Director of Operations or another properly
               authorized Company official, the duty period may be extended.
          e.   At the end of his Trip Pairing a Crewmember and subject to
               Company concurrence, a Crewmember may waive any
               applicable duty time limits in order to deadhead back to his
               Base/residence to begin a block of consecutive Days Off.
      5. Inoperative Autopilot
          Notwithstanding the applicable duty time limitations set forth in this
          VXEVHFWLRQ & LI WKH DLUFUDIW¶V DXWRPDWLF 3LORW V\VWHP LV IXOO\
          inoperative the crew shall not be scheduled to operate that aircraft
          for more than eight (8) hours or the period of time that is provided in

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          the Minimum Equipment List (MEL), whichever is less.
      6. After the Originally Scheduled Departure, the applicable duty
         category (Two Person Crew, Three Person Crew, Augmented
         Crews, Deadhead) cannot be changed for the purpose of extending
         duty limits.

      D. MINIMUM REST PERIODS
      1. A Crewmember shall receive a Minimum Rest Period after every duty
         period. The Company shall notify a Crewmember of his next report
         time prior to the commencement of the rest period.
      2. The length of the Minimum Rest Period is as set forth in this
         subsection 12.D. or as required by an applicable FAR, whichever
         results in the longest rest period:
          a.   For a duty period of up to and including eighteen (18)
               consecutive hours, the Minimum Rest Period shall be ten (10)
               consecutive hours. The Minimum Rest Period, including any
               increase thereto required by subsection 12.C., may be reduced
               by no more than two (2) hours with Crewmember concurrence.
          b.   For a duty period in excess of eighteen (18) consecutive hours
               up to and including twenty (20) consecutive hours, the Minimum
               Rest Period shall be twelve (12) consecutive hours. The
               Minimum Rest Period, including any increase thereto required
               by subsection 12.C., may be reduced by no more than two (2)
               hours with Crewmember concurrence.
          c.   For a duty period in excess of twenty (20) consecutive hours, the
               Minimum Rest Period shall be fourteen (14) consecutive hours.
               The Minimum Rest Period, including any increase thereto
               required by subsection 12.C., may be reduced by no more than
               two (2) hours with Crewmember concurrence.
      3. ,I D &UHZPHPEHU¶V HQWLUH 7ULS 3DLULQJ FRQVLVWV VROHO\ RI GRPHVWLF
         segments (either operating or deadheading, or a combination of
         operating or deadheading) Minimum Rest shall be in accordance
         with the applicable FARs.
      4. ,WVKDOOEHWKH&UHZPHPEHU¶VUHVSRQVLELOLW\WRQRWLI\WKH&RPSDQ\RI
         any circumstances that have adversely affected his receiving the
         Minimum Rest Period required under this Section 12 (e.g., excessive
         time spent clearing customs/immigration, lost luggage, ground
         transportation or lodging issues). Upon request of the Crewmember,
         WKH &RPSDQ\ ZLOO DGMXVW WKH &UHZPHPEHU¶V UHVW SHULRG VR WKDW WKH
         Crewmember receives the Minimum Rest Period required by this

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          Section 12.
      5. The Minimum Rest Period taken in accordance with subsection
         12.D.2.a. through 12.D.2.c., above, shall immediately follow the
         &UHZPHPEHU¶VGXW\SHULRG

      E. CREWMEMBER CONTACT DURING A MINIMUM REST PERIOD, LAYOVER
         PERIOD AND PRE-DUTY REST PERIOD
      1. Minimum Rest Period and Pre-Duty Rest Period Contact
          A Crewmember is not required to be contactable during a Minimum
          Rest Period or Pre-Duty Rest Period. Minimum Rest Periods are set
          forth in subsection 12.D.2. A Pre-Duty Rest Period is the ten (10)
          hour period immHGLDWHO\SUHFHGLQJD&UHZPHPEHU¶VUHSRUWWLPH7KH
          Pre-Duty Rest Period may overlap, in whole or part, the Minimum
          Rest Period. Crewmembers are not required to keep personal
          communications devices (PCD) (or any similar communications
          device, including any Company-issued telephone or Internet-based
          GHYLFH ³RQ´GXULQJVXFKUHVWSHULRGV+RZHYHU&UHZPHPEHUVPD\
          be required to leave the device on solely for the purpose of receiving
          DZDNHXSFDOOLIDOORWKHUIXQFWLRQVFDQEH³VLOHQFHG´
          a.   The Company may attempt to contact a Crewmember during a
               Minimum Rest Period or Pre-Duty Rest Period as set forth
               below:
               (i) via a PCD or any similar Company-issued communications
                   device, including a Company-issued telephone or Internet-
                   based device for the purpose of changing the
                   &UHZPHPEHU¶V DVVLJQPHQW RU GXW\ VWDUW WLPH provided, a
                   FKDQJH WR WKH &UHZPHPEHU¶V DVVLJQPHQW RU UHSRUW WLPH
                   under this subsection 12.E.1.a. is not effective unless the
                   Crewmember Affirmatively Accepts the change; or
               (ii) by any means for the purpose of notifying him of a personal
                    or family emergency or a threat to his security. Such
                    attempts to contact the Pilot during rest will not be deemed
                    to break or interrupt his rest.
          b.   The Company shall not attempt to contact a Crewmember
               during a Minimum Rest Period or Pre-Duty Rest Period by a
               method other than as permitted by subsection 12.E.1.a.(i),
               above, (e.g., not by hotel phone, another Crewmember or third
               parties, hotel employees), for the purpose attempting to change
               his assignment or report time unless the device referred to in
               subsection 12.E.1.a.(i) is not operating. A Crewmember shall


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               notify the Company if the device becomes inoperative or is not in
               WKH &UHZPHPEHU¶V SRVVHVVLRQ ,I WKH &RPSDQ\ FRQWDFWV D
               Crewmember in violation of this subsection 12.E.1.b., the
               required Minimum Rest Period or Pre-Duty Rest Period begins
               anew unless waived by the Crewmember.
          c.   It shall not be a violation of Section 12 if the Company contacts
               a Crewmember by any method referred to in subsection
               12.E.2.a. during the forty-five (45) minute period immediately
               following the Minimum Rest Period for the purpose of revising
               WKH&UHZPHPEHU¶VQH[WVFKHGXOHGUHSRUWWLPHXQGHUVXEVHFWLRQ
               12.B. The Company shall provide a revised report time when
               communicating the schedule change. This subsection 12.E.1.c
               applies only when there is no Layover Period between the
               Minimum Rest Period and the Pre-Duty Rest Period. The
               Company may contact a Crewmember during the Layover
               Period in accordance with 12.E.2.
      2. Layover Period Contact
          A Layover Period is the period of time, if any, between the end of the
          Minimum Rest Period and the commencement of the ten (10) hour
          Pre-Duty Rest Period. Crewmembers are not required to keep
          personal communications devices (PCD) (or any similar
          communications device, including any Company-issued telephone or
          Internet-EDVHGGHYLFH ³RQ´GXULQJD/D\RYHU3HULRG
          a.   The Company may send a communication to a Crewmember by
               PCD, Company email, hotel phone, fax, personal cell phone
               number if the Crewmember has provided it to the Company or
               SRVWLQJ DW WKH &UHZPHPEHU¶V KRWHO $Q\ VFKHGXOH FKDQJH
               GHWDLOVVKDOOEHUHIOHFWHGLQ&RPSDQ\¶V&06
          b.   The Crewmember shall check for a Company communication
               using a PCD or personal computer or contact crew scheduling at
               the start of the Layover Period, if any, every ten (10) hours
               thereafter and at the end of the Layover Period. In the event the
               PCD or personal computer is not operating, or the Crewmember
               is unable to contact crew scheduling, then the Crewmember will
               check for messages at the layover hotel.
          c.   The Company may require a Crewmember to acknowledge the
               communication. The requirement to acknowledge a Company
               communication shall not be considered duty.
          d.   The Company shall not attempt to contact a Crewmember
               during a Layover Period by a method other than as permitted by


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               subsection 12.E.2.a., above, (e.g., not by another Crewmember
               or third parties, hotel employees) for the purpose of attempting
               to change his assignment or report time.
      3. Prior to the Company establishing PCDs, similar electronic
         communications devices or email as the primary means of
         communication with Crewmembers, the Company and Union shall
         meet to discuss and resolve matters of mutual concern.

      F. SCHEDULE CHANGE NOTICE
      1. If the Company has not changed the assignment or report time in
         accordance with subsections 12.E, above, or 12.F.3., below, the duty
         period shall commence at the Originally Scheduled Report Time.
      2. The Crewmember shall check for a Company communication using a
         PCD or personal computer or contact crew scheduling thirty (30)
         minutes prior to departing from the hotel.
      3. &KDQJHVWRD&UHZPHPEHU¶VUHSRUWWLPHVKDOOEHLQDFFRUGDQFHZLWK
         the following:
          a.   Changes to Report Time 10 Hours or More Before the Originally
               Scheduled Departure time:
               If the Company notifies a Crewmember of a change in
                accordance with subsection 12.E.1. or 12.E.2., above, he may
                not be required to report for duty until ten (10) hours after the
                time he is required to acknowledge the Company
                communication under subsection 12.E.2.b. If an applicable FAR
                requires that the Crewmember report at a later time, the FAR
                shall control the actual report time. The Company shall provide
                a revised report time when communicating the schedule change.
                A Crewmember is not required to be contactable during the
                above-mentioned ten (10) hour period. The Company may
                attempt to contact a Crewmember during such period in
                accordance with subsections 12.E.1.a. and 12.E.1.b., above.
          b.   Changes to Report Time within 10 Hours of the Originally
               Scheduled Departure
               (i) The Company shall send an electronic (i.e., silent) message
                   (e.g., not by phone connected to the PCD, hotel phone,
                   another Crewmember or third parties, hotel employees) to
                   Crewmembers no later than thirty (30) minutes prior to
                   departing the hotel for the purpose of revising the
                   &UHZPHPEHU¶V UHSRUW WLPH  7KH &UHZPHPEHU¶V RULJLQDOO\


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                   schedule report time may be delayed for up to six (6) hours
                   or, with the Crewmember(s) concurrence, to a later time.
                   (A) If the Originally Scheduled Report Time is delayed by up
                       to six (6) hours, and the duty period has not
                       commenced, the Company shall have the following
                       options:
                        (1) Place the Crewmember in a Pre-Duty Rest Period of
                            ten (10) hours, commencing six (6) hours after his
                            Originally Scheduled Report Time; or with
                            Crewmember concurrence, at the time the Company
                            notifies the Crewmember that the trip has been
                            cancelled; or
                        (2) Require the Crewmember to report in accordance
                            with subsection 12.B.1. based on the delayed
                            departure time, in which case, duty begins at the
                            Originally Scheduled Report Time.
                   (B) If a Crewmember agreed to a report time after six (6)
                   hours pursuant to 12.F.3.b.(i), above, and the duty period
                   does not commence, the Crewmember shall be placed in a
                   Pre-Duty Rest Period of ten (10) hours. The Pre-Duty Rest
                   Period shall begin the later of six (6) hours after the
                   Originally Scheduled Report Time or when the Company
                   notifies the Crewmember that the trip has cancelled.
               (ii) If the Crewmember has departed from the hotel before
                    contact is made under subsection 12.F.2.b.(i), above, the
                    duty period shall commence at the Originally Scheduled
                    Report Time.

      G. GENERAL
      1. Upon request, the Company shall provide the Union on a quarterly
         basis with the following information:
          a.   Date a duty period was extended;
          b.   The flight segment(s) affected;
          c.   Whether segment was crewed by a Two Person Crew, Three
               Person Crew or Augmented Crew
          d.   Length of scheduled duty period;
          e.   Length of actual duty period;
          f.   Reason(s) for duty period extension


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          Upon request, the Company will meet with the Union to discuss
          scheduling concerns if certain duty periods are regularly extended on
          any particular segment.
      2. Crewmembers shall not be responsible for initiating or coordinating
         crew wake up calls or otherwise notifying other Crewmembers of
         their report times or revisions thereto, unless extraordinary situations
         exist that limit or prevent the Company from contacting
         Crewmembers.




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                            SECTION 13: LEAVES OF ABSENCE
      A. PERSONAL LEAVE OF ABSENCE
      1. When operational requirements permit, a Crewmember may be
         granted an unpaid leave of absence for a personal reason.
          a.   Requests for an initial personal leave or an extension of a
               previously approved personal leave must contain:
               i.    a statement of the reason(s) for the personal leave of
                     absence;
               ii.   EHLQZULWLQJWRWKH&UHZPHPEHU¶V&KLHI3LORWDQG
               iii. if feasible, the Crewmember shall make the request for
                    personal leave of absence no later than the fifteenth (15th)
                    day of the bid month preceding the bid month in which the
                    leave is to commence, but in any event, as soon as
                    practicable.
      2. The decision to grant or deny a request for personal leave of
         absence, and the length of any leave of absence that may be
         granted is in the sole discretion of the Company. The Chief Pilot will
         respond in writing to a request for leave within seven (7) days of
         receipt of the request. If the requested leave of absence is granted
         RQO\LQSDUWWKH&KLHI3LORW¶VUHVSRQVHVKDOOLGHQWLI\WKHOLPLWDWLRQVRQ
         the leave. If the leave granted differs from the leave requested, the
         Crewmember may rescind his request.
      3. A personal leave may be granted for a minimum of one (1) complete
         bid month and a maximum of three (3) bid months. However, on a
         case-by-case basis, the Company may grant a shorter leave, a
         longer leave, or may grant an extension beyond three (3) bid months,
         upon written request by the Crewmember to the Chief Pilot.
      4. Once a personal leave has been granted, the leave request may not
         be withdrawn nor may the granting of the leave be retracted without
         the mutual consent of both the Company and the Crewmember.
         Further, the Company may not require a Crewmember to return to
         Work before the expiration of a properly granted personal leave
         without the &UHZPHPEHU¶VFRQVHQWQRUFDQWKH&UHZPHPEHUUHWXUQ
         to Work before the expiration of a properly granted personal leave
         ZLWKRXWWKH&RPSDQ\¶VFRQVHQW
      5. $SHUVRQDOOHDYHRIDEVHQFHVKDOOEHXQSDLGDQGWKH&UHZPHPEHU¶V
         Monthly Minimum Guarantee shall be reduced by dividing the
         Monthly Minimum Guarantee by seventeen (17) multiplied by the

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          number of scheduled Duty Days in the Bid Month the Crewmember
          is on personal leave.
      6. The Crewmember is required to return to the service of the Company
         after the scheduled expiration of a personal leave of absence (or any
         agreed extension thereof). A Crewmember who fails to do so will be
         GHHPHG WR KDYH YROXQWDULO\ UHVLJQHG DQG WKH &UHZPHPEHU¶V QDPH
         shall be removed from the seniority list.
      7. During a personal leave of absence, the Crewmember shall retain
         and continue to accrue seniority but will only accrue Longevity in the
         month in which the personal leave began.
      8. Any personal leave of absence which may be granted by the
         Company shall run concurrently with any other leave of absence for
         which the Crewmember may be eligible under this Agreement, or
         XQGHU WKH IHGHUDO )DPLO\ DQG 0HGLFDO /HDYH $FW ³)0/$´  DQG DQ\
         other federal or state laws applicable to the Crewmember.

      B. MEDICAL LEAVE OF ABSENCE
      1. A Crewmember shall be eligible to be placed on a medical leave of
         absence when the Crewmember is unable to hold a valid medical
         certificate from the Federal Aviation Administration required for his
         status, or the Crewmember is unable to perform his duties due to
         sickness, injury, or disability. A medical leave of absence will be
         utilized for long-term periods in excess of thirty (30) continuous days
         of inability to Work as a Crewmember.
      2. Subject to the provisions of subsection 13.B.2.a., below, a
         Crewmember will be placed on a medical leave of absence
         ZKHQHYHU WKH PHGLFDO LQIRUPDWLRQ SURYLGHG E\ WKH &UHZPHPEHU¶V
         treating physician indicates that the total duration of the
         &UHZPHPEHU¶V DEVHQFH PD\ EH WKLUW\   GD\V RU ORQJHU  $
         medical leave of absence shall begin on the thirty-first (31st)
         FRQVHFXWLYH GD\ IROORZLQJ WKH &UHZPHPEHU¶V LQDELOLW\ WR KROG WKH
         applicable medical certificate.
          a.   A Crewmember must provide his Chief Pilot documentation
               evidencing his initial or continuing inability to perform the duties
               of a Crewmember at the time he requests to go on medical
               leave. Failure to provide the required documentation in a timely
               fashion unless otherwise excused from doing so may result in a
               denial of a medical leave of absence for the Crewmember until
               he provides the required information. The Company will provide
               a form for the Crewmember to utilize for his doctor or doctors to
               provide the following information:

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               i.    $GLDJQRVLVRIWKH&UHZPHPEHU¶VGLVDEOLQJFRQGLWLRQ
               ii.   A statement of physical limitations, quantified where
                     possible; and
               iii. 7KH SURJQRVLV IRU WKH &UHZPHPEHU¶V UHFRYHU\ DQG DQ
                    anticipated return to Work date; and
               iv. A statement of treatment.
          b.   The Crewmember shall update the Company if there is a
               material change to his condition pursuant to subsection
               13.B.2.a., above. The Company shall maintain the above
               information in a confidential manner and not disclose such
               information to third-SDUWLHV ZLWKRXW WKH &UHZPHPEHU¶V ZULWWHQ
               consent except when such disclosure is required by law, in
               which case, the Company shall provide the Crewmember with
               written notice of the disclosure. The Company shall limit intra-
               Company disclosure to management personnel who require
               such information.
      3. If a Crewmember is unable to return to Work after five (5) years from
         the date his medical leave of absence commenced or twice his
         length of service with the Company, whichever is shorter, his
         employment with the Company shall be terminated.
          a.   The length of the medical leave of absence shall extend until the
               day the Crewmember actually returns to Work, is placed on
               furlough in accordance with the provisions of Section 23, has
               been found to be permanently unable to return to Work, or is
               terminated. For the purpose of this subsection 13.B.3.a.,
               ³UHWXUQV WR :RUN´ VKDOl mean fit and available to accept a flight
               assignment, re-qualification training assignment, or training
               assignment, as applicable.
          b.   A Crewmember who does not return to Work within seven (7)
               days after he is no longer precluded from performing the duties
               of a Crewmember due to sickness, injury, or disability will lose
               all seniority and be considered to have resigned his employment
               with the Company.
      4. In order to be eligible for a medical leave of absence, a Crewmember
         must have completed twelve (12) months of Active Service with the
         Company prior to the date of commencement of the medical leave of
         absence.
      5. A medical leave of absence shall be unpaid, except as provided in
         VXEVHFWLRQ %D EHORZ  7KH &UHZPHPEHU¶V 0RQWKO\ 0LQLPXP


      2011 Contract | Section 13                                         (73)
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          Guarantee shall be reduced by dividing the Monthly Minimum
          Guarantee by seventeen (17) multiplied by the number of scheduled
          Duty Days in the Bid Month the Crewmember is on medical leave.
          a.   A Crewmember will be required to use any accrued sick leave
               while on a medical leave of absence in accordance with Section
                XQWLO WKH &UHZPHPEHU¶V DFFUXHG VLFN OHDYH KDV EHHQ
               exhausted. A Crewmember may use any accrued vacation at his
               election after short-term sick leave has been exhausted in
               accordance with Section 7 and Section 14.
      6. During a medical leave of absence, the Crewmember shall retain and
         continue to accrue seniority. The Crewmember shall retain and
         accrue Longevity during the first ninety (90) days of a medical leave
         of absence, and, thereafter, shall retain but not accrue Longevity.
      7. A medical leave of absence shall run concurrently with any other
         leave of absence for which the Crewmember may be eligible under
         this Agreement, or under the FMLA and any other federal or state
         laws applicable to the Crewmember.
      8. The Company has the right to obtain an additional medical
         opinion(s), from a physician designated by the Company, regarding
         the illness or injury of any Crewmember who has requested or been
         placed on medical leave of absence. In connection with obtaining
         such a second opinion(s), the Company has the right to require a
         Crewmember to authorize his treating physician to release relevant
         medical records to the physician designated by the Company. The
         Company shall pay all costs for obtaining the second opinion(s).
      9. The Company may require a Crewmember to provide medical
         YHULILFDWLRQ RI KLV DELOLW\ WR UHVXPH DOO RI D &UHZPHPEHU¶V QRUPDO
         duties as a condition of releasing a Crewmember from medical leave
         of absence; provided, if the Crewmember claims he is able to
         resume all normal duties and the Company requires medical
         verification, the Crewmember shall not be required to use accrued
         sick leave, but instead, shall revert to regular pay status pending his
         return to Work.

      C. FAMILY AND MEDICAL LEAVE ACT AND STATE STATUTES
      1. The Company shall grant leaves of absence in accordance with the
         Family and Medical Leave Act (FMLA) and this subsection 13.C.
      2. The Company shall not apply any current or future eligibility rule or
         regulation related to the locaWLRQRIDQHPSOR\HH¶VUHVLGHQFHDQGRU
         work site to determine eligibility under the FMLA.


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      3. In the event the FMLA or the regulations thereto are amended with
         respect to flight crew eligibility for leave under the FMLA, the
         Company shall apply the eligibility provisions set forth in subsection
         13.C.1., above, unless such amendments provide less restrictive
         eligibility provision(s), in which case, the less restrictive eligibility
         provision(s) shall apply.
      4. A Crewmember on a leave of absence under the FMLA shall be
         required to use all accrued sick leave while on a FMLA leave of
         absence in accordance with Section 14 if the reasons for taking
         leave qualify the Crewmember for paid benefit(s). A Crewmember
         may use any accrued vacation at his election after sick leave has
         been exhausted, if applicable.
      5. If a Crewmember is eligible for family or medical leave under an
         applicable state statute that provides greater benefits than under the
         FMLA, the Company shall grant leave under the state statute. The
         Company shall apply the eligibility requirements set forth in
         subsection 13.C.1., above, unless the state statute or regulations
         contain less restrictive eligibility provision(s), in which case, the less
         restrictive eligibility provision(s) shall apply.
      6. During a FMLA leave of absence, the Crewmember shall retain and
         continue to accrue seniority. The Crewmember shall retain and
         accrue Longevity during the first ninety (90) days of a medical leave
         of absence. Thereafter, he shall retain but not accrue Longevity.
      7. To the extent not inconsistent with the express terms of this
         Agreement, the Company may apply to Crewmembers the same
         rules, regulations and policies regarding FMLA leaves of absence
         WKDWDUHDSSOLFDEOHWRWKH&RPSDQ\¶VRWKHUHPSOR\HHVDVVHW forth in
         the Company Employee Handbook or related published policies. No
         such rule, regulation or policy shall operate to disqualify the craft or
         class from FMLA coverage.

      D. MILITARY LEAVE OF ABSENCE
      1. The Company will grant military leaves of absence in accordance
         with the requirements of the federal Uniformed Services Employment
         DQG5HHPSOR\PHQW5LJKWV$FW ³86(55$´ DQGDQ\RWKHUIHGHUDORU
         state laws that may be applicable to the Crewmembers. The
         &UHZPHPEHU¶VUHWHQWLRQDQGDFFUXDORIVHQLRULW\DQGLongevity, right
         to continuation of health insurance, any 401(k) benefits, life
         insurance and similar benefits, vacation and sick leave accrual, and
         return from military leave or reemployment with the Company,
         including his entitlement to Status and Base assignments, shall be in


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          accordance with the applicable provisions of the USERRA, and any
          other federal or state laws that may be applicable to the
          Crewmembers.
      2. The Crewmember shall notify the Chief Pilot of the dates of the
         anticipated leave as soon as they are known to the Crewmember.
         Such notice shall be in writing and, at the request of the Chief Pilot,
         shall include a copy of any Orders or Military Training Schedule.
      3. No Crewmember shall bid for any schedule nor shall the Company
         award a schedule which includes a duty period conflicting with a
         period of military service where such service has already been
         scheduled at the time the Crewmember submits his bid.
      4. A military leave of absence shall be unpaid. Pay for Crewmembers
         on military leave that perform Work in a Bid Month shall be
         determined in accordance with subsection 3.B.2.
      5. For Crewmembers on Military Leave of Absence, the Crewmember
         and his eligible dependents (subject to TSA requirements or
         restrictions) shall remain eligible for non-revenue and reduced rate
         travel privileges, and Crewmember jumpseat privileges in
         accordance with Company policy and TSA regulations.
      6. During a military leave of absence, a Crewmember shall retain and
         continue to accrue seniority and Longevity.

      E. BEREAVEMENT LEAVE
      1. In the event the Crewmember suffers a death in the Immediate
         Family that requires a release from duty, he shall immediately notify
         the Chief Pilot and shall be granted four (4) paid Days Off from any
         assigned duty for Bereavement Leave.
      2. Immediate Family is defined as:
          a.   Mother/Father/Step Parents;
          b.   Grandmother/Grandfather/Grandchildren;
          c.   Spouse;
          d.   Children/Step Children/Adopted Children;
          e.   Brother/Sister/Step Brother/Step Sister;
          f.   Mother-in-Law/Father-in-Law.
      3. If a Crewmember is assigned away from his Base when a death
         occurs and if requested by the Crewmember, the Company will
         SURYLGHWUDYHOE\WKHPRVWH[SHGLWLRXVPHDQVWRWKH&UHZPHPEHU¶V


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          choice of any Base, the commercial airport nearest his residence, or,
          if less expensive, another location.
      4. Bereavement Leave will commence on the day following the date of
         DUULYDO DW WKH &UHZPHPEHU¶V UHTXHVWHG ORFDWLRQ SXUVXDQW WR
         subsection 13.E.3., above.      A Crewmember shall schedule
         Bereavement Leave as soon as practicable after the death of a
         member of his immediate family.
      5. Upon the expiration of the Bereavement Leave, the Crewmember
         may request a Personal Leave of Absence in accordance with
         subsection 13.A., herein.
      6. For any month in which Bereavement Leave is taken, a
         Crewmember shall be paid for trips flown, or Minimum Monthly
         Guarantee, whichever is greater.
      7. A Crewmember displaced from his line by Bereavement Leave may
         be reassigned either reserve or flight duty. Any reassignment of duty
         will protect tKH &UHZPHPEHU¶V RULJLQDOO\ DZDUGHG 'D\V 2II XQOHVV
         the Crewmember agrees otherwise.
      8. At the sole discretion of the Chief Pilot, a Crewmember may be
         granted unpaid time off for the bereavement of other than an
         Immediate Family Member.
      9. During a Bereavement Leave of absence, a Crewmember shall
         retain and continue to accrue seniority and Longevity.

      F. JURY DUTY
      1. A Crewmember shall be excused from his regular duties on days
         when he is required to be present for jury duty.         When a
         Crewmember is summoned for jury duty he shall promptly notify
         Crew Scheduling of such and shall provide a copy of the summons
         or other documentation to his Chief Pilot.
      2. When deemed operationally necessary by the Company, the
         Crewmember will fully cooperate in attempting to obtain a waiver or
         rescheduling of the jury duty assignment.
      3. A Crewmember summoned for jury duty shall not be required to
         perform any duties with the Company from the time he reports for
         jury duty until all obligations under the summons are satisfied unless
         temporarily released from such obligations (other than weekends) for
         period(s) of time sufficient to meet scheduled duties with the
         Company. If the Company assigns the Crewmember duty pursuant
         to this subsection 13.F.3., he shall receive a minimum of ten (10)


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          hours of rest after temporary release from jury duty and prior to duty.
          The Company shall not assign duty that interferes with the
          &UHZPHPEHU¶VMXU\GXW\REOLJDWLRQ
      4. For any month in which jury duty is taken, a Crewmember shall be
         paid for trips flown, or Minimum Monthly Guarantee, whichever is
         greater.
      5. While on jury duty a Crewmember shall remain responsible as if
         actively at Work for maintaining his system staffing standing bid and
         monthly schedules.
      6. A Crewmember will retain and continue to accrue seniority and
         Longevity for all purposes while on jury duty.
      7. If the Crewmember is released from jury duty earlier than the
         planned duration of such leave, he shall promptly notify the Chief
         Pilot so that the Crewmember will be available for assignments on
         scheduled Work Days.
      8. If the Crewmember is assigned to a case that is expected to last
         longer than the original jury duty period, he shall promptly notify the
         Chief Pilot.

      G. UNION LEAVE OF ABSENCE
      1. Upon request by the Union, the Company shall grant a leave of
         absence of up to three (3) Crewmembers for the purpose of
         accepting a full time elected or appointed Local Union position that is
         expected to last for a minimum of thirty (30) days. The duration of
         such leaves of absence shall be as requested by the Union;
         provided, the minimum time for such leaves of absence is one (1)
         complete calendar bid month. Subject to the needs of the service,
         the Company may grant additional leaves of absence pursuant to
         this subsection 13.G.1.
      2. Upon request by the Union, the Company shall release up to two (2)
         Crewmembers from duty for the purpose of performing Local Union
         Committee duties, the duration of which shall be as requested by the
         Union. Any additional leaves of absence pursuant to this subsection
         13.G.2. and the duration thereof shall be as requested by the Union,
         subject to the needs of the service.
      3. When the Company requests meetings with a Local Union
         Committee, the Crewmember shall be paid by the Company. Such
         Crewmembers will be compensated in accordance with the
         Administrative Duty provision in Section 3, Compensation.


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      4. Upon request by the Union, the Company shall grant a leave of
         absence of up to two (2) Crewmembers who accept full-time elected
         or appointed positions with the International Union that is expected to
         last for thirty (30) days or more. The duration of such leaves of
         absence shall be as requested by the Union; provided, the minimum
         time for such leaves of absence is one (1) complete calendar bid
         month. Subject to the needs of the service, the Company may grant
         additional leaves of absence pursuant to this subsection 13.G.4.
      5. Upon request by the Union, the Company shall release from duty up
         WR WKUHH   &UHZPHPEHUV WR VHUYH RQ WKH 8QLRQ¶V FROOHFWLYH
         bargaining negotiating committee.     The duration of such release
         from duty shall be as requested by the Union. Subject to agreement
         between the Company and the Union, Crewmembers granted a
         release from duty under this subsection 13.G.5 shall make
         themselves available for assignments when time between
         negotiating sessions and/or preparing for negotiations is sufficient to
         allow a Crewmember to complete such assignment. The Union shall
         not unreasonably withhold its agreement. When applicable, the
         Company and an affected Crewmember shall cooperate to ensure
         that a Crewmember remains current. Subject to the needs of the
         service, the Company may grant additional releases pursuant to this
         subsection 13.G.5.
      6. When known in advance, the Union shall attempt to request Union
         leaves of absence prior to the 15th of the month prior to the bid
         month, but in all cases, as soon as practicable.
      7. Pay, benefits, seniority, Longevity and bidding rights for a
         Crewmember(s) on a Union leave of absence pursuant to
         subsections 13.G.1. and 13.G.2., above, shall be in accordance with
         WKHSDUWLHV¶)3/LOA; provided, no reimbursement is required for the
         first thirty-five (35) hours of Union leave of absence per month.
      8. Pay, benefits, seniority, Longevity and bidding rights for a
         Crewmember(s) on Administrative Duty pursuant to subsection
         13.G.3., above, shall be as for all other active Crewmembers. The
         Union shall have no reimbursement obligation for Crewmembers on
         administrative leave pursuant to subsection 13.G.3., above.
      9. Crewmembers on a leave of absence pursuant to subsection 13.G.4
         shall accrue seniority and Longevity for the duration of the leave of
         DEVHQFH%HQHILWVVKDOOEHLQDFFRUGDQFHZLWKWKHSDUWLHV¶)3//2$
         RUDWWKH8QLRQ¶VHOHFWLRQWKURXJKWKH8QLRQDWits expense.
      10. Pay, benefits, seniority, Longevity and bidding rights for a
          Crewmember(s) on Union leave of absence pursuant to subsection

      2011 Contract | Section 13                                      (79)
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          *DERYHVKDOOEHLQDFFRUGDQFHZLWKWKHSDUWLHV¶)3//2$RU
          as otherwise agreed upon by the parties on a case by case basis.

      H. GENERAL
      1. During the first six (6) months of a leave of absence under this
         Section 13, other than a Personal Leave of Absence, the
         Crewmember and his dependents may continue any Company-
         provided medical, dental and life insurance coverage so long as he
         reimburses the Company for the standard Crewmember contribution
         then in effect. For a leave of absence in excess of six (6) months, the
         &UHZPHPEHU¶V ULJKW WR FRQWLQXH DQ\ &RPSDQ\-provided medical,
         dental and life insurance coverage shall be governed by the
         provisions of the Consolidated Omnibus Budget Reconciliation Act
          ³&2%5$´  WKH &UHZPHPEHU PD\ EH UHTXLUHG WR SD\ WKH IXOO
         insurance premium then in effect and any applicable administrative
         fee. In the case of a Personal Leave of Absence, the Crewmember
         and his dependents may continue any Company-provided medical,
         dental and life insurance coverage through the last day of the month
         in which the Personal Leave of Absence begins so long as he
         reimburses the Company for the standard Crewmember contribution
         then in effect. Thereafter, the Crewmember may elect coverage
         under COBRA as set forth above.
      2. Vacation and sick leave will not accrue for any bid month in which a
         Crewmember is on a leave of absence for more than one half of the
         bid month.
      3. A Crewmember on a leave of absence may submit standing bids
         pursuant to the criteria applicable to active Crewmembers in Section
         24 of this Agreement, and any vacancy awarded will be deemed a
         ³SKDQWRP´3RVLWLRQ8SRQUHWXUQWRGXW\IURPDQ\ leave of absence,
         and upon successful completion of any applicable upgrade or re-
         TXDOLILFDWLRQWUDLQLQJWKH&UHZPHPEHU¶VDVVLJQPHQWZLOOEHEDVHGRQ
         KLV ³SKDQWRP´ DZDUG RU LI WKH &UHZPHPEHU GLG QRW UHFHLYH D
         ³SKDQWRP´DZDUGRQWKH&UHZPHPEHU¶V3RVLWLRn prior to the start of
         the leave of absence.
      4. Except as provided for in subsection 13.B.3., failure to return to Work
         as required following a leave of absence shall be treated as a
         UHVLJQDWLRQRIWKH&UHZPHPEHU¶VHPSOR\PHQWZLWKWKH&RPSDQ\
      5. A Crewmember returning from a leave of absence shall be
         considered in active status on the earlier of the first day he is
         available for flight duty (i.e., current and qualified) or the day he
         reports to begin any training necessary to return him to flight duty,


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          but in no case longer than sixty (60) calendar days after he is
          available to report for training, if required.
      6   Unless specifically provided otherwise, all leaves of absence shall be
          unpaid.
      7. For other than military leave of absence and subject to subsection
         13.C, all leaves for a Crewmember who has not completed twelve
         (12) months of Active Service will be at the discretion of the
         Company.
      8. A Crewmember on a leave of absence of any kind must obtain
         written permission from the Company before he engages in any
         employment with another airline and before he begins working in a
         job where the duties may be inconsistent with the medical condition
         that led to the issuance of a Medical Leave for the Crewmember or
         the recovery from that medical condition. Failure to obtain the
         required written permission may result in the termination of the
         &UHZPHPEHU¶V HPSOR\PHQW ZLWK WKH &RPSDQ\ provided, there is
         just cause.




      2011 Contract | Section 13                                       (81)
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      2011 Contract | Section 13                               (82)
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                                       SECTION 14: SICK LEAVE
      A. SICK LEAVE ACCRUAL
      A Crewmember shall begin to accrue sick leave on his date of hire, but
      shall forfeit any accrued sick leave if he does not successfully complete
      New Hire training, including operating experience (OE) requirements:
      1. One (1) day of short-term sick leave for each month of Active
         Service. The maximum number of short-term sick leave days that a
         Crewmember shall accrue is twenty-four (24) days.
      2. Two (2) days of catastrophic sick leave for each month of Active
         Service, together with one (1) additional day of catastrophic sick
         leave for each month of Active Service during which a
         Crewmember's short-term sick bank is at the maximum number of
         days allowed under subsection 14.A.1., above. There shall be no
         maximum number of catastrophic sick leave days that a
         Crewmember may accrue.
      3. A Crewmember shall accrue sick leave for each month in which he is
         on Active Service as a Crewmember for at least fifteen (15) days
         (and the first ninety (90) days of military leave) or was available to
         Work at least fifty percent (50%) of his regularly scheduled Work
         Days.

      B. SICK LEAVE USAGE
      1. When a Crewmember is unable to report for duty on a scheduled
         Duty Day, including any down line absences, due to sickness or
         injury, one (1) sick leave day shall be paid to the Crewmember and
         deducted from his short-term sick leave bank for each day of
         absence.
          a.   If a Crewmember has exhausted his short-term sick leave bank,
               he may elect to receive (1) day of sick leave pay in accordance
               with subsection 14.C.2. for each day of absence due to sickness
               or injury by exhausting one (1) day of sick leave pay held in his
               catastrophic sick leave bank. The Company shall make the
               DSSURSULDWH GHGXFWLRQV IURP WKH &UHZPHPEHU¶V FDWDVWURSKLF
               sick leave bank.
          b.   A Crewmember shall not maintain a negative balance in his
               short-term sick leave bank.
      2. If a Crewmember remains unable to report for duty on a scheduled
         Duty Day due to sickness or injury for more than thirty (30)


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          consecutive days and he has exhausted his short-term sick leave
          bank, he shall thereafter be entitled to utilize his catastrophic sick
          leave bank.
          a.   One (1) sick leave day shall be paid to the Crewmember and
               deducted from his catastrophic sick leave bank for each day he
               is unable to report for duty on a scheduled Duty Day or, if he has
               not been assigned a monthly schedule under Section 25, up to
               the maximum number of regular Work Days for a Bid Month
               under Section 25, (i.e., seventeen (17) days), prorated for the
               month the Crewmember returns to duty.
          b.   Subject to subsection 14.B.1.a., above, if a Crewmember has
               utilized his catastrophic sick leave bank and thereafter returned
               to duty, the requirements of subsection 14.B.2, above, must
               again be met before the Crewmember may utilize his
               catastrophic sick leave bank unless within thirty (30) days of his
               return to duty the Crewmember becomes unable to report for
               duty for the same sickness or injury which originally entitled him
               to utilize his catastrophic sick leave bank.
          c.   A Crewmember shall not maintain a negative balance in his
               catastrophic sick leave bank.
      3. To end a period of sick leave, a Crewmember must notify Crew
         Scheduling of his ability to return to Work.
          a.   If the Company elects to assign the Crewmember to duty in
               accordance with subsection 25.P.2., or training, if applicable, on
               the day that the Crewmember notifies Crew Scheduling, the
               Crewmember shall not be charged with sick leave usage for that
               day.
          b.   If the Company does not assign the Crewmember to duty on the
               day that the Crewmember notifies Crew Scheduling, the
               Crewmember shall be charged with sick leave usage for that day
               and shall be considered off sick leave on the following day.
          c.   )RUWKHSXUSRVHVRIWKLVVXEVHFWLRQ%³GD\´VKDOOUHIHUWRD
               day measured using Universal Coordinated Time (UTC).
      4. The Company is not required to return a Crewmember to any Trip
         Pairing that he may have originally been assigned and a portion of
         which the Crewmember missed due to sickness or injury.

      C. SICK LEAVE PAY
      1. Short-term sick leave shall be paid at the rate of 3.65 hours for each


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          day of short-term sick leave used.
      2. Catastrophic sick leave shall be paid at the rate of fifty percent (50%)
         RIWKH&UHZPHPEHU¶VVKRUW-term sick leave pay rate for each day of
         catastrophic sick leave used.
      3. Each Crewmember on sick leave shall receive sick leave pay, and
         the Company shall make a corresponding deduction from the
         &UHZPHPEHU¶V VLFN OHDYH EDQN DFFRUGLQJ WR WKH IROORZLQJ
         provisions:
          a.   ,I D &UHZPHPEHU¶V SD\ LV RWKHUZLVH DERYH WKH DSSOLFDEOH
               monthly guarantee, no sick leave pay is received or deducted
               IURPWKH&UHZPHPEHU¶VOHDYHEDQN
          b.   ,I D &UHZPHPEHU¶V SD\ GRHV QRW RWKHUZLVH H[FHHG WKH
               applicable monthly guarantee, the Crewmember will receive
               monthly guarantee but his sick leave bank will be charged no
               more than one (1) day for each scheduled day of duty, reserve
               assignment or training assignment missed by the Crewmember.

      D. GENERAL
      1. A Crewmember who is unable to report for duty as scheduled due to
         sickness or injury must contact Crew Scheduling and advise them of
         such as soon as possible after the Crewmember becomes aware
         that he is unable to report to Work. A Crewmember must contact
         Crew Scheduling and provide the date he will be able to report for
         Work, when known, and any changes thereto.
      2. If the Company has a reasonable basis to believe that a
         Crewmember may be misusing or has misused sick leave, the Chief
         Pilot may require the Crewmember to provide a written medical
         statement from a licensed medical professional confirming that the
         Crewmember was, and, as appropriate, is unable to perform the
         duties due to sickness or injury. Such confirmation shall include the
         GLDJQRVLV RI WKH &UHZPHPEHU¶V FRQGLWLRQ D VWDWHPHQW RI WKH
         &UHZPHPEHU¶V SK\VLFDO OLPLWDWLRQV TXDQWLILHG ZKHUH SRVVLEOH  D
         prognosis IRU WKH &UHZPHPEHU¶V UHFRYHU\ DQG D VWDWHPHQW RI
         treatment. The Company shall maintain the above information in a
         confidential manner.     The Company shall limit intra-Company
         disclosure to management personnel who require such information to
         determine a CUHZPHPEHU¶VVDWLVIDFWLRQRIUHTXLUHPHQWVFRQWDLQHGLQ
         this Agreement. The Crewmember shall use the Company credit
         card to cover any Out-of-pocket medical expenses associated with
         the appointment.


      2011 Contract | Section 14                                       (85)
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      3. If a Crewmember fails to provide the written medical statement
         GHVFULEHG LQ VXEVHFWLRQ ' DERYH WKH &UHZPHPEHU¶V ULJKW WR
         use his sick leave bank for the absence in question shall be revoked
         retroactive to the first day of absence. If the Crewmember provides
         the required written medical statement, he shall not lose pay or be
         charged a sick day from the date the Crewmember informed Crew
         Scheduling he was able to return to duty. This subsection 14.D.3.
         shall not be construed to preclude the Company from additionally
         taking appropriate disciplinary action for any abuse or misuse of sick
         leave if there is just cause.
      4. Nothing in this Section 14 shall abrogate any of the rights or
         entitlements provided the Company and/or the Crewmember in
         Section 15 of this Agreement.
      5. Nothing in this Section shall be construed to preclude or affect the
         &RPSDQ\¶V ULJKW WR GLVFLSOLQH RU GLVFKDUJH D &UHZPHPEHU IRU
         fraudulent use or abuse of sick leave if there is just cause.
      6. If a Crewmember exhausts his short-term sick leave bank, he            may
         utilize all accrued but unused vacation in lieu of using                any
         catastrophic sick leave for the length of his vacation.                If a
         Crewmember exhausts his catastrophic sick leave bank, he               may
         utilize all accrued but unused vacation.
      7. If a Crewmember accepts a position with the Company not covered
         by this Agreement, he shall continue to accrue sick leave under this
         Section 14 subject to appropriate adjustments for any time spent on
         sick leave or in a non-accruing status while working in such position.
         Such sick leave shall be available to the Crewmember upon his
         return to Work in a Position covered by this Agreement.
      8. A Crewmember will be charged a sick day only if he is unable to
         report for duty due to sickness or injury on a day that is a regularly
         scheduled Duty Day (e.g., not an extension day, not a day
         associated with open-time flying).
      9. A Crewmember who has exhausted or is expected to exhaust his
         short term and catastrophic sick leave and vacation benefits before
         returning to Work or becoming eligible for other benefits shall be
         eligible for sick leave donations from other Crewmembers. The
         donated sick leave will be credited to the Sick Leave Donation Bank
         and charged to the donating Crewmember on the basis of a day and
         paid to the receiving Crewmember on the basis of days.
      10. The Company shall provide a Crewmember with a monthly record of
          his current sick leave balance. The Company may provide the


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          LQIRUPDWLRQRQD&UHZPHPEHU¶VSD\VWXERU&RPSDQ\,QWUDQHW




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       SECTION 15: PHYSICAL STANDARDS, MEDICAL
       EXAMINATIONS, DRUG AND ALCOHOL TESTING,
                        AND RELATED PROVISIONS
      A. PHYSICAL STANDARDS
      1. The physical standards required of a Crewmember shall be the
         standards required by the Federal Aviation Administration (as
         outlined in 14 CFR Part 67 and as may be amended), including its
         waiver policy, for the medical certificate that the Company requires
         for the Position that the Crewmember holds.
      2. Each Crewmember may select the Aviation Medical Examiner (AME)
         of his choice for meeting the requirements set forth in this Section.
         7KH &UHZPHPEHU VKDOO SURYLGH D FRS\ RI KLV $LUPDQ¶V 0HGLFDO
         Certificate to the Company no later than the twentieth (20th) of the
         month in which his prior certificate is scheduled to expire unless the
         parties mutually agree to another date or time. The cost of such
         examinations shall be borne by the Crewmember.
      3. If a Crewmember does not or cannot meet the standards for the
         medical certificate required by the Company for his Position, he must
         immediately notify the Chief Pilot and Crew Management.
         Thereafter, such a Crewmember, other than a probationary
         Crewmember, will be permitted to bid only vacancies in a Status that
         his seniority and medical certificate will permit him to hold until such
         time as he regains the class of medical certificate required for his
         former Position.

      B. FITNESS FOR DUTY
      1. The Company may require a Crewmember to submit to a fitness for
         duty examination by a Company designated medical examiner,
         under the following circumstances:
          a.   Upon a ILQGLQJE\D&UHZPHPEHU¶V$0(WKDWWKH&UHZPHPEHU
               does not meet the standards for the class of medical certificate
               required for the Position that the Crewmember holds to the
               extent necessary to determine the accuracy of the original
               $0(¶VILQGLQJRU
          b.   When the Company has reliable information that raises a
               UHDVRQDEOHVXVSLFLRQUHJDUGLQJD&UHZPHPEHU¶VDELOLW\WRVDIHO\
               SHUIRUP DOO RI KLV GXWLHV RU WKDW WKH &UHZPHPEHU¶V SUHVHQW
               medical condition has changed the status of his medical

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               certificate. In such a case, the Company shall provide to the
               Crewmember the information it is relying on to require the fitness
               for duty examination; provided, it shall not be required to provide
               to the Crewmember any information regarding the source of that
               information; or
           c. When the Crewmember has asserted to the Company that he is
              either physically or mentally unable to safely perform the duties
              of his job or otherwise has a medical condition that renders him
              unable to lawfully exercise the privileges of his AirmaQ¶V0HGLFDO
              Certificate.
      2. Any medical examination required under this subsection 15.B. shall
         be performed by a medical examiner with the appropriate specialty
         QHHGHGWRHYDOXDWHWKH&UHZPHPEHU¶VSK\VLFDORUPHQWDOFRQGLWLRQ
         other physicians as directed by the AME.        The cost of the
         examination(s) shall be borne by the Company.
          a.   The location of all such examinations shall be within seventy-five
                  PLOHV RI WKH &UHZPHPEHU¶V UHVLGHQFH XQOHVV D GLIIHUHQW
               mutually agreeable location is selected. If the examination is not
               to be conducted at a location within seventy-five (75) miles of
               WKH &UHZPHPEHU¶V UHVLGHQFH WKH &RPSDQ\ ZLOO SURYLGH WKH
               Crewmember transportation and any reasonably required hotel
               accommodations, together with per diem.                However, a
               Crewmember who fails to cooperate in the scheduling of any
               required examination under this subsection 15.B., or cancels a
               scheduled examination without the agreement of the Company,
               will be removed from pay status and, as may be applicable, shall
               be ineligible for the further use of any accrued sick leave.
          b.   :LWKLQ WHQ   GD\V RI WKH &RPSDQ\¶V UHFHLSW RI WKH &RPSDQ\
               GHVLJQDWHGPHGLFDOH[DPLQHU¶VUHSRUWDFRS\RIWKHUHSRUWVKDOO
               be sent to the Crewmember via overnight mail, by electronic
               means (if acceptable to both the Company and the
               Crewmember) or by hand delivery.
       3. A Crewmember required to undergo an examination by a Company
          designated medical examiner pursuant subsection 15.B.1.b or c,
          above, shall be withheld from service with pay until the Company
          designated medical examiner has submitted his report to the
          Company.
          a.   ,I DV D UHVXOW RI VXFK PHGLFDO H[DPLQDWLRQ WKH &RPSDQ\¶V
               designated medical examiner determines that the Crewmember
               is not able to hold and/or exercise the medical certificate
               required by the Company for the Position that the Crewmember

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               holds, then the Crewmember shall be removed from pay status;
               provided, however, that he shall be entitled to use any accrued
               sick leave pay and accrued vacation after short-term sick leave
               pay has been exhausted, as provided for in Section 7 and
               Section 14 of this Agreement, and may invoke the provisions of
               subsection 15.C., below.
          b.   ,I DV D UHVXOW RI VXFK PHGLFDO H[DPLQDWLRQ WKH &RPSDQ\¶V
               designated medical examiner determines that the Crewmember
               is able to hold and exercise the medical certificate required by
               the Company for the Position that the Crewmember holds then
               the Crewmember shall be returned to duty.
      4. A Crewmember required to undergo an examination by a Company
         designated medical examiner pursuant to subsection 15.B.1.a,
         above, shall be withheld from service without pay, provided,
         however, that he shall be entitled to use any accrued sick leave pay
         and accrued vacation after short-term sick leave pay has been
         exhausted, as provided for in Sections 7 and 14 of this Agreement,
         until the Company designated medical examiner has submitted his
         report to the Company.
          a.   ,I DV D UHVXOW RI VXFK PHGLFDO H[DPLQDWLRQ WKH &RPSDQ\¶V
               designated medical examiner determines that the Crewmember
               is able to hold and exercise the medical certificate required by
               the Company for the Position that the Crewmember holds, then
               the Crewmember shall no longer be entitled to use any accrued
               sick leave or accrued vacation and shall be returned to duty with
               pay; provided, however, that the Crewmember shall be entitled
               to invoke the provisions of subsection 15.C., below.
          b.   ,I DV D UHVXOW RI VXFK PHGLFDO H[DPLQDWLRQ WKH &RPSDQ\¶V
               designated medical examiner determines that the Crewmember
               is not able to hold or exercise the medical certificate by the
               Company for the Position that the Crewmember holds, then the
               Crewmember shall be entitled to use any accrued sick leave and
               accrued vacation after short-term sick leave has been
               exhausted, as provided for in Sections 7 and 14 of the
               Agreement until the earlier of:
               i.    His accrued sick leave and/or accrued vacation have been
                     exhausted;
               ii.   He is able to hold and exercise the medical certificate
                     required for his Position;
               iii. He accepts another position with the Company.


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      C. MEDICAL DISPUTE RESOLUTION PROCEDURES
      In the case of a dispute arising from subsection 15.B.3.a. or 15.B.4.a.,
      DERYH EHWZHHQ WKH &UHZPHPEHU¶V GHVLJQDWHG PHGLFDO H[DPLQHU DQG
      WKH &RPSDQ\¶V GHVLJQDWHG PHGLFDO H[DPLQHU UHJDUGLQJ WKH
      &UHZPHPEHU¶VPHQtal or physical fitness for duty, the Crewmember may
      invoke the following procedures.
      1. The Crewmember must within seven (7) days after receipt of the
         ILQGLQJV RI WKH &RPSDQ\¶V GHVLJQDWHG PHGLFDO H[DPLQHU VXEPLW WR
         the Chief Pilot a written request that WKH &RPSDQ\¶V GHVLJQDWHG
         PHGLFDO H[DPLQHU DQG WKH &UHZPHPEHU¶V GHVLJQDWHG PHGLFDO
         examiner select a third, impartial medical examiner to resolve the
         dispute. Failure to request the selection of a third, impartial medical
         examiner within the seven (7) day time limit provided shall render the
         ILQGLQJV RI WKH &RPSDQ\¶V GHVLJQDWHG PHGLFDO H[DPLQHU ILQDO DQG
         binding.
      2. )ROORZLQJ WLPHO\ UHFHLSW RI WKH &UHZPHPEHU¶V UHTXHVW WKH
         &RPSDQ\¶VGHVLJQDWHGPHGLFDOH[DPLQHUZLOOEHDVNHGWRFRQWDFWWKH
         &UHZPHPEHU¶V GHVLgnated medical examiner for the purpose of
         selecting a third, impartial medical examiner. If for any reason the
         &UHZPHPEHU¶V GHVLJQDWHG PHGLFDO H[DPLQHU GHFOLQHV WR SDUWLFLSDWH
         in this process, the Crewmember may select another medical
         examiner to participate in the selection of the third, impartial medical
         H[DPLQHURQWKH&UHZPHPEHU¶VEHKDOI
      3. Within three (3) days of the appointment of the third, impartial
         PHGLFDO H[DPLQHU ERWK WKH &RPSDQ\¶V DQG WKH &UHZPHPEHU¶V
         designated medical examiners will submit their findings, together with
         the findings of any other medical examiners involved, to the third,
         impartial medical examiner.
      4. $OO ZULWWHQ FRPPXQLFDWLRQV E\ HLWKHU WKH &RPSDQ\¶V RU
         &UHZPHPEHU¶V GHVLJQDWHG PHGLFDO H[DPLQHU PDGH WR WKH WKLUG
         impartiaO PHGLFDO H[DPLQHU ZLOO EH FRSLHG WR WKH RWKHU SDUW\¶V
         designated medical examiner.         Further, no verbal or written
         FRPPXQLFDWLRQ UHJDUGLQJ WKH PHULWV RI WKH &RPSDQ\¶V SRVLWLRQ RU
         &UHZPHPEHU¶V SRVLWLRQ LQ WKH GLVSXWH VKDOO EH PDGH WR WKH WKLUG
         impartial medical examiner by either the Company or the Union.
      5. After receipt of the medical records referenced above, the third,
         impartial medical examiner will, if he deems it necessary, examine
         the Crewmember and, if necessary refer the Crewmember to any
         medical specialist required in order for the third, impartial medical
         H[DPLQHU WR PDNH D GHWHUPLQDWLRQ UHJDUGLQJ WKH &UHZPHPEHU¶V
         ability to hold or exercise the medical certificate required by the

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          Company for the Position that the Crewmember holds.
      6. Within seven (7) days following his review of the records provided
         and any examination(s) of the Crewmember deemed necessary by
         the third, impartial medical examiner, he shall render a final and
         binding determination regarding the dispute. The Crewmember shall
         be provided with a copy of the decision within ten (10) days.
      7. If the Crewmember has been withheld from service involuntarily by
         the Company and is found by the third, impartial medical examiner to
         be able to hold and exercise the medical certificate required by the
         Company for the Position that the Crewmember holds, then he will
         be pay protected by the Company for the period that he was withheld
         from service and his sick leave and accrued vacation account will be
         restored.
      8. If the Crewmember has been withheld from service involuntarily by
         the Company and is found by the third, impartial medical examiner to
         be unable to hold or exercise the medical certificate required by the
         Company for the Position that the Crewmember holds then his sick
         leave accrual will be reduced to the extent that he was receiving pay.
      9. If the Crewmember has withheld himself from service and is found by
         the third, impartial medical examiner to be able to hold and exercise
         the medical certificate required by the Company for the Position that
         the Crewmember holds, then he will be returned to duty and required
         to repay the Company for any sick leave and accrued vacation he
         received while the medical dispute was pending.
      10. If the Crewmember has withheld himself from service and is found by
          the third, impartial medical examiner to be unable to hold or exercise
          the medical certificate required for the Position that the Crewmember
          holds, then he will be paid his accrued sick leave and accrued
          vacation on a retroactive basis to the extent he could have utilized
          such pursuant to Section 7 and 14 but for the dispute regarding his
          fitness for duty and he shall also be entitled thereafter to use his
          remaining accrued sick leave and accrued vacation if he so elects,
          as provided for in Section 7 and 14 of this Agreement.
      11. The Company shall be responsible for the costs and, if the location of
          the examination is more than seventy-five (75) miles from the
          &UHZPHPEHU¶V UHVLGHQFH &UHZPHPEHU H[SHQVHV DVVRFLDWHG ZLWK
          examination by its designated medical examiners. The Crewmember
          shall be responsible for the costs and expenses associated with
          examination by his designated medical examiners that are not
          FRYHUHG E\ WKH &RPSDQ\¶V JURXS LQVXUDQFH SODQ  $Q\ FRVWV DQG
          expenses incurred by the Crewmember in connection with

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          examinations by the third, impartial medical examiner not covered by
          WKH&RPSDQ\¶VJURXSLQVXUDQFHSODQVKDOOEHVKDUHGHTXDOO\E\WKH
          Company and the Crewmember.
      12. Medical records and other information obtained as a the result of a
          Company-required medical examination or subsequent examinations
          pursuant to this subsection 15.C shall be subject to safeguards as to
          their confidentiality in accordance with applicable law.
      13. Any unjustifiable delays in the completion of these procedures that
          are the result of the action or inaction of the Crewmember shall
          render the Crewmember ineligible for continued pay status or the use
          of any accrued sick leave, as applicable.
      14. Forms to be utilized for the engagement of the third, impartial
          medical examiner and required release of medical information are
          included hereto as Appendices 15-A, 15-B, 15-C, 15-D and 15.E.
      15. All correspondence and other written communications the Company
          is required to send to the Crewmember shall be sent to the
          &UHZPHPEHU¶V GHVLJQDWHG DGGUHVV YLD FHUWLILHG PDLO UHWXUQ UHFHLSW
          requested or by a commercially recognized courier service so as to
          insure delivery and confirmation of receipt. The Company and Union
          may mutually agree to substitute electronic mail delivery on a case-
          by-case basis or in all cases.

      D. DRUG AND ALCOHOL TESTING AND RELATED PROVISIONS
      1. A Crewmember shall be subject to drug and alcohol testing as
         required by applicable Federal Aviation Regulations (FARs) and by
         Company policy in effect as of the effective date of this Agreement,
         which may be modified from time to time as required by such
         regulations and other applicable law. No other changes to the policy
         applicable to Crewmembers shall be made without the consent of the
         Union.
      2. At the request of either party, representatives of the Union and
         UHSUHVHQWDWLYHVRIWKH&RPSDQ\ZLOOPHHWWRGLVFXVVWKH&RPSDQ\¶V
         administration of its drug and alcohol testing programs. The
         Company agrees to provide the Union with notice and an opportunity
         to consult prior to implementing any material changes to such
         program consistent with subsection 15.D.1., above.
      3. $ &UHZPHPEHU ZKR KDV EHHQ UHTXLUHG WR XQGHUJR ³5HDVRQDEOH
         &DXVH5HDVRQDEOH6XVSLFLRQ´WHVWLQJDVVHWIRUWKLQWKH&RPSDQ\¶V
         Drug and Alcohol Policy will be provided the basis, including the
         date, time, and location of the observations relied on for the


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          determination to require such testing, no later than seven (7) days
          after the test has occurred.
      4. No Crewmember shall be required to submit to a random drug or
         alcohol test unless he is notified within one and a half hours (1:30)
         prior to scheduled departure or within thirty minutes (0:30) after
         block in, or when performing safety-sensitive duties in the service of
         the Company within the meaning of the applicable FARs.
      5. $VVHWIRUWKLQWKH&RPSDQ\¶V'UXJDQG$OFRKRO3ROLF\FRQVXPSWLRQ
         of alcohol at any time while in uniform is prohibited.
      6. Crewmembers may possess, but not consume, alcoholic beverages
         on Company aircraft, provided such alcoholic beverages remain
         FRQFHDOHG DW DOO WLPHV LQ WKH &UHZPHPEHU¶V SHUVRQDO OXJJDJH
         Further, no personal luggage containing alcoholic beverages may be
         brought into the cockpit operating area of Company aircraft.
      7. Crewmembers may consume alcoholic beverages while
         deadheading on commercial carriers only if the Crewmember is not
         in uniform, and is deadheading into a rest period or scheduled Day
         Off.
      8. Crewmembers may consume alcoholic beverages during a Layover
         Period; provided, such consumption during the layover does not
         violate the applicable laws and regulations or Company policies
         relating to the consumption of alcohol.




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      Appendix 15-A
      (applicable date)


      7R 7KH &RPSDQ\¶V GHVLJQDWHG PHGLFDO H[DPLQHU  DQG                  7KH
      &UHZPHPEHU¶VGHVLJQDWHGPHGLFDl examiner)
      'HDU 'U 7KH &RPSDQ\¶V GHVLJQDWHG PHGLFDO H[DPLQHU  DQG 'U 7KH
      &UHZPHPEHU¶VGHVLJQDWHGPHGLFDOH[DPLQHU 


      <RXU UHVSHFWLYH ILQGLQJV GLIIHU UHJDUGLQJ &UHZPHPEHU¶V  DELOLW\ WR KROG
      or exercise the Airman Medical Certificate required for (his/her) Position
      as a flight deck crewmember. In accordance with our established
      procedures for resolution of this dispute, you are requested to confer and
      jointly select a third, impartial medical examiner who will review your
      respective findings, examine (Crewmember), if he determines that such
      is necessary, engage any specialists as required, and render a final and
      binding determination regarding the dispute.
      Please promptly:
      1. Confer with each other and select the impartial medical examiner;
         and
      2. Notify each of us as to whom you have selected.
      After we receive that notification and as soon as the selected impartial
      medical examiner accepts the engagement, we will advise you of that
      acceptance so that you can then forward the specified medical
      information to that physician. An authorization for that purpose signed by
      (Crewmember) is enclosed. Please complete the form by filling in the
      VHOHFWHGPHGLFDOH[DPLQHU¶VQDPHDQGDGGUHVV
      7R SUHVHUYH WKH LQWHJULW\ RI VXFK LPSDUWLDO PHGLFDO H[DPLQHU¶V review,
      you are requested to refrain from any ex parte oral or written
      FRPPXQLFDWLRQ ZLWK VXFK PHGLFDO H[DPLQHU UHJDUGLQJ &UHZPHPEHU¶V 
      medical case. Of course, you are free to converse with such designated
      PHGLFDO H[DPLQHU LQ HDFK RWKHU¶V SUHVHQFH RU WRgether via telephone
      conference call.
      Thank you for your cooperation in helping to resolve this matter
      expeditiously.


      Sincerely,



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      Appendix 15-B
      (applicable date)


      To: Dr. (the third, impartial medical examiner)


      You have been jointly selecWHG E\ 'U &RPSDQ\¶V GHVLJQDWHG PHGLFDO
      H[DPLQHU  DQG 'U &UHZPHPEHU¶V GHVLJQDWHG PHGLFDO H[DPLQHU  WR
      UHVROYHDGLVSXWHUHJDUGLQJ &UHZPHPEHUV¶ DELOLW\WRKROGDQGH[HUFLVH
      a (Class I or Class II, as appropriate) Airman Medical Certificate as
      required for (his/her) position as a flight deck crewmember. You will be
      UHFHLYLQJ D FRS\ RI WKH ILQGLQJV RI 'U &RPSDQ\¶V GHVLJQDWHG PHGLFDO
      H[DPLQHU  DQG 'U &UHZPHPEHU¶V GHVLJQDWHG PHGLFDO H[DPLQHU 
      regarding their examinations of (Crewmember). Your task is to review
      those findings, examine (Crewmember) at your discretion, engage any
      specialist(s) as you deem appropriate and render an unequivocal
      GHWHUPLQDWLRQ UHJDUGLQJ &UHZPHPEHU¶V  DELOLW\ WR KROG DQG H[HUFLVH D
      (Class I or Class II, as appropriate) Airman Medical Certificate for his
      position as a flight deck crewmember.
      It is very important that your examination and determination be
      completely impartial.
      :H KDYH FDXWLRQHG 'U &RPSDQ\¶V GHVLJQDWHG PHGLFDO H[DPLQHU  DQG
      'U &UHZPHPEHU¶V GHVLJQDWHG PHGLFal examiner) against any ex parte
      FRPPXQLFDWLRQ ZLWK \RX UHJDUGLQJ &UHZPHPEHU¶V  PHGLFDO FDVH  2I
      course, joint telephone conference calls are perfectly acceptable.
      Likewise, you should have no ex parte communications, written or oral,
      regarding (CrewmemEHU¶V  PHGLFDO FDVH ZLWK DQ\ RIILFLDO HPSOR\HH RU
      representative of either Atlas Air, Inc., or the International Brotherhood of
      Teamsters. Again, joint telephone conference calls with representatives
      of both parties are acceptable.
      7KLV LV QRW D :RUNHU¶s Compensation Claim. Nor is (Crewmember)
      applying for any Airman Medical Certificate. The standards against
      ZKLFK &UHZPHPEHU¶V  FRQGLWLRQ LV WR EH MXGJHG DUH FXUUHQW )$$
      standards for his class of Airman Medical Certificate, as contained in 14
      CFR Part LQFOXGLQJWKH)$$¶VZDLYHUSROLF\
      Please provide a written report of your findings to (Crewmember), the
      International Brotherhood of Teamsters, and (designated Company
      recipient). Requisite Medical information release forms executed by
      (Crewmember) are enclosed. Also enclosed is an executed medical



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      information release form authorizing any specialist(s) whom you would
      call upon to provide their records to you.
      Time is of the essence as (insert Company name) and (Crewmember)
      desire to resolve this dispute as quickly as possible.
      We recognize that you may have a question about some aspect of this
      process. If you call either of the signatories to this letter, a telephone
      conference call will be arranged at your convenience and we can then
      jointly address your concern(s).
      Your fees and expenses in connection with this engagement, including
      the fees and expenses of any specialist(s) you may determine to engage
      to assist you in making your determination, not covered by the
      &RPSDQ\¶V JURXS LQVXUDQFH SOan will be borne one-half each by the
      Company and (Crewmember). Thus, you should send your bill to:
          Group health insurance plan address:
          Company address:
          Crewmember address:
      Thank you in advance for your acceptance of this engagement and your
      willingness to help resolve this dispute.


      Sincerely,




      Enc: Medical information release forms




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      Appendix 15-C


      AUTHORIZATION TO RELEASE MEDICAL INFORMATION

      , &UHZPHPEHU KHUHE\DXWKRUL]H'U QDPHDQGDGGUHVVRI&RPSDQ\¶V
      designated medical examiner or CrHZPHPEHU¶V GHVLJQDWHG PHGLFDO
      examiner, as applicable) to release (his/her) findings regarding my
      current ability to hold and exercise a (Class I or Class II, as appropriate)
      Airman Medical Certificate to Dr. (name and address of third, impartial
      medical examiner).
      This authorization expires thirty (30) days from the date which appears
      below.




      2011 Contract | Section 15                                       (100)
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      Appendix 15-D


      AUTHORIZATION TO RELEASE MEDICAL INFORMATION

      I, (Crewmember) hereby authorize Dr. (name(s) and address(es) of
      specialist(s)), to release (his/her) records/findings regarding my current
      ability to hold and exercise a (Class I or Class II, as appropriate) Airman
      Medical Certificate to (name and address the third, impartial medical
      examiner).
      This authorization expires thirty (30) days from the date which appears
      below.




      2011 Contract | Section 15                                       (101)
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      Appendix 15-E


      AUTHORIZATION TO RELEASE MEDICAL INFORMATION

      I, (Crewmember) hereby authorize Dr. (name and address of the third,
      impartial medical examiner), to release (his/her) findings regarding my
      current ability to hold and exercise a (Class I or Class II, as appropriate)
      Airman Medical Certificate to (Crewmember), (insert Company name),
      and the International Brotherhood of Teamsters to the addresses which
      appear below.
      This authorization expires thirty (30) days from the date which appears
      below.




      (insert Company name)                             IBT
      (Address)                                         (Address)




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                 SECTION 16: WORKERS' COMPENSATION
                                          BENEFITS
      The Company presently maintains a Workers' Compensation insurance
      policy providing certain coverage and benefits for its employees. A
      Crewmember shall be covered under the policy and shall be eligible to
      submit a claim for benefits. After providing the Union with notice and an
      opportunity to respond, the Company shall have the right to self insure in
      whole or in part, to modify or to discontinue its Worker's Compensation
      insurance policy or to change its carriers. If the Company discontinues
      its policy, a Crewmember shall have the right to seek whatever
      alternative or different benefits that may be provided under applicable
      state and federal laws, or the laws of any United States territory or
      possession.




      2011 Contract | Section 16                                      (103)
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      SECTION 17: MISSING, INTERNMENT, PRISONER
                            OR HOSTAGE BENEFITS

      A. Any Crewmember who, while eQJDJHGLQWKH&RPSDQ\¶VRSHUDWLRQV
         becomes involuntarily interned or held as a prisoner or hostage by
         any person, group or is held by a foreign government entity, or
         becomes involuntarily missing, shall be entitled to compensation and
         benefits continuation as if he had continued working, including but
         not limited to:
          1. Monthly compensation at the rate applicable to the Crewmember
             as if he was in fact working, based upon the applicable Minimum
             Monthly Guarantee (for the month in which the Crewmember
             became interned, held prisoner or missing, he shall receive the
             applicable monthly guarantee or actual compensation required
             by this Agreement, whichever is greater);
          2. Continuation of the insurance benefits applicable to the
             Crewmember (including those extended to WKH &UHZPHPEHU¶V
             family), subject as before to the required employee contributions;
          3. &RQWLQXDWLRQ RI  N  GHGXFWLRQV IURP WKH &UHZPHPEHU¶V
             PRQWKO\ FRPSHQVDWLRQ DQG WKH &RPSDQ\¶V PDWFKLQJ
             contributions on behalf of the Crewmember;
          4. Continued sick leave and vacation accrual;
          5. Continued seniority and Longevity accrual.
      B. The compensation listed above shall be deposited to an interest
         bearing account (pass book savings interest rate or better) on behalf
         of the Crewmember unless he has completed and filed with the
         Company the form attached to this Section 17 as Appendix 17-A, in
         which case such compensation shall be paid as he has directed
         therein. The Company shall provide to each Crewmember a copy of
         the aforementioned form at the time he is hired. In furtherance
         thereof, the Company shall make the form available on its website so
         that Crewmembers may update the form as necessary.
      C. If it cannot be determined whether a Crewmember has been
         detained in a manner that would trigger the compensation and
         benefits provided for in this Section 17, such compensation and
         benefits shall be paid retroactively if eligibility is later confirmed. Any
         dispute(s) regarding the application of this Section may bypass the
         grievance procedures set forth in Section 20 and be submitted
         directly to the System Board of Adjustment provided for in Section

      2011 Contract | Section 17                                         (105)
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           21. Such dispute(s) shall be heard and resolved as expeditiously as
           possible.
      D. If the death of the Crewmember is established by any means, or
         there is sufficient evidence that a reasonable person would conclude
         that the Crewmember has died, the compensation and benefits set
         forth in subsection 17.A., above, shall cease and any death benefits
         to which the Crewmember is entitled shall be concurrently paid.
      E. If it cannot be determined that the Crewmember is alive but there is
         insufficient evidence for a reasonable person to conclude that the
         Crewmember has died, but there has been no legal finding of the
         &UHZPHPEHU¶V GHDWK WKH FRPSHQVDWLRQ DQG EHQHILWV OLVWHG LQ
         subsection 17.A., above, will be paid for the shorter of a period of
         twenty-four (24) months from the time the Crewmember was last
         NQRZQ WR EH DOLYH RU WR ZKHQ WKH &UHZPHPEHU¶V GHDWK KDV EHHQ
         legally or otherwise confirmed. If at the end of the twenty-four (24)
         month period the &UHZPHPEHU¶V VWDWXV VWLOO FDQQRW EH FRQILUPHG
         then any death benefits to which he may be entitled shall be paid.
      F. $WWKHWLPHDQHOLJLEOH&UHZPHPEHU¶VFRPSHQVDWLRQDQGEHQHILWVDUH
         terminated pursuant to subsections 17.D. or 17.E., above, the
         vacation accruals to which he was entitled shall be paid as
         compensation as he has directed in Appendix 17-A to this Section. If
         the Crewmember has not completed and filed Appendix 17-A with
         the Company, then the accruals will be paid to his estate.
      G. In the case of a Crewmember who has not completed and filed
         Appendix 17-A with the Company and for whom compensation has
         been held in an interest bearing account pursuant to subsection
         17.B., above, such compensation shall be paid to the estate of the
         Crewmember at the time death benefits, if any, are to be paid
         pursuant to this Section 17.
      H. If a Crewmember for whom death benefits have been triggered
         pursuant to this Section 17 is later determined to be alive and eligible
         for the compensation and benefits listed in subsection 17.A., above,
         such compensation and benefits will be paid on a retroactive basis,
         less any death benefits already paid. Further, such compensation
         and benefits will continue for the period that the Crewmember
         continues to qualify for such. If the death benefits paid the
         Crewmember are greater than the compensation that would have
         been paid the Crewmember had no presumption or finding of death
         been made, then the Crewmember shall be obligated to refund the
         excess to the Company.
      I.   The compensation and benefits provided for in this Section shall not

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          apply to any Crewmember:
          1. whose gross misconduct causes him to be missing, detained or
             interned and results in his unavailability for duty;
          2. who engaged in activities that he knew or should have known
             were illegal under the laws of the country in which such activities
             took place;
          3. who voluntarily entered an area that he was directed to avoid by
             the Company, the U.S. government, or the foreign government
             with jurisdiction over the area entered by the Crewmember if the
             Crewmember had prior notice of the directive;
          4.   who is held by law enforcement or governmental officials in the
               United States, its possessions, or territories, except as provided
               in subsection 17.J., below.
      J. Notwithstanding anything to the contrary contained in this Section 17,
         the compensation and benefits specified in subsection 17.A., above,
         shall continue for any Crewmember who as a result of any action
         taken pursuant to and in accordance with Company instructions,
         policy and procedures becomes missing, interned or held as a
         prisoner by law enforcement or governmental officials of any foreign
         country or the United States, its possessions, or territories.




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      APPENDIX 17-A
      To: ____________________,
      You are hereby directed to pay all monthly compensation allowable to
      me pursuant to Section 17 of the collective bargaining agreement
      between __________________ and the Crewmembers in the service of
      _________________ as represented by the International Brotherhood of
      Teamsters, as follows:


      A.       NAME/INSTITUTION: ___________________________
      Recipient's Address: ___________________________
      ACCOUNT NO. (as applicable):____________________
      PERCENTAGE OF MONTHLY COMPENSATION:______
      As long as living, or allowed by law, and thereafter to:
      NAME/INSTITUTION:_____________________________
      Recipient's Address: ____________________________
      ACCOUNT NO. (as applicable): ____________________


      B.       NAME/INSTITUTION: ___________________________
      Recipient's Address: ___________________________
      ACCOUNT NO. (as applicable):____________________
      PERCENTAGE OF MONTHLY COMPENSATION:______
      As long as living, or allowed by law, and thereafter to:
      NAME/INSTITUTION:_____________________________
      Recipient's Address: ____________________________
      ACCOUNT NO. (as applicable): ____________________


      C.       NAME/INSTITUTION: ___________________________
      Recipient's Address: ___________________________
      ACCOUNT NO. (as applicable):____________________
      PERCENTAGE OF MONTHLY COMPENSATION:______
      As long as living, or allowed by law, and thereafter to:
      NAME/INSTITUTION:_____________________________

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      Recipient's Address: ____________________________
      ACCOUNT NO. (as applicable): ____________________


      D.       NAME/ INSTITUTION: ___________________________
      Recipient's Address: ___________________________
      ACCOUNT NO. (as applicable):____________________
      PERCENTAGE OF MONTHLY COMPENSATION:______
      As long as living, or allowed by law, and thereafter to:
      NAME/INSTITUTION:_____________________________
      Recipient's Address: ____________________________
      ACCOUNT NO. (as applicable): ____________________


      The balance, if any, and any amounts accruing after death of all persons
      named in the above designation shall be held for me, or in the event of
      my death before receipt thereof, shall be paid to the legal representative
      of my estate.
      The foregoing direction may be modified from time to time by signed
      letter by the undersigned, and such modification shall become effective
      upon the Company's receipt of such letter.
      Payments made by the Company pursuant to this direction will fully
      release the Company from the obligation of making any further payments
      with respect thereto.




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                     SECTION 18: UNION REPRESENTATION
      A. The Company shall admit a reasonable number of officially
         designated representatives of the Union to those areas of its property
         where Crewmembers generally congregate and to the various offices
         of the Company for the purpose of attending meetings with
         management and administering the Agreement.
      B. The Union shall notify the Company in writing and in a timely manner
         of the designation and/or election of its various representatives.
      C. The rights of Crewmembers to a Union representative during
         investigatory, disciplinary and grievance meetings and hearings shall
         be specified in the Agreement.
      D. Representatives of the Union shall be provided an opportunity (a
         PLQLPXPRIWZR  KRXUV WRPHHWZLWKDQGDGGUHVVWKH&RPSDQ\¶V
         New Hire Crewmembers at a mutually agreed upon time during
         Company indoctrination training. The Union will advise the Company
         in advance as to who its representative(s) will be at these meetings.
         Any costs for such meetings, other than the facility if the meeting is
         held in Company facilities, shall be the responsibility of the Union.
         Nothing contained herein shall prohibit a Union representative(s)
         IURP FRQWLQXLQJ D PHHWLQJ EH\RQG WZR   KRXUV DW WKH &RPSDQ\¶V
         IDFLOLW\ RXWVLGH RI QRUPDO WUDLQLQJ KRXUV ZLWK WKH &RPSDQ\¶V
         permission.




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               SECTION 19: DISCIPLINE, DISCHARGE AND
                                           PROBATION
      A. JUST CAUSE, DISCIPLINE, DISCHARGE AND PROBATION
      1. A Crewmember who has successfully completed his probationary
         period as defined in subsection 19.A.2. shall not be disciplined or
         discharged except for just cause.
      2. The GXUDWLRQRID&UHZPHPEHU¶VSUREDWLRQDU\SHULRGVKDOOEHDWRWDO
         of twelve (12) months of Active Service beginning with the date on
         which the Crewmember first attended a session of successfully-
         completed, new-hire training as a Crewmember.

      B. PROCEDURE FOR DISCIPLINE AND DISCHARGE OF CREWMEMBERS
      A Crewmember shall not be disciplined or discharged without previously
      KDYLQJ EHHQ LVVXHG D ³QRWLFH RI KHDULQJ OHWWHU´ DQG DIIRUGHG WKH
      opportunity to attend a hearing before his Chief Pilot, or his designees;
      provided, the Crewmember is reasonably available for the hearing or has
      not made himself unavailable for the hearing.
      1. Notice of Hearing Letter
          a.   7KH &RPSDQ\ VKDOO LVVXH WR WKH &UHZPHPEHU D ³QRWLFH RI
               KHDULQJ OHWWHU´ EHIRUH FRQGXFWLQJ DQ\ GLVFLSOLQH RU GLscharge
               hearing. Such notice of hearing letter shall inform the
               Crewmember of the time and place of the hearing and the
               matter to be discussed, including the specific acts of misconduct
               or omission alleged and, as applicable, any Company rules,
               regulations, or policies alleged to have been violated. The notice
               of hearing letter must also specifically reference that discipline or
               discharge may be assessed and that the Crewmember is
               entitled to the presence of a Union representative.
          b.   The notice of hearing letter must be issued within forty-five (45)
               days from the date the Company first had or should have had
               sufficient knowledge (i) of the events on which the discipline or
               discharge may be based, and (ii) that those events may
               constitute just cause for the discipline or discharge of the
               &UHZPHPEHU LQYROYHG  +RZHYHU VKRXOG WKH &RPSDQ\¶V
               investigation of the matter be ongoing it may, upon written notice
               to the Crewmember and the Union, extend this forty-five (45)
               day period by an additional forty-five (45) days. As part of its
               notice of extension of the time for issuing the notice of hearing
               letter, the Company shall also provide to the Crewmember a

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               statement regarding the acts of alleged misconduct or omission
               currently under investigation; provided, however, that if the
               events upon which discipline may be based involve actions by a
               Crewmember that are part of an ongoing criminal investigation
               or the subject of a filed criminal complaint or similar pleading
               these time limits for the issuance of a notice of hearing letter
               shall not apply. Nothing in this paragraph shall be construed to
               OLPLWWKH&RPSDQ\¶VDXWKRULW\WRLPSRVHSURJUHVVLYHGLVFLSOLQHRU
               discharge on the basis of prior events.
          c.   At the time the Company issues a notice of hearing letter to a
               Crewmember it shall at the same time issue a copy of the letter
               to the Union.
      2. The Hearing
          a.   The hearing will be scheduled to begin no earlier than ten (10)
               days and no later than fifteen (15) days from the time of the
               &UHZPHPEHU¶V UHFHLSW RI WKH QRWLce of hearing letter; provided,
               that in the case of a Crewmember suspended without pay as
               provided below, the hearing will commence no later than ten
                  GD\V DIWHU WKH ILUVW GD\ RI WKH &UHZPHPEHU¶V VXVSHQVLRQ
               from service in accordance with subsection 19.B.3.b. unless the
               Crewmember is unavailable. If the hearing does not timely
               commence as required, then the suspended Crewmember will
               be returned to pay status; provided, that he will remain subject to
               disciplinary action for the offense in question.
          b.   To the extent reasonably possible and to the extent that doing
               VRZLOOQRWDIIHFWWKH&UHZPHPEHU¶VOHJDOLW\IRUGXW\RURWKHUZLVH
               disrupt the operation, at the request of the Crewmember the
               hearing will be scheduled to occur on a day that the
               Crewmember, if not held out of service, is otherwise scheduled
               to be at his Base.
          c.   If the Crewmember for whom a hearing is to be held cannot be
               contacted after reasonable efforts have been made or he is
               unavailable for the hearing, then the Company shall meet with
               the Union to discuss the matter before assessing any discipline
               to the Crewmember or discharging him from the Company.
          d.   If a Union representative is not reasonably available to attend
               the hearing after being released by the Company, a hearing
               pursuant to this subsection 19.B.2 shall be telephonic unless the
               parties mutually agree to reschedule the hearing.




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          e.   By mutual agreement of the parties, a hearing pursuant to this
               subsection 19.B.2 may be telephonic. Company officials other
               than the official conducting the hearing may also participate.
          f.   If the Company agrees, a Crewmember may waive his
               entitlement to the hearing provided for in this Section.
      3. &UHZPHPEHU¶V 6WDWXV 'XULQJ DQ ,QYHVWLJDWLRQ DQG 3HQGLQJ WKH
         Results of a Hearing
          a.   A Crewmember may be held out of service during an
               investigation that may lead to the assessment of discipline or
               discharge. Except as provided in subsection 19.B.3.b, below,
               WKH &UHZPHPEHU¶V SD\ VKDOO EH ZKDW WKH &UHZPHPEHU ZRXOG
               have earned under Section 3 of the Agreement, based on his
               scheduled trip(s), if applicable.
          b.   A Crewmember may be held out of service without pay during
               an investigation that may lead to the assessment of discipline or
               discharge only for acts of violence, intentional or other malicious
               destruction of Company property, suspected violation of the
               &RPSDQ\¶VGUXJDQGDOFRKROSROLF\WKHIWJURVVLQVXERUGLQDWLRQ
               or other gross misconduct.
          c.   A Crewmember held out of service pending an investigation that
               may lead to discipline or discharge shall continue to participate
               in the normal Bid Line procedure for subsequent Bid Periods as
               if he were not subject to an investigatory suspension. Any
               compensation that may be later determined to be due him shall
               be based on the presumed award of a Bid Line in accordance
               with normal procedures.
      4. Results of the Hearing
          a.   The Company will issue its decision within fourteen (14) days
               following the close of the hearing, except in the case of a
               Crewmember that has been held out of service without pay in
               which case the decision shall be rendered within seven (7) days
               following the close of the hearing. If the Company fails to issue
               its decision within the specified time frame, the Crewmember
               shall be deemed exonerated.
          b.   Any decision by the Company to discipline or discharge a
               Crewmember shall be in writing, with a copy to the Union.
          c.   If a Crewmember has been withheld from service and/or notified
               that a hearing is to be held regarding any action or inaction on
               his part and the Crewmember is subsequently completely


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               cleared of all of the charge(s) against him the following shall
               apply:
               i.    To the extent not prohibited by law or applicable regulations,
                     all Company records regarding the Crewmember, including
                     WKH &UHZPHPEHU¶V SHUVRQQHO DQG WUDLQLQJ ILOHV, shall be
                     purged of all references to the charge(s).
               ii.   The Crewmember will receive back pay based on what the
                     Crewmember would have earned under Section 3, based on
                     his scheduled trip(s), if applicable.
               iii. For each day the Crewmember attended the hearing on
                    what otherwise would have been a scheduled Day Off, the
                    Crewmember shall receive the pay applicable to Work on a
                    scheduled Day Off.
               iv. Seniority and Longevity shall be restored              and     the
                   Crewmember shall otherwise be made whole.
          d.   If a Crewmember has been withheld from service and is
               subsequently assessed discipline intended to result in a
               monetary penalty less than the pay loss suffered in connection
               with the hearing process, the Crewmember shall be restored for
               the pay loss incurred that exceeds the intended monetary value,
               if any, of the discipline assessed. To the extent permitted by law
               or applicable regulations, all Company records including the
               &UHZPHPEHU¶V SHUVRQQHO DQG WUDLQLQJ ILOHV VKDOO EH SXUJHG RI
               all references to the original charge(s) and pay loss incurred that
               exceeds the intended monetary value, if any, of the final
               discipline imposed.

      C. RIGHT TO APPEAL
      A Crewmember or the Union may appeal any adverse action taken under
      this Section 19, in accordance with the procedures set forth in Section
      20. The appeal rights set forth in this subsection 19.C. do not apply to
      Crewmembers who have not completed the probationary period.

      D. GENERAL
      1. The number of witnesses or representatives that will be released
         from duty at the request of the Union to appear at a hearing under
         this Section 19 shall not unduly interfere with the operations of the
         &RPSDQ\$&UHZPHPEHURUSDUW\¶VULJKWWRFDOODZLWQHVVVKDOOEH
         satisfied where the witness is provided an opportunity to participate
         in-person or by telephone in the hearing. As necessary, additional


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          meeting dates shall be scheduled. A hearing under this Section 19
          shall be concluded once all of the requested witnesses have been
          provided a reasonable opportunity to be heard in person or by
          telephone.
      2. The Union will be responsible for the compensation, travel, and other
         expenses of their respective witnesses and Union representatives for
         hearings and any other meetings held under this Section 19 pursuant
         to flight pay loss procedures. To the extent permitted by law and as
         otherwise authorized by Company policy, the Company will provide
         witnesses and Union representatives who are employees of the
         Company no cost, round trip, space-available transportation on
         Company aircraft to attend a hearing or other meeting held under this
         Section.
      3. The Company will furnish at no-cost to the Crewmember, round trip
          IURP WKH &UHZPHPEHU¶V UHVLGHQFH WR WKH ORFDWLRQ RI WKH KHDULQJ 
         commercial transportation for a Crewmember who is the subject of a
         hearing pursuant to this Section 19 in the event transportation over
         the lines of the Company is not available. In addition, the Company
         shall pay per diem and the cost of reasonable lodging expenses
         associated with the hearing.
      4. In the event a witness who is a Crewmember is called by the
         Company and is released from duty for the purpose of presenting
         evidence at the hearing, in person or telephonically, the witness shall
         receive the pay the Crewmember would have earned under Section
         3, based on his scheduled trip(s), if applicable, for each day he
         appears as a witness. In addition, when applicable, the Company
         shall pay per diem and the cost of reasonable lodging expenses
         associated with the hearing.
      5. The time limits contained in this Section may be extended by written
         or oral agreement between the parties. As soon as practicable oral
         agreements to extend a time limit shall be confirmed in writing by the
         party who requested the extension. In the event a time limit
         contained in this Section 19, or any mutually agreed extension
         thereof, expires on a weekend or Company holiday, the time limit
         shall be extended to the next business day.
      6. All notices, decisions, correspondence and other written
         communications the Company is required to send to the
         CrewmemEHU DQG 8QLRQ VKDOO EH VHQW WR WKH &UHZPHPEHU¶V
         designated address via certified mail, return receipt requested or by
         a commercially recognized courier service so as to insure delivery
         and confirmation of receipt, with a copy to the Union. The Company


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          and Union may mutually agree to substitute electronic mail delivery
          on a case-by-case basis or in all cases.
      7. Hearings under this Section shall be held at mutually agreeable
         times and locations. If the Company and the Union are unable to
         agree on a time and/or location, hearings will be held at the general
         offices of the Company at a time directed by the Company after
         consultation with the Union regarding its availability.
      8. A stenographic or other recording of the hearings or any other
         meeting provided for in this Section 19 shall not be made unless the
         parties mutually agree to do so, in which case the costs of such will
         be borne equally between the parties.
      9. The issuance of advisory letters to all Crewmembers, or a class of
         Crewmembers, intended only to communicate policy, procedures or
         Work rules that if violated could lead to discipline, do not constitute
         the assessment of discipline and are not subject to the provisions of
         this Section 19.
      10. Individual counseling sessions and the documentation of such
          counseling sessions do not constitute the assessment of discipline
          and are not subject to the provisions of this Section. Documentation
          of a counseling session will be treated as follows:
          a.   Documentation of a counseling session shall include a specific
               notation that the counseling did not constitute the assessment of
               discipline.
          b.   Documentation of a counseling session will not be placed in the
               &UHZPHPEHU¶V SHUVRQQHO ILOH DQGRU WUDLQLQJ ILOH EXW PD\ EH
               otherwise retained by the Company and considered as part of
               WKH&UHZPHPEHU¶V:RUNUHFRUG
          c.   Documentation of a counseling session shall not be divulged,
               communicated, or distributed outside of the Company without
               the written consent of the Crewmember, except as may be
               required by any governmental agency or authority, as required
               E\ WKH 3LORWV¶ 5HFRUG ,PSURYHPHQW $FW RI  RU DV PD\ EH
               otherwise required by law.
      11. The Company shall provide the Union with copies of any documents,
          including witness statements, if applicable, the Company intends to
          present or rely on at the hearing. Information shall be provided at the
          hearing unless mutually agreed otherwise.




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                      SECTION 20: GRIEVANCE PROCEDURE
      A. RIGHT TO UTILIZE GRIEVANCE PROCEDURE
      Any Crewmember, or group of Crewmembers as provided in subsection
      20.B.1.b., below, who has a grievance concerning the application or
      interpretation of this Agreement, or a grievance concerning a Company
      action which he believes violates this Agreement, or who believes he has
      been unjustly disciplined or discharged, or the Union on the same basis
      as Crewmembers, may use this grievance procedure to grieve such
      matter. Except in cases of discipline and discharge, prior to the filing of a
      grievance involving the application or interpretation of this Agreement, or
      an action of the Company purporting to violate this Agreement, the
      Crewmember(s) or a Union representative must first make an attempt to
      resolve the matter informally through discussions or other
      communications with appropriate Company personnel. Further, the
      Company may initiate a grievance as provided in subsection 20.D.,
      below.

      B. GRIEVANCE STEPS
      1. Step 1
          a.   The grievance must be submitted on a form provided by the
               Union, signed by the affected Crewmember, or by a Union
               representative on behalf of the Crewmember, and shall state in
               reasonable detail the facts upon which the claim is based, the
               section(s) of the Agreement and/or Company work rule(s),
               policy(ies) or procedure(s) in question, and the relief sought. The
               grievance shall be submitted to the Chief Pilot. A grievance
               must be submitted no more than thirty (30) days after the date
               the Crewmember knew or should have known of the act(s) or
               omission(s) giving rise to the grievance. In the case of a
               grievance over discipline or discharge, the thirty (30) day time
               period for filing grievances begins the day after the
               Crewmember receives the decision referred to in subsection
               19.B.4.b of this Agreement.
          b.   If the grievance of two (2) or more Crewmembers involves the
               same facts or incidents and alleged violation of this Agreement
               and/or Company work rule(s), policy(ies) or procedure(s), then
               such grievance may be filed by the Union as a "group grievance"
               or "class action grievance" on behalf of the affected
               Crewmembers, subject to all other provisions of this Section 20.



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          c.   A Step 1 meeting, if requested by the Company, the Union, or
               the grievant, will be held as soon as practicable but in no case
               later fifteen (15) days after the Chief Pilot receives the written
               grievance. The meeting will be conducted by the Chief Pilot or
               his designee. Within seven (7) days after the meeting, or if no
               meeting is to be held by mutual agreement, then within fifteen
               (15) days after receipt of the grievance, the management official
               hearing the grievance will issue a written decision to the
               grievant, with a copy to the Union.
          d.   In matters relating to discipline and discharge, the procedures
               set forth in Section 19 will serve as Step 1 of this grievance
               procedure.
      2. Step 2
          a.   A grievance that has not been resolved at Step 1 may be
               appealed by the Union or Crewmember to the Vice President of
               Flight Operations. Such appeal must be in writing on a form
               provided by the Union and signed by the grievant or by a Union
               representative on his behalf. The appeal must be postmarked or
               received by the Company no later than fourteen (14) days after
               the Crewmember and Union's receipt of the Company's Step 1
               written decision. A timely grievance filed over discipline or
               discharge shall be considered a timely written appeal and
               request for a Step 2 meeting.
          b.   A Step 2 meeting, if requested by the Company, the Union, or
               the grievant, will be held by the Vice President of Flight
               Operations, or his designee, within fourteen (14) days of receipt
               of the written appeal.
          c.   Within ten (10) days after the meeting, or if no meeting is to be
               held by mutual agreement then within fourteen (14) days after
               receipt of the grievance, the Vice President of Flight Operations,
               or his designee, will issue a written decision to the grievant, with
               a copy to the Union.
      3. Step 3
          a.   In the event a grievance has not been resolved at either Steps 1
               or 2, the Union, only, may appeal the grievance to the Atlas Air,
               Inc. System Board of Adjustment (hereinafter, "Board"), in the
               manner provided for in subsection 21.C.2.a. The appeal must
               be in writing, addressed to the office the Company's Human
               Resources Department, and postmarked (or similar identification
               in the case of commercial delivery) no later than thirty (30) days


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               after the date the Step 2 decision was received by Union. The
               Company shall make a land and email address available for
               filing.
          b.   The Board shall be constituted and shall function in accordance
               with the provisions of Section 21 of this Agreement.

      C. TIME LIMITS
      1. Any time limits prescribed in this Section 20 may be waived by
         mutual agreement of the Company and the grievant or Union. As
         soon as practicable oral agreements to extend a time limit shall be
         confirmed in writing by the party who requested the extension.
      2. In the event a time limit contained in this Section, or any mutually
         agreed extension thereof, expires on a weekend or Company
         holiday, the time limit shall be extended to the next business day.
      3. The failure of a Crewmember, or the Union on behalf of the
         Crewmember, to grieve or to appeal any adverse decision (in whole
         or in part) within the prescribed time limits provided, including any
         mutually agreeable extensions to such time limits, or a refusal to
         attend a properly scheduled meeting (unless the grievant has waived
         his right to attend the meeting), shall cause the action or decision of
         the Company to become final and binding; provided, the Board shall
         have jurisdiction to resolve all disputes related to compliance with
         this subsection 20.C.3.
      4. If any meeting or decision required of the Company under the
         provisions of this grievance procedure is not held or issued within the
         time limits provided, including any mutually agreed upon extensions
         to such time limits, the Crewmember and the Union may consider the
         grievance denied and appeal it to the next step of the procedure, and
         until such time as the Company has provided the meeting or decision
         required, the time limits for the grievant and/or the Union to file an
         appeal to the next step of this procedure, or to the Board, shall be
         tolled.

      D. COMPANY GRIEVANCES
      In the case of a grievance initiated by the Company (a "Company
      grievance"), the Company shall submit the Grievance to the Union in
      writing or by electronic mail. The Company grievance shall conform with
      the timeliness and formal requirements set forth in subsection 20.B.1.a,
      above. The Company may file a grievance only over the interpretation or
      application of the Agreement. Within thirty (30) days of submission of a
      Company grievance, a Union official designated by the Union will meet

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      with the Company's Vice President of Flight Operations and the
      Company's senior official responsible for Crewmember labor relations, or
      their designees, to discuss the matter. If the grievance cannot be
      resolved as a result of this meeting then within thirty (30) days following
      such meeting, the grievance may be appealed by the Company to the
      Board by filing a notice of appeal to the Board on or before the thirty-first
      (31) day following the meeting. Such appeals shall conform to the
      requirements set forth in 20.B.3.a., above, except the notice of appeal
      shall be filed with a Union official designated by the Union.

      E. GENERAL
      1. A decision rendered pursuant to this Section 20 may not add to,
         subtract from, or alter in any way the Agreement.
      2. The number of witnesses or Union representatives that will be
         released from duty to appear at a hearing under this Section 20 shall
         not unduly interfere with the operations of the Company. A
         Crewmember or party's right to call a witness shall be satisfied where
         the witness is provided an opportunity to participate in person or by
         telephone at the hearing. As necessary, additional meeting dates
         shall be scheduled. A hearing under this Section 20 shall be
         concluded once all of the requested witnesses have been provided a
         reasonable opportunity to be heard in person or by telephone.
      3. A stenographic or other recording of the meetings provided for in this
         Section will not be made unless the parties mutually agree to do so,
         in which case the costs of such will be borne equally between the
         parties.
      4. Unless the Company so agrees (or the Union in the case of a
         Company grievance), the grievant and the Union are precluded from
         raising in subsequent steps of the grievance procedure alleged
         unrelated violation(s) of the Agreement, unrelated issues involving
         the application of Company rules, policies or procedures or additional
         unrelated claims based on facts or incidents not raised as part of the
         grievance submitted at Step 1. Such issues may only be submitted
         as new grievances subject to all time limits, jurisdictional restrictions,
         and any other pertinent provisions of this Agreement. However,
         nothing herein shall preclude the grievant or the Union from raising at
         any step of this grievance procedure or before the Board any section
         or provision of this Agreement that either the grievant or the Union
         believes supports their position in the underlying grievance.
      5. Unless the Union so agrees, the Company is precluded from raising
         new charges in disciplinary and discharge matters that were not


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          raised in Section 19 proceedings.
      6. A Crewmember will have the right to be accompanied at each
         meeting held pursuant to this grievance procedure by a Union
         representative who may or may not be an employee of the Company.
      7. All notices, decisions, correspondence and other written
         communications the Company is required to send to the
         Crewmember and Union shall be sent to the Crewmember's and
         Union's designated address via certified mail, return receipt
         requested or by a commercially recognized courier service so as to
         insure delivery and confirmation of receipt. The Company and Union
         may mutually agree to substitute electronic mail delivery on a case-
         by-case basis or in all cases.
      8. All meetings provided for in this Section 20 will be at mutually
         agreeable reasonable times and locations. If the Company and the
         Union are unable to mutually agree on a time and location, the
         meetings will be held at the general offices of the Company at a time
         directed by the Company after consultation with the Union regarding
         its availability. At the request of the Company or the Union, any
         meeting provided for herein to discuss a grievance not involving
         discipline or discharge may be held by telephone conference. For
         grievances involving discipline or discharge, the waiver of any
         meeting provided for herein in favor of a telephone conference must
         be by mutual agreement.
      9. The Company and the Union will be responsible for the
         compensation, travel, and other expenses of their respective
         witnesses and Union representatives for meetings held at any step of
         this grievance procedure; provided, Union witnesses and
         representatives who are Crewmembers who attend hearings under
         this Section 20 shall be subject to flight pay loss procedures, upon
         request by the Union. To the extent permitted by law, and upon
         request by the Union, the Company will provide a Crewmember no
         cost, round trip space-available transportation on Company aircraft to
         attend meetings held under this Section 20.
      10. Upon a specific, good faith, written request made at least seventy-
          two (72) hours prior to a hearing referenced in this Section 20,
          (unless another time frame is mutually agreed upon), the Company
          and the Union shall provide the other party with information
          reasonably necessary to determine the merits of a grievance.
          Information shall be provided at least twenty-four (24) hours before
          the hearing unless mutually agreed otherwise.



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       SECTION 21: SYSTEM BOARD OF ADJUSTMENT
      A. SYSTEM BOARD OF ADJUSTMENT
      In compliance with Section 204, Title II of the Railway Labor Act, as
      amended, there is hereby established a System Board of Adjustment,
      which shall be known as the Atlas Air, Inc. Crewmembers' System Board
      of Adjustment (the "Board").

      B. JURISDICTION OF THE BOARD
      1. As provided by the Railway Labor Act, as amended, the Board shall
         have jurisdiction over all disputes between a Crewmember and the
         Company, or between the Company and the Union, growing out of
         the interpretation or application of any of the terms of this Agreement
         or amendments thereto.
      2. The Board's jurisdiction shall not extend to any proposed changes in
         rates of pay, rules or working conditions. The Board shall not have
         any jurisdiction to add to, subtract from, modify or amend any of the
         terms of this Agreement.
      3. In cases arising under Section 20, the Board's jurisdiction shall be
         limited to a consideration of the issue(s) addressed in the written
         grievance filed pursuant to Section 20 and any issues arising from
         the subsequent processing of the grievance.
      4. The Board shall not have jurisdiction to consider any dispute in which
         the appealing party has not complied with the applicable provisions
         of Sections 19 or 20, or which has not been submitted to the Board in
         a timely manner; provided, all procedural arbitrability disputes shall
         be resolved by the Board.
      5. The Board shall have no jurisdiction to consider any dispute involving
         the discharge of a probationary Crewmember.
      6. As provided by the Railway Labor Act, as amended, the decisions of
         the Board shall be final and binding.

      C. PROCEEDINGS BEFORE THE BOARD
      1. The Board shall consist of three (3) members. One member shall be
         designated by the Union, and one member shall be designated by
         the Company. The third member shall be selected from a panel of
         neutral arbitrators pursuant to the provisions of subsection 21.C.3.,
         below.
      2. Appeal/Submission

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          a.   Written appeals to the Board shall be submitted in accordance
               with subsections 20.B.3.a. and 20.D. of this Agreement. The
               submission shall specifically state:
               i.    The question(s) at issue, including the specific Section(s) of
                     the Agreement alleged to have been violated;
               ii.   A statement of facts;
               iii. The position of the Crewmember or the Union;
               iv. The position of Company; and
               v. The relief sought.
      3. Selection of Neutral Arbitrator
          a.   The Company and the Union have established the following
               panel of potential arbitrators:
               1. Fred Horowitz
               2. Ira Jaffe
               3. George Nicolau
               4. Alan Symonette
               5. Gil Vernon
               6. Richard Kasher
               7. Edward Krinsky
               8. Josh Javits
          b.   Upon ninety (90) days advance written notice, either party may
               remove an arbitrator from the panel set forth in subsection
               21.C.3.a., above; provided, if a hearing on a particular matter
               has commenced but not concluded, the third member of the
               Board present when the hearing commenced shall serve until
               the hearing is concluded and a decision is rendered. If an
               arbitrator is removed from the panel, the parties shall attempt to
               mutually agree upon a replacement arbitrator within twenty-one
               (21) days of receipt of the written notice. If the parties are unable
               to agree upon a replacement, either party may request a panel
               of nine (9) arbitrators from the National Mediation Board, all of
               whom shall be members of the National Academy of Arbitrators
               with prior airline experience. The parties shall strike the panel
               within fourteen (14) days of receipt. The last name remaining
               shall be added to the panel. The initial strike shall be determined
               by a coin toss.


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      4. Administration of the Board
          a.   Beginning ten (10) days after the appeal to the Board is sent,
               either the Union (in the case of a Union, Crewmember or
               Group/Class Grievances) or the Company (in the case of a
               Company Grievance) shall have the right to select a neutral
               arbitrator to serve as the third member of the Board. The
               arbitrator shall be selected by mutual agreement of the parties or
               by alternately striking names from the above panel. The first
               strike shall be determined by a coin toss. After the arbitrator is
               selected, the Union (in the case of a Union, Crewmember or
               Group/Class Grievances) or the Company (in the case of a
               Company Grievance) may initiate the scheduling of the
               grievance for arbitration by notifying the selected arbitrator in
               writing as set forth in subsection 21.C.4.(i)-(iv). A copy of the
               written submission to the arbitrator shall be sent to the other
               party at the same time that it is sent to the arbitrator:
               i.    That the arbitrator has been selected on the basis of his
                     name appearing on a standing panel inclusive to this
                     Agreement.
               ii.   The name and number of the grievance, and whether it is a
                     contract dispute or a discipline/discharge matter.
               iii. The scheduling party's estimated number of days required to
                    hear the grievance.
               iv. The city in which the hearing is likely to be held.
          b.   The arbitrator will be asked to provide both parties his available
               dates for hearings for the next sixty (60) days. Upon receipt of
               the arbitrator's dates of availability, the parties will confer
               regarding a mutually agreeable date or dates for the hearing. If
               no date has been agreed upon within fourteen (14) days from
               the date the arbitrator's dates were received by the parties, then
               either party may request in writing, with a copy to the other
               party, that the arbitrator schedule the hearing. Upon receipt of
               such a request the arbitrator will schedule the hearing.
          c.   If the arbitrator referred to in subsection 21.C.4.b. does not offer
               available dates for hearings within the next sixty (60) days, and
               one or both parties finds arbitrator's dates of availability
               unacceptable, then the parties shall within fourteen (14) days
               from the date the arbitrator's response was received select
               another arbitrator by mutual agreement or by alternately striking
               names from the above panel. The procedures set forth in


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               subsections 21.C.4.b. and 21.C.4.c. shall be repeated until the
               hearing is scheduled.
          d.   The above listed provisions providing for notifications and
               communications with the arbitrator shall not be construed to
               permit any unauthorized ex parte communication with the
               arbitrator regarding the nature or merits of the grievance to be
               heard.
      5. Hearing
          a.   The parties will endeavor to convene the Board for a particular
               grievance as soon as possible after it has been appealed to the
               Board.
          b.   The Board will meet at a mutually agreeable facility in
               Westchester County, New York unless the parties agree to meet
               elsewhere.
          c.   The number of employee witnesses and representatives
               summoned to appear at any one time shall not be greater than
               that which can be spared without interfering with the Company's
               operations. Additional hearing dates will be scheduled as
               necessary. However, upon receipt of at least fourteen (14) days
               advance notice the Company shall release the Union's Board
               member to the extent necessary to allow him to attend meetings
               of the Board.
          d.   A stenographic or other recording of the hearing may be made
               at the request of either party or upon mutual agreement of the
               parties. Except in the case of mutual agreement, the cost of the
               stenographic or other recording shall be borne by the requesting
               party and such recording shall be for the exclusive benefit of
               such party. In the case of mutual agreement for recording of the
               hearing, costs of such shall be borne equally by the parties.
               Nothing shall preclude the arbitrator from making or requesting a
               recording of the hearing for the arbitrator's exclusive use.
          e.   The Board will be asked to issue its decision in writing as soon
               as reasonably possible, but in no case more than sixty (60) days
               after the hearing(s) conclude. Further, by mutual agreement the
               parties may request that the Board issue its decision orally or
               with a brief written decision after the taking of evidence and the
               conclusion of oral arguments, with a comprehensive written
               decision to follow.




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      D. GENERAL
      1. Time Limits
          a.   The time limits contained in this Section may be extended by
               written or oral agreement between the parties. Oral agreements
               shall be confirmed in writing as soon as practicable by the party
               that requested the extension.
          b.   In the event a time limit contained in this Section, or any
               mutually agreed extension thereof, expires on a weekend or
               Company holiday, the time limit shall be extended to the next
               business day.
      2. Notice of Appeal
          a.   A notice of appeal to the Board shall be filed in accordance with
               subsection 20.B.3.a. or 20.D. of the Agreement.
          b.   Copies of the above documents shall be provided to the Union
               official designated by the Union and to the Company's Vice
               President of Flight Operations or designee.
      3. Expenses
          a.   The expenses and reasonable compensation of the neutral
               arbitrator selected in accordance with Paragraph C.3. shall be
               borne equally by the Company and the Union.
          b.   Except as expressly provided otherwise, the Company and the
               Union shall respectively assume the compensation, travel
               expense and other expenses of the Board members designated
               by them; provided, the Union Board member who attends
               hearings under this Section 21 shall be subject to flight pay loss
               procedures.
          c.   To the extent permitted by law and authorized by Company
               policy, the Union Board member shall be provided no cost, free
               space available transportation over the lines of the Company for
               the purpose of attendance at meetings of the Board.
          d.   The Company and Union will be responsible for the
               compensation, travel, and other expenses of their respective
               witnesses and representatives; provided, Union witnesses and
               representatives who are Crewmembers who attend hearings
               under this Section 21 shall be subject to flight pay loss
               procedures.
               i.   In the event the Company calls a Crewmember as a witness,
                    the Company will furnish at no-cost to the Crewmember,


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                     round trip (from the Crewmember's residence to the location
                     of the hearing) commercial transportation in the event
                     transportation over the lines of the Company is not available.
                     In addition, the Company shall pay per diem and the cost of
                     reasonable lodging expenses associated with the hearing.
               ii.   In the event the Company calls a Crewmember as a witness
                     and the Crewmember is released from duty for the purpose
                     of presenting evidence at the hearing, and the hearing is on
                     a Work Day(s), the Crewmember shall receive the pay the
                     Crewmember would have earned under Section 3, based on
                     his scheduled trip(s), if applicable, for each day he appears
                     as a witness. If the hearing is on the Crewmember's Day(s)
                     Off, the Crewmember shall receive pay applicable to Work
                     on a scheduled Day Off for each such day the Crewmember
                     attended the hearing.
          e.   Upon mutual advance agreement of the Union and the Company
               in each particular instance, the Board may incur expenses
               necessary for its decision of a case and such expenses shall be
               borne equally by the Company and the Union.
      4. Docket
          If the Union appeals more than one (1) case to the Board, the Union
          shall choose the order of Union, Crewmember or Group/Class
          Grievances to be heard and decided by the Board. If the Company
          appeals more than (1) Company Grievance to the Board, the
          Company shall choose the order of Company Grievances to be
          heard and decided by the Board.
      5. Information Requests
          a. Upon a specific, good faith, written request made at least fourteen
              (14) days prior to a hearing referenced in this Section 21 (unless
              another time frame is mutually agreed upon), the Company and
              the Union shall provide the other party with information (that was
              not already provided pursuant to subsection 20.D.10)
              reasonably necessary to determine the merits of a grievance.
              The requested information shall be provided as soon as
              practicable before the Board hearing, but not later than seven
              (7) days prior to the Board hearing unless mutually agreed to
              otherwise.
          b.   The failure to provide required information, unless such
               information is withheld deliberately, shall not have an
               exclusionary effect. Rather, if additional pertinent requested


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               information is identified before the close of the hearing, it will be
               provided to the requesting party as soon as possible.
      6. Subpoenas and Disclosure of Witnesses
          The parties acknowledge the right to subpoena information and
          witnesses for Board hearings. The parties shall disclose to one
          another the names of witnesses they intend to call as part of their
          case in chief, if known, no less than three (3) days prior to the
          commencement of a Board hearing.
      7. The Company and Union shall be the only parties to a Board
         proceeding.
      8. The Company shall designate the person or persons who may
         present its arguments and evidence to the Board. The Union shall
         designate the person or persons who may present its arguments and
         evidence to the Board, and, at its discretion, who may present any
         arguments and evidence on behalf of the grievant.
      9. Each Board member shall be free to discharge his duty in an
         independent manner, without fear that his individual relations with the
         Company, the Union or other employees may be affected in any
         manner by any action taken by him in good faith in his capacity as a
         Board member.




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                                               SECTION 22: SENIORITY
      A. GENERAL
      1. Except as may otherwise be provided in this Agreement, seniority will
         govern with respect to upgrade and downgrade, filling of vacancies,
         displacements, reduction in force (furlough), recall from furlough,
         Base and aircraft assignments due to expansion or reduction in
         aircraft and Base staffing, monthly schedules, vacation bidding and
         when otherwise required by the Agreement.
      2. 7KHUH VKDOO EH WZR 6\VWHP 6HQLRULW\ /LVWV FRPSULVHG RI WKH ³)OLJKW
         (QJLQHHU´OLVWDQGWKH³3LORW´OLVW
          a.   Seniority as D)OLJKW(QJLQHHUVKDOOEHEDVHGRQWKHLQGLYLGXDO¶V
               length of service as a Flight Engineer, beginning with the date
               the individual commenced training with the Company as a Flight
               Engineer, and his relative position in that Flight Engineer training
               class.
          b.   6HQLRULW\ DV D 3LORW VKDOO EH EDVHG RQ WKH LQGLYLGXDO¶V OHQJWK RI
               service as a Pilot, beginning with the date the individual
               commenced training with the Company as a Pilot, and his
               relative position in that Pilot training class.
          c.   For both the Flight Engineer and Pilot System Seniority Lists, if
               an individual is currently employed by the Company, he shall be
               placed on the applicable list first. When two or more individuals
               currently employed by the Company begin training on the same
               date, placement on the applicable list will be determined using
               the last four digits of their Social Security numbers, with the
               individual having the lower number placed on the list first. If two
               or more such individuals have the same four Social Security
               numbers, then the last six Social Security numbers shall be used
               to determine placement on the list, with the individual having the
               lower number placed on the list first. After individuals currently
               employed by the Company are placed on the list in accordance
               with the procedure above, the Social Security number rules
               above shall be used to determine the placement of all other
               individuals who begin training on the same date.
          d.   An individual on the Flight Engineer System Seniority List who
               accepts a position with the Company as a Pilot will be placed on
               the Pilot System Seniority List in accordance with the provisions
               of subsections 22.A.2.b. and 22.A.2.c., above; provided,



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               however, that he shall also continue to accrue seniority as a
               Flight Engineer in accordance with this Section 22.
          e.   An individual on the Pilot System Seniority List who accepts a
               position with the Company as a Flight Engineer will be placed on
               the Flight Engineer System Seniority List in accordance with the
               provisions of subsections 22.A.2.a. and 22.A.2.c., above;
               provided, however, that he shall also continue to accrue
               seniority as a Pilot in accordance with this Section 22.
      3. Except as may be otherwise provided in this Agreement, seniority as
         a Flight Engineer or a Pilot will continue to accrue during the
         LQGLYLGXDO¶VXQLQWHUUXSWHGSHULRGRIHPSOR\PHQWZLWKWKH&RPSDQ\
      4. The promotion of a junior Crewmember over a more senior
         Crewmember as may be allowed under this Agreement shall not
         HIIHFW HLWKHU &UHZPHPEHU¶V UHODWLYH SRVLWLRQ RQ WKH DSSOLFDEOH
         System Seniority List(s).

      B. SENIORITY LIST
      1. The Company shall maintain both the Flight Engineer and Pilot
         System Seniority Lists, which will include all Flight Engineers and
         Pilots employed by the Company as of the date the lists are
         published. The Flight Engineer and Pilot System Seniority Lists as of
         the date of the signing of the Agreement are attached hereto as
         Appendix 22-A.
      2. The official Flight Engineer and Pilot System Seniority Lists will be
         published and posted by the Company on March 1st and September
         1st of each year and at the time a Bid Award is published. Each list
         will contain the names of all Crewmembers holding seniority on each
         list and, at a minimum, the following information for each
         Crewmember shown, current as of the February 15th for the March
         1st posted lists and August 15th for the September 1st posted lists
         and as of the date used for a Bid Award:
          a.   Date of hire as a Pilot or Flight Engineer, as applicable, and
               relative seniority number.
          b.   Status.
          c.   Position.
          d.   Duty status (i.e.,    active,   leave   of   absence,   furlough,
               management).




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      C. PROTESTS REGARDING SENIORITY
      1. A Crewmember shall have a period of forty-five (45) days after the
         posting of the System Seniority Lists to protest to the Company his
         relative seniority position or other incorrect posting that affects his
         seniority on either list, as applicable; provided, however, that a
         Crewmember on vacation, leave of absence, or furlough shall be
         permitted fourteen (14) days after return to duty to submit a protest
         as allowed herein. A Crewmember failing to file a written protest
         within the time limits provided herein shall be bound by the list as
         posted and shall have no further recourse.
      2. A Crewmember protesting his position on either or both System
         Seniority /LVWV VKDOO VXEPLW WKH SURWHVW LQ ZULWLQJ WR WKH &RPSDQ\¶V
         Vice President of Flight Operations or his designee, with a copy to
         the Union. Only protests relating to errors or changes occurring after
         the last required posting of the official System Seniority Lists shall be
         subject to this or any other protest procedure, including the grievance
         procedure set forth in Sections 20 of this Agreement.
      3. The Company will present all properly submitted seniority protests to
         the Union for its review and position regarding how the protest
         should be resolved.
          a.   If the Company agrees with the resolution of the seniority protest
               proposed by the Union then the System Seniority List(s) will be
               amended accordingly and the protest resolution will become
               final and binding on all parties and for all purposes.
          b.   If the Company does not agree with the resolution of the
               seniority protest proposed by the Union then the Union may
               submit the matter directly to the Atlas Air, Inc. System Board of
               $GMXVWPHQW ´%RDUG´  SURYLGHG Ior in Section 21 of this
               Agreement. Should the protest be so submitted, the Board shall
               be asked to hear the matter as expeditiously as possible and its
               decision in the matter will be final and binding on all parties and
               for all purposes.

      D. LOSS OF SENIORITY
      A Crewmember will forfeit all seniority rights and his name will be
      removed from the applicable System Seniority List(s) as may be
      specifically provided elsewhere in this Agreement when he:
      1. Is discharged and the discharge is upheld or unchallenged;
      2. Retires or dies;


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      3. Resigns his employment with the Company;
      4. Does not return to work upon the expiration of a leave of absence;
      5. Has been on continuous leave for a period in excess of                 that
         provided for the leave he was granted in Section 13; or
      6. Has been on furlough for a period in excess of that provided in
         Section 23 of this Agreement; or
      7. Forfeits his Crewmember seniority but remains an employee with the
         Company.

      E. TRANSFER TO MANAGEMENT OR OTHER POSITION WITH THE COMPANY
      1. A Crewmember that has completed his probationary period as
         defined in subsection 19.A.2. of this Agreement and subsequently
         transfers to a management or any other position with the Company
         not covered by this Agreement shall retain and continue to accrue
         seniority on the Pilot and/or Flight Engineer System Seniority List(s),
         as applicable. Such an individual shall exercise his seniority if and
         when he elects to return to a Position covered by this Agreement and
         subject to his meeting all qualifications for the Position to which he is
         attempting to return.
      2. A Crewmember that transfers to a management or other position with
         the Company not covered by this Agreement before he has
         completed his probationary period will retain but not accrue any
         further seniority on either the Flight Engineer or Pilot System
         Seniority List(s), as applicable. Further, such an individual will be
         required to complete his probationary period upon his return to a
         Position covered by this Agreement.
      3. A Crewmember who is removed from his management or other
         position not covered by the Agreement, but retained by the
         Company, shall have a right to return to a Position covered by this
         Agreement in accordance with this subsection 22.E.




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      Appendix 22-A




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                          SECTION 23: FURLOUGH & RECALL
      A. SYSTEM FURLOUGH
      1. A Pilot will be furloughed in reverse order of placement on the Pilot
         System Seniority List. A Flight Engineer will be furloughed in reverse
         order of placement on the Flight Engineer System Seniority List.
          a.   Nothing in this Agreement shall be construed to limit the
               &RPSDQ\¶VULJKWWRWHUPLQDWHWKHHPSOR\PHQWRIDSUREDWLRQDU\
               Crewmember in lieu of furlough.
      2. Furlough Notification Procedure.
          a.   A Crewmember will be given thirty (30) days notice of furlough
               or one (1) month of his monthly guarantee in lieu thereof, in
               addition to any other furlough pay and benefits for which the
               Crewmember is eligible under Section 23.D., below.
          b.   A Crewmember to be furloughed will be notified by the Chief
               3LORW¶V RIILFH LQ writing by facsimile, certified mail, personal
               delivery, or overnight delivery by a commercially recognized
               courier service. A signed and dated receipt, or confirmation of
               successful facsimile transmission, is required for proof of
               delivery; provided, however, the first attempt of delivery of either
               certified mail or overnight delivery will be considered proof of
               delivery. The furlough notice must contain the effective date of
               furlough.

      B. RECALL FROM FURLOUGH
      1. Furloughed Crewmembers shall be required to keep a standing bid
         on file as provided for in Section 24. A furloughed Crewmember may
         change his standing bid at any time and such change will be effective
         the day after it is received by Crew Staffing. The Company shall
         notify those Crewmembers in a furlough status of the opening or
         closing of any Base at the same time such notice is provided to
         active Crewmembers.
      2. All Pilots on furlough shall be offered recall prior to the Company
         hiring new Pilots or Flight Engineers as set forth in subsection
         23.B.2.a., below and except as provided for in subsection 23.B.3,
         below. All Flight Engineers on furlough shall be offered recall prior to
         hiring new Flight Engineers or Pilots as set forth in subsection
         23.B.2.b., below and except as provided for in subsection 23.B.3.



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          a.   Prior to recalling furloughed Pilots, the Company shall award
               Position Vacancies to non-furloughed Pilots in accordance with
               Section 24.
          b.   A Pilot who is furloughed will be recalled in seniority order by his
               placement on the Pilot SyVWHP 6HQLRULW\ /LVW DQG WKH 3LORW¶V
               Position preferences as set forth on his standing bid. A Pilot
               may also preference a Flight Engineer Position on his standing
               bid. A Pilot may be recalled to a Flight Engineer Position if all
               Flight Engineers have been offered recall or no longer have
               recall rights pursuant to subsection 23.B.4., below, and the Pilot
               PHHWV WKH &RPSDQ\¶V TXDOLILFDWLRQV VSHFLILHG LQ VXEVHFWLRQ
               24.H. of this Agreement.
          c.   A Flight Engineer who is furloughed will be recalled in seniority
               order by his placement on the Flight Engineer System Seniority
               /LVW DQG WKH )OLJKW (QJLQHHU¶V 3RVLWLRQ SUHIHUHQFHV DV VHW IRUWK
               on his standing bid. A Flight Engineer may also preference a
               Pilot Position on his standing bid. A Flight Engineer may be
               recalled to a First Officer Position if all Pilots have been offered
               recall or no longer have recall rights pursuant to subsection
               % EHORZ DQG WKH )OLJKW (QJLQHHU PHHWV WKH &RPSDQ\¶V
               qualifications specified in subsection 24.H. of this Agreement.
          d.   If a Pilot or Flight Engineer has not listed a particular recall
               preference Position on his standing bid, he will not be recalled to
               that Position Vacancy and he will be bypassed in favor of a more
               junior Crewmember who has indicated a willingness to be
               recalled to that Position on his standing bid, or, if none, a New
               Hire, as applicable.
      3. A Pilot or Flight Engineer may by-pass his recall from furlough;
         provided, the Company may fill the vacancy with a more junior
         Crewmember, or a New Hire Crewmember, in accordance with this
         subsection 23.C. By-pass rights shall be exercised on a Position
         Vacancy-by-Position Vacancy basis. Crewmembers who exercise
         by-pass rights shall be offered recall to future Position Vacancies as
         they occur.
      4. All recall rights shall expire after five (5) years from the effective date
         of the furlough, at which time his name will be removed from the Pilot
         and/or Flight Engineer seniority list(s), as applicable. The Company
         may at its discretion extend this time period with notice to the Union.
      5. A Crewmember who is recalled from furlough shall be guaranteed
         one (1) month of continuous employment, or pay in lieu thereof.


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      6. At the time a furloughed Crewmember accepts recall, he shall mail or
         otherwise send to the Company a copy of his FXUUHQW $LUPDQ¶V
         Medical Certificate that is required for the Position to which the
         Crewmember has been recalled. If the Crewmember does not have
         D FXUUHQW UHTXLUHG $LUPDQ¶V 0HGLFDO &HUWLILFDWH KH VKDOO QRW EH
         eligible for recall and shall remain in furlough status until such time
         DVKHUHJDLQVWKHUHTXLUHG$LUPDQ¶V0HGLFDO&HUWLILFDWHDQGLVDJDLQ
         recalled.

      C. RECALL NOTIFICATION PROCEDURE
      1. $ &UHZPHPEHU WR EH UHFDOOHG ZLOO EH QRWLILHG E\ WKH &KLHI 3LORW¶V
         office in writing by facsimile, certified mail, personal delivery, or
         overnight delivery by a commercially recognized courier service. A
         signed and dated receipt, or confirmation of successful facsimile
         transmission, is required for proof of delivery; provided, however, the
         first attempt of delivery of either certified mail or overnight delivery
         will be considered proof of delivery. On the date the Company sends
         written notice as described above, the Company shall also send an
         HPDLOWRWKH&UHZPHPEHU¶VSHUVRQDOHPDLODGGUHVVLIRQHKDVEHHQ
         provided by the Crewmember and call/leave a message for the
         Crewmember at the number on file with the Company.
      2. For the purposes of any notice or other communications required of
         the Company in this Section, it will be sufficient for the Company to
         direct such WR WKH &UHZPHPEHU¶V PRVW UHFHQW DGGUHVV RQ ILOH ZLWK
         &UHZ6WDIILQJ,WVKDOOEHWKH&UHZPHPEHU¶VUHVSRQVLELOLW\WRLQIRUP
         Crew Staffing of his current address and telephone number, and any
         changes to such during the term of his furlough.
      3. Within seven (7) days of receipt of a notice of recall, a Crewmember
         on furlough must inform the Company in writing whether he accepts,
         or (if applicable) by-passes, the recall.
      4. In order to accept recall, a Crewmember on furlough must be able to
         report for duty by the anticipated date of return in the recall notice.
         This date of return may not be earlier than twenty-one (21) days after
         WKHGDWHRIWKH&UHZPHPEHU¶VUHFHLSWRIWKHUHFDOOQRWLFHXQOHVVWKH
         Company and Crewmember mutually agree to a different earlier
         date.
      5. A Crewmember will be deemed to have resigned his employment
         with the Company, and his name will be removed from the applicable
         System Seniority List, under the following circumstances:




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          a.   A Crewmember fails to inform the Company whether he will
               accept or by-pass a recall within seven (7) days of his receipt of
               a notice of recall; or
          b.   A Crewmember who accepted recall in a timely manner but fails
               to report for duty on his scheduled date of return.

      D. FURLOUGH BENEFITS
      1. A Crewmember will retain and accrue seniority while on furlough until
         his recall rights expire. A Crewmember will accrue Longevity during
         the first thirty (30) days of a furlough. A Crewmember will retain
         Longevity while on furlough.
      2. A Crewmember may continue any Company-provided medical,
         dental and life insurance coverage for the first two (2) full calendar
         months after the date of furlough so long as he reimburses the
         Company for the standard Crewmember contribution then in effect.
         Thereafter, the Crewmember may continue benefits at his cost
         pursuant to COBRA.
      3. A furloughed Crewmember in pay status at the time of furlough who
         has more than one (1) year of Longevity shall receive a payment
         equal to one-half of his monthly guarantee.             A furloughed
         Crewmember in pay status at the time of furlough who has more than
         two (2) years of Longevity shall receive a payment equal to his
         monthly guarantee. A Crewmember who is not in pay status at the
         time of furlough will not be eligible for furlough pay.
      4. At the time a Crewmember is furloughed, he shall be paid any
         unused vacation to which he was entitled in the current calendar
         year.

      E. GENERAL
      1. A furloughed Crewmember may be entitled to on-line space-available
         transportation, and jump-VHDW SULYLOHJHV RQ WKH &RPSDQ\¶V DLUFUaft
         on the same basis as active Crewmembers for a period of two (2)
         years from the effective date of furlough in accordance with TSA
         requirements.
      2. A furloughed Crewmember shall not perform any line Crewmember
         duties.
      3. For purposes of providing notices of furlough and recall pursuant to
         this Section, it will be sufficient for the Company to direct such
         QRWLFHV WR WKH &UHZPHPEHU¶V PRVW UHFHQW DGGUHVV RQ ILOH ZLWK WKH
         Company. ,WLVWKH&UHZPHPEHU¶VREOLJDWLRQWRLQIRUPWKH&RPSDQ\

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          of any changes in his residence address.
      4. Crewmembers on furlough will be allowed to update their standing
         bids pursuant to the applicable provisions of Section 24.B. of this
         Agreement.

      F. GENERAL
      1. The provisions of subsection 23.A.2.a., 23.D.2., and 23.D.3. shall not
         apply if the need to reduce staffing at a Base or to furlough a
         Crewmember is caused, in major part, by an event or circumstance
         beyond the control of the Company.            The term "event or
         circumstance beyond the control of the Company" means:
          a.   a natural disaster,
          b.   a labor dispute,
          c.   grounding of a substantial number of the Company's aircraft by
               government agency or voluntary action by the Company for
               safety reasons in lieu thereof, which in either case could not be
               avoided or cured by the Company,
          d.   reduction in flying operations because of a decrease in available
               fuel supply or suppliers being unable to provide sufficient critical
               materials for the Company's operations,
          e.   revocation of the Company's operating certificate(s),
          f.   war emergency,
          g.   acts of terrorism,
          h.   RZQHU¶VGHOD\LQGHOLYHU\RIDLUFUDIWVFKHGXOHGIRUGHOLYHU\
          i.   PDQXIDFWXUHU¶VGHOD\LQGHOLYHU\RIQHZDLUFUDIW




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                         SECTION 24: FILLING OF VACANCIES
      A. POSITIONS
      Each Crewmember shall hold a Position in the Company's system.

      B. STANDING BIDS
      1. The Company will establish and maintain a "standing bid system."
         The Company shall use the standing bid system to fill vacancies, to
         process reductions in force, and to process recalls. The standing bid
         shall be used by a Crewmember to:
          a.   Advise the Company of his desire to maintain or change
               Position,
          b.   In the case of a furloughed Crewmember, to advise the
               Company of his recall preferences as provided for in Section 23.
      2. Each Crewmember shall file with Crew Resources a standing bid,
         which will indicate the Crewmember's desired order of preference for
         Positions. The standing bid may contain any number of combinations
         of Positions. It is the Crewmember's responsibility to ensure that his
         standing bid is actually received by Crew Resources. The Company
         shall make available a means for electronic filing.
      3. If a Crewmember has not submitted a standing bid, or his standing
         bid reflects insufficient choices to accommodate his seniority, his first
         bid preference shall be considered his existing Position. If his
         current Position is eliminated or his seniority no longer entitles him to
         hold the Position, then he shall be considered to have bid the
         following order:
          a.   His current Status on his current aircraft type, regardless of
               Base; then
          b.   The highest paying Status for which he is qualified on his current
               aircraft type at his current Base; then
          c.   The highest paying Status for which he is qualified on his current
               aircraft type at any Base; then
          d.   To the highest paying Status he can hold on any aircraft type,
               regardless of Base.
      4. A Crewmember may submit a new standing bid at any time. When a
         Crewmember submits a new standing bid, his prior standing bid shall
         automatically be cancelled.
      5. Standing bids are effective immediately upon receipt by Crew

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          Resources, but will not be considered for a Position that has been
          filled.

      C. PROCEDURE FOR FILLING POSITION VACANCIES
      1. Position Vacancies shall be filled, if at all, on the fifteenth (15th) day
         of each Month. A Position Vacancy award shall include the effective
         date of the award. A Position Vacancy award or assignment shall not
         become effective any sooner than the start of next Bid Month unless
         the Company and Crewmember agree to another time.
      2. If the Company elects to fill Position Vacancies at Permanent Bases,
         the following procedures shall apply:
          a.   The Company shall use the standing bids on file from eligible,
               incumbent Crewmembers before filling any such vacancies with
               newly hired Crewmembers. The Company is not required to
               award or assign a Position Vacancy to an incumbent
               Crewmember who has no standing bid on file. Therefore, it is the
               responsibility of each Crewmember to maintain a complete and
               up-to-date standing bid on file at all times.
          b.   In order to be eligible for Position Vacancies at Permanent
               Bases in a given Month, a Crewmember's standing bid (or
               revised standing bid) must be received by Crew Resources by
               not later than 2359Z on the last day of the Month prior to the
               date Position Vacancies are filled.
          c.   Position Vacancies at Permanent Bases will be awarded, in
               seniority order, to those Crewmembers who possess the
               required qualifications, who will be on active status on the
               effective date of the award, and are not subject to bidding
               freezes as provided for in subsection 24.K. The provisions of
               subsection 24.H., below, shall also be applicable to the awarding
               of such vacancies.
          d.   Additional Position Vacancies, which are created by the filling of
               Position Vacancies, will be awarded according to the criteria in
               subsection 24.C.2.c., above. All Position Vacancies referred to
               in this subsection 24.C.2.d. will be filled concurrently.
          e.   If any Position Vacancies remain unfilled after the process set
               forth in subsections 24.C.2.c. and 24.C.2.d., above, and the
               Company elects to fill the Position Vacancies, the Company
               shall fill such Position Vacancies through any of the following:




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               i.    Waive any freeze that makes the most senior
                     Crewmember(s) bidding the vacancy ineligible for such
                     Position Vacancy.
               ii.   If waiving freezes does not result in filling the Position
                     Vacancy, reverse seniority order assign a Crewmember(s)
                     who possess the required qualifications. However, a Pilot
                     may not be reverse seniority assigned to Flight Engineer
                     Status nor may a Flight Engineer be reverse seniority
                     assigned to a Pilot Status.
               iii. Fill the Position Vacancy with a New Hire Crewmember.
      3. Vacancies created as the result of a Crewmember being awarded a
         vacancy ("secondary" vacancy) shall be filled at the Company's
         discretion, in accordance with the provisions of this Section 24.
      4. Vacancies awarded to any of the following listed Crewmembers will
         be treated as a "phantom" bid award. In such a case, the vacancy
         may, at the Company's discretion, also be awarded to the next most
         senior eligible bidder and qualified Crewmember with a standing bid
         on file for the Position Vacancy.
          a.   A Crewmember working in a position not covered by this
               Agreement as provided for in Section 10.
          b    A Crewmember on a leave of absence as provided for in Section
               13 that is not expected to return to active duty on or before the
               effective date of the bid award.

      D. PROCEDURE FOR OPENING A NEW PERMANENT BASE
      1. If the Company elects to establish a new Permanent Base, it will
         provide notice no later than thirty (30) days before the closing of the
         bid. The notice shall include:
          a. The number of Position Vacancies;
          b. The effective date of each Position Vacancy;
          c. The location of the Permanent Base; and
          d. The bid closing date and time.
      2. Position Vacancies at the new Permanent Base will be awarded in
         seniority order, to those Crewmembers who bid, possess the
         required qualifications, will be on active status on the effective date
         of the award and are not subject to bidding freezes provided in
         subsection 24.K, below. The provisions of subsection 24.H., below,
         shall be applicable to the awarding of such Position Vacancies.

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      3. Additional Position Vacancies, which are created by the filling of
         Position Vacancies at the new Base, will be awarded according to
         the criteria in subsection 24.D.2., above. All Position Vacancies
         referred to in this subsection 24.D.3. will be filled concurrently.
      4. If any Position Vacancies at the new Permanent Base (or additional
         Position Vacancies related thereto) remain unfilled after the process
         set forth in subsections 24.D.2. and 24.D.3., above, and the
         Company elects to fill the Position Vacancies at the new Permanent
         Bases, the Company may fill such Position Vacancies through any of
         the following:
          a    Waive any freeze that makes the most senior Crewmember(s)
               bidding the vacancy ineligible for such Position Vacancy.
          b.   If waiving freezes does not result in filling the Position Vacancy,
               reverse seniority order assign a Crewmember(s) who possess
               the required qualifications. However, a Pilot may not be reverse
               seniority assigned to Flight Engineer Status nor may a Flight
               Engineer be reverse seniority assigned to a Pilot Status.
          c.   Fill the Position Vacancy with a New Hire Crewmember.

      E. PROCEDURE FOR REDUCTION IN POSITIONS
      If the Company elects to reduce the number of Positions at a permanent
      Base, the following procedures apply:
      1. The Pilot or Flight Engineer, whichever is applicable, with the least
         seniority shall be displaced from his Position at the Permanent Base.
      2. The Crewmember so displaced shall have "bumping" rights
         throughout the Company's system in accordance with seniority, his
         standing bid on file (if any), and subsection 24.B.3., above. In order
         for a Pilot to "bump" a Flight Engineer, or a Flight Engineer to "bump"
         a Pilot, the individual exercising "bumping" rights must have a
         seniority number on both the Pilot and the Flight Engineer System
         Seniority Lists.
      3. Any furlough as a result of a reduction in Positions shall be made in
         accordance with system-wide seniority pursuant to subsection 23.A.

      F. TEMPORARY BASES
      1. The Company has the right to establish Temporary Bases at
         locations other than the Company's Permanent Bases. The Position
         Vacancies allocated to a Temporary Base shall have a duration of no
         more than nine (9) Bid Months.


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      2. The following procedures apply to the filling of Position Vacancies at
          Temporary Bases:
          a    Standing bids will not be considered by the Company in
               awarding or assigning such vacancies.
          b.   The Company shall issue a notice pursuant to subsection
               24.D.1., above.
          c.   Position Vacancies at Temporary Bases will be awarded, in
               seniority order, to those Crewmembers who possess the
               required qualifications and are on active status on the effective
               date of the award. The provisions of subsection 24.H., below,
               shall be applicable to the awarding of such Position Vacancies.
          d.   If any Position Vacancies remain unfilled after the process set
               forth in subsection 24.F.2.c., above, the Company may fill such
               Position Vacancies through assignment, in reverse seniority
               order, of Crewmembers who possess the required qualifications
               and who will be on active status on the effective date of the
               award; provided, such an assignment may not exceed three (3)
               Bid Months in any twelve (12) month period. A Pilot may not be
               reverse seniority assigned to be a Flight Engineer nor may a
               Flight Engineer be reverse seniority assigned to be a Pilot.
      3. A Crewmember holding a Position at a Temporary Base must bid
         flight schedules at the Temporary Base.
      4. Upon termination of the Position at the Temporary Base, the
         Crewmember shall automatically revert to his Position at his
         Permanent Base. If the Crewmember's Position at his Permanent
         Base has been terminated, the Crewmember shall have "bumping"
         rights throughout the Company's system in accordance with his
         seniority.
      5. The Company shall provide lodging and per diem for each
         Crewmember awarded or assigned a Position Vacancy in
         accordance with subsection 24.F.2.d., above, at a Temporary Base.
      6. While assigned to a Temporary Base, a Crewmember's standing bid
         shall remain effective and he shall remain eligible for an award
         pursuant to his standing bid.

      G. OPENING AND CLOSING PERMANENT BASES
      1. The Company shall have the right, in its sole discretion, to open or
         close a Crewmember Base, to determine the location for all Bases,
         and to determine the number of positions staffed at each Base.


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      2. The Company shall provide advance written notice to the Union of its
         intention to open or close a Permanent Base. The Company shall
         provide such notice at least thirty (30) days prior to the anticipated
         opening date and at least sixty (60) days prior to the anticipated
         closing date unless it impossible for the Company to provide such
         advance notice, in which case, the Company shall provide as much
         notice as practicable. The Company shall meet with the Union upon
         request to discuss any issues the Union may wish to raise with the
         Company.
      3. Crewmembers affected by a Base closing shall have displacement
         rights as set forth in subsection 24.E., above.

      H. QUALIFICATIONS
      1. In order to exercise seniority rights under this Section 24, a
         Crewmember must have sufficient qualifications, as established
         unilaterally by the Company and published and disseminated to the
         Crewmembers, for the applicable Position. The Crewmember also
         must be available to assume the Position, within any applicable time
         limits in this Agreement, and, if none, within reasonable time limits
         established by the Company.

      I.   INITIAL ASSIGNMENT OF NEW HIRES
      The Company shall permit members of a New Hire class to bid in
      seniority order on Position Vacancies identified by the Company. New
      hires shall prepare and submit an initial assignment bid form. If an
      insufficient number of members of a New Hire class bid for a Position
      Vacancy(ies), the Company shall make assignments within the New Hire
      class in reverse seniority order. Nothing contained herein shall permit the
      Company to award or assign a New Hire to a Position prior to exhausting
      the procedures contained in subsections 24.C. and 24.D., above. The
      Company shall notify New Hires of Position awards and assignments
      prior to the completion of New Hire training. Such Position awards and
      assignments shall become effective upon completion of the initial line
      check.

      J. CREWMEMBERS WITHIN ONE YEAR OF RETIREMENT
      1. A Crewmember who is within one (1) year of mandatory retirement
         age may maintain a standing bid without any additional restrictions,
         but will be awarded only vacancies in his current equipment type and
         Status. The Company may, in its sole discretion, offer the benefit set
         forth in subsection 24.J.2., below, to Crewmember who are more
         than one (1) year away from mandatory retirement age, with the

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          Crewmember's concurrence.
      2. A Crewmember who, but for the provisions of subsection 24.J.1,
         above, would have been awarded a vacancy in a higher Status than
         his current will be paid at the higher rate of pay to which he would
         have been entitled had his bid to the higher Status been awarded.

      K. BIDDING FREEZES
      1. A Captain shall be ineligible to bid to any Status on a different
         equipment type, or to change Status on his current aircraft type, for a
         period of three (3) years.
      2. No bidding freeze shall apply to a First Officer or Flight Engineer who
         bids for a higher Status on the same or a different aircraft type.
      3. A First Officer shall be ineligible to bid First Officer Status on a
         different aircraft type for a period of three (3) years.
      4. A Flight Engineer shall be ineligible to bid to a Flight Engineer Status
         on a different aircraft type for a period of three (3) years.
      5. A Crewmember who is (a) awarded a bid to another Status on his
         current aircraft type or (b) awarded a bid in any Status on another
         aircraft type, and who, after commencing the required training for any
         reason fails to complete such training, shall be returned, seniority
         permitting, to his original Status and aircraft type and shall be
         ineligible to bid to different Status or aircraft type for a period of one
         (1) year.
      6. A probationary Crewmember shall be ineligible to bid to a different
         Status on his current equipment type or to any Status on a different
         equipment type.
      7. All bidding freezes become effective on the first day a Crewmember
         has commenced any initial, upgrade or transition training on his
         current awarded equipment.
      8. During the twelve (12) month period following the delivery of the first
         aircraft that is New Equipment as defined herein, a Bidding Freeze
         shall not prevent a non probationary Crewmember from being
         awarded a higher paying Position Vacancy in the New Equipment.
         The Company shall provide no less than fifteen (15) days advance
         notice prior to making such Position Vacancies available for bidding
         under subsection 24.C. For purposes of this subsection 24.K.8, New
         Equipment means (a) aircraft that is not on the Company's operating
         certificate and is not a derivative of aircraft in the Company's fleet;
         and (b) aircraft that is not on the Company's operating certificate and


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          is a derivative of aircraft in the Company's fleet but the Company
          treats the aircraft as a separate fleet. For purposes of this subsection
          24.K.8, an aircraft is derivative if a Crewmember with a type rating in
          another aircraft in the Company's fleet could be assigned to the
          aircraft after successfully completing differences training.

      L. TRANSITION FROM FLIGHT ENGINEER TO PILOT
      A Flight Engineer may bid for First Officer Position Vacancy as provided
      for in this subsection 24.L.
      1. In order to be awarded a First Officer Position Vacancy, the Flight
         Engineer must possess the minimum qualifications for the First
         Officer Position Vacancy, as established by the Company, and
         successfully complete the simulator evaluation required by the
         Company of Flight Engineers desiring to transition to First Officer.
         Minimum qualifications shall be published and disseminated to
         Crewmembers as required by subsection 24.H., above.
      2. It is the Flight Engineer's sole responsibility to obtain the minimum
         qualifications for the First Officer Position Vacancy and to complete
         the required simulator evaluation. The Flight Engineer will not receive
         any compensation for time spent, or reimbursement of any expenses
         incurred, in obtaining such minimum qualifications or completing
         such simulator evaluation.
      3. A Flight Engineer who is qualified for a First Officer Position Vacancy
         award may exercise his seniority to bid for a First Officer Position
         Vacancy that otherwise would be filled by the Company through the
         hiring of a new Crewmember, but does not have the right to displace
         any incumbent First Officer. Nothing herein shall be deemed to
         require the Company to fill a First Officer Position Vacancy.
      4. A Flight Engineer who is awarded a First Officer Position Vacancy
         pursuant to this subsection 24.L. shall be placed on the Pilot System
         Seniority List in accordance with subsection 22.A.2. However, if the
         upgrading Flight Engineer does not successfully complete the
         required First Officer training for any reason, his name will be
         removed from the Pilot System Seniority List.
      5. A Flight Engineer who is awarded a First Officer Position Vacancy
         pursuant to this subsection 24.L. and who does not successfully
         complete all required training, or who declines an opportunity to
         participate in the necessary training, shall retain his Position as a
         Flight Engineer. However, such Flight Engineer's right to bid in the
         future for First Officer a Position Vacancy(ies) will be governed by
         the following provisions:

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          a    The Flight Engineer shall be ineligible to bid for a First Officer
               Position Vacancy for a period of one (1) year after the date on
               which he returns to Active Service as a Flight Engineer following
               re-qualification training for the Flight Engineer Position, if any.
          b.   After the expiration of the one (1) year period referenced in
               subsection 24.L.5.a, above, the Flight Engineer will again be
               eligible to bid for a First Officer Position Vacancy(ies) consistent
               with the provisions of this subsection 24.L. If the Flight Engineer
               is again awarded a First Officer Position Vacancy, his position
               on the Pilot System Seniority List will be in accordance with the
               provisions of subsection 24.L.4., above; provided, however, that
               the date he shall be considered to have commenced training as
               a Pilot shall be considered this attempt at First Officer training,
               not his earlier attempt.
          c.   If the upgrading Flight Engineer again does not successfully
               complete all required training he will retain his Position as a
               Flight Engineer, but shall be ineligible to ever bid again or
               otherwise be awarded a First Officer Position Vacancy. Further,
               his name shall again be removed from the Pilot System Seniority
               List.
      6. A Flight Engineer that is awarded a First Officer Position Vacancy
         shall be ineligible to bid for a Captain Position Vacancy until he has
         satisfied the minimum qualifications for the Captain Position Vacancy
         as established by the Company.

      M. TRANSITION FROM PILOT TO FLIGHT ENGINEER
      A Pilot may bid for a Flight Engineer Position Vacancy as provided for in
      this paragraph.
      1. In order to be awarded a Flight Engineer Position Vacancy, the Pilot
         must possess the minimum qualifications for the Flight Engineer
         Position, as established by the Company. Minimum qualifications
         shall be published and disseminated to Crewmembers as required by
         subsection 24.H., above.
      2. Any Pilot desiring to bid to a Flight Engineer vacancy must so advise
         the Company in writing no less than one hundred-eighty (180) days
         before he reaches any mandatory Pilot retirement age.
      3. It is the Pilot's sole responsibility to obtain the minimum qualifications
         for the Flight Engineer Position. The Pilot will not receive any
         compensation for time spent, or reimbursement of any expenses
         incurred, in obtaining such minimum qualifications.


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      4. A Pilot who is qualified for a Flight Engineer award may exercise his
         seniority to bid a Flight Engineer Position Vacancy that otherwise
         would be filled by the Company through the hiring of a new
         Crewmember, but does not have the right to displace any incumbent
         Flight Engineer. Nothing herein shall be deemed to require the
         Company to fill a Flight Engineer Position Vacancy.
      5. A Pilot who is awarded a Flight Engineer Position Vacancy pursuant
         to this subsection 24.M. shall be placed on the Flight Engineer
         System Seniority List in accordance with subsection 22.A.2.
         However, if the downgrading Pilot does not successfully complete
         the required Flight Engineer training for any reason, his name will be
         removed from the Flight Engineer System Seniority List.
      6. A Pilot who meets all requirements and submits a valid bid for a
         Flight Engineer Position Vacancy under this subsection 24.M and
         who is not awarded a Flight Engineer vacancy prior to reaching the
         mandatory retirement age shall have the right to be placed on a
         transition leave of absence for the purpose of enabling the Pilot to
         bid for a Flight Engineer Position Vacancy(ies) in the future that
         otherwise would be filled by the Company through the hiring of new
         Crewmembers. This transition leave of absence is governed by the
         following provisions:
          a.   Prior to the date on which he reaches any mandatory Pilot
               retirement age, the Pilot must submit to the Chief Pilot a written
               request to be placed on a transition leave of absence.
          b.   The transition leave of absence will begin on the date of the
               Pilot's attainment of the mandatory retirement age, and will have
               a maximum duration of twenty-four (24) months. The transition
               leave of absence will terminate on the earlier of: (i) the date on
               which the Pilot begins or declines to begin the required training
               for the Flight Engineer Position if he is awarded any such
               Position Vacancy, or (ii) twenty-four (24) months from the start of
               the transition leave of absence if the Pilot is not awarded a Flight
               Engineer Position Vacancy during said period.
          c.   The transition leave of absence will be unpaid. During the month
               in which the transition leave of absence begins, the Pilot's
               Minimum Monthly Guarantee shall be reduced by one-thirtieth
               (1/30) for each day of the month on which the Pilot is on the
               transition leave of absence. The same pro-ration shall be
               applicable to any month in which a Pilot on transition leave of
               absence returns to duty as a Flight Engineer.



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          d.   A Pilot on transition leave of absence may continue Company
               provided medical insurance, but only pursuant to the
               requirements of the Consolidated Omnibus Budget and
               Reconciliation Act (COBRA) and only so long as he pays the
               required monthly premiums and administrative fees charged by
               the Company.
          e.   If two (2) or more Pilots are in a transition leave status at the
               time that a Flight Engineer Position Vacancy becomes available,
               the Position Vacancy shall be awarded as follows:
               i.    First to the Pilot with the most Flight Engineer seniority, if
                     any.
               ii.   If no Pilot in a transition leave status has any Flight Engineer
                     seniority, then the Position Vacancy shall be awarded to the
                     Pilot with the most Pilot seniority, regardless of how long the
                     Pilot has been in the transition leave.
      7. A Pilot who loses the required medical certificate to continue as a
         Pilot but who is otherwise medically qualified to fill a Flight Engineer
         Position Vacancy shall be entitled to bid a Flight Engineer Position
         Vacancy, subject to all provisions of this subsection 24.M.
      8. A Pilot working as a Flight Engineer shall remain on the Pilot System
         Seniority List unless he has reached the mandatory retirement age
         for Pilots, in which case his name shall be removed from the Pilot
         System Seniority List.
      9. A Pilot who is awarded a Flight Engineer Position Vacancy under this
         subsection 24.M. and who does not successfully complete all
         required training or who declines a Flight Engineer Position Vacancy
         award for which he has bid will not be eligible to bid again for a Flight
         Engineer Position Vacancy. If the Pilot had already reached the
         mandatory Pilot retirement age, he will be deemed to have retired
         and his name will be removed from the Pilot System Seniority List
         and the Flight Engineer System Seniority List, as applicable.

      N. CHECK AIRMAN SELECTION PROCEDURES
      1. The bidding procedures set forth in Section 24 do not apply to the
         selection of Check Airman positions. The Company shall permit
         Crewmembers to indicate their desire to serve as a Check Airman on
         the Standing Bid Form.
      2. The Company shall, at its sole discretion, determine the number of
         Check Airmen that it requires at any time.


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      3. Prior to filling Check Airman positions, the Company shall consult
         with the UTC and consider the UTC's views on the qualifications of
         the Check Airman applicants or incumbent Check Airman.
      4. All Check Airmen must have held a Captain position in the aircraft by
         operation of Section 24.C. for at least one (1) year prior to being
         selected as a Check Airman and continue to have the seniority to
         hold a Captain position in the aircraft while serving as a Check
         Airman. This subsection 24.N.4. shall not operate to displace any
         Check Airman holding such position prior to the effective date of the
         Agreement.
          a.   The initial cadre of Check Airmen in New Equipment must be
               awarded a Captain position in the New Equipment by operation
               of Section 24.C but need not have held a Captain position in the
               aircraft for at least one (1) year prior to being selected as a
               Check Airmen. For purposes of this subsection 24.N.4.a., New
               Equipment shall be as defined in subsection 24.K.8. This
               subsection 24.N.4.a. shall apply during the eighteen (18) month
               period following the delivery of the first aircraft that is New
               Equipment as defined herein.

      O. GENERAL
      1. The minimum qualifications established by the Company for a Flight
         Engineer to be eligible to transition to a First Officer Position shall be
         no more stringent than the Company requires for a new-hire First
         Officer.
      2. The minimum qualifications established by the Company for a Pilot to
         be eligible to transition to a Flight Engineer Position shall be no more
         stringent than the Company requires for a new-hire Flight Engineer.
      3. When the Company fills a Position Vacancy, it shall issue a notice
         identifying the Crewmember(s) who have changed Position(s).
      4. The Company shall update Bid Lists when it fills a Position Vacancy.
         Updated Bid Lists shall be made available with the next monthly bid
         package.




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                                        SECTION 25: SCHEDULING
      A. MAXIMUM SCHEDULED DUTY DAYS IN A BID MONTH
      1. Crewmembers shall be awarded or assigned a monthly Bid Line
          ³%LG /LQH´  LQ DFFRUGDQFH ZLWK WKH ELG SURFHVV VHW IRUWK LQ WKLV
         Section 25. The maximum number of Duty Days, including any days
         of reserve duty, associated with a Bid Line shall not exceed
         seventeen (17) days.
      2. A Crewmember shall not be required to exceed his Bid Line by more
         than three (3) Duty Days or a maximum of twenty (20) Duty Days in a
         Bid Month, whichever comes first.
      3. A Crewmember who volunteers and is awarded additional Open
         Time flying under subsection 25.M., below, may exceed the
         maximum number of Duty Days in subsection 25.A.2., above, by the
         number of Duty Days for which he volunteers and any applicable
         extension days to such Open Time trips as provided for in subsection
         25.M.
      4. No Crewmember shall be required to report for duty on a scheduled
         Day Off except as provided in subsection 25.L.2.a. and 25.P.4,
         below.

      B. MAXIMUM CONSECUTIVE DUTY DAYS
      A Crewmember shall not be involuntarily assigned to any schedule that
      would require any duty in excess of seventeen (17) consecutive Duty
      Days without an intervening seven (7) consecutive scheduled Days Off,
      except as specifically provided for in subsection 25.L.2.a., below. The
      &RPSDQ\PD\DGMXVWDQDIIHFWHG&UHZPHPEHU¶V%LG/LQHLQWKHsecond
      month in order to provide the minimum number of consecutive Days Off
      (or fewer if agreed upon by the Crewmember) or assign the
      Crewmember a Reserve Line for the second Bid Month.

      C. BLOCKS OF DAYS OFF TO BE USED IN BID LINE CONSTRUCTION
      1. Bid Lines shall include blocks of Days Off. A block of Days Off shall
         consist of no less than five (5) consecutive days, except as set forth
         in subsection 25.C.2., below.
      2. A Bid Line may include blocks of Days Off that are less than five (5)
         consecutive days in duration if such block(s) of Days Off are at the
         beginning or the end of a Bid Period. The remaining required
         number of Days Off shall be in a single block.


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      D. BID LINE AND BID PACKAGE CONSTRUCTION
      1. Bid Months will be based on calendar months, with the following
         exceptions:
          a.   The January Bid Month shall be from January 1st through
               January 30;
          b.   The February Bid Month shall be from January 31st through
               March 1st;
          c.   The March Bid Month shall be from March 2nd through March
               31st.
      2. A Bid Period may consist of one (1) Bid Month or two (2) Bid Months
         combined.
      3. At least ninety (90) percent of all known flying for the next Bid Month
         which is unassigned at the time the Bid Package is constructed shall
         be included in Regular Lines and Hybrid Lines. The Company, in
         consultation with the Union Scheduling Committee, shall publish a
         Bid Package by Position with Bid Lines constructed as follows:
          a.   Regular Lines.
               (i) Regular Lines must comply with Section 12, this Section 25
                   and the FARs.
               (ii) Regular Lines shall not include reserve days or reserve duty.
               (iii) Regular Lines shall consist of blocks of days on, Trip
                     Pairings associated with days on and blocks of Days Off in
                     accordance with this Section 25.
          b.   Reserve Lines.
               (i) Reserve Lines shall include blocks of days on, reserve duty
                   associated with days on, and blocks of Days Off. Blocks of
                   Days Off shall be constructed in the same manner as
                   Regular Lines.
               (ii) Reserve Lines must comply with Section 12, this Section 25,
                    Section 31 and the FARs.
          c.   VTO Lines.
               (i) At the time of initial bid-package publication, VTO Lines shall
                   be blank lines with no scheduled Work Days, Days Off, Trip
                   Pairings, etc.
               (ii) VTO Lines will be constructed from trips that are dropped
                    from Regular Lines as a result of training and/or vacation


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                   conflicts, trips not known at the time Regular Lines were
                   constructed, trips that become open as a result of
                   Crewmember illness/LOA, trips not awarded in the bid
                   process for Regular Lines and other trips.
               (iii) VTO Lines shall consist of blocks of days on, trips
                     associated with days on and/or reserve duty and blocks of
                     Days Off.
               (iv) VTO Lines must comply with Section 12, this Section 25 and
                    the FARs.
               (v) VTO Lines may include reserve days only to the extent
                   necessary to bring the number of Duty Days in the Bid
                   Period up to the maximum number of scheduled days under
                   subsection 25.A.1., above.
          d.   Hybrid Lines
               (i) Hybrid Lines must comply with Section 12, this Section 25
                   and the FARs.
               (ii) Hybrid Lines may include up to four (4) reserve days or days
                    of reserve duty. Reserve days or days of reserve duty shall
                    be limited to the specific reserve days or days of reserve
                    duty that were published with the Bid Materials.
               (iii) Hybrid Lines shall consist of blocks of days on, Trip Pairings
                     and/or reserve duty associated with days on and blocks of
                     Days Off in accordance with this Section 25.
               (iv) The number of Hybrid Lines shall not exceed the number of
                    Regular Lines available for bidding in a Bid Month by
                    Position.
      4. All 7ULS3DLULQJVZLOOEHJLQDQGHQGDWWKH&UHZPHPEHU¶V%DVH
      5. The Company shall publish at least as many Bid Lines (i.e., Regular,
         Hybrid, Reserve, VTO) per Position as Crewmembers eligible to bid
         in the Position.

      E. OPERATING EXPERIENCE (OE), ANNUAL LINE CHECKS,                AND OTHER
         TRAINING RELATED FLIGHT DUTIES
      Check Airmen shall bid for Bid Lines in the same manner as all other
      eligible Crewmembers. Crewmembers who require OE, Annual Line
      Check, or other training related flight duties shall be assigned to fly with a
      Check Airman. If a Crewmember is displaced from a trip because the
      Company assigns OE, Annual Line Check, or other training related flight


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      duties to another Crewmember, the displaced Crewmember will be
      reassigned in accordance with subsection 25.L.1, below.

      F. BID PACKAGE CONTENTS
      The Bid Package shall contain the following information:
          a.   A cover letter of instructions with bid process time tables;
          b.   Current bid list for the Base by Position;
          c.   Crewmember training (i.e., name, type, date and location);
          d.   Medical renewal dates;
          e.   All Regular, Hybrid, Reserve and VTO Lines, including the
               number of VTO Lines by Position;
          f.   Vacations and LOAs; and
          g.   A list of Crewmembers ineligible to bid.

      G. BID PACKAGE DISTRIBUTION
      1. The Company shall distribute the bid package in the following
         manner:
          a.   The Company shall distribute a Bid Package to each
               Crewmember in accordance with the following:
               (i) To the e-mail account (maximum of two (2) email accounts,
                   one (1) of which must be a Company email account)
                   specified by the Crewmember, by no later than 1700Z on the
                   18th of the month preceding the Bid Period; and
               (ii) 3RVWLQJ WR WKH &RPSDQ\¶V ZHE VLWH E\ QR ODWHU WKDQ =
                    on the 18th of the month preceding the Bid Period.
          b.   Upon request by a Crewmember, the Company shall make the
               Bid Package available to those Crewmembers who are away
               from their residence in connection with Company duties during
               the period for review of the Bid Package by one of the following
               methods chosen by the Company:
               (i) A Bid Package available for electronic receipt by the
                   Crewmember at an airport where the Crewmember is
                   scheduled to depart or arrive on a flight assignment.
               (ii) A Bid Package available for electronic receipt by the
                    Crewmember at a layover hotel which has facilities for
                    guests to receive e-mail transmissions or download


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                   GRFXPHQWV IURP WKH &RPSDQ\¶V ZHE VLWH DQG WR SULQW KDUG
                   copies of same.
               (iii) Send a Bid Package by facsimile to the Crewmember at his
                     layover hotel.

      H. CREWMEMBER BIDDING
      1. A Crewmember will be ineligible to bid if one or more of the following
         apply:
          a.   He is on Leave of Absence and fails to notify the Company that
               he will return to Active Service on or before the first day of the
               Bid Month;
          b.   He is furloughed and will not be recalled to Active Service on or
               before the first day of the Bid Month;
          c.   He is not projected to be current or qualified in his Position on or
               before the first day of the Bid Month;
          d.   He has not provided a copy of a valid medical certificate to the
               Company prior to closing of the bid window (unless he provides
               the Company with a projected date for delivery of the medical
               certificate which is prior to the first day of the Bid Month);
          e.   He is scheduled for training consisting of sixteen (16) or more
               days in a Bid Month;
          f.   He is not projected to possess certain required visas designated
               by the Company prior to the first day of the Bid Month; or
          g.   He has previously been awarded or assigned a 60-day Bid Line
               for the Bid Period; provided, an affected Crewmember shall not
               be ineligible to bid for a Bid Period that occurs after expiration of
               his 60-day Bid Line.
      2. A Crewmember shall submit his bid via a Company-designated web
         site, or other means as directed by the Company should the web site
         not be available or is inaccessible to the Crewmember.            A
         Crewmember may provide written proxy for another Crewmember to
         submit a bid on his behalf.
      3. Except as specifically provided in this Section 25, all published Bid
         Lines will be awarded in seniority order to Crewmembers who bid for
         such lines.
      4. &UHZPHPEHUVZKRDUHDZDUGHGRUDUHDVVLJQHGD³EODQN´972/LQH
         in conjunction with the initial bid award shall bid for the constructed
         VTO Lines in accordance with subsection 25.K., below.


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      5. An eligible bidder will not be awarded his Bid Line preference if one
         or more of the following conditions exist:
           a.   A Crewmember cannot complete his Bid Line preference(s) due
                to FAR limitations or other limitations in this Agreement.
           b.   A Crewmember cannot complete his Bid Line preference(s) due
                to military leave or other known leaves of absence during the Bid
                Period.
           c.   A Crewmember may identify on his monthly bid those specific
                Crewmembers with whom he does not wish to fly, i.e., "No Fly
                /LVW,ID&UHZPHPEHU¶V%LG$ZDUGUHVXOWVLQWKe Crewmember
                EHLQJ SDLUHG ZLWK D GHVLJQDWHG ³1R )O\ /LVW &UHZPHPEHU´ KH
                VKDOO EH DZDUGHG KLV QH[W SUHIHUHQFH  ,I WZR &UHZPHPEHUV¶
                respective Bid Awards result in the Crewmembers being paired
                DQG HDFK KDG GHVLJQDWHG WKH RWKHU DV D ³1R IO\ /LVW
                Crewmember,´ WKH MXQLRU &UHZPHPEHU VKDOO EH DZDUGHG KLV
                next preference.
           In such cases, an eligible bidder will be awarded his next Bid Line
           preference(s) unless a condition listed above prevents awarding him
           his next preference(s).
      6. A Crewmember who has failed to bid, is ineligible to bid but becomes
         available for duty, has not bid enough lines to be awarded a Bid Line,
         or is unable to be awarded any Bid Line pursuant to subsection
         25.H.5., above, shall be assigned a schedule in accordance with
         Section 25 at the CRPSDQ\¶VGLVFUHWLRQ

      I.   BID MONTHS IN WHICH A CREWMEMBER IS SCHEDULED FOR TRAINING
      1. 16 or More Days of Training in a Bid Month
           If the Crewmember is scheduled for training consisting of sixteen
           (16) or more consecutive days in a Bid Month:
           a.   He will not be required to perform any duty, other than training
                and deadhead associated with training, on any day in the Bid
                Month;
           b.   The maximum number of monthly Duty Days and maximum
                number of consecutive Duty Days specified in subsections 25.A.
                and 25.B., above, respectively, may be exceeded by a number
                of days equal to the number of day(s) of the training assignment,
                which may include any deadhead associated with training; and
           c.   If the training event is subsequently cancelled, the Crewmember
                may be scheduled to Work the maximum number of days

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               specified in subsections 25.A. and 25.B., above, respectively.
               Said days may include trips and/or reserve duty. Days off shall
               be in accordance with subsection 25.C. The Crewmember shall
               inform the Company where to place the Days Off.            The
               &RPSDQ\ PD\ FKDQJH WKH &UHZPHPEHU¶V GXW\ DVVLJQPHQW LQ
               accordance with subsection 25.L.1.a. or 25.L.1.c., below,
               whichever is applicable.
      2. 15 Days of Training or Less in a Bid Month
          a.   If the Crewmember is scheduled for training consisting of fifteen
                  GD\V RU OHVV DQG WKH &UHZPHPEHU¶V %LG /LQH GRHV QRW
               conflict with, i.e., overlap, any day of his training assignment:
               i.    7KH&UHZPHPEHU¶VVFKHGXOHIRUWKH%LG0RQWKVKDOOEHWKH
                     scheduled training and his Bid Line; and
               ii.   The maximum number of monthly Duty Days and/or the
                     maximum number of consecutive Duty Days specified in
                     subsections 25.A. and 25.B., above, respectively, may be
                     exceeded by a number of days equal to the number of days
                     of training, which may include any deadhead associated with
                     training; and
               iii. If the training event is subsequently cancelled, the
                    &UHZPHPEHU¶V %LG /LQH H[FOXVLYH RI WKH WUDLQLQJ
                    assignment, becomes his schedule for that Bid Month;
                    providedWKH&RPSDQ\PD\FKDQJHWKH&UHZPHPEHU¶VGXW\
                    assignment in accordance with subsection 25.L.1.a. or
                    25.L.1.c., below, whichever is applicable.
          b.   If the Crewmember is scheduled for training consisting of fifteen
                 GD\VRUOHVVDQGWKH&UHZPHPEHU¶V%LG/LQHFRQIOLFWVZLWK
               i.e., overlaps, any day of his training assignment:
               i.    The portion of the Trip Pairing(s) which conflict with his
                     training assignment will be removed from his Bid Line; and
               ii.   7KH &UHZPHPEHU¶V DGMXVWHG %LG /LQH VKDOO FRQVLVW RI
                     remaining scheduled Days Off, the remaining trip(s), if any,
                     trips and/or reserve duty on remaining days associated with
                     the Trip Pairing(s) referred to in subsection 25.I.2.a., above,
                     and the training assignment, which may include any
                     deadhead associated with training; and
               iii. The maximum number of monthly Duty Days and/or
                    maximum number of consecutive Duty Days specified in
                    subsections 25.A. and 25.B., above, respectively, may be


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                   exceeded by a number of days equal to the number of
                   day(s) the training assignment, which may include any
                   deadhead associated with training, that overlapped Day(s)
                   Off on his Bid Line.
               iv. If the training event is subsequently cancelled, the
                   &UHZPHPEHU¶V %LG /LQH H[FOXVLYH RI WKH WUDLQLQJ
                   assignment, becomes his schedule for that Bid Month;
                   provided, the Company may change the CUHZPHPEHU¶VGXW\
                   assignment in accordance with subsection 25.L.1.a. or
                   25.L.1.c., below, whichever is applicable.
      3. Days Off Prior To and After Training:
          a.   Crewmembers scheduled to attend upgrade, transition or re-
               qualification training shall receive seven (7) scheduled Days Off
               at his residence or alternate location free of duty prior the start of
               the training assignment (three (3) Days Off at his residence or
               alternate location free of duty in the case of re-qualification
               where the Crewmember was current in the aircraft within eleven
               (11) months of the start of the training assignment). The
               &RPSDQ\VKDOOUHPRYHGD\VIURPD&UHZPHPEHU¶V%LG/LQHDV
               necessary in order to provide the minimum Days Off referred to
               herein. A Crewmember may waive some or all of the Days Off
               referred to herein.
          b.   Crewmembers who successfully complete upgrade, transition or
               re-qualification training shall receive five (5) scheduled Days Off
               at his residence or alternate location free of duty prior to his next
               duty assignment. The Company shall remove days from a
               &UHZPHPEHU¶V %LG /LQH DV QHFHVVDU\ LQ RUGHU WR SURYLGH WKH
               Crewmember with the minimum Days Off referred to herein. A
               Crewmember may waive some or all of the Days Off referred to
               herein. This subsection 25.I.3.b. shall have no application to
               Crewmembers who successfully complete re-qualification where
               the Crewmember was current in the aircraft within eleven (11)
               months of the start of the training assignment.

      J. BID AWARD       IN A      BID PERIOD   A   CREWMEMBER   IS   SCHEDULED    FOR
         VACATION
      1. ,IWKH&UHZPHPEHULVVFKHGXOHGIRUYDFDWLRQDQGWKH&UHZPHPEHU¶V
         Bid Line does not conflict, i.e., overlap, any day of his vacation, the
         &UHZPHPEHU¶VVFKHGXOHIRUWKH%LG0RQWKVKDOOEHKLVYDFDWLRQDQG
         Bid Line.
      2. If the Crewmember is scheduled for vacation and his Bid Line

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          conflicts, i.e., overlaps, with any day of his vacation:
          a.   The portion of any Trip Pairing(s) which conflict with his vacation
               will be removed from his Bid Line; and
          b.   7KH &UHZPHPEHU¶V DGMXVWHG %LG /LQH VKDOO EH WKe remaining
               scheduled Days Off, the remaining trip(s), if any, trips and/or
               reserve duty on remaining days associated with the Trip
               Pairing(s) referred to in subsection 25.J.2.a, above, and the
               vacation.

      K. BID AWARD SCHEDULE
      1. Unless the parties agree otherwise, the bid award schedule
         contained in this subsection 25.K shall apply to Crewmembers
         bidding lines. The Company will publish and distribute the initial Bid
         Package for each Base no later than 1700Z of the 18th of the month
         preceding the Bid Period.
      2. Initial Bidding will close at 1700Z of the 21st of the month preceding
         the Bid Period. The Company shall post the initial bid awards by
         1700Z of the 23rd of the month preceding the Bid Period unless the
         parties mutually agree otherwise.
      3. The Company will distribute VTO bid package, if any, for each Base
         no later than 1700Z of the 24th of the month preceding the Bid
         Period.
      4. For those Crewmembers awarded or assigned a blank VTO Line in
         subsection 25.H.4, above, bidding for the above VTO Lines will close
         at 1700Z on the 25th of the month preceding the Bid Period.
      5. All Bid Lines shall be published no later than 2359Z on the 27th of the
         month preceding the Bid Period. Upon request from an affected
         Crewmember, the Company shall also make the VTO bid awards
         available according to the procedures listed in subsection 25.G.,
         above.

      L. CHANGES TO TRIP PAIRINGS AND EXTENSIONS INTO DAYS OFF
      1. Changes to Trip Pairings.
          a.   Regular, Hybrid and VTO Line Holders. The Company may
               change the Trip Pairing(s) on the Bid Line if:
               (i) The Company informs the Crewmember of the new trip
                   through the Crew Management System or other permissible
                   means at the time of the change; provided, if the
                   Crewmember is at his residence, the Company may place

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                   the Crewmember on R1 in lieu of informing the Crewmember
                   of a new trip; and provided, further, if the Crewmember is not
                   at his residence, the Company may inform the Crewmember
                   of the new trip no later than the end of the Minimum Rest
                   period.
               (ii) The new trip will comply with Section 12.
               (iii) The new Trip Pairing is scheduled to depart from the
                     &UHZPHPEHU¶V %DVH QR HDUOLHU WKDQ WKH VFKHGXOHG
                     departure of the original Trip Pairing based on his Bid Line,
                     unless the Crewmember agrees otherwise; provided, if the
                     new Trip Pairing commences immediately after Gateway
                     Travel that has been accepted by the Crewmember, the Trip
                     3DLULQJPD\EHVFKHGXOHGWRGHSDUWIURPWKH&UHZPHPEHU¶V
                     Base up to four (4) hours earlier than the scheduled
                     departure of the original Trip Pairing based on his Bid Line;
                     provided further, the Crewmember receives Minimum Rest
                     after Gateway Travel as required by Section 12 of this
                     Agreement and the Crewmember is informed of the change
                     prior to the commencement of the Minimum Rest period; and
               (iv) The new Trip Pairing is scheduled to block in at the
                    &UHZPHPEHU¶V %DVH DW RU EHIRUH = RI WKH GD\ KH ZDV
                    originally scheduled to return to his Base based on his Bid
                    Line, unless the Crewmember agrees otherwise;
               The Company may not assign reserve duty to a Regular Line
               holder or a Hybrid Line Holder (except as permitted by
               subsection 25.D.3.d.(ii)) unless the Crewmember is returned to
               his residence (or other mutually agreeable location), in which
               case, the Crewmember may be assigned to R1. A Crewmember
               assigned R1 may be assigned another trip that complies with
               25.L.1.a., above.
          b.   If the Company removes a Regular, Hybrid or VTO Line holder
               from a Trip Pairing, the Company shall select one of the
               following two options:
               (i) Option A.
                   (1) Assign the Crewmember a different Trip Pairing that
                       complies with the requirements of subsection 25.L.1.a.,
                       above.
                   (2) 7KH &UHZPHPEHU¶V QHZ 7ULS 3DLULQJ VKDOO EH GHHPHG
                       KLV³DVVLJQHG7ULS3DLULQJ´IRUSXUSRVHVRIWKH([WHQVLRQ
                       Days provision in subsection 25.L.2.a., below.

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               (ii) Option B.
                   (1) :LWKWKH&UHZPHPEHU¶VFRQVHQWWKH&RPSDQ\PD\JLYH
                       the Crewmember a different Trip Pairing that does not
                       comply with subsection 25.L.1.a. (iii) and (iv), above.
                   (2) Once a new Trip Pairing has been accepted by a
                       Regular, Hybrid or VTO lineholder in accordance with
                       Option B, the Company may remove the Crewmember
                       from the Trip Pairing and assign him a new Trip Pairing
                       that returns the Crewmember to his Base at or before
                       2359Z on the date associated with the Trip Pairing
                       agreed to by the Crewmember under 25.L.1.b.(ii)(1),
                       above.
                   (3) If the Crewmember accepts the schedule change in
                       accordance with subsection 25.L.1.b.(ii)(1), above, he
                       shall be deemed to have volunteered to Work on each
                       scheduled Day Off covered by the new Trip Pairing and
                       shall receive the compensation for volunteers prescribed
                       in subsection 3.C of the Agreement.
                   (4) 7KH &UHZPHPEHU¶V QHZ 7ULS 3DLULQJ XQGHU VXEVHFWLRQ
                       25.L.1.b.(ii)(1) or (2), above, whichever is applicable,
                       VKDOOEHGHHPHGKLV³DVVLJQHG7ULS3DLULQJ´IRUSXUSRVHV
                       of the Extension Days provision in Section 25.L.2.a.,
                       below.
                   The Company shall provide Crewmembers with a revised
                   schedule which shows all of the new Trip Pairing(s),
                   including a specific plan (via deadhead transportation or
                   otherwise) for returning the Crewmember to his Base. The
                   revised schedule must be provided to the Crewmember in
                   accordance with subsection 25.L.1.a.(i), above.
          c.   Reserve Line Holders. The Company may require a Reserve
               Line Holder to complete any Trip Pairing or reserve duty that is
               scheduled to block in (in the case of operating flights or
               deadhead) or end (in the case of reserve duty) by 2359Z of the
               ODVWGD\RIUHVHUYHDVVLJQPHQWLQWKH&UHZPHPEHU¶V%LG/LQH
      2. Extension of an Assigned Trip Pairing Into Scheduled Days Off
          a.   The Company may extend a Crewmember into scheduled
               Day(s) Off if necessary to protect the operation, subject to the
               following:




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               (i) The Company shall attempt to provide at least twenty-four
                   (24) hours notice prior to extending a Crewmember under
                   subsection 25.L.2.a., above.
               (ii) A Crewmember is entitled to four (4) guaranteed Days Off
                    (GDO) for use during the first nine (9) Bid Months every
                    year. Crewmembers may not be extended into a scheduled
                    Day Off that has been designated by the Crewmember as a
                    GDO in accordance with this subsection 25.L.2.a. or any of
                    the consecutive Days Off following the GDO.
               (iii) A Crewmember may place a GDO on a Day Off
                     corresponding to his awarded or assigned schedule for the
                     Bid Month.
               (iv) A Crewmember may not use more than one (1) GDO in any
                    Bid Month.
               (v) When a Crewmember intends to use a GDO, he shall notify
                   the Company no less than seventy-hours (72) prior to the
                   commencement of the Trip Pairing that immediately
                   precedes the Day Off selected by the Crewmember as a
                   GDO, but in no case shall a Crewmember be required to
                   notify the Company prior to the first day of a Bid Month. The
                   GDO scheduling form used by Crewmembers shall be
                   mutually agreeable to the Company and Scheduling
                   Committee.
               (vi) If weather, maintenance or an air traffic control event
                    DVVRFLDWHG ZLWK WKH &UHZPHPEHU¶V IOLJKW WR KLV %DVH
                    prevents the Company from returning a Crewmember to his
                    Base prior to his scheduled GDO, the GDO may be
                    rescheduled by the Crewmember for use at any time other
                    than the last three (3) months of the calendar year. The
                    GDO rescheduling form used to be used by Crewmembers
                    shall be mutually agreeable to the Company and Scheduling
                    Committee.
          b.   If an extension into Days Off (as determined by the
               &UHZPHPEHU¶VRULJLQDO%LG/LQH LVUHTXLUHd in accordance with
               25.L.2.a., above, the following rules apply:
               (i) For Regular, Hybrid or VTO Line holders.
                   If the amount of time required to complete the delayed Trip
                   Pairing exceeds the available extension days:




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                   (a) The Crewmember may Affirmatively Accept the revised
                       trip in accordance with Option B, above.
                   (b) The Crewmember may decline the revised trip. If the
                       Crewmember declines the revised trip, the Crewmember
                       will be provided commercial and/or deadhead
                       transportation to Base prior to 2359Z of the last available
                       extension day. If the Crewmember is not returned to
                       Base by the end of the available extension days, he will
                       be deemed to have been involuntarily assigned by the
                       Company.
                   (c) The Crewmember must advise          the Company if he
                       accepts or declines the revised     trip at the time the
                       Crewmember is contacted by the      Company, unless the
                       Crewmember and the Company          agree to a different
                       time.
               (ii) Reserve Line Holders.
                   (a) The Company may require a Reserve Line Holder to
                       complete a Trip Pairing that is scheduled to, and actually
                       does, begin by no later than 2359Z of the last day of
                       UHVHUYH DVVLJQPHQW LH LQ WKH &UHZPHPEHU¶V RULJLQDO
                       Bid Line), and is scheduled to return the Crewmember to
                       his Base by not later than 2359Z of the last extension
                       day available to the Company.
                   (b) If a Reserve Line Holder is extended into a scheduled
                       Day(s) Off under subsection 25.L.2.b.(ii)(a), above, such
                       WULS VKDOO EH KLV ³DVVLJQHG WULS´ IRU SXUSRVHV RI
                       subsection 25.L.2.a., above.
          c.   For purposes of the monthly limitation on the number of
               extension days, and the applicable rate of pay associated with
               the extension, extension days count towards the month in which
               the extension occurs.       A Crewmember does not receive
               additional Days Off in the Bid Month as result of extension days.

      M. OPEN TIME FLYING
      1. Open Time are trip(s) which are uncovered for any reason and
         assigned to Open Time by the Company.
      2. There are three (3) methods for assigning Open Time as described
         below. The Company will determine which method(s) will be utilized
         to assign Open Time trips.


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          a.   Assignment of Open Time Trip(s) To R-1(Home) or R-2 (Hotel)
               Reserve Crewmembers More Than 168 Hours Prior To
               Scheduled Report Time.
               (i) In addition to scheduled flight segment(s), an assignment of
                   Open Time may include periods of R-1 and/or R-2 reserve
                   duty as well as hot airport standby.
               (ii) The maximum number of scheduled Duty Days in a month
                    for such an assignment shall be seventeen (17). Such
                    assignments shall not conflict with scheduled Days Off on
                    the CrewPHPEHU¶V RULJLQDOO\-awarded Reserve Line, and
                    PXVWEHJLQDQGHQGDWWKH&UHZPHPEHU¶V%DVH
               (iii) A Reserve Crewmember who is given a flight assignment
                     more than 168 hours prior to scheduled report time
                     (including where the Crewmember receives such a flight
                     assignment when contacting Crew Scheduling pursuant to
                     subsection 31.E.2.), will for the purpose of Changes to Trip
                     Pairings and Extensions into Days Off be considered a VTO
                     Line holder for the remainder of the month; provided, the
                     &UHZPHPEHU¶V ³RULJLQDODZDUGHGDVVLJQHG OLQH´VKDOOEH KLV
                     originally-awarded Reserve Line.
               (iv) Upon request from the affected Crewmember, when flight
                    duty is assigned more than 168 hours prior to scheduled
                    report time, Crew Scheduling will send, via fax or e-mail,
                    written confirmation of the change from Reserve to VTO
                    status. This written confirmation shall show the
                    &UHZPHPEHU¶V QHZ VFKHGXOH IRU WKH PRQWK LQFOXGLQJ DOO
                    scheduled flight assignments and periods of R-1 and/or R-2
                    reserve duty and hot airport standby.
          b.   Assignment of Open Time Trip(s) to R-1 or R-2 Reserve
               Crewmember within 168 Hours of Scheduled Report Time. In
               accordance with Section 31, the Company may assign an Open
               Time trip to a Reserve Crewmember. Any such assignment shall
               be in accordance with 25.L.1.c., above.
          c.   Assignment of Open Time Trip(s) To A Crewmember On The
               Days Off Volunteer List.
               (i) 7KH &RPSDQ\ ZLOO HVWDEOLVK DQ 2SHQ 7LPH ³'D\V 2II
                   9ROXQWHHU /LVW´ IRU HDFK %LG 3HULRG $Q\ &UHZPHPEHU
                   whether a Regular, Hybrid, VTO or Reserve Line holder,
                   may add his name to the List at any time after the bid award
                   is published. When the Crewmember adds his name to the


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                   Days Off Volunteer List, he will also be required to identify
                   the date(s) on which he will be available to perform Open
                   Time trip(s) and make certain that his contact information is
                   kept current in the Crew Management System.
               (ii) When staffing an Open Time trip(s) that includes operating
                    flight(s) that begin or end at the Base from the Days Off
                    Volunteer List, Crew Scheduling will first contact, in Base
                    seniority order, those Crewmembers then on the List who
                    are available for the trip. All other Open Time trips shall be
                    offered and awarded on the basis of system seniority;
                    provided, the Company is not obligated to choose a
                    Crewmember on the basis of system seniority if the
                    Company can select the next available Crewmember which
                    does not incur a substantial cost to the Company. In order
                    for a Crewmember to be available, the scheduled Open
                    Time trip must fall within the range of available dates
                    identified by the Crewmember pursuant to subsection
                    25.M.2.c.(i), above, and
                   (a) PXVW QRW RYHUODS WKH &UHZPHPEHU¶V VFKHGXOHG 'XW\
                       Days;
                   (b) must not create an illegality for any previously assigned
                       trip(s) or reserve duties; and
                   (c) the Crewmember must be physically able to move into
                       position for the assigned duty.
                   If a Crewmember is assigned an Open Time trip but there is
                   D FRQIOLFW EHWZHHQ DQ H[WHQVLRQ RI WKH &UHZPHPEHU¶V %LG
                   Line and the Open Time trip, the Company may remove the
                   Crewmember from the Open Time trip.
               (iii) Each Crewmember contacted may accept or decline the
                     Open Time assignment. A Crewmember shall be deemed
                     contacted when Crew Scheduling first leaves a message at
                     the telephone, telephone answering machine, or pager
                     number identified by the Crewmember pursuant to
                     subsection 25.M.2.c.(i), above. A Crewmember will have
                     one (1) hour from the time of initial contact by Crew
                     Scheduling to accept or decline the assignment. If the
                     Crewmember does not affirmatively respond within the
                     aforementioned time limit, he shall be considered to have
                     declined the assignment. By mutual agreement, the parties
                     may substitute an electronic notification and response
                     system for the procedures set forth herein.

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                   (a) The one (1) hour requirement under subsection
                       25.M.2.c.(iii), above, will not apply in circumstances
                       where the Company determines that utilizing such
                       process will result in the risk of delay to the flight
                       schedule.
               (iv) $ &UHZPHPEHU¶V DFFHSWDQFH RI DQ 2SHQ 7LPH WULS WKURXJK
                    the Days Off Volunteer List will be binding on the
                    Crewmember, and will be subject to all applicable provisions
                    of this Section 25.
                   (a) If there are any changes to the accepted Open Time
                       assignment, Crew Scheduling must contact the
                       Crewmember and inform him of the details of the
                       change. The changed Open Time assignment may not
                       include an earlier report time or a later block-in at Base
                       than the Trip Pairing agreed to by the Crewmember
                       under 25.M.2.c.(iii), above.
                   (b) Unless the Crewmember agrees otherwise, a
                       Crewmember may not be placed on Reserve Duty or hot
                       airport standby during an Open Time assignment.
               (v) Each Open Time trip staffed through the Days Off Volunteer
                   /LVWVKDOOEHJLQDQGHQGDWWKH&UHZPHPEHU¶V%DVH
               (vi) If the Company assigns an Open Time trip with less than
                    thirty (30) hours notice between initial contact by Crew
                    Scheduling and scheduled report time, the Company shall
                    provide transportation for the Crewmember from his
                    residence to his Base in order to position him for the
                    assignment.
               (vii) Upon acceptance, an Open Time trip shall be treated as a
                     VHSDUDWH DQG GLVWLQFW OLQH RI IO\LQJ IURP WKH &UHZPHPEHU¶V
                     originally-awarded line for the month. As such, the Company
                     shall have the right to utilize up to three extension days
                     relative to the Open Time trip accepted by the Crewmember
                     without regard to the number of extension days that may
                     have been utilized in the month in connection with the
                     &UHZPHPEHU¶V RULJLQDOO\-awarded line, and the utilization of
                     extension days relative to an Open Time trip shall have no
                     affeFW RQ WKH &RPSDQ\¶V ULJKW WR XVH H[WHQVLRQ GD\V LQ
                     FRQQHFWLRQZLWKWKH&UHZPHPEHU¶VRULJLQDOO\-awarded line.




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               (viii) All pay and credit for performing an Open Time assignment
                     shall be in addition to the minimum pay for the bid month
                     calculated pursuant to Section 3.

      N. TRIP TRADES.
      If Crewmembers wish to trade trips, Crewmembers must obtain the
      &RPSDQ\¶V DSSURYDO E\ FRQWDFWLQJ &UHZ 6FKHGXOLQJ LQFOXGLQJ DQ
      electronic request from all affected Crewmembers. Management may
      grant or deny trade requests at its discretion based on the needs of the
      VHUYLFH    ,I D &UHZPHPEHU¶V UHTXHVW LV JUDQWHG WKH &UHZPHPEHU¶V
      eligibility for extension day pay is based on the number of Work Days
      associated his originally awarded Bid Line.

      O. TRIP DROPS.
      If a Crewmember wishes to drop a trip, a Crewmember must obtain the
      &RPSDQ\¶VDSSURYDOE\FRQWDFWLQJ&UHZ6FKHGXOLQJ0DQDJHPHQWPD\
      grant or deny drop requests at its discretion based on the needs of the
      service. If a Crewmember drops a trip and, for any reason, completes
      the bid month below the Monthly Guarantee set forth in Section 3, his
      JXDUDQWHH ZLOO EH UHGXFHG WR ZKDWHYHU WKH &UHZPHPEHU¶V DFWXDO SD\
      hours are for the bid month.

      P. SCHEDULING RULES.
      1. Monthly bids may be re-bid with concurrence of the President of the
         Executive Committee or his designee.
      2. A Crewmember who misses a trip as a result of his own acts or
         omissions may be placed on Reserve duty during the scheduled
         period of the trip missed. A Crewmember who misses a trip as a
         result of sick leave usage may be placed on R1 or R2 status or
         assigned any other trip in accordance with subsection 25.L.
      3. A Crewmember will not be required to keep the Company advised of
         his whereabouts while on vacation or on actual Days Off. This
         provision does not diminish D5HVHUYH&UHZPHPEHU¶VREOLJDWLRQVWR
         communicate with the Company as set forth in Section 31 of this
         Agreement.
      4. A Crewmember may be required to report for training on a Day Off if
         the awarded or assigned training occurs on a Day(s) Off and is
         published in the Monthly Bid Package.




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      Q. OUT-BASING
      1. $W WKH &RPSDQ\¶V GLVFUHWLRQ LW PD\ RIIHU 2XW-Basing assignments
         which generally may last up to thirty-three (33) consecutive days,
         inclusive of travel to and from the Out-Base location(s), generally
         commencing with the first day of a bid month. However, nothing
         herein shall preclude the Company from offering Out-Base
         assignments with a duration of longer than thirty-three (33)
         consecutive days.
      2. An Out-Base assignment will have no scheduled or required Days
         Off except as may be required by applicable FARs.
      3. The Company shall offer Out-Basing assignments by system-wide
         seniority to qualified Crewmembers (including but not limited to
         qualifications relating to equipment type, seat, visa requirements and
         other necessary qualifications for the Out-Base assignment to be
         filled) unless it determines that such method of assignment would
         result in a staffing shortage or other operational issues at one or
         more Bases. In this event the award of an Out-Base assignment
         may be limited to Crewmembers staffed at a Base where the award
         of an Out-Base assignment will not create such staffing shortage or
         other operational issues.
      4. The Company may post Out-Basing assignments at any time, and
         shall not be required to include Out-Basing assignments as part of
         the assignment of monthly Bid Lines.
      5. Out-Base assignments shall generally be posted for a minimum of
         five (5) days, and the posting shall include the date that the bid will
         close. The posting shall specify the initial location of the Out-Base
         assignment, which may be moved as operations require during the
         duration of the Out-Base assignment.
      6. Out-Base assignment shall be voluntary, provided, however, that
         once the Bid Period has closed a Crewmember may not withdraw his
         bid for the Out-Base assignment.
      7. 7KH &RPSDQ\ PD\ GHFOLQH D &UHZPHPEHU¶V ELG IRU DQ 2XW-Base
         assignment for any bid month in which the Crewmember may be
         required to attend training, is scheduled for vacation, or is subject to
         any other conflict.
      8. A Crewmember who has already been awarded a Bid Line of time for
         the month shall not be precluded from thereafter bidding an Out-
         Base assignment that is subsequently posted for the same month
         which, if awarded, will supersede his Bid Line for the month.



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      9. The Company shall have the right to cancel an Out-Base
         assignment. In such a case the following shall apply:
          a.   If the Out-Base assignment is cancelled prior to the award of the
               monthly Bid Lines the Crewmember will be awarded a regular
               Bid Line in accordance with the bidding procedures set forth in
               this Section.
          b.   If the Out-Base assignment is cancelled after the monthly Bid
               Lines have been awarded but before the Out-Basing assignment
               has begun, the Crewmember shall be assigned his monthly
               flying at tKH &RPSDQ\¶V GLVFUHWLRQ LQ FRPSOLDQFH ZLWK DOO WKH
               pertinent provisions of this Section.
          c.   If the Out-Base assignment has been cancelled after it has
               commenced, the Crewmember shall be given a new assignment
               or returned to his Base. If the Out-Base assignment has lasted
               for more than the maximum required number of regular Work
               Days in the bid month as provided in subsection 25.A.1, above,
               the Crewmember shall be considered to have completed his
               regular Work for the month, and the Out-Base compensation
               that he is due pursuant to the terms of Section 3 shall be
               appropriately prorated. If the Out-Base assignment has lasted
               less than the maximum required number of regular Work Days in
               the bid month as provided in subsection 25.A.1, above, he shall
               be assigneGIXUWKHU:RUNDWWKH&RPSDQ\¶VGLVFUHWLRQEXWQRWWR
               exceed the maximum required days of regular Work for the
               month, including the time while Out-based.
      10. A Crewmember who has already been awarded an Out-Basing
          assignment shall not bid for a line of flying for the month in which his
          Out-Basing assignment is to occur. The Out-based Crewmember
          shall be assigned his flying at the discretion of the Company for the
          duration of his Out-Base assignment.
      11. This subsection may be modified by mutual agreement of the
          Company and Union.

      R. SCHEDULING COMMITTEE
      The Company recognizes a Union Scheduling Committee (USC). The
      USC shall meet with appropriate management in-person at least
      quarterly unless the parties mutually agree otherwise. Costs associated
      with USC duties shall be recoverable by the Company pursuant to the
      parties Flight Pay Loss Letter of Agreement (FPL LOA). The Company
      shall provide the USC with monthly bid materials as soon as practical
      prior to publication in order to provide the USC with an opportunity for

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      review and comment. The Company shall provide the USC with a copy
      of a monthly payroll report, copies of electronic requests for volunteers to
      Work on Days Off and announcements of Crewmember awards. USC
      members shall continue to have Crew Management System access
      consistent with current practices.




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                                            SECTION 26: GENERAL
      A. NEW HIRE INFORMATION
      The Company will provide the Union with each New Hire's name, date of
      hire, date of birth, home address, employee number, seniority number,
      social security number and Position for which hired. The information shall
      be provided within seven (7) days of hire.

      B. DAMAGE TO EQUIPMENT
      A Crewmember shall not be required to pay for the cost of aircraft lost or
      damaged, Company equipment lost or damaged, or other property lost or
      damaged while performing his duties as a Crewmember. It is expressly
      understood that this exemption does not apply to damage or loss as a
      result of a Crewmember's willful misconduct.

      C. COMPANY INDEMNIFICATION AND REPRESENTATION OF CREWMEMBERS
      The Company shall indemnify, hold harmless and defend a
      Crewmember, and his estate, as applicable, who, as a result of the
      performance of his duties within the scope of his employment, is named
      as a defendant, is subject to a claim, or is subpoenaed as a witness, in
      any legal proceeding relating to the performance of those duties. This
      provision shall apply to both civil actions for money damages and to
      criminal complaints. It is expressly understood and agreed that these
      obligations on the part of the Company do not apply to claims or
      proceedings arising from a Crewmember's willful misconduct.

      D. SAVINGS CLAUSE
      Should any part of this Agreement be rendered invalid by legislation or
      court decision, or if compliance with or enforcement of any provision
      should be restrained by such court pending a final determination as to its
      validity, the remainder of the Agreement, or the application of such
      provision as to persons or circumstances other than those as to which it
      has been held invalid or as to which compliance with or enforcement of
      has been restrained, will not be affected thereby. If legislation or a final
      determination by a court results in the invalidation of provision of this
      Agreement, the parties shall within ten (10) days of such final
      determination meet and confer in an attempt to mutually agree on a
      replacement provision. If a replacement provision is not agreed upon
      within thirty (30) days after the parties' first meeting, the parties shall
      within ten (10) days thereafter choose an arbitrator from the panel of
      arbitrators under subsection 21.C.3.a. of the Agreement by alternate

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      strikes. The order of striking arbitrators shall be determined by a coin
      toss. The parties shall promptly schedule the hearing. The parties' last
      proposals on a replacement provision shall be submitted to final and
      binding interest arbitration.

      E. JUMP SEAT
      The jumpseat will be provided in accordance with the provisions of the
      Flight Operations Manual; provided, the Captain of a Company flight may
      grant or deny any request to occupy the cockpit jumpseat(s) consistent
      with his authority under the FARs.

      F. REFERENCES IN THE AGREEMENT
      Any reference in this Agreement to Crewmembers in the male gender,
      including but not limited to the use of masculine pronouns, is intended to
      include both male and female Crewmembers, unless specifically
      specified otherwise.

      G. COPIES OF THE AGREEMENT
      The Company shall make available to each Crewmember an electronic
      copy of this Agreement within thirty (30) days after signing. The
      Company shall also make electronic copies of this Agreement available
      to New Hire Crewmembers during their Company indoctrination training.

      H. CURRENT ADDRESS AND TELEPHONE NUMBERS
      Each Crewmember must maintain and provide to the Company a current
      address, a telephone number where the Crewmember can be reached
      (e.g., regular place of residence, cell phone), and an emergency contact
      number.

      I.   COCKPIT VOICE    AND    FLIGHT DATA RECORDER   AND   OTHER RECORDING
           DEVICES
      1. The Company may not use information from a cockpit voice recorder
         (CVR), flight data recorder (FDR) or any other recording device,
         including devices that transmit data from the aircraft to the ground by
         any means, as a basis for individualized training, checkrides,
         disciplinary investigation, discipline or discharge. Information
         contained on a CVR, FDR or other recording device shall be
         inadmissible in any grievance or arbitration proceeding. However, a
         Crewmember who sends offensive or inappropriate messages via
         ACARS in violation of Company policy may be subject to discipline;
         provided, there is just cause. Relevant ACARS messages are

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          admissible in any subsequent grievance or arbitration proceeding.
      2. The Company shall not install cockpit video/imaging recording
         devices in aircraft operated by Crewmembers unless required by
         applicable law.
      3. The Company shall notify the Union of any new data acquisition
         and/or recording devices installations no less than sixty (60) days in
         advance. Notification is not required on an individual aircraft basis.
         The Company shall meet with the Union upon request to discuss
         such installations. Information derived from a newly installed
         device(s) shall not be used in manner prohibited by subsection
         26.I.1.or 26.I.2., above.

      J. PERSONNEL AND TRAINING FILES
      After giving reasonable notice of his desire to do so, a Crewmember,
      and/or a Union representative with written authorization from the
      Crewmember, may review the Crewmember's personnel file and training
      records during the normal business hours of the Company and in the
      presence of a Company representative. Copies of any requested
      documents from either the personnel file or training records will be
      provided upon request. The Company may require the Crewmember to
      pay a reasonable fee for such copies. Disciplinary and investigatory
      documents, records and papers will be kept in the personnel file.
      Negative information that has not been the subject of counseling or
      discipline shall not be placed in the personnel file.

      K. PASSPORTS AND VISAS
      1. Each Crewmember shall be required to maintain and carry with him a
         current and valid United States passport or approved foreign
         passport and alien registration card. No Crewmember shall be
         required to depart the United States for a foreign destination without
         a valid passport in his possession. Should the Company require that
         a Crewmember maintain two (2) valid passports, the Company shall
         pay the cost of the second passport.
      2. It is the responsibility of the Company to obtain and maintain current
         visas as may be required for each destination or transit country. The
         Crewmember will share in the responsibility to assist the Company in
         obtaining such visas upon presentation to the Crewmember by the
         Company of any and all required forms and other paperwork, when
         available in advance. Further, the Company will reimburse the
         Crewmember for the reasonable mail and/or overnight delivery
         charges and visa fees that the Crewmember incurs in obtaining the


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          required visas.
      3. The Company may require a Crewmember to obtain a visa upon
         arrival at a destination or transit country and/or directly from the local
         embassy or other offices of a foreign country if the Director of
         Operations or his designee has made arrangements to have the
         visas available upon the Crewmember's arrival at the point of
         destination and has provided the Crewmember with confirmation of
         the visa's availability from the person responsible for making the visa
         arrangements.
      4. In the event a Crewmember is delayed at the destination airport or
         other location under subsection 26.K.3., above, because a visa is not
         available, additional crew rest will be provided so as to ensure
         compliance with the Minimum Rest requirements in Section 12.

      L. NON-REVENUE TRAVEL
      1. To the extent the Company is able to provide non-revenue travel
         privileges on its aircraft, Crewmembers and their eligible dependents
         and spouses shall be eligible for such in accordance with Company
         policy, as such policy may from time to time be amended. The
         Company will confer with the Union in advance of implementing such
         policy changes. Eligibility for such travel privileges shall commence
         with the Crewmember's completion of his New Hire training.
      2. Should the Company extend non-revenue travel privileges on its
         aircraft to retired employees on a general basis, such non-revenue
         travel privileges shall be extended on the same basis to qualifying
         retired Crewmembers.
      3. lf the Company is able to obtain reduced rate travel privileges from
         other air carriers, such reduced rate travel privileges will be extended
         to Crewmembers and qualifying retired Crewmembers, together with
         their respective dependents and spouses, to the extent the carrier
         providing such allows.
      4. Unless otherwise assigned for Company business use,
         Crewmembers shall have priority claim to the cockpit jumpseat(s) for
         personal travel.

      M. PARKING
      The Company shall designate and provide at no cost to the
      Crewmember automobile parking at his Permanent or Temporary Base.
      If the parking facility is not within walking distance from the location
      where the Crewmember is required to report, the Crewmember shall


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      utilize Company provided transportation. The Company will instruct
      Crewmembers on the type of ground transportation to be utilized in the
      event the Company does not provide transportation.

      N. LAWSUITS AND HEARINGS
      A Crewmember requested by the Company or by an entity related to the
      Company to be a witness on behalf of the Company in a lawsuit or
      otherwise appear and/or testify on behalf of the Company at a legal
      proceeding or other hearing shall receive travel lodging/ground
      transport/per diem/pay/credit extended duty pay for scheduled Days Off.

      O. CREWMEMBER LOUNGE
      The Company shall provide a Crewmember lounge, consistent with its
      practice as of the date of signing of this Agreement, at each
      Crewmember Base.

      P. COMPANY-REQUIRED ELECTRONIC COMMUNICATION DEVICES
      If the Company requires Crewmembers to use a specific Electronic
      Communication Device (ECD) (e.g., Blackberry, laptop, PCD) as a
      condition of employment, the Company shall provide the device at no
      cost to Crewmembers. The Company shall provide replacement devices
      at no cost to Crewmembers in the event of a malfunction, upgrade, theft,
      or other circumstance which the Company determines are reasonable for
      replacing such device. The Crewmember shall be responsible for the
      proper maintenance and care of the ECD. ECDs shall be used for the
      purposes set forth in this Agreement.

      Q. TIME LIMITS IN THE AGREEMENT
      All time limits contained in this Agreement that are expressed in "days"
      shall mean calendar days unless otherwise stated in this Agreement.

      R. UNSAFE CONDITIONS
      Nothing in this Agreement will be construed to require a Crewmember to
      take any action if he reasonably believes that such action will result in
      substantial and imminent risk of harm to the Crewmember or his
      equipment.

      S. FLIGHT PAY LOSS DONATIONS
      Crewmembers shall be allowed to donate a portion of their pay to the
      Union for the purpose of off-setting the Union's Flight Pay Loss obligation


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      to the Company. Any such donation will be implemented by a deduction
      from the Crewmember's paycheck or electronic direct deposit, as agreed
      upon by the Company and Union. The Company is not required to make
      such a deduction unless, at least ten (10) business days prior to the
      applicable Pay Day, the Company's payroll department has received
      from the Crewmember a written authorization, executed by the
      Crewmember, in a form acceptable to the Company. The provisions of
      this subsection 26.S. shall not be construed in a manner that would
      restrict the Company's ability to comply with applicable state and federal
      law.

      T. AIR TRAVEL
      When transporting Crewmembers via air, the Company shall use
      reasonable efforts to position Crewmembers via turbine-powered,
      pressurized aircraft.

      U. NAVIGATION PUBLICATIONS
      If the Company requires individual Crewmembers to have in their
      possession Jeppesen Sanderson or other navigation publications, it shall
      be the Company's responsibility to provide any such publications to the
      Crewmembers.

      V. RESIGNATION
      A Crewmember who intends to voluntarily leave the service of the
      Company shall make every reasonable effort to provide the Company
      with a minimum of fourteen (14) days advance notice. The notice shall
      be in writing and directed to the Chief Pilot.

      W. ACCIDENT INVESTIGATION TEAM ("AIT") TRAINING AND ACTIVATION
      The Company will release from duty, upon request by the Union, up to
      three (3) Union AIT members for up to three (3) days per year for training
      to participate in accident investigations. In the event of a Company
      aircraft accident or incident in which the Union is a named party to a
      related investigation, the Company will release from duty, upon request
      by the Union, up to three (3) AIT member(s) identified by the Union.
      Should the NTSB Investigator-In-Charge ("IIC") not allow a particular
      Union AIT member to participate, the Company will release a
      replacement member upon notification by and at the request of the
      Union.




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      X. PICKET LINES
      The Union, through its Atlas Air, Inc. Executive Council, agrees that
      during the term of the Agreement there will not be any complete or partial
      strikes, picketing, slowdowns, unfair labor practice strikes, refusals to
      cross picket lines, sympathy strikes, work stoppages, secondary
      boycotts, withholding of services in whole or in part, concerted refusal to
      work normal overtime, or other cessation of work of disturbances
      HFRQRPLFRURWKHUZLVHXQOHVVDQGXQWLOWKHSDUWLHV¶ULJKWVWRVHOI-help
      mature under the Railway Labor Act, provided, however, that nothing
      KHUHLQVKDOOEHFRQVWUXHGWROLPLWWKH8QLRQ¶VULght to engage in otherwise
      lawful informational picketing. This paragraph shall not alter or limit the
      &RPSDQ\¶VULJKWLIDQ\WRREWDLQDFRXUWRUGHUHQMRLQLQJVXFKFRQGXFWE\
      the Union and or the Crewmembers both collectively and individually.
      Nothing in this paragraph shall be construed, however, to limit the rights
      of the Union or the Atlas Crewmembers to refuse to cross lawful strike
      picket lines established by or on behalf of pilots represented by any
      union lawfully certified or recognized pursuant to the Railway Labor Act.

      Y. NON-DISCRIMINATION
      There shall be no discrimination by the Company against any
      Crewmember because of race, color, national origin, religion, creed, sex,
      age, disability, veteran status, marital status, or sexual orientation.




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                           SECTION 27: INSURANCE BENEFITS
      A. All Crewmembers who are on the Pilot System Seniority List or Flight
         Engineer System Seniority List on the effective date of this
         Agreement shall be eligible to participate in health, dental and vision
         insurance programs in accordance with this Section 27. Such benefit
         programs are set forth in Appendix 27-B through F. The terms and
         conditions of such benefit programs shall not be materially altered for
         Crewmembers without the concurrence of the Union; provided, the
         Company may change its insurance carrier(s), self-insure, and
         change plan administrator(s).          Should the Company elect to
         implement a change to an existing insurance benefit plan consistent
         with this Section 27.A, it will first notify the Union and provide it with
         an opportunity to discuss the change with representatives of the
         Company.
          1.   In the event the cost of providing the insurance benefits under
               Section 27.A. should increase or decrease, the Company shall
               SDVV VXFK FRVWV RU VDYLQJV WKURXJK WR WKH &UHZPHPEHUV¶
               FRQWULEXWLRQ WR PRQWKO\DQQXDO SUHPLXPV &UHZPHPEHUV¶
               contribution to monthly/annual premiums shall be in accordance
               with the percentages applicable to benefit programs as set forth
               in Appendix 27-B through F; provided, if the cost of providing an
               LQVXUDQFHEHQHILWXQGHU6HFWLRQ$LQFUHDVHV&UHZPHPEHUV¶
               actual contribution to the monthly/annual premium for such
               insurance benefit and level of coverage shall not increase by
               more nine percent (9%) over the contribution amount for the
               same insurance benefit and level of coverage in effect during the
               previous year or the contribution amount determined by
               application of the applicable percentage set forth in Appendix
               27-A, whichever is less.
      B. The Company shall provide each Crewmember eligible for benefits
         with a life insurance benefit of $200,000.00 and an accidental death
         and dismemberment insurance benefit in the amount $300,000.00.
         The Company shall pay for the entire cost of the benefits referred to
         in this subsection 27.B. If the Company increases the amount of life
         insurance coverage or AD&D coverage for employees not covered
         by the Agreement, the Company shall extend the improvement to
         Crewmembers.
      C. The Company shall provide each Crewmember eligible for benefits
         with a long term disability benefit and loss of license benefit based on
         the terms and conditions of eligibility and participation in effect on the

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          effective date of this Agreement (Life Insurance Company of North
          America, Plan Number LK-970013, Effective Date: April 1, 2002 and
          the Basic and Optional Long Term Disability Summary Plan
          'HVFULSWLRQ LQ HIIHFW RQ 0DUFK     $ &UHZPHPEHU¶V ORVV RI
          the ability to obtain a first-class medical certificate shall qualify a
          Crewmember for benefits under said plan. The Company shall pay
          for entire cost of the benefits referred to in this subsection 27.C;
          provided, a Crewmember shall be responsible for the cost of optional
          coverage described in the summary plan description on March 17,
          2010.
      D. The Company will secure an Agent that pays for any required
         medical, dental or vision emergency when a Crewmember becomes
         sick or injured while on duty for the Company outside the United
         States. A Crewmember who requires such treatment shall contact
         the Agent in accordance with current practices. A Crewmember will
         be returned to his Base or other mutually agreeable location if
         medically necessary.       A required medical, dental or vision
         emergency is defined as an illness or injury which requiring
         immediate medical, dental or vision treatment.
      E. Crewmembers receiving short term or catastrophic sick leave
         benefits shall remain eligible to receive benefits referred to in this
         Section 27 on the same basis as active Crewmembers.
         Crewmembers on a leave absence shall be eligible to receive
         benefits referred to in this Section 27 in accordance with Section 13
         of the Agreement.
      F. The Company shall provide, at no cost to Crewmembers, an
         immunization plan that includes, at a minimum, the following
         vaccinations in accordance with the appropriate maintenance
         schedules:
          1.   Yellow fever.
          2.   Hepatitis A.
          3.   Hepatitis B.
          4.   Typhoid.
          5.   Tetanus.
          6.   Smallpox.
          7.   Meningococcal.
          8.   Annual flu vaccine.
          9.   TB tine test.

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           10. Any other recommended immunizations recommended by the
           FXUUHQW 8QLWHG 6WDWHV &HQWHU IRU 'LVHDVH &RQWURO ³$GYLFH IRU
           ,QWHUQDWLRQDO7UDYHO´GRFXPHQW
      G. The Company shall continue to make Flexible Spending Accounts
         (FSAs) available to Crewmembers on the same basis as employees
         of the Company not covered by the Agreement.
      H. The Company shall continue to make an Employee Assistance
         Program available to Crewmembers according to the terms and
         conditions of eligibility in effect on the effective date of this
         Agreement.
      I.   No insurance policies required by this Section 27 shall contain any
           exclusion or limitation for an illness, injury, death or other loss
           connected in any way with war, acts of war, terrorism, acts of
           terrorism, insurrection, riot, travel flight or operation in any type
           aircraft or for any period while outside the United States.
      J. The Company shall provide the Union Retirement and Insurance
         Committee with full access to records that are reasonably necessary
         to verify the cost of the plan, the amount of any cost increase and the
         methodology uVHGWRFDOFXODWHWKH&UHZPHPEHU¶VPRQWKO\SUHPLXP
         contributions.




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                                   ATLAS  AIR,  INC.  
                                           and  
                                      THE  PILOTS  
                                   in  the  service  of  
                                    Atlas  Air,  Inc.  
                                  as  represented  by  
                     INTERNATIONAL  BROTHERHOOD  OF  TEAMSTERS,  
                                 AIRLINE  DIVISION  


      7KLV /HWWHU RI $JUHHPHQW ³/2$´  LV PDGH DQG entered into in
      accordance with the provisions of Title II of the Railway Labor Act, as
      amended, by and between Atlas Air, Inc., their successors and assigns
       ³&RPSDQ\´  DQG WKH 3LORWV LQ WKH VHUYLFH RI Atlas Air, Inc., as
      represented by the International Brotherhood of Teamsters, Airline
      'LYLVLRQ ³7HDPVWHUV´³,%7´RU³8QLRQ´ 
      THEREFORE, BE IT RESOLVED:


      1. The effective dates for the insurance benefits referred to in
         subsection 27.A of the Agreement shall be as follows:
          a.   Health Insurance ± the day after the open enrollment period
               ends.
          b.   Dental Insurance ± the day after the open enrollment period
               ends.
          c.   Vision Insurance ± the day after the open enrollment period
               ends.
      2   Open enrollment for the insurance benefits referred to in subsection
          27.A of the Agreement shall begin thirty (30) days after the effective
          date of the Agreement and end one hundred and twenty (120) days
          WKHUHDIWHU  &UHZPHPEHUV¶ GHSHQGHQWV PD\ EH HQUROOHG LQ WKH
          insurance benefit programs on the same basis as active
          Crewmembers. The Company will have the option of deferring
          implementation of the health, dental and vision insurance benefits
          referred to in subsection 27.A. until 2012. During the deferral period,
          Crewmembers and their dependents shall remain eligible for health,
          dental and vision insurance benefits in accordance with the Atlas or
          Polar CBA, whichever is applicable. If the Company exercises its
          right to defer implementation until 2012, Crewmember contributions
          to premium in 2012 shall be determined in accordance with
          subsection 27.A.1 using 2011 premium and Crewmember
          contribution rates set forth in Appendix 27-B as the Baseline.
      3. All claims arising prior to the effective date of the insurance benefits

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          referred to in Paragraph 1 of this LOA shall be subject to the terms
          and conditions of the insurance benefit plans in effect prior to the
          effective date(s) of the new insurance benefits. With respect to such
          claims, the Company shall indemnify Crewmembers against any
          costs over and above what the Crewmember would have been
          responsible for under the benefit plans in effect prior to the effective
          date of the new insurance benefit(s).
      4. There shall be no pre-existing condition limitations applicable to
         Crewmembers on the seniority list on the effective date of the
         Agreement (or dependents) who enroll in a benefit plan(s) under
         subsection 27.A. of the Agreement.
      IN WITNESS WHEREOF, the parties hereto have signed this Letter of
      Agreement on this _____ day of ________________, 20_____.
                                             FOR INTERNATIONAL
                                             BROTHERHOOD OF TEAMSTERS,
      FOR ATLAS AIR, INC.:                   AIRLINE DIVISION:


      _____________________________          ____________________________
      John W. Dietrich,                      David Bourne,
      Executive Vice President and Chief     Director,
      Operator Officer                       Teamsters Airline Division


      _____________________________          ____________________________
      Jeffrey D. Carlson,                    Joe Muckle
      Vice President of Flight Operations    President,
                                             APA Teamsters Local 1224


      _____________________________          ____________________________
      Scott K. Lindsay,                      Robert Kirchner,
      Senior Director, Crew Resources &      TEC Co-Chairman
      Contract Administration


                                             ____________________________
                                             Stephen Richards,
                                             TEC Co-Chairman




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      Appendix 27-A
                      2011 Monthly    2011 Monthly
                                                     % of Premium
                        Premium          Crew
                                                      Equivalent
                     Equivalent Rates Contribution
                      Medical Open Access Plus (PPO)
         Single            $618.45              $154.61       25.0%
      Employee +1         $1,236.91             $309.23       25.0%
         Family           $1,855.37             $463.84       25.0%
                  Medical Open Access Plus In Network (EPO)
         Single            $661.07              $125.60       19.0%
      Employee +1         $1322.13              $251.20       19.0%
         Family           $1983.20              $376.81       19.0%
                               Medical HMO (EPP)
         Single            $588.95              $111.90       19.0%
      Employee +1         $1,177.90             $223.80       19.0%
         Family           $1,766.95             $335.72       19.0%
                          Medical ± Out of Area (OOA)
         Single            $630.83              $88.32        14%
      Employee +1         $1,261.65             $176.63       14%
         Family           $1,892.47             $264.95       14%
                      Medical ± Safety Net (Catastrophic)
         Single            $562.08                N/A          N/A
      Employee +1         $1,124.16               N/A          N/A
         Family           $1,686.22               N/A          N/A
                                     Dental PPO
         Single            $38.29               $11.49        30.0%
      Employee +1          $76.58               $22.97        30.0%
         Family            $114.87              $34.48        30.0%
                                    Dental HMO
         Single            $24.02                $4.80        20.0%
      Employee +1          $41.85                $8.37        20.0%
         Family            $70.76               $14.15        20.0%
                                       Vision
         Single             $7.96                $5.54        69.6%


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      Employee +1          $11.47   $8.78    76.5%
         Family            $20.57   $15.72   76.4%




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      Appendix 27-B
                             PPO Medical Benefits
                   Benefit                          New Plan
     Eligibility                        Class of Eligible employees, full
                                        time, etc.
     Waiting Period                     1st of the month after hire
     Dependent Eligibility              The day you become eligible
                                        yourself or the day you acquire
                                        your first dependent
     Eligibility Effective Date         1st of the month after hire
     Effective Date of Dependent        the day you sign the election
     Insurance
     Lifetime Maximum                   Unlimited
     Co-Insurance In-network            90% (D)
     Co-Insurance Out-of-network        70% (D)
     Maximum Reimburseable              $1000 per person
     Charge In-network                  $3000 per family
     Maximum Reimburseable              $3000 per person
     Charge Out-of-network              $9000 per family
     Calendar Year Deductible In-       $300 per person
     network                            $900 per family
     Calendar Year Deductible Out-      $500 per person
     of-network                         $1500 per family
     Physician Services
     Copay office visit in-network      $20
     Co-insurance office visit out of   70% (D)
     network
     Specialist Services
     Copay office visit in-network      $30
     Co-insurance out of network        70% (D)
     Surgery performed in office In     $20 PCP $30 Spec
     network
     Surgery performed in office out    70% (D)
     network
     Second Opinion In network          $20 PCP $30 Spec
     Second Opinion Out of network      70% (D)
     Allergy Treatment/Injections       $20 PCP $30 Spec
     Co-pay
     Allergy Serum                      No Charge
     Allergy Out of Network Co-         70% (D)
     insurance
     Preventative Care
     Physicians Office Visit            $20 PCP $30 Spec


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                            PPO Medical Benefits
                  Benefit                              New Plan
     Physician Office Visit out of         70% (D)
     network co-insurance
     Immunizations                         No Charge
     Imm. Out of Network co-               70% (D)
     insurance
     Mammograms                            No Charge
     Mammograms out of network co-         70% (D)
     insurance
     Pap Smear                             No Charge
     In patient Hospital facility - in-    $75 copay 90% (D)
     network
     In patient Hospital - out of          $75 copay 70% (D)
     network
     Outpatient facility services          $75 copay 90% (D)
     Outpatient facility services Out of   $75 copay 70% (D)
     Network
     In patient hospital physicians        90% (D) in network
     visits                                70% (D) out of network
     In patient hospital professional      90% (D) in network
     services                              70%(D) out of network
     Outpatient professional services      90% (D) in network
                                           70%(D) out of network
     Emergency and Urgent Care
     Physicians office visit in-network    $20 PCP $30 Spec
     Physicians office visit out of        $20 PCP $30 Spec
     network
     ER Room                               $75 copay 90% (D)
     ER Room out of network                $75 copay 90% (D)
     Urgent Care Facility                  $75 copay 90% (D)
     Urgent Care Fac Out of Network        $75 copay 90% (D)
     X-ray performed at ER                 No Charge
     Independent X-ray in conjunction      90% (D)
     with ER in network and out of
     network
     In patient services at other          90% (D) in network
     health care facility                  70% (D) out of network
     Lab and Radiology including           90% (D) in network
     pre-admission testing                 70% (D) out of network
     Other labs and rads                   $20 PCP $30 Spec
                                           90% (D) in network or
                                           70% (D) out of network



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                             PPO Medical Benefits
                   Benefit                             New Plan
     Outpatient short term rehab             $20 PCP $30 Spec
     therapy and chiropractice               70% (D) out of network
     services
     Home health care                        90% (D) in network
                                             70% (D) out of network
     Hospice                                 90% (D) in network
                                             70% (D) out of network
     Bereavement counseling                  90% (D) in network
                                             70% (D) out of network
     Maternity care services and             $20 PCP $30 Spec
     physicians office visits                70% out of network
     Delivery Facility                       75 copay 90% (D)
     Delivery Fac Out of network             75 copay 70% (D)
     Abortion                                $20 PCP $30 Spec
                                             70% out of network
     Inpatient Facility In network           $75 copay 90% (D)
     Inpatient Facility out of network       $75 copay 70% (D)
     Outpatient Facility In network          $75 copay 90% (D)
     Outpatient Facility Out of              $75 copay 70% (D)
     network
     Family Planning Services                $20 PCP $30 Spec
                                             70% out of network
     Sterilization In patient facility in    $75 copay 90% (D)
     network
     Sterilization In patient facility out   $75 copay 70% (D)
     of network
     Sterilization Outpatient Facility In    $75 copay 90% (D)
     network
     Sterilization Outpatient Facility       $75 copay 70% (D)
     Out of network
     Sterilization Physicians Office         $20 PCP $30 Spec
     Visit In network                        70% (D) out of network
     Infertility Treatment Physician         $20 PCP $30 Spec
     Office Visit In Network                 70% (D) out of network
     Infertility Facility In patient         $75 copay 90% (D)
     Infertility Facil Out of network        $75 copay 70% (D)
     Infert Outpatient Facility              $75 copay 90% (D)
     Infer Outpatient Fac Out of             $75 copay 70% (D)
     network
     Organ Transplant Physicians             $20 PCP $30 Spec
     Office Visit In network                 70% (D) out of network



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                            PPO Medical Benefits
                  Benefit                           New Plan
     Organ Transplant Inpatient          $75 copay or $ 75 copay
     Facility Physician's Office Visit   90% (D)
     Organ Transplant Inpatient          $75 copay 70% (D)
     Facility Out of network
     Durable Medical Equipment           90% (D) in network
                                         70% (D) out of network
     External Prosthetic                 90% (D) Calendar Year max =
     Appliances                          1000 70% (D) out of network
     Nutritional Eval Physician          $20 PCP $30 Spec        70%
     office                              (D) out of network
     NE Inpatient Fac                    $75 copay 90% (D)
     NE Inpatient Fac Out of network     $75 copay 70% (D)
     NE Outpatient Fac                   $75 copay 90% (D)
     NE Outpatient Fac Out of            $75 copay 70% (D)
     network
     Dental Plan                         $20 PCP $30 Spec         70%
                                         (D) out of network
     Dental Inpatient Facility           $75 copay 90% (D)
     Dental Outpatient Facility          $75 copay 70% (D)
     Dental physicians services          90% (D)          70% (D)
     Bariatric surgery in-network        $20 PCP/$30 Spec
     only
     In patient facility charges         $75 copay 90% (D)
     Outpatient facility charges         $75 copay 90% (D)
     Physician's services                90% (D)
     Routine Food Disorders              Not covered
     Mental Health                       Will conform to mental health
                                         parity
     Substance Abuse
     In patient                          $75 copay 90% (D)     $75
                                         copay 70% (D)
     SA Outpatient office visits         $30 copay
     Prescription Drug
     Generic                             $7 in network
                                         30% out of network
     Formulary                           $25 in network
                                         30% out of network
     Non-Formulary                       $40 in network
                                         30% out of network
     Mail Order Generic                  $14 in network coverage only
     Mail Order Formulary                $50 in network coverage only
     Mail Order Non-Formulary            $80 in network coverage only


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                            PPO Medical Benefits
                  Benefit                          New Plan
     Covered expenses                  See SPD
     Limitations                       See SPD
     Exclusions                        See SPD
     Expenses not covered in general   See SPD
     limitations
     Pre-existing conditions           Will conform to mental health
     limitations                       parity
     Pre-existing condition            Will conform to mental health
                                       parity
     Exceptions to pre-existing        Will conform to mental health
     condition limitations.            parity




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                            EPO MEDICAL BENEFITS
                  Benefit                          New Plan
    Eligibility                        Class of Eligible employees, full
                                       time, etc.
    Waiting Period                     1st of the month after hire
    Dependent Eligibility              The day you become eligible
                                       yourself or the day you acquire
                                       your first dependent
    Eligibility Effective Date         1st of the month after hire
    Effective Date of Dependent        the day you sign the election
    Insurance
    Lifetime Maximum                   Unlimited
    Co-Insurance In-network            95% (D)
    Out of Pocket Maximums             1500/4500
    Calendar Year Deductible In-       300/900
    network
    Physician Services
    PCP office visit                   $20 copay
    Specialist                         $30 copay
    Surgery performed in office In     $20 PCP $30 Spec
    network
    Second Opinion In                  $20 PCP $30 Spec
    Allergy Treatment/Injections       $20 PCP $30 Spec
    Allergy Serum                      No Charge
    Preventative Care                  $20 PCP $30 Spec
    Immunizations                      No Charge
    Mammo/Pap                          95% (D)
    In patient Hospital facility       $75 copay 95% (D)
    Outpatient facility services       $75 copay 95% (D)
    Inpatient hospital physicians      No Charge
    visits
    Outpatient professional services   No Charge
    Emergency and urgent care          $20 PCP $30 Spec
    ER Room                            $75 copay 95% (D)
    Outpatient Professional services   95% (D)
    Urgent Care Facility               $50 copay (D)



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                             EPO MEDICAL BENEFITS
                   Benefit                       New Plan
    Lab and radiology services with    95% (D)
    ER
    Independent X-ray with ER          95 % (D)
    In patient services                95% (D)
    Lab and Radiology including        $75 copay 95% (D)
    pre-admission testing
    Phys Office Visit Labs & Rad       $20 PCP $30 Spec
    Outpatient short term rehab        $20 PCP $30 Spec
    therapy and chiropractice
    services
    Home Health Care                   95% (D)
    Hospice                            95% (D)
    Bereavement counsel                95% (D)
    Maternity care services and        $20 PCP $30 Spec
    physicians office visits
    Delivery Facility                  $75 copay 95% (D)
    Abortion                           $20 PCP $30 Spec
    Inpatient facility                 $75 copay 95% (D)
    Outpatient Facility                $75 copay 95% (D)
    Family Planning Services           $20 PCP $30 Spec
    Sterilization
    Inpatient Facility                 $75 copay 95% (D)
    Outpatient Facility                $75 copay 95% (D)
    Phys. Office Visit                 $20 PCP $30 Spec
    Infertility Phys Office Visit      $20 PCP $30 Spec
    Infertility Facility IN patient    $75 copay 95% (D)
    Infert Outpatient Facility         $75 copay 95% (D)
    Organ Trans Physic Office          $20 PCP $30 Spec
    Visit
    Organ Trans Inpatient Facility     $75 copay 95% (D)
    Durable medical equipment          95% (D)
    External prosthetic appliances     95% (D)
    Nutritional Evaluation             $20 PCP $30 Spec
    Physician office
    NE Inpatient Fac                   $75 copay 95% (D)
    NE Outpatient Fac                  $75 copay 95% (D)


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                          EPO MEDICAL BENEFITS
                Benefit                        New Plan
    Dental Office Visit             $20 PCP $30 Spec
    Inpatient Facility              $75 copay 95% (D)
    Outpatient Facility             $75 copay 95% (D)
    Bariatric Surgery               $20 PCP $30 Spec
                                    Phys. Services
    Inpatient Facility              $75 copay 95% (D)
    Outpatient Facility             $75 copay 95% (D)
    Mental Health                   Mental Health Parity
    Substance Abuse Inpatient       $75 copay 95% (D)
    SA Outpatient                   $30 copay 60 visits
    Intensive outpatient            $75 copay 95% (D)
    Prescription Drug
    Generic                         $7
    Formulary                       $25
    Non-Formulary                   $40
    Mail Order Generic              $14
    Mail Order Formulary            $50
    Mail Order Non-Formulary        $80
    Covered expenses                See SPD
    Limitations                     See SPD
    Exclusions                      See SPD
    Expenses not covered in         See SPD
    general limitations
    Pre-existing conditions         Will conform to Health Care
    limitations                     Reform
    Pre-existing condition          Will conform to Health Care
                                    Reform
    Exceptions to pre-existing      Will conform to Health Care
    condition limitations.          Reform




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                         EPP MEDICAL BENEFITS
                    Benefit                 New Plan
      Eligibility                            Class of Eligible employees,
                                             full time, etc.
      Waiting Period                         90 days
      Dependent Eligibility                  The day you become eligible
                                             yourself or the day you
                                             acquire your first dependent
      Eligibility Effective Date             90 day waiting period
      Effective Date of Dependent            90 day waiting period
      Insurance
      Lifetime Maximum                       Unlimited
      Co-Insurance In-network                100%
      Out of Pocket Maximums                 1500/3000
      Calendar Year Deductible In-           NA
      network
      Physician Services:
      PCP office visit                       10
      Specialist                             10
      Surgery performed in office In         10 PCP 10 SPEC
      network
      Second Opinion In Network              10 PCP 10 SPEC
      Allergy Treatment/Injections           10 PCP 10 SPEC
      Allergy Serum                          Same
      Preventative Care                      10 PCP 10 SPEC
      Immunizations                          10
      Imm. Out of Network                    NA
      Mammo/Pap                              No Charge
      Facility Services:
      In patient Hospital facility           No Charge
      Outpatient facility services           No Charge
      Inpatient hospital physicians visits   No Charge
      Outpatient professional services       No Charge
      emergency and urgent care              10 PCP 10 Spec
      ER Room                                50 copay
      Outpatient Professional services       No Charge
      Urgent Care Facility                   50 copay



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                         EPP MEDICAL BENEFITS
                    Benefit                 New Plan
      Lab and radiology services:
      Independent X-ray                  No Charge
      In patient services                No Charge
      Lab and Radiology including pre-   No Charge
      admission testing
      Phys Office Visit Labs & Rad       No Charge
      Other Services:                    Subject to coverage limits
      Outpatient short term rehab        10 PCP 10 Spec
      therapy and chiropractice
      services
      home health care                   No Charge
      hospice                            No Charge
      bereavement counsel                No Charge
      maternity care services and        10 PCP 10 Spec
      phsicians office visits
      Delivery Facility                  No Charge
      Abortion                           10 PCP 10 Spec
      Inpatient facility                 No Charge
      Outpatient Facility                No Charge

      Family Planning Services           Subject to coverage limits
      Phys. Office Visit                 11 PCP 10 Spec
      Sterilization:                     Subject to coverage limits
      Inpatient Facility                 No Charge
      Outpatient Facility                No Charge
      Phys. Office Visit                 10 PCP 10 Spec
      Infertility Phys Office Visit      10 PCP 10 Spec
      Infertility Facility In patient    No Charge
      Infertility Outpatient Facility    No Charge
      Organ Transplant:                  Subject to coverage limits
      Organ Trans Physic Office Visit    10 PCP 10 Spec
      Organ Trans Inpatient Facility     No Charge
      Other                              Subject to coverage limits
      Durable medical equipment          No Charge
                                         (subject to calendar year
                                         maximum)


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                         EPP MEDICAL BENEFITS
                    Benefit                 New Plan
      External prosthetic appliances      No Charge
                                          (subject to calendar year
                                          maximum)
      External breast prothesis           No Charge
                                          (subject to calendar year
                                          maximum)
      Nutritional Eval Physician office   10 PCP 10 Spec
      NE Inpatient Fac                    No Charge
      NE Outpatient Fac                   No Charge
      Dental Office Visit                 10 PCP 10 Spec
      Inpatient Facility                  No Charge
      Outpatient Facility                 No Charge
      Bariatric Surgery                   Subject to coverage limits
      Inpatient Facility                  No Charge
      Outpatient Facility                 No Charge
      Phys. Svcs.                         10 PCP; 10 Spec
      Other:
      Acupuncture                         10 PCP 10 Spec
      Mental Health                       Subject to Mental Health
                                          Parity
      Substance Abuse Inpatient           Subject to Mental Health
                                          Parity
      SA Outpatient                       Subject to Mental Health
                                          Parity
      Intensive outpatient                Subject to Mental Health
                                          Parity
      Detox                               Subject to Mental Health
                                          Parity
      Prescription Drug:
      Generic                             5
      Formulary                           15
      Non-Formulary                       15
      Mail Order Generic                  10
      Mail Order Formulary                30
      Mail Order Non-Formulary            30
      Covered expenses                    See SPD
      Limitations                         See SPD


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                         EPP MEDICAL BENEFITS
                    Benefit                 New Plan
      Exclusions                     See SPD
      Expenses not covered in        See SPD
      general limitations
      Pre-existing conditions        Subject to Health Care
      limitations                    Reform
      Pre-existing condition         Subject to Health Care
                                     Reform
      Exceptions to pre-existing     Subject to Health Care
      condition limitations.         Reform




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                             OOA MEDICAL BENEFITS
                    Benefit                        New Plan
       Eligibility                    Class of Eligible employees, full
                                      time, etc.
       Waiting Period                 1st of the month after hire
       Dependent Eligibility          The day you become eligible
                                      yourself or the day you acquire
                                      your first dependent
       Eligibility Effective Date     1st of the month after hire
       Effective Date of Dependent    the day you sign the election
       Insurance
       Lifetime Maximum               Unlimited
       Co-Insurance                   80%
       Out of Pocket Maximums         1000/3000
       Calendar Year Deductible       300/900
       Physician Services
       PCP office visit               80% (D)
       Specialist                     80% (D)
       Surgery performed in office In 80% (D)
       network
       Second Opinion In              80% (D)
       Allergy                        80% (D)
       Treatment/Injections
       Allergy Serum                  80% (D)
       Preventative Care              80% (D)
       Immunizations                  80% (D)
       Mammo/Pap                      80% (D)
       In patient Hospital facility   80% (D)
       Outpatient facility services   80% (D)
       In patient hospital physicians 80% (D)
       visits
       Outpatient professional        80% (D)
       services
       Emergency and Urgent           80% (D)
       Care
       ER Room                        80% (D)
       Outpatient Professional        80% (D)


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                          OOA MEDICAL BENEFITS
                   Benefit                  New Plan
       services
       Urgent Care Facility              80% (D)
       lab and radiology services        80% (D)
       Independent X-ray                 80% (D)
       In patient services               80% (D)
       Lab and Radiology                 80% (D)
       including pre-admission
       testing
       Phys Office Visit Labs & Rad      80% (D)
       Outpatient short term             80% (D)
       rehab therapy and
       chiropractice services
       Home Health Care                  80% (D)
       Hospice                           80% (D)
       Bereavement Counseling            80% (D)
       Maternity care services and       80% (D)
       physicians office visits
       Delivery Facility                 80% (D)
       Abortion                          80% (D)
       Inpatient facility                80% (D)
       Outpatient Facility               80% (D)
       Family Planning Services          80% (D)
       Sterilization                     80% (D)
       Inpatient Facility                80% (D)
       Outpatient Facility               80% (D)
       Phys. Office Visit                80% (D)
       Infertility Phys Office Visit     80% (D)
       Infertility Facility IN patient   80% (D)
       Infert Outpatient Facility        80% (D)
       Organ Trans Physic Office         80% (D)
       Visit
       Organ Trans Inpatient Facility    80% (D)
       Durable medical equipment         80% (D)
       External prosthetic               80% (D)
       appliances



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                           OOA MEDICAL BENEFITS
                  Benefit                      New Plan
       Nutritional Eval Physician   80% (D)
       office
       NE Inpatient Fac             80% (D)
       NE Outpatient Fac            80% (D)
       Dental Office Visit          80% (D)
       Inpatient Facility           80% (D)
       Outpatient Facility          80% (D)
       Bariatric Surgery            80% (D)
       Acupuncture                  80% (D)
       Mental Health                Mental Health Parity
       Substance Abuse Inpatient 80% (D)
       SA Outpatient                80% (D)
       Intesive outpatient          80% (D)
       Prescription Drug            80% (D)
       Generic                      $10 in network;
                                    20% coinsurance out of network
       Formulary                    $20 in network;
                                    20% coinsurance out of network
       Non-Formulary                $20 in network;
                                     20% coinsurance out of
                                    network
       Mail Order Generic           $20
       Mail Order Formulary         $40
       Mail Order Non-Formulary     $40
       Covered expenses             See SPD
       Limitations                  See SPD
       Exclusions                   See SPD
       Expenses not covered in      See SPD
       general limitations
       Pre-existing conditions      Will comply to Health Care
       limitations                  Reform
       Pre-existing condition       Will comply to Health Care
                                    Reform
       Exceptions to pre-existing   Will comply to Health Care
       condition limitations.       Reform




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       CAT MEDICAL BENEFITS
       Benefit                          New Plan
       Eligibility                      Class of Eligible employees, full
                                        time, etc.
       Waiting Period                   1st of the month after hire
       Dependent Eligibility            The day you become eligible
                                        yourself or the day you acquire
                                        your first dependent
       Eligibility Effective Date       1st of the month after hire
       Effective Date of Dependent      the day you sign the election
       Insurance
       Lifetime Maximum                 Unlimited
       Co-Insurance                     100%
       Out of Pocket Maximums           NA
       Calendar Year Deductible         3500/10000
       Physician Services
       PCP office visit                 100% (D)
       Specialist                       100% (D)
       Surgery performed in office In   100% (D)
       network
       Second Opinion In                100% (D)
       Allergy Treatment/Injections     100% (D)
       Allergy Serum                    100% (D)
       Preventative Care                100% (D)
       Immunizations                    100% (D)
       Mammo/Pap                        100% (D)
       In patient Hospital facility     100% (D)
       Outpatient facility services     100% (D)
       In patient hospital physicians   100% (D)
       visits
       outpatient professional          100% (D)
       services
       Emergency and Urgent Care        100% (D)
       ER Room                          100% (D)
       Outpatient Professional          100% (D)
       services
       Urgent Care Facility             100% (D)
       lab and radiology services       100% (D)
       Independent X-ray                100% (D)
       In patient services              100% (D)

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       CAT MEDICAL BENEFITS
       Benefit                           New Plan
       Lab and Radiology                 100% (D)
       inculding pre-admission
       testing
       Phys Office Visit Labs & Rad      100% (D)
       Out patient short term rehab      100% (D)
       therapy and chiropractice
       services
       Home Health Care                  100% (D)
       Hospice                           100% (D)
       Bereavement Counseling            100% (D)
       Maternity care services and       100% (D)
       phsicians office visits
       Delivery Facility                 100% (D)
       Abortion                          100% (D)
       Inpatient facility                100% (D)
       Outpatient Facility               100% (D)
       Family Planning Services          100% (D)
       Sterilization                     100% (D)
       Inpatient Facility                100% (D)
       Outpatient Facility               100% (D)
       Phys. Office Visist               100% (D)
       Infertility Phys Office Visit     100% (D)
       Infertility Facility IN patient   100% (D)
       Infert Outpatient Facility        100% (D)
       Organ Trans Physic Office         100% (D)
       Visit
       Organ Trans Inpatient Facility    100% (D)
       Durable medical equipment         100% (D)
       External prosthetic               100% (D)
       appliances
       Nutritional Eval Physician        100% (D)
       office
       NE Inpatient Fac                  100% (D)
       NE Outpatient Fac                 100% (D)
       Dental Office Visit               100% (D)
       Inpatient Facility                100% (D)
       Outpatient Facility               100% (D)
       Bariatric Surgery                 100% (D)


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       CAT MEDICAL BENEFITS
       Benefit                      New Plan
       Acupuncture                  100% (D)
       Mental Health                Will comply with Mental Health
                                    Parity
       Substance Abuse Inpatient    100% (D)
       SA Outpatient                100% (D)
       Intesive outpatient          100% (D)
       Detox                        100% (D)
       Prescription Drug            100% (D)
       Generic                      $10 in network
       Formulary                    $20 in network
       Non-Formulary                $20 in network
       Mail Order Generic           $20 in network
       Mail Order Formulary         $40 in network
       Mail Order Non-Formulary     $40 in network
       Covered expenses             See SPD
       Limitations                  See SPD
       Exclusions                   See SPD
       Expenses not covered in      See SPD
       general limitations
       Pre-existing conditions      Will comply with Health Care
       limitations                  Reform
       Pre-existing condition       Will comply with Health Care
                                    Reform
       Exceptions to pre-existing   Will comply with Health Care
       condition limitations.       Reform




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                                      SECTION 28: RETIREMENT
      A. 401(K) PLAN
      Crewmembers shall be eligible to participate in the Atlas Air, Inc.
      5HWLUHPHQW 3ODQ ³ N  3ODQ´  EDVHG RQ WKH WHUPV DQG FRQGLWLRQV
      applicable to Atlas Air, Inc. Crewmembers in effect on the effective date
      of the Agreement.
      1. The Company shall contribute annually to each participating
         &UHZPHPEHU¶VDFFRXQWDQDPRXQWHTXDOWRILIW\SHUFHQW  RIWKH
         &UHZPHPEHU¶V FRQWULEXWLRQ VXFK &UHZPHPEHU FRQWULEXWLRQ IRU WKH
         purpose of the Company matching to be limited to no more than ten
         percent (10%) of gross pay), which shall vest as set forth in
         subsection 28.A.2.
      2. Vesting for purposes of Employer Matching Contributions and
         Employer Profit Sharing Contributions shall be in accordance with
         the following schedule:
     Completed Years of Service         Vesting Percentage
     Less than 1 year                   0
     1 year                             20
     2 years                            40
     3 years and thereafter             100

      3. The Company shall not make any change to the 401(k) Plan that
         reduces the level of participation available to Crewmembers or
         Company matching contributions provided to Crewmembers without
         the concurrence of the Union, except to the extent that such changes
         are required by law. The Company shall have the right to change
         Plan administrators, third party administrators and/or make changes
         to the investment options offered participants in the Plan after
         consultation with the Union Retirement and Insurance Committee.

      B. 401(M) CREWMEMBER CONTRIBUTIONS
      Crewmembers shall be eligible to make (401)(m) Crewmember
      contributions on the same terms and conditions applicable to other
      employees of the Company.




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      C. STOCK PURCHASE PLAN
      If the Company establishes a stock purchase plan for employees (other
      than officers) not covered by this Agreement, Crewmembers shall be
      eligible to participate in the stock purchase plan on the same basis as all
      other employees.

      D. RETIREMENT IMPROVEMENTS AND ADDITIONS
      Upon request by the Union, retirement benefit improvements, including
      any newly created retirement benefits, the Company offers to employees
      (other than officers) who are not covered by this Agreement shall be
      made available to Crewmembers on the same basis.

      E. COMMITTEES
      The Company recognizes a Retirement and Insurance Committee (R&I
      Committee). The R&I Committee shall consist of two (2) Union
      representatives. WithoXW OLPLWLQJ WKH &RPSDQ\¶V GLVFUHWLRQ DV  N 
      Plan administrator, the R&I Committee shall meet at least semi-annually
      to discuss changes to 401(k) Plan investment options, plan
      administrators and third party administrators, the Profit Sharing Plan, and
      other retirement and insurance issues.




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                                                SECTION 29:
                              UNION SECURITY AND CHECK-OFF
      A. Within sixty (60) days following the beginning of employment, or the
         effective date of this Agreement, whichever is the later, each
         Crewmember shall become a member of the Union in good standing
         as a condition of employment. All Crewmembers who are members
         of the Union in good standing on the effective date of this Agreement
         or who become members in good standing shall remain members in
         good standing as a condition of continued employment; provided,
         that Crewmembers to whom membership is not available upon the
         same terms and conditions as are generally applicable to any other
         member or with respect to Crewmembers to whom membership was
         denied or terminated for any reason other than the failure of the
         Crewmember to tender the periodic dues, initiation fees, and
         assessments (not including fines and penalties) uniformly required as
         a condition of acquiring or retaining membership, shall be excluded
         from the requirements of this Section 29.
      B. Each Crewmember who fails to voluntarily acquire or maintain
         membership in the Union shall be required, as a condition of
         employment, beginning sixty (60) days after his employment to pay
         the Union each month a service charge as a contribution for the
         administration of the Agreement and the representation of such
         Crewmember. The service charge for the first month shall be in an
         DPRXQW HTXDO WR WKH 8QLRQ¶V UHJXODU DQG XVXDO LQLWLDWLRQ IHHV DQG
         monthly dues, and for each month thereafter in an amount equal to
         the regular and usual monthly dues and periodic assessments (not
         including fines and penalties), including Union assessments (not
         including fines and penalties), uniformly required as a condition of
         acquiring or retaining membership.
      C. If any Crewmember becomes delinquent in the payment of this
         service charge or any Union member becomes delinquent in
         payment of his initiation fees and/or dues, and/or periodic
         assessments, the Union shall notify such Crewmember by certified
         mail, return UHFHLSWUHTXHVWHGFRS\WRWKH&RPSDQ\¶V9LFH3UHVLGHQW
         of Flight Operations, that he is delinquent in the payment of such
         service charge, initiation fee and/or membership dues and/or periodic
         assessments as specified herein and is subject to discharge as a
         Crewmember. Such letter shall also notify the Crewmember that he
         must remit the required payment within a period of fifteen (15) days
         or be discharged.

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      D. If, upon the expiration of the fifteen (15) day period, the Crewmember
         still remains delinquent, the Union shall certify in writing to the Vice
         President of Flight Operations, with a copy to the Crewmember, that
         the Crewmember has failed to remit payment within the grace period
         allowed and is therefore to be discharged. The Vice President of
         Flight Operations shall notify the Crewmember by certified mail,
         return receipt requested, that he is to be discharged.
      E. A grievance by a Crewmember who is to be discharged as the result
         of an interpretation or application of the provisions of this Section
         shall be subject to the following procedures:
          1.   A Crewmember who believes that the provisions of this Section
               have not been properly interpreted or applied as it pertains to
               him, may submit his request for review in writing within five (5)
               days from the date of his notification by the Vice President of
               Flight Operations as provided in subsection 29.D. above. The
               request must be submitted to the Vice President of Flight
               Operations or his designee, who will review the grievance and
               render his decision in writing no later than five (5) days following
               receipt of the grievance.
          2.   The Vice President of Flight Operations or his designee shall
               forward his decision to the Crewmember, with a copy to the
               Union. Said decision shall be final and binding on all interested
               parties unless appealed as hereinafter provided. If the decision
               is not satisfactory to either the Crewmember or the Union, then
               either may appeal the decision within ten (10) days from the
               date of the decision directly to a neutral referee who may be
               agreed upon by the Crewmember and the Union within ten (10)
               days thereafter. In the event the parties fail to agree upon a
               neutral referee within the specified period, either the
               Crewmember or the Union may request the National Mediation
               Board to name such neutral referee. The decision of the Neutral
               referee shall be final and binding on all parties to the dispute.
               The fees of such neutral referee shall be borne equally by the
               Crewmember and the Union.
      F. During the period a grievance is being handled under the provisions
         of this Section, and until final award by the Vice President of Flight
         Operations, his designee or the neutral referee, the Crewmember
         shall not be discharged from the Company nor lose any seniority
         rights because of noncompliance with the terms and provisions of
         this Section 29.



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          1.   A Crewmember discharged by the Company under the
               provisions of Section 29 shall be deemed to have been
               ³GLVFKDUJHGIRUMXVWFDXVH´ZLWKLQWKHPHDQLQJRIWKHWHUPVDQG
               provisions of this Agreement.
          2.   The Company shall not be liable for any time or wage claim of
               any Crewmember discharged by the Company pursuant to a
               written order by any authorized Union representative under the
               terms of this Section 29.
      G. Dues Check-Off.
          During the life of this Agreement, the Company agrees to deduct
          from the pay of each member of the International Brotherhood of
          Teamsters, and remit to the designated Union, membership dues
          uniformly required as a condition of acquiring or retaining
          membership and in accordance with the provisions of the Railway
          Labor Act, as amended, provided such member of the International
          Brotherhood of Teamsters voluntarily executes an authorization form.
          7KLVIRUPDOVRWREHNQRZQDV³&KHFN-2II)RUP´VKDOOEHSUHSDUHG
          and furnished by the Union. The payment of service charges, in
          accordance with subsection 29.B. above, may be made by check-off
          upon the voluntary execution of authorization forms by service fee
          payers.




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                                          SECTION 30: UNIFORMS
      A. REQUIRED UNIFORM
      1. Crewmembers shall wear the uniform prescribed by the Company,
         and in accordance with the appearance standards published by the
         Company.
      2. The Company shall provide new Crewmembers with their first
         uniform, wings, epaulets, and other required insignia. That uniform
         shall include one (1) leather jacket, two (2) trousers, four (4) shirts
         and two (2) ties. All other required or optional uniform items (e.g.,
         shoes, socks, sweaters as allowed) are to be provided by the
         Crewmember. New Captains shall be provided with their first set of
         wings and epaulets.

      B. REPLACEMENT UNIFORMS
      1. The wings, epaulets and other such insignia will be replaced at the
         &RPSDQ\¶VH[SHQVHZKHQVXIILFLHQWO\ZRUQRUGDPDJHG,IWKH\DUH
         lost or stolen replacement may, at the discretion of the System Chief
         3LORWEHDWWKH&UHZPHPEHU¶VH[SHQVH
      2. Every January 1, Crewmembers shall receive an annual required
         uniform replacement credit equal to the cost of one (1) pair of
         trousers, two (2) shirts and one (1) tie. A Crewmember shall
         purchase the aforementioned required uniform replacement items
         with the Company-issued credit card. The Crewmember shall
         purchase the required uniform replacement items from the Company-
         designated vendor. Upon notice to the Union, the Company may
         establish a program whereby the vendor is paid by the Company in
         lieu of Crewmembers using the Company-issued credit card.
      3. If in the course of performing his duties a Crewmember damages a
         uniform item provided by the Company, that item will be either
         repaireGRUUHSODFHG DWWKH&RPSDQ\¶VGLVFUHWLRQ DWQRFRVWWRWKH
         Crewmember. All other worn or damaged uniform items must be
         UHSODFHG DW WKH &UHZPHPEHU¶V H[SHQVH H[FHSW DV SURYLGHG LQ
         subsection 30.B.2. above. The Company may require that a
         Crewmember replace a worn or damaged uniform item if it is not in
         FRPSOLDQFHZLWKWKH&RPSDQ\¶VDSSHDUDQFHVWDQGDUGV

      C. CHANGES IN THE UNIFORM
      1. The Company shall have the unilateral right to change the uniform at
         any time. At least thirty (30) days before making any major change


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          to the style or color of the uniform, the Company shall notify the
          Union and, if requested, meet with representatives of the Union to
          discuss and consider any of its recommendations regarding the
          uniform, including changes in vendor.
      2. Any uniform item provided by the Company that the Company
         requires be replaced as the result of a uniform style or color change
         shall be replaced at no cost to the Crewmember, except in the case
         of a phase-in of the new uniform item, in which case the Company
         may require that the new item be paid for by the Crewmember as
         part of the replacement uniform program provided for in subsection
         30.B. above.

      D. GENERAL
      1. Wings shall remain the property of the Company and must be
         UHWXUQHG DW WKH HQG RI D &UHZPHPEHU¶V employment except in the
         following cases:
          a.   The Crewmember has completed five (5) or more years of
               Active Service with the Company and the reason for the
               termination of his employment with the Company is not a
               discharge for cause; or
          b.   The Crewmember has reached age sixty-five (65); or
          c.   The Crewmember has completed two (2) years of Active Service
               with the Company and has lost his required medical certificate.
      2. If a Crewmember leaves the employment of the Company for any
         reason other than furlough within one (1) year after the Company has
         provided him with his first leather jacket, the Crewmember shall be
         required, at his option, to either return the jacket or repay the
         Company for its cost. The Company shall have the right to withhold
         the cost of WKH OHDWKHU MDFNHW IURP VXFK &UHZPHPEHU¶V ODVW SD\
         check if the jacket has not been timely returned.




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                   SECTION 31: RESERVE CREWMEMBERS
      A.   THERE SHALL     BE THREE   (3)   CATEGORIES OF   CREWMEMBER RESERVE
           STATUS:
      R- ³+RPH 5HVHUYH´  5- ³+RWHO 5HVHUYH´  DQG 5-3 (³+RW $LUSRUW
      6WDQGE\´  7KH &RPSDQ\ VKDOO GHWHUPLQH WKH QXPEHU RI DQG W\SH RI
      Reserve Lines, i.e., R-1 and R-2, and when a Crewmember is assigned
      to R-3, in accordance with this Section 31. A Regular Line Holder may
      not be assigned R-1, R-2 or R-3 status except in accordance with
      Section 25.

      B.   RESERVE STATUS 1 (R-1) ³+OME RESERVE´
      1. A Crewmember on R-1 status must be contactable by Crew
         Scheduling by one of the following methods:
           a.   a   personal    telephone      number/telephone       answering
                machine/voicemail provided by the Crewmember; or
           b.   Personal Communications Device (PCD).
           The Crewmember shall designate subsection 31.B.1.a. or b., above,
           as the method of contact that shall be used by Crew Scheduling.
      2. A Crewmember on R-1 status must contact Crew Scheduling within
         thirty (30) minutes of initial contact by Crew Scheduling.
      3. After the Company contacts a Crewmember on R-1,                      the
         &UHZPHPEHU¶VPXVWEHDEOHWRGHSDUWRQDIOLJKWDVIROORZV
           a.   at the commercial airport nearest his residence (including, if
                FORVHU WR KLV UHVLGHQFH IURP WKH &UHZPHPEHU¶V %DVH RU
                another location if mutually agreeable) five (5) hours from
                contact when the Company contacts the Crewmember between
                0700 and 1200 local time and the Crewmember is deadheading
                into the applicable Minimum Rest period required by Section 12.
                The length of the duty period shall be in accordance with Section
                12.
           b.   at the commercial airport nearest his residence (including, if
                FORVHU WR KLV UHVLGHQFH IURP WKH &UHZPHPEHU¶V %DVH RU
                another location if mutually agreeable) ten (10) hours from
                contact when the Crewmember is:
                (i) deadheading into the applicable Minimum Rest period
                    required by Section 12 but the Company did not contact the



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                   Crewmember within the timeframe set forth in subsection
                   B.3.a., above;
               (ii) deadheading from the reporting location to an operating flight;
               (iii) assigned an operating flight departing from the reporting
                     location; or
               (iv) assigned R-2 or R-3 at the reporting location. The length of
                    the duty period shall be in accordance with Section 12.
          c.   The contact times in subsection B.3.a. and subsection B.3.b.,
               above, may be waived with Crewmember concurrence.
      4. When the Company assigns a Crewmember on R-1 status an
         operating trip with less than thirty (30) hours notice between initial
         contact by Crew Scheduling and scheduled report time, the
         Company shall provide transportation for the Crewmember from his
         residence to his Base in order to position him for the assignment.
      5. When the Company assigns a Crewmember on R-1 status to a trip
         ZKRVH SRLQW RI RULJLQ LV RWKHU WKDQ WKH &UHZPHPEHU¶V %DVH WKH
         Company shall provide transportation for the Crewmember from his
         residence to the point of origin of the assignment.

      C. RESERVE STATUS 2 (R-2) ³+OTEL RESERVE´
      1. R-2 status shall be assigned at any hotel location designated by the
         Company or another location that is mutually agreeable.
      2. R-2 status begins when the Company notifies a Crewmember that R-
         2 status has commenced.
      3. A Crewmember on R-2 status must be contactable by Crew
         Scheduling by one of the following:
          a.   a personal telephone number/telephone answering
               machine/voicemail provided by the Crewmember;
          b.   a hotel telephone number;
          c.   Personal Communications Device (PCD).
          The Crewmember shall designate subsection 31.C.3.a., b., or c.,
          above, as the method of contact that shall be used by Crew
          Scheduling.
      4. A Crewmember on R-2 status must speak with Crew Scheduling
         within fifteen (15) minutes of initial contact by Crew Scheduling.
      5. A Crewmember on R-2 status must be able to report for duty within
         ninety (90) minutes of initial contact by Crew Scheduling.

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      6. If the designated location for R-VWDWXVLVWKH&UHZPHPEHU¶V%DVH
         lodging will be provided. The Company will provide lodging and per
         diem at locations other than WKH&UHZPHPEHU¶V%DVH
      7. A period of R-2 status shall contain a twenty-four (24) hour period
         free of reserve duty within each seven (7) day period.
      8. A Crewmember shall not be assigned to more than sixteen (16)
         consecutive hours of R-2 status.
          a.   A Crewmember, who is notified by Crew Scheduling of a trip at
               any time during the first fourteen (14) consecutive hours of R-2
               status, may be assigned to Work the maximum number of duty
               hours in a Duty Day under subsection 12.C., including any
               permissible applicable extension provided therein.
          b.   A Crewmember, who is notified by Crew Scheduling of a trip at
               any time after the first fourteen (14) consecutive hours of R-2
               status, may be assigned a trip with a maximum scheduled duty
               period of fourteen (14) consecutive hours regardless of whether
               a longer duty period would otherwise be permissible under
               subsection 12.C. The aforementioned fourteen (14) consecutive
               hour duty period may be extended in accordance with an
               applicable extension provision under Section 12.C.
      9. A Crewmember on R-2 status shall have a Rest Period of eight (8)
         consecutive hours designated within each twenty-four (24) hour
         period. The Crewmember shall be notified of the designated Rest
         Period no later than eight (8) hours before commencement of the
         Rest Period.

      D. RESERVE STATUS 3 (R-3) ³+OT AIRPORT STANDBY´
      ³+RW$LUSRUW6WDQGE\´PHDQVUHVHUYHGXW\DWDQDLUSRUW
      1. A Crewmember on R-3 status must be contactable by Crew
         Scheduling by one of the following methods:
          a.   a   personal    telephone      number/telephone      answering
               machine/voicemail provided by the Crewmember;
          b.   Personal Communications Device (PCD); or
          c.   Airport operations office.
          The Crewmember shall designate subsection 31.D.1.a., b., or c.
          above, as the method of contact that shall be used by Crew
          Scheduling.
      2. A Crewmember on R-3 status must be in position to block out within


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          one and one-half hours (1:30) of contact by the Company.
      3. R-3 status begins when the Crewmember reports to the airport.
      4. All time spent on R-3 status shall count as duty.
      5. A Crewmember assigned R-3 status shall not be required to remain
         at the airport location for more than four (4) hours during a single
         duty period. The four (4) hour period may be extended to a
         maximum of six (6) hours if there is a Company aircraft with available
         crew rest facilities or a crew lounge at the location.
      6. A Crewmember assigned R-3 status shall be limited to the total
         number of duty hours permitted by subsection 12.C.
      7. An R-3 assignment may not be preceded or followed by an R-1
         assignment during the same duty period.
          a.   If an R-2 assignment follows an R-3 assignment during the
               same duty period, then reserve duty begins when the
               Crewmember reports for R-3 and continues during the R-2
               assignment up to maximum of sixteen (16) consecutive hours of
               cumulative reserve duty.
          b.   If an R-2 assignment precedes an R-3 assignment during the
               same duty period, then reserve duty begins when the
               Crewmember begins R-2 and continues during the R-3
               assignment up to maximum of sixteen (16) consecutive hours of
               cumulative reserve duty.
          c.   If subsection 31.D.7.a. or 31.D.7.b., above, applies, an affected
               Crewmember may be assigned a trip with a maximum
               scheduled duty period of fourteen (14) consecutive hours
               regardless of whether a longer duty period would otherwise be
               permissible under subsection 12.C. The aforementioned
               fourteen (14) consecutive hour duty period may be extended in
               accordance with an applicable extension provision under
               Section 12.C.

      E. GENERAL
      1. For purposes of Reserve Line construction, every day begins at
         0001Z and ends at 2359Z.
      2. A Reserve Line Holder who is on Days Off must contact Crew
         Scheduling between thirty-five (35) and thirty (30) hours prior to the
         scheduled start of his next assignment to confirm his initial
         assignment.



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                                   SECTION 32: NEW EQUIPMENT
      A. THE COMPANY MAY INTRODUCE NEW EQUIPMENT.
      Rates of pay for such New Equipment shall be as specified in Section 3,
      subsection 32.B. or subsection 32.C, below, whichever is applicable.
      Except as set fortKLQWKHSDUWLHV¶([SUHVV2SHUDWLRQ/HWWHURI$JUHHPHQW
      and subsection 32.C., below, rules and working conditions for New
      Equipment shall be as set forth in the Agreement.

      B. RATES OF PAY FOR NEW EQUIPMENT:
      1. The Hourly Rate for Captains and First Officers (F/O) and Flight
         Engineers (F/E) (if applicable) on New Equipment at Company
         Longevity of two (2) to twelve (12) years, or more, for aircraft with a
         normal cruise speed less than ninety-five, one hundredths (0.95)
         MACH and a certified gross maximum takeoff weight (MTOW) less
         than six hundred twenty-five thousand (625,000) kilograms shall be
         determined pursuant to this Section 32, as set forth below. The
         hourly rate for new-hire F/O and F/E in their first (1st) year of
         Company Longevity, regardless of the MTOW of equipment to which
         they are assigned, shall be as provided in Section 3, unless
         subsection 32.C applies. Subsection 32.B. shall not be applicable to
         such new-hires until they reach their second (2nd) year of Company
         Longevity; provided, Crewmembers in their second year of Company
         Longevity and assigned to Light Lift Aircraft as defined below shall
         remain at their first year rate of pay until they reach their third (3rd)
         year of Company Longevity.
          a.   Super Jumbo Lift Aircraft
               For any aircraft with a MTOW of five hundred thousand
               (500,000) kilograms or more, but less than six hundred twenty-
               five thousand (625,000) kilograms, one hundred eight and three,
               one hundredths percent (108.03%) of the rates of pay set forth
               in Section 3, rounded to the nearest whole cent, shall be
               applicable.
          b.   Jumbo Lift Aircraft
               For any aircraft with a MTOW of three hundred seventy-five
               thousand (375,000) kilograms or more, but less than five
               hundred thousand (500,000) kilograms, one hundred percent
               (100%) of the rates of pay set forth in Section 3, shall be
               applicable.

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          c.   Heavy Lift Equipment
               For any aircraft with a MTOW of two hundred fifty thousand
               (250,000) kilograms or more, but less than three-hundred
               seventy-five thousand (375,000) kilograms, ninety-one and
               ninety-seven, one hundredths percent (91.97%) of the rates of
               pay set forth in Section 3, rounded to the nearest whole cent,
               shall be applicable.
          d.   Medium Lift Aircraft
               For any aircraft with a MTOW of one hundred twenty-five
               thousand (125,000) kilograms or more, but less than two
               hundred fifty thousand (250,000) kilograms, eighty-three and
               ninety-four, one hundredths percent (83.94%) of the rates of pay
               set forth in Section 3, rounded to the nearest whole cent, shall
               be applicable.
          e.   Light Lift Equipment
               For any aircraft with a MTOW of less than one hundred twenty-
               five thousand (125,000) kilograms, seventy-five and ninety-one,
               one hundredths percent (75.91%) of the rates of pay set forth in
               Section 3, rounded to the nearest whole cent, shall be
               applicable.
      2. In the event any Company equipment type(s) is re-certified resulting
         in an increased MTOW, the MTOW categories, as specified in
         subsections 32.B.1.a-e, above, will be applied at the increased
         MTOW to determine a new hourly rate of pay in that equipment type
         for Captains, First Officers and Flight Engineers (if applicable). The
         new hourly rate of pay shall become effective on the first day of the
         month following re-certification of the equipment type at the
         increased MTOW.
      3. In the event the Company operates an equipment type fleet with
         varying MTOW between aircraft in that equipment type fleet, the
         applicable hourly rate of pay for Captains, First Officers and Flight
         Engineers (if applicable) in that equipment type fleet shall be
         determined using a Blended MTOW for that equipment type fleet.
          a.   The Blended MTOW shall be calculated by totaling the MTOW
               of all individual aircraft in that equipment type fleet to obtain the
               Total Fleet MTOW, then dividing the Total Fleet MTOW by the
               total number of aircraft in that equipment type fleet.
          b.   The Blended MTOW shall be used to calculate hourly rate of pay
               for Captains, First Officers and Flight Engineers (if applicable) in


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               that equipment type fleet pursuant to the MTOW categories, as
               specified in subsections 32.B.1.a-e., above; provided, the hourly
               rate of pay for Captains, First Officers and Flight Engineers (if
               applicable) so determined shall not be less than the applicable
               hourly rate of pay then in effect for any aircraft and applicable
               Status in that equipment type fleet.

      C. NEW EQUIPMENT NEGOTIATIONS:
      If the Company intends to introduce New Equipment with a MTOW of six
      hundred twenty-five thousand (625,000) kilograms or more, or with a
      normal cruise speed greater than ninety-five, one hundredths (0.95)
      MACH, the Company will provide at least one-hundred and eighty (180)
      days advance written notice to the Union prior to placing the New
      Equipment into service. Upon request by either party after the written
      notice has been provided, the parties shall meet to discuss whether
      either party intends to propose rates of pay, rules and/or working
      conditions applicable to the New Equipment that differ from those
      contained in subsection 3.A.1.a. of the Agreement, Section 12 of the
      Agreement, and any other subsections of the Agreement mutually
      agreed to by the parties.
      1. If, within ninety (90) days of receipt of the written notice referred to
         subsection 32.C., above, unless the parties mutually agree to extend
         the aforementioned deadline, either party makes a proposal to
         change rates of pay, rules or working conditions applicable to the
         New Equipment as described in subsection 32.C, then bargaining
         shall commence between the parties. If the parties are unable to
         reach agreement on the issues bargained by the sixtieth (60th) day
         prior to the date of the introduction of the new equipment, unless the
         parties mutually agree to extend the aforementioned deadline, the
         parties will submit their respective last offers on disputed matters to
         interest arbitration. The arbitrator¶VUHVROXWLRQRIWKHGLVSXWHGLVVXHV
         will be on an issue-by-LVVXH EDVLV UDWKHU WKDQ D ³WRWDO SDFNDJH´
         basis, and will be binding on the parties with respect to the particular
         dispute, but will have no precedential or binding effect on other or
         future disputes arising under this Section 32. Rates of pay, rules
         and/or working conditions will be retroactive to the first day the New
         Equipment was placed into service. The arbitrator shall have no
         jurisdiction to issue a decision or award affecting rates of pay, rules
         or working conditions rates of pay, rules or working conditions for
         existing equipment.
      2. The parties shall attempt to mutually agree upon an arbitrator for
         proceedings arising under this Section 32. If the parties are unable


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          to mutually agree upon an arbitrator, the arbitrator shall be chosen by
          striking names from the panel set forth in subsection 21.C.3.a. The
          first strike shall be decided by a coin toss.




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                                         SECTION 33:
                   CRAF AND HOSTILE AREA OPERATIONS
      A. APPLICATION
      1. This Section 33 DSSOLHV WR DOO RSHUDWLRQV LQWR D GHVLJQDWHG ³+RVWLOH
         $UHD´ SXUVXDQW WR DQ\ &LYLO 5HVHUYH $LU )OHHW &5$)  DJUHHPHQW
         between the Company and the United States Department of
         Defense, or pursuant to a teaming arrangement with one or more
         other airlines to prRYLGH VXFK RSHUDWLRQV LQ D GHVLJQDWHG ³+RVWLOH
         $UHD´ WR WKH 8QLWHG 6WDWHV 'HSDUWPHQW RI 'HIHQVH  8QOHVV
         specifically provided otherwise, all other provisions of this Agreement
         and any amendments or side letters thereto shall be applicable to
         such CRAF activated operations.
      2. ³+RVWLOH $UHD 2SHUDWLRQV´ PHDQV D IOLJKW VHJPHQW DQ\ SRUWLRQ RI
         which, in origin or destination, including a flight segment where the
         intent is to land or depart, in a Hostile Area as defined in subsection
         33.B. A flight segment that involves overflight or transiting over a
         Hostile Area is not considered a Hostile Area Operation.
      3. 7KLV 6HFWLRQ  DSSOLHV WR ³+RVWLOH $UHD 2SHUDWLRQV´ UHJDUGOHVV RI
         whether the flight is conducted pursuant to a CRAF agreement or Air
         Mobility Command (AMC) contract.

      B. HOSTILE AREA
      1. 7KHWHUP³+RVWLOH$UHD´PHDQVDJHRJUDSKLFDUHDRXWVLGHWKH8QLWHG
         States in which acts of war, insurrection or terrorism are presently
         being committed or imminently threatened and where there are
         materially higher risks and imminent threats of physical harm or
         danger to commercial aircraft and airline personnel as designated by
         the U.S. Department of Defense or by agreement of the parties.
          a.   ,I WKH SDUWLHV GLVDJUHH ZKHWKHU DQ DUHD LV ³+RVWLOH´ SXUVXDQW WR
               subsection 33.B.1., above, such dispute may be submitted by
               the Union to the System Board of Adjustment for final and
               binding resolution pursuant to expedited interest arbitration. The
               Board shall base its decision on the criteria set forth in
               subsection 33.B.1, above. The parties agree to cooperate in
               expediting such resolution. Pending the outcome of the System
               Board of Adjustment proceeding, an area shall not be
               GHVLJQDWHGDV³+RVWLOH´provided, the compensation and benefit
               provisions in this Section 33 shall apply retroactively if the area
               LVGHVLJQDWHGDV³+RVWLOH´

      2011 Contract | Section 33                                              (273)
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          b.   A Hostile Area designation shall remain effective until the
               Company rescinds the designation. If the Union disagrees with
               WKH&RPSDQ\¶VGHFLVLRQVXFKGLVSXWHPD\EHVXEPLWWHGE\WKH
               Union to the System Board of Adjustment for final and binding
               resolution pursuant to expedited interest arbitration. The Board
               shall base its decision on the criteria set forth in subsection
               33.B.1, above. The parties agree to cooperate in expediting
               such resolution. Pending the outcome of the System Board of
               Adjustment proceeding, an area shall not be designated as
               ³+RVWLOH´ provided, the compensation and benefit provisions in
               this Section 33 shall apply retroactively if the area is re-
               GHVLJQDWHGDV³+RVWLOH´

      C. ASSIGNMENTS TO CRAF AND HOSTILE AREA OPERATIONS
      1. Assignments to participate in CRAF operations that do not involve
         the Hostile Area Operations shall not be affected by this Section 33,
         except as provided in subsection 33.G., below.
      2. Hostile Area Operations shall be assigned in the following manner:
          a.   The Company shall establish a Hostile Area Operations Pool.
               Current and qualified Crewmembers may opt into the Pool at
               DQ\WLPHIRURQHRUPRUHSHULRGVRIWKUHH  %LG0RQWKV ³3RRO
               &UHZPHPEHU´ $3Rol Crewmember shall be subject to Hostile
               Area Assignments for the entire time he is a Pool Crewmember.
          b.   The Company shall first seek to assign Hostile Area Operations
               to Pool Crewmembers in seniority order to the extent doing so
               does not disrupt regular operations consistent with current
               practice;
          c.   If such the Hostile Area Operation cannot be assigned pursuant
               to subsection 33.C.2.b., above, then the Company shall seek to
               assign such Hostile Area Operation to current and qualified
               volunteers not in the Pool in seniority order to the extent doing
               so does not disrupt regular operations consistent with current
               practice;
          d.   If the Hostile Area Operation cannot be assigned pursuant to
               subsection 33.C.2.b. or subsection 33.C.2.c., above, then it shall
               be assigned to Management Crewmembers, Contract Pilots or
               on an involuntary basis in reverse seniority order to the extent
               doing so does not disrupt regular operations consistent with
               current practice. If a Crewmember designated for an involuntary
               assignment objects to the assignment, the Company shall make
               a reasonable effort to assign the trip to a Management

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               Crewmember, Contract Pilot or another Crewmember before
               making the involuntary assignment.
          e.   The employment and/or utilization of a Contract Pilot shall be
               limited to the duration of the particular flight(s) to and from the
               Hostile Area and up to five (5) days thereafter.

      D. COMPENSATION FOR HOSTILE AREA OPERATIONS
      1. In addition to any other applicable pay and credit, Hostile Area
         Operation(s) (actual block to block) will be paid at one hundred and
         ILIW\ SHUFHQW   RI WKH &UHZPHPEHU¶V KRXUO\ UDWH 7KH ILIW\
         percent (50%) premium paid above the applicable hourly rate shall
         not be used to offset the Crewmember's monthly guarantee.
      2. Compensation for all other CRAF flying shall be paid according to the
         Agreement.

      E. ADDITIONAL BENEFITS APPLICABLE TO HOSTILE AREA OPERATIONS
      1. In addition to any other life insurance for which a Crewmember may
         be entitled under this Agreement, a Crewmember participating in a
         Hostile Area Operations shall be provided with life insurance in the
         amount of five hundred thousand dollars ($500,000.00).
      2. A Crewmember who, as a direct result of his participation in an
         operation in or out of a Hostile Area, suffers a disability that is
         attributable to hostile activities, that precludes him from continuing
         his duties shall suffer no loss of income for a period of forty-two (42)
         months or the length of disability, whichever is less. The
         Crewmember shall receive sufficient compensation after adding
         :RUNHU¶V&RPSHQVDWLRQ6RFLDO6HFXULW\DQGDQ\RWKHUUHQXPHUDWLRQ
         to which he may be entitled under governmental or Company
         SURJUDPVWRVXVWDLQWKH&UHZPHPEHU¶VPRQWKO\LQFRPHDWWKHOHYHO
         of the monthly guarantee provided for in this Agreement.

      F. EXPENSES
      A Crewmember participating in CRAF and Hostile Area Operations shall
      be eligible for per diem as specified in this Agreement.

      G. CRAF DUTY LIMITATIONS
      Notwithstanding the provisions of subsection 33.A, above, the
      &RPSDQ\¶VSHUIRUPDQce of CRAF operations, whether or not into or out
      of a designated hostile area, shall, without regard to the level of
      activation, be governed solely by the limitations on duty time, flight time


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      and rest time contained in the Special Federal Aviation Regulations
      (SFARs) issued in conjunction with a CRAF activation, or, if no SFARs
      have been issued then by such limitations, if any, contained in the
      Federal Aviation Regulations. The SFARs or FARs, as applicable shall
      supersede any conflicting provisions contained elsewhere in this
      Agreement.

      H. OTHER HIGH RISK AREAS
      The Company shall be responsible for ensuring that adequate security
      precautions have been taken to ensure the security of a Crewmember
      required to operate a flight into or out of any area that the United States
      Department of State or United States Department of Defense has
      GHVLJQDWHGDVDQDUHDRI³KLJKWKUHDWRUULVN´RUGHVLJQDWHGDVDQ³DUHD
      RILPPLQHQWGDQJHU´




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                                            SECTION 34: DURATION
      This Agreement shall become effective [the date the arbitration award is
      signed by the arbitrator and received by the parties] and shall continue in
      force and effect until [five years from the date the effective date of the
      Agreement] and shall renew itself without change thereafter, unless
      written notice by either party of intended change is served in accordance
      with Section 6, Title I of the Railway Labor Act, as amended, no more
      than two hundred and seventy (270) days prior to or any time thereafter.

      IN WITNESS WHEREOF, the parties hereto have signed this Letter of
      Agreement on this _____ day of ________________, 20_____.
                                            FOR INTERNATIONAL
                                            BROTHERHOOD OF TEAMSTERS,
      FOR ATLAS AIR, INC.:                  AIRLINE DIVISION:

      _____________________________         ____________________________
      William J. Flynn,                     David Bourne,
      President and Chief Executive         Director,
      Officer                               Teamsters Airline Division

      _____________________________         ____________________________
      John W. Dietrich,                     Joe Muckle,
      Executive Vice President and Chief    President
      Operator Officer                      APA Teamsters Local 1224

      _____________________________         ____________________________
      Jeffrey D. Carlson,                   Robert Kirchner,
      Vice President of Flight Operations   TEC Co-Chairman

      _____________________________         ____________________________
      Scott K. Lindsay,                     Stephen Richards,
      Senior Director, Crew Resources &     TEC Co-Chairman
      Contract Administration
                                            ____________________________
                                            Robert Ulrich,
                                            Negotiating Committee Chairman

                                            ____________________________
                                            Daniel Wells,
                                            Negotiating Committee

                                            ____________________________
                                            William Holcomb,
                                            Negotiating Committee

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                                   ____________________________
                                   Paul Kvernplassen,
                                   Negotiating Committee




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                               SECTION 35: LETTER OF AGREEMENT
      POLAR  TRAVEL  BANK  LOA  ....................................................................    
      MATERNITY  LEAVE  LOA  ........................................................................    
      UNION  EXPRESS  OPERATION  LOA  .........................................................    
      FLIGHT  PAY  LOSS  LOA  ...........................................................................    
      MANAGEMENT  CREWMEMBERS  LOA  ...................................................    
      IMPLEMENTATION  LOA  ........................................................................    
      APPENDIX  A:  DAY  OFF  HOURS  PAY  FOR  OCTOBER  2010  ........................    
      ATLAS  LAX  CLOSURE  LOA  ......................................................................    
      POLAR  ANC  CLOSURE  LOA  ....................................................................    
      FLIGHT  ENGINEER  REINSTATEMENT  SETTLEMENT  AGREEMENT  LOA......    
      ATTACHMENT  A  ...................................................................................    
      RECALL  FROM  FURLOUGH  LOA  ..............................................................    
      SECTION  11  LOA  ....................................................................................    
      SECTION  14  LOA  ....................................................................................    
      SIGNING  BONUS  LOA  .............................................................................    




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                                      ATLAS  AIR,  INC.  
                                             and  
                     THE  FLIGHT  DECK  CREWMEMBERSin  the  service  of  
                                        Atlas  Air,  Inc.  
                                     as  represented  by  
                     INTERNATIONAL  BROTHERHOOD  OF  TEAMSTERS,  
                                    AIRLINE  DIVISION  


      7KLV /HWWHU RI $JUHHPHQW ³/2$´  LV PDGH DQG HQWHUHG LQWR LQ
      accordance with the provisions of Title II of the Railway Labor Act, as
      amended, by and between Atlas Air, Inc., their successors and assigns
       ³&RPSDQ\´  DQG WKH 3LORWV LQ WKH VHUYLFH RI Atlas Air, Inc., as
      represented by the International Brotherhood of Teamsters, Airline
      'LYLVLRQ ³7HDPVWHUV´³,%7´RU³8QLRQ´ 
      THEREFORE, BE IT RESOLVED:

      POLAR TRAVEL BANK LOA
      1. Beginning on effective date of the Agreement, Polar Crewmembers'
         unused travel bank credits shall be used in accordance this Letter of
         Agreement (LOA).
      2. Beginning on the effective date of the Agreement,                      Polar
         Crewmembers shall not accrue additional travel bank credits.
      3. Beginning on the effective date of the Agreement, when the
         Company is required to purchase a commercial ticket for travel, a
         Polar Crewmember may use his unused travel bank credits for the
         following:
          A.   To upgrade his class of travel (i.e., purchase business or first
               class when coach travel is required or first class when business
               class travel is required).
          B.   For beginning or end of Trip Pairing travel to purchase ticket to
               or from a different location than required by the Agreement (i.e.,
               different air carrier, different routing, different destination).
          C.   For required commercial travel within a Trip Pairing, with the
               approval of Crew Scheduling, the Crewmember may use Travel
               Bank credits to purchase travel on a different air carrier or
               routing.
      4. When a Crewmember elects to utilize his travel bank for a change in
         required commercial travel, his bank will be debited the difference
         between the Company selected travel and the Crewmember selected

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          travel. Usage of Travel Bank credits must be pre-authorized by the
          Company and Crewmembers shall advise the Company as early as
          practicable of their desire to use Travel Bank credits in order to avoid
          double-bookings.
      5. Under no circumstances will a Crewmember's Travel Bank be
         allowed to become negative.
      6. Travel Bank balances shall have no cash value.
      This LOA is enforceable through Section 20 and Section 21 of the
      Agreement.
      IN WITNESS WHEREOF, the parties hereto have signed this Letter of
      Agreement on this _____ day of ________________, 20_____.
      FOR ATLAS AIR, INC.:                   FOR INTERNATIONAL
                                             BROTHERHOOD OF TEAMSTERS,
                                             AIRLINE DIVISION:

      _____________________________          ____________________________
      John W. Dietrich,                      David Bourne,
      Executive Vice President and Chief     Director,
      Operator Officer                       Teamsters Airline Division

      _____________________________          ____________________________
      Jeffrey D. Carlson,                    Joe Muckle
      Vice President of Flight Operations    President,
                                             APA Teamsters Local 1224

      _____________________________          ____________________________
      Scott K. Lindsay,                      Robert Kirchner,
      Senior Director, Crew Resources &      TEC Co-Chairman
      Contract Administration
                                             ____________________________
                                             Stephen Richards,
                                             TEC Co-Chairman

                                             ____________________________
                                             Robert Ulrich,
                                             Negotiating Committee Chairman

                                             ____________________________
                                             Daniel Wells,
                                             Negotiating Committee

                                             ____________________________
                                             William Holcomb,

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                                        Negotiating Committee

                                        ____________________________
                                        Paul Kvernplassen,
                                        Negotiating Committee




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                                       ATLAS  AIR,  INC.  
                                               and  
                             THE  FLIGHT  DECK  CREWMEMBERS  
                                       in  the  service  of  
                                        Atlas  Air,  Inc.  
                                      as  represented  by  
                     INTERNATIONAL  BROTHERHOOD  OF  TEAMSTERS,  
                                     AIRLINE  DIVISION  



      MATERNITY LEAVE LOA
      7KLV /HWWHU RI $JUHHPHQW ³/2$´  LV PDGH DQG HQWHUHG LQWR LQ
      accordance with the provisions of Title II of the Railway Labor Act, as
      amended, by and between Atlas Air, Inc., their successors and assigns
       ³&RPSDQ\´  DQG WKH 3LORWV LQ WKH VHUYLFH RI Atlas Air, Inc., as
      represented by the International Brotherhood of Teamsters, Airline
      'LYLVLRQ ³7HDPVWHUV´³,%7´RU³8QLRQ´ 
      WHEREAS, the parties reached agreement on the application of Section
      13.B of the Collective Bargaining Agreement ("Agreement") to
      Crewmembers who are or become pregnant;
      WHEREAS, the parties intend for this LOA to become effective upon
      effective date of the Agreement;
      THEREFORE, BE IT RESOLVED:
      1. A Crewmember who becomes pregnant shall upon her request be
         placed on a Medical Leave of Absence (MLOA) under Section 13.B.
         of the Agreement. The MLOA referred to in this LOA shall be for up
         to nine (9) months as determined by the Crewmember, subject to
         Paragraph 2 of this LOA.
      2. The MLOA referred to in Paragraph 1 of this LOA may begin at any
         time during the pregnancy through the eighty-ninth (89th) day
         following termination of the pregnancy. The MLOA referred to herein
         ends no later than ninety (90) days after termination of the
         pregnancy.
      3. The Company may require an affected Crewmember to provide
         medical verification of pregnancy from her physician. Providing such
         verification shall satisfy the requirements of Sections 13.B.1., 13.B.2.
         and 13.B.8. of the Agreement.
      4. An affected Crewmember shall provide the Chief Pilot with written
         notice of the date of termination of her pregnancy. Notice shall be
         provided within fifteen (15) days of the date of termination.


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      5. Subject to Paragraph 2 of this Letter of Agreement, subsection
         13.B.3. of the Agreement shall apply to a MLOA referred to herein
         except the duration of such leave shall be nine (9) months.
      6. Sections 13.B.4., 13.B.5., 13.B.6, 13.B.7 and 13.B.9 shall apply to a
         MLOA referred to herein.
      7. An affected Crewmember shall be eligible for insurance benefits
         while on MLOA on the same basis as other Crewmembers who take
         an MLOA.
      This LOA is enforceable through Section 20 and Section 21 of the
      Agreement.
      IN WITNESS WHEREOF, the parties hereto have signed this Letter of
      Agreement on this _____ day of ________________, 20_____.
      FOR ATLAS AIR, INC.:                  FOR INTERNATIONAL
                                            BROTHERHOOD OF TEAMSTERS,
                                            AIRLINE DIVISION:

      _____________________________         ____________________________
      John W. Dietrich,                     David Bourne,
      Executive Vice President and Chief    Director,
      Operator Officer                      Teamsters Airline Division

      _____________________________         ____________________________
      Jeffrey D. Carlson,                   Joe Muckle, President,
      Vice President of Flight Operations   APA Teamsters Local 1224

      _____________________________         ____________________________
      Scott K. Lindsay,                     Robert Kirchner,
      Senior Director, Crew Resources &     TEC Co-Chairman
      Contract Administration
                                            ____________________________
                                            Stephen Richards,
                                            TEC Co-Chairman

                                            ____________________________
                                            Robert Ulrich,
                                            Negotiating Committee Chairman

                                            ____________________________
                                            Daniel Wells,
                                            Negotiating Committee

                                            ____________________________
                                            William Holcomb,

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                                        Negotiating Committee

                                        ____________________________
                                        Paul Kvernplassen,
                                        Negotiating Committee




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                                     ATLAS  AIR,  INC.  
                                             and  
                           THE  FLIGHT  DECK  CREWMEMBERS  
                                     in  the  service  of  
                                      Atlas  Air,  Inc.  
                                    as  represented  by  
                     INTERNATIONAL  BROTHERHOOD  OF  TEAMSTERS,  
                                   AIRLINE  DIVISION  



      UNION EXPRESS OPERATION LOA
      7KLV /HWWHU RI $JUHHPHQW ³/2$´  LV PDGH DQG HQWHUHG LQWR LQ
      accordance with the provisions of Title II of the Railway Labor Act, as
      amended, by and between Atlas Air, Inc., their successors and assigns
       ³&RPSDQ\´  DQG WKH 3LOots in the service of Atlas Air, Inc., as
      represented by the International Brotherhood of Teamsters, Airline
      'LYLVLRQ ³7HDPVWHUV´³,%7´RU³8QLRQ´ 
      WHEREAS, the Company informed the Union that it may commence a
      new Express Operation; and
      WHEREAS, the parties have developed a procedure for negotiations and
      arbitration of specific matters related to commencement of new Express
      Operations;
      THEREFORE, BE IT RESOLVED:
      A. The Company may introduce a new express operation. Rates of pay
         for such new equipment shall be determined in accordance with
         Section 32 of the Agreement. Rules and working conditions covering
         the Express Operation may differ from those contained in the
         Agreement as described in Paragraph B. of this LOA.
      B. If the Company intends to start an Express Operation, the Company
         will provide at least one-hundred and eighty (180) days advance
         written notice to the Union prior to the commencement of the
         Express Operation. Upon request by either party after the written
         notice has been provided, the parties shall meet to discuss whether
         either party intends to propose rules and working conditions
         applicable to the Express Operation that differ from subsections
         25.A.1 (provided, the arbitrator referred to in Paragraph C. of this
         LOA shall have no authority to award a schedule that includes more
         than seventeen (17) Duty Days); 25.A.2 (provided, the arbitrator
         referred to in Paragraph C of this LOA shall have no authority to
         award a schedule that permits more than three (3) extension days)
         and 25.C. of the Agreement and any other subsections of the


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          Agreement mutually agreed to by the parties.
      C. Within thirty (30) days of receipt of the written notice referred to
         Paragraph B. of this LOA, above, unless the parties mutually agree
         to extend the aforementioned deadline, either party may make a
         proposal(s) to change rules and working conditions applicable to the
         Express Operation as described in Paragraph B of this LOA. If the
         parties are unable to reach agreement on the issues bargained
         within ninety (90) days from the date of the first bargaining session,
         unless the parties mutually agree to extend the aforementioned
         deadline, the parties will submit their respective last offers on
         disputed matters to interest arbitration. The arbitrator's resolution of
         the disputed issues will be on an issue-by-issue basis, rather than a
         "total package" basis, and will be binding on the parties with respect
         to the particular dispute, but will have no precedential or binding
         effect on other or future disputes arising under this LOA. Rules and
         working conditions will be retroactive to the commencement of the
         Express Operation. The arbitrator shall have no jurisdiction to issue a
         decision or award affecting rates of pay for the new equipment or
         rates of pay, rules or working conditions affecting existing equipment.
      D. The parties shall attempt to mutually agree upon an arbitrator for
         proceedings arising under this LOA after either side submits the
         open issues to arbitration. If the parties are unable to mutually agree
         upon an arbitrator, the arbitrator shall be chosen by striking names
         from the panel set forth in subsection 21.C.3.a no later than ten (10)
         days following expiration of the ninety (90) day period (or any
         applicable extension) referred to in Paragraph C. of this LOA unless
         the parties mutually agree to extend the aforementioned deadline.
         The first strike shall be decided by a coin toss.
      E. The arbitration hearing shall commence thirty (30) days after the
         arbitrator's selection or as soon possible thereafter based upon the
         arbitrator's availability, unless the parties mutually agree to extend
         the aforementioned deadline. The hearing shall close and an award
         shall be issued by the arbitrator no later than sixty (60) days after the
         close of the hearing. However, if the arbitration hearing and decision
         is delayed beyond such date and the result thereof is that the
         commencement of the Express Operation is at risk, the Company
         may start the Express Operation and implement on a temporary
         basis rules and working conditions contained in the proposals it
         submitted to the arbitrator. Temporary rules and working conditions
         that differ from the arbitrator's award shall be immediately rescinded
         upon receipt of the arbitrator's award.



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      Definition: "Express Operation" means a scheduled operation utilizing
      one (1) or more hubs in the United States of America for flight operations
      conducted within and between the United States, Canada, Mexico, the
      Caribbean, Central America and South America. Aircraft used in such
      operation are aircraft not on the Company's operating certificates as of
      August 31, 2010 and must have a maximum takeoff weight (MTOW) that
      is less then 368,300 kilograms.
      This LOA is enforceable through Section 20 and Section 21 of the
      Agreement.
      IN WITNESS WHEREOF, the parties hereto have signed this Letter of
      Agreement on this _____ day of ________________, 20_____.
      FOR ATLAS AIR, INC.:                   FOR INTERNATIONAL
                                             BROTHERHOOD OF
                                             TEAMSTERS,
                                             AIRLINE DIVISION:

      _____________________________          ____________________________
      John W. Dietrich,                      David Bourne,
      Executive Vice President and Chief     Director,
      Operator Officer                       Teamsters Airline Division

      _____________________________          ____________________________
      Jeffrey D. Carlson,                    Joe Muckle, President,
      Vice President of Flight Operations    APA Teamsters Local 1224

      _____________________________          ____________________________
      Scott K. Lindsay,                      Robert Kirchner,
      Senior Director, Crew Resources &      TEC Co-Chairman
      Contract Administration
                                             ____________________________
                                             Stephen Richards,
                                             TEC Co-Chairman

                                             ____________________________
                                             Robert Ulrich,
                                             Negotiating Committee Chairman

                                             ____________________________
                                             Daniel Wells,
                                             Negotiating Committee

                                             ____________________________
                                             William Holcomb,
                                             Negotiating Committee

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                                        ____________________________
                                        Paul Kvernplassen,
                                        Negotiating Committee




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                                     ATLAS  AIR,  INC.  
                                             and  
                           THE  FLIGHT  DECK  CREWMEMBERS  
                                     in  the  service  of  
                                      Atlas  Air,  Inc.  
                                    as  represented  by  
                     INTERNATIONAL  BROTHERHOOD  OF  TEAMSTERS,  
                                   AIRLINE  DIVISION  



      FLIGHT PAY LOSS LOA
      7KLV /HWWHU RI $JUHHPHQW ³/2$´  LV PDGH DQG entered into in
      accordance with the provisions of Title II of the Railway Labor Act, as
      amended, by and between Atlas Air, Inc., their successors and assigns
       ³&RPSDQ\´  DQG WKH 3LORWV LQ WKH VHUYLFH RI Atlas Air, Inc., as
      represented by the International Brotherhood of Teamsters, Airline
      'LYLVLRQ ³7HDPVWHUV´³,%7´RU³8QLRQ´ 
      WHEREAS, the administration of the Collective Bargaining Agreement
      ("Agreement"), the performance of Union duties related to the
      representation of Crewmembers, and ongoing labor-management
      cooperation requires the release of Crewmember from conflicting duty;
      WHEREAS, the parties have agreed upon procedures related to flight
      pay loss and benefit reimbursement related to the release of
      Crewmembers who perform Union duties;
      THEREFORE, BE IT RESOLVED:
      1. Requests for release from duty for Crewmembers performing Union
         duties shall be made to the Vice President-Flight Operations or his
         designee. Such requests shall be signed by the President of IBT
         Local 1224, or his designee. Requests shall be transmitted to the
         Company in writing as far in advance as practicable. The request will
         indicate names, dates and duration for which release is requested.
      2. Unless otherwise agreed, the Vice President-Flight Operations, or his
         designee, shall respond in writing and transmit such response in
         writing to the Union office as soon as practicable, but not later than
         seven (7) business days following receipt of a request.
      3. Union leave to perform Union duties specified in the Agreement shall
         be granted in accordance with the Agreement. Any response denying
         or limiting additional leave requests shall include a statement of the
         grounds upon which such request was denied or limited. If a request
         for Union leave is denied or limited on account of staffing shortages,
         the Crewmember may, on his own, attempt to arrange for another

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          Crewmember to fly his trip(s). However, the Company must approve
          such an arrangement in advance to ensure that both Crewmembers
          will be legal and otherwise available to fly their remaining
          assignments during their Bid Period. Requests for the removal of
          Crewmembers from flying pursuant to this LOA shall not be
          unreasonably requested or denied.
      4. The Union shall notify the Company promptly when leaves are
         canceled or terminated before the requested date.
      5. Each Crewmember, upon returning from Union duty, shall contact
         Crew Scheduling immediately to advise the Company of his return
         and availability for duty.
      6. A Crewmember approved for release from flight duty for an entire
         Bid-Month shall not be eligible to bid for the Bid Month in which leave
         is taken.
      7. A Crewmember shall receive five (5) hours of pay and credit for each
         day of approved Union leave. A Crewmember shall continue to
         receive, earn and accrue seniority and Longevity and remain eligible
         for all benefits of employment as if he had not been released.
      8. A Crewmember released from Company duty to perform Union duty
         may submit standing bids pursuant to the criteria applicable to active
         Crewmembers in Section 24 ("Filling of Vacancies"), and any
         vacancy awarded will be deemed a "phantom" Position and awarded
         pursuant to the procedure set forth in Section 13.H.3. ("Leaves of
         Absence") if the effective date of the award conflicts with the
         performance of Union duty.
      9. The Company shall invoice the Union each month for reimbursement
         of the value of all days of release for Union business, together with a
         fringe benefits override to offset payroll taxes and the Company's
         contribution to the Crewmember's benefits. The fringe benefits
         override shall be twenty-five and one-half percent (25.5%). Invoices
         shall be submitted directly to the [Union official to be designated].
         Reimbursement shall be made to the Company no later than thirty
         (30) days after the invoice is received by the Union.
      10. When a Crewmember(s) returns from Union Leave of Absence, the
          Union's obligation to repay the Company for any pay and benefits will
          cease when the Crewmember is again qualified on the aircraft to
          which he will be regularly assigned.
      This LOA is enforceable through Section 20 and Section 21 of the
      Agreement.



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      IN WITNESS WHEREOF, the parties hereto have signed this Letter of
      Agreement on this _____ day of ________________, 20_____.
      FOR ATLAS AIR, INC.:                  FOR INTERNATIONAL
                                            BROTHERHOOD OF
                                            TEAMSTERS,
                                            AIRLINE DIVISION:

      _____________________________         ____________________________
      John W. Dietrich,                     David Bourne,
      Executive Vice President and Chief    Director,
      Operator Officer                      Teamsters Airline Division

      _____________________________         ____________________________
      Jeffrey D. Carlson,                   Joe Muckle, President,
      Vice President of Flight Operations   APA Teamsters Local 1224

      _____________________________         ____________________________
      Scott K. Lindsay,                     Robert Kirchner,
      Senior Director, Crew Resources &     TEC Co-Chairman
      Contract Administration
                                            ____________________________
                                            Stephen Richards,
                                            TEC Co-Chairman

                                            ____________________________
                                            Robert Ulrich,
                                            Negotiating Committee Chairman

                                            ____________________________
                                            Daniel Wells,
                                            Negotiating Committee

                                            ____________________________
                                            William Holcomb,
                                            Negotiating Committee

                                            ____________________________
                                            Paul Kvernplassen,
                                            Negotiating Committee




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      MANAGEMENT CREWMEMBERS LOA
      October 20, 2009
      Captain David Bourne, Director
      Airline Division
      International Brotherhood of Teamsters
      25 Louisiana Ave., N.W.
      Washington, DC 20001
      Re: Subsection 9.B.2., subsection 9.B.3. and 10.B
      Dear David:
      This letter sets forth our agreement related to the above-referenced
      provisions of the Basic Agreement. Qualified management individuals
      holding the following titles may perform flights referred to in subsection
      9.B.2., subsection 9.B.3. and 10.B. pursuant to subsection 9.B.2.(i),
      subsection 9.B.3.(i) and 10.B, respectively, even if such individuals are
      not on the System Seniority List(s).
      Senior Vice President/Vice President-Flight Operations
      Senior Director/Director/Manager-Flight Operations
      Senior Director/Director-Training/Flight Standards
      Senior Director/Director-Flight Operations Service Group
      Manager-Training
      Chief Pilot
      Fleet Captain/Manager
      If the titles referred to herein change, the parties shall amend this letter
      to include the new titles. The parties may add additional titles by mutual
      agreement.
      This letter shall not apply to any other Section of the Basic Agreement.
      Sincerely,
      John W. Dietrich
      Executive Vice President & Chief Operating Officer
      Agreed Date: _______________. 2010
      David Bourne, Director
      Airline Division
      International Brotherhood of Teamsters

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                                          ATLAS  AIR,  INC.  
                                                  and  
                            POLAR  AIR  CARGO  WORLDWIDE,  INC.  
                                                  and  
                               THE  FLIGHT  DECK  CREWMEMBERS  
                                          in  the  service  of  
           ATLAS  AIR,  INC.  and  Polar  Air  Cargo  Worldwide  Inc.  as  represented  by  
                  International  Brotherhood  of  Teamsters,  Airline  Division  

      IMPLEMENTATION LOA
      7KLV /HWWHU RI $JUHHPHQW ³/2$´  LV PDGH DQG HQWHUHG LQ DFFRUGDQFH
      with the provisions of Title II of the Railway Labor Act, as amended, by
      DQG EHWZHHQ $WODV $LU ,QF WKHLU VXFFHVVRUV DQG DVVLJQV ³&RPSDQ\´
      and the Pilots in the service of Atlas Air Inc., as represented by the
      International Brotherhood of Teamsters, Airline DivisLRQ ³7HDPVWHUV´
      ³,%7´RU³8QLRQ´ 
      WHEREAS, the parties have entered into a single collective bargaining
      agreement (SCBA) in accordance with the terms of the Negotiations
      FrameWork Letter of Agreement;
      WHEREAS, the parties have reached agreement on implementation and
      related procedures for the SCBA.
      THEREFORE, BE IT RESOLVED:
      1. Within sixty (60) days of the effective date of the SCBA, the
         Company will make four (4) Position Vacancies available for bidding.
         Within ninety (90) days of the effective date of the SCBA, the
         Company shall make an additional (4) Position Vacancies available
         for bidding. Within one hundred and twenty (120) days of the
         effective date of the SCBA the Company will make an additional five
         (5) Position Vacancies available for bidding. All Position Vacancies
         referred to herein, including any Position Vacancy resulting from
         another Position Vacancy being filled, will be filled in accordance with
         Section 24 of the SCBA; provided, there shall be no involuntary
         assignments in connection with such vacancies. Holding a prior or
         current Position at Atlas Air, Inc. or Polar Air Cargo Worldwide, Inc.,
         LVQRWQHFHVVDU\WRHVWDEOLVK³VXIILFLHQWTXDOLILFDWLRQV´XQGHU6HFWLRQ
         24.H. of the SCBA.
      2. Within sixty (60) days from of the effective date of the SCBA, the
         Company will make nine (9) First Officer and (4) Captain Position
         Vacancies available for bidding at the ANC Base. All Position
         Vacancies referred to herein, including any Position Vacancy
         resulting from another Position Vacancy being filled, will be filled in
         accordance with Section 24 of the SCBA; provided, there shall be no


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          involuntary assignments in connection with such vacancies. Holding
          a prior or current Position at Atlas Air, Inc. or Polar Air Cargo
          Worldwide, Inc., is not necessDU\ WR HVWDEOLVK ³VXIILFLHQW
          TXDOLILFDWLRQV´XQGHU6HFWLRQ+RIWKH6&%$
      3. If the Company opens a new Base on or after the effective date of
         the SCBA, Position Vacancies at the new Base will be filled in
         accordance with Section 24.D.2 of SCBA. A prior or current Position
         DW$WODV$LU,QFRU3RODU$LU&DUJR:RUOGZLGH,QFLVQRWD³UHTXLUHG
         TXDOLILFDWLRQ´XQGHUVXEVHFWLRQ'RIWKH6&%$
      4. On a quarterly basis, the Company will permit Crewmembers in the
         same Status and equipment at different %DVHV WR ³VZDS´ %DVHV
         provided, (1) at least one Crewmember that is assigned to CVG or
         LAX    Base (or any other Polar-specific Base) swaps with a
         Crewmember at another Base; and (2) the total number of training
         events resulting from a swap, regardless of the number of
         Crewmembers involved (which may be more than two (2)
         Crewmembers), does not exceed two (2) training events.
          The parties shall mutually agree on administrative examples.
          a.   Swaps will be awarded in system seniority order based on a
               CrewmePEHU¶V VWDQGLQJ ELG SUHIHUHQFHV DIWHU DOO 3RVLWLRQ
               Vacancies have been filled in accordance with Section 24 of the
               SCBA. There will be no involuntary swaps. Awards will be
               published by the 10th day of the month. Swap awards will
               become effective on the date the Crewmember commences
               training. If no training is required for a Crewmember involved in
               a swap, the swap award shall become effective on the first day
               of the following bid month. The Company will schedule training
               as soon as practicable following a swap award.
          b.   If the Crewmember is awarded or assigned a Position Vacancy
               in accordance with Section 24 of the SCBA prior to the effective
               date of the swap, the Position Vacancy award or assignment will
               VXSHUVHGHWKH&UHZPHPEHU¶VVZDSDZDUG
          c.   The total number of Crewmember swaps per quarter shall be
               limited as follows:
               i.   no limitation on swaps that do not require training (Home
                    Base Training is not considered training for purposes of this
                    Paragraph 4.c.i.) ; provided, the swap complies with
                    Paragraph 4 of this LOA;
               ii. no more than eight (8) swaps that require training that is
                    equal to or less than the number of days associated with

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                   recurrent training, including any portion thereof assigned as
                   Home Base Training and deadhead to and from training;
               iii. no more than four (4) swaps that require training that
                   exceeds the number of days associated with recurrent
                   training, including any portion thereof assigned as Home
                   Base Training and deadhead to and from training;
               Nothing contained in Paragraph 4.c. shall affeFW&UHZPHPEHUV¶
               rights to be awarded a Position Vacancy under this LOA or
               Section 24 of the single CBA.
      5. The Company will post Position Vacancies in accordance with
         Section 24.C on a quarterly basis, even if there is only a single
         Position available for posting.
      6. All Position Vacancies after the effective date of the SCBA will be
         filled in accordance with Section 24 of the SCBA. Holding a prior or
         current Position at Atlas Air, Inc. or Polar Air Cargo Worldwide, Inc.,
         is not necessary to establish ³VXIILFLHQWTXDOLILFDWLRQV´XQGHU6HFWLRQ
         24.H of the SCBA.
      7. The Company will administer the following provision set forth in
         VXEVHFWLRQ 0F LL  RI WKH VLQJOH 6&%$ ³$OO RWKHU 2SHQ 7LPH
         trips shall be offered and awarded on the basis of system seniority;
         provided, the Company is not obligated to choose a Crewmember on
         the basis of system seniority if the Company can select the next
         available Crewmember which does not incur a substantial cost to the
         &RPSDQ\´ RQ D FHUWLILFDWH VSHFLILF EDVLV XQWLO DQ MOCTP or its
         equivalent or a comparable structure is approved by the FAA and
         fully implemented.
      8. Beginning August 1, 2011 or the first day of the first Bid Month
         following the effective date of the Agreement, whichever occurs later,
         pay protection payments will be made monthly using the information
         set forth in this Paragraph 8. Pay protection will be applied on a
         Position-by-Position basis to those common-type aircraft fleets
         operated by Crewmembers at both carriers based on the following
         sequential steps on a monthly basis:
          a.   Determine the specific percentage (rounded to the nearest one-
               hundredth percent (0.01%)) of Crewmembers in Active Service
               in a Position at Atlas and Polar by dividing the number of
               Crewmembers in Active Service in that Position at Atlas and
               Polar by the sum of Crewmembers in Active Service in that
               same Position at both carriers;



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          b.   Determine the specific percentage (rounded to the nearest one-
               hundredth percent (0.01%)) of 'D\ 2II +RXUV ³'2+´ 
               paid (DOH paid equals the sum of hours paid, as set forth in
               Section 3.C.2. and Section 3.C.3.) to a Position at each carrier
               by dividing the DOH paid to that Position at Atlas and Polar by
               the sum of DOH paid to that same Position at both carriers;
          c.   Determine if there is a shortfall in DOH paid to a Position at
               either Atlas or Polar, as applicable, by comparing the specific
               percentage of Crewmembers in Active Service in that Position at
               either Atlas or Polar, as applicable, as determined in
               subparagraph a) above, to the specific percentage of DOH paid,
               as determined by subparagraph b), above, to that same Position
               at either Atlas or Polar, as applicable;
          d.   Determine the pay protection hours (rounded to the nearest one-
               hundredth (0.01) hour) to be paid to a Position at either Atlas or
               Polar, as applicable, that experiences a shortfall by multiplying
               the percentage of shortfall of DOH, as determined
               by subparagraph c), above, by the sum of the DOH paid to that
               same Position at Atlas and Polar to determine the number of
               hours of shortfall that occurred;
          e.   Determine the pay protection hours (rounded to the nearest one-
               hundredth (0.01) hour) due each individual by dividing the
               shortfall hours calculated in paragraph d), above, by the number
               of individuals in the same Position at Atlas or Polar that
               experienced the shortfall. If the result of this calculation is less
               than one-hundredth (0.01) hour per individual, no pay protection
               payment shall be due.
          f.   Payments due, if any, shall be made at the applicable First
               2IILFHU¶VDQGRU&DSWDLQ¶VKRXUly pay rate.
          g.   The parties have agreed on a Day Off Compensation Calculator
               (Appendix A) which shall be used to administer this Paragraph
               8.
          h.   If the Total Day Off Compensation Distribution Amount paid to
               Crewmembers is less than $1.5 million dollars when payments
               cease pursuant to Paragraph 8.i., below, the remainder shall be
               distributed to Crewmembers in a method determined by the
               Union.
          i.   Payments will be made on the second check of each month,
               when payments are made for extra day compensation.
      9. The Company will apply for an MOCTP or its equivalent or a

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          comparable structure on or before November 30, 2010. The
          Company will provide the Union with copies of all related FAA filings.
          The Company and Union shall use their best efforts to facilitate FAA
          approval of the MOCTP or its equivalent or a comparable structure,
          including jointly attending meetings with FAA, as appropriate, and
          VKDULQJ LQIRUPDWLRQ UHODWHG WR WKH &RPSDQ\¶V DSSOLFDWLRQ DQG
          subsequent submissions. Upon approval of FAA, the Company will
          fully implement an approved MOCTP or its equivalent or a
          comparable structure.
      10. If the Company expands an existing operation or commences new
          operation on or after the effective date of the SCBA, the Company
          will make available and fill Position Vacancies in accordance with
          Section 24 of the SCBA. Section 3 of the SCBA shall become
          effective on the first day of the first Bid Month following the effective
          date of the SCBA.
      11. Other implementation items are as follows:
          Section 2
          The effective date of a definition in Section 2 shall be the effective
          date of the Section(s) of the SCBA that contain the definition.
          Section 3
          The lists referred in Section 3.A.1.d.i. and Section 3.A.1.d.ii. shall
          become effective the first day of second Bid Month following the
          effective date of the SCBA.
          Section 3.F.4. shall become effective the first Bid Period following
          ninety (90) days from the effective date of the SCBA.
          Compensation earned prior to effective date of the SCBA shall be
          paid at the rates in effect prior to the effective date of the SCBA.
          Section 3 of the SCBA shall become effective on the first day of the
          first Bid Month following the effective date of the SCBA
          In the event computer programming work required to implement the
          new pay hour scheme (for example, CRT rig) are not completed prior
          to the effective date of the Agreement, the Company shall have 90
          days to complete such programming and make Crewmembers whole
          for any additional pay.
          Section 4
          Polar Air Cargo Worldwide, Inc. Crewmembers shall receive Profit
          Sharing Allocation payments beginning in the calendar year following
          the year in which the Agreement becomes effective for profits in the


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          preceding year on the same basis as Atlas Air, Inc. Crewmembers,
          consistent with the terms of the Plan.
          Section 7
          Previously awarded vacation under the current Atlas and Polar CBAs
          shall not be changed as a result of Section 7 of the SCBA.
          Any Crewmember hired on or before February 25, 2008 who is on
          the Pilot or Flight Engineer Seniority List on the effective date of the
          SCBA shall be grandfathered to allow accrued vacation at the rate of
          one and three quarters (1.75) days per month after the completion of
          five (5) years of Active Service with the Company. Such provision
          shall begin January 1 of the year in which the SCBA becomes
          effective.
          Subject to subsection 7.D.8, existing accrued but not used, paid or
          awarded vacation shall be paid out at the rates in effect prior to the
          effective date of the SCBA. Payment shall be made no later than
          two (2) pay periods following the effective date of the SCBA.
          Accrual rates set forth in Section 7.A. and Section 7.B. are effective
          on the first day of the first Bid Month following the effective date of
          the SCBA.
          If the SCBA is not in effect by August 1, 2011, the parties shall meet
          to discuss implementation procedures related to Section 7.C.1.
          Section 8
          Deadhead travel resulting from tickets that were purchased prior to
          effective date of the SCBA may be completed as scheduled.
          Section 8.E. shall become effective seventy-two (72) hours after the
          effective date of the SCBA.
          Section 9
          Section 9 shall become effective seventy-two (72) hours after the
          effective date of the SCBA.
          Section 10
          Section 10 shall become effective seventy-two (72) hours after the
          effective date of the SCBA.
          Section 12
          Section 12 shall become effective on the first day of the second Bid
          Month following the effective date of the SCBA; provided, (1) Polar
          Crewmembers who were awarded a sixty (60) day line prior to the
          effective of the SCBA may complete their line as published even if

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          such line conflicts with terms of Section 12; and (2) Atlas
          &UHZPHPEHUVZKRDUHZHUHDVVLJQHG³FDUU\RYHU´7ULS3DLULQJVSULRU
          to the effective date of the SCBA may complete such Trip Pairings
          even if the Trip Pairings conflict with the terms of Section 12.
          Section 13
          Leaves of absence in effect on the effective date of the SCBA shall
          not be reduced by Section 13; however, any increases in the
          duration of leaves or benefit improvements under Section 13 shall
          apply to such Crewmembers.
          Regarding insurance while on a leave of absence that commenced
          prior to the effective date of the SCBA, the Company will apply the
          new plans and percentages to Crewmembers on a leave of absence
          when the changes become effective for active Pilots, subject to the
          open enrollment periods agreed to by the parties.
          Pilots on a leave of absence prior to the SCBA will receive the
          benefit of the improved seniority, Longevity and insurance provisions
          in the SCBA, if applicable, but no reductions as a result of the SCBA.
          After the Company provides the Union with the sick leave balances
          of all Polar Pilots currently on a leave of absence, including type of
          OHDYHWKH8QLRQZLOOQRWLI\WKH&RPSDQ\ZKHWKHUDIIHFWHG3LORW¶VVLFN
          leave should be converted as set forth in the SCBA or continued in
          accordance with the Polar CBA.
          Section 14
          Section 14 is effective on the first day of the first Bid Month following
          the effective date of the SCBA.
          Section 20 and 21
          Any grievance arising under Section 20 of the Atlas or Polar CBA,
          whichever is applicable, shall continue to be processed under the
          applicable CBA, up to and including the System Board of Adjustment
          established by the applicable CBA.
          Section 24
          Crewmembers subject to a seat lock or bidding freeze under the
          Atlas or Polar CBA shall continue to be subject to the applicable seat
          lock or bidding freeze, if any; provided, if the duration of the
          applicable seat lock or bidding freeze under the SCBA is less than
          applicable seat lock or bidding freeze under the Atlas or Polar CBA,
          WKHQ WKH DIIHFWHG &UHZPHPEHU¶V VHDW ORFN RU ELGGLQJ IUHH]H VKDOO
          expire in accordance with the terms of the SCBA. If a Crewmember
          is subject to a seat lock or bidding freeze under the Atlas or Polar

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          CBA for which there is no seat lock or bidding freeze under the
          SCBA, then the affected Crewmember shall be released from such
          seat lock or bidding freeze on the effective date of the SCBA and will
          be eligible to be awarded a new Position when Position Vacancies
          are posted for bidding.
          Section 25
          Provisions of Section 25, other than those referenced below, shall
          become applicable for all Crewmembers on the effective date of the
          SCBA.
          For Atlas Crewmembers, the provisions of sections 25.B through
          25.K shall become effective no later than the first day of the second
          Bid Month following the effective date of the SCBA or bidding for the
          June Bid Period.        Bidding provisions of the existing CBA shall
          remain in effect until such time.
          Polar Crewmembers who were awarded a sixty (60) day line prior to
          the effective of the SCBA may complete their line as published even
          if such line conflicts with terms of Section 25; and
          $WODV &UHZPHPEHUV ZKR ZHUH DVVLJQHG ³FDUU\ RYHU´ 7ULS 3DLULQJV
          prior to the effective date of the SCBA may complete such Trip
          Pairings even if the Trip Pairings conflict with the terms of Section
          25.
          Section 28
          The Company shall ensure that Polar Air Cargo Crewmember
          accounts from The Polar Air Cargo Pilots 401(k) Savings &
          Investment Plan are transferred to the Atlas Air, Inc. Retirement
          Plan. The Company shall manage the transition and inform the Polar
          Air Cargo Crewmembers when completed.
          Upon request of the Union, the Company will meet to discuss the
          process and timing of the transfer.
          For purposes RI ³FRPSOHWHG \HDUV RI VHUYLFH´ ZLWKLQ WKH PHDQLQJ RI
          Section 28.A.2., Crewmembers shall receive credit for all years of
          service with employment with Polar Air Cargo, Inc. and Atlas Air, Inc.
          Section 31
          Section 31 shall become effective on the first day of the second Bid
          Month following the effective date of the SCBA.
      12. The Check Airmen, Designated Examiner and Instructor list
          provisions set forth in subsection 3.A.1.d. shall be administered on a
          certificate-specific basis until an FAA approved MOCTP is fully


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          implemented. Section 11.(A).A.2.of the 2002 Atlas CBA shall apply to
          the staffing of the Atlas Training Department until an FAA-approved
          MOCTP is fully implemented. Section 11.F of the SCBA shall apply
          to the Polar Training Department on the first day of the Bid Month
          following the effective date of the SCBA.
      13. ,I WKH $UELWUDWRU¶V GHFLVLRQ LQFOXGHV SURYLVLRQV UHODWHG WR SDUWLDO
          transactions (e.g. a transaction(s) resulting in the disposal of and/or
          transfer of a defined percentage of any aircraft fleet type, operating
          certificates or an operating component, such as Polar Air Cargo
          Worldwide, Inc., or a combination thereof) and such provisions
          UHTXLUH DQ HQWLW\ GHVFULEHG LQ WKH 8QLRQ¶V SURSRVDOV WR VHFXUH WKH
          DFTXLUHU¶V DJUHHPHQW WR RIIHU HPSOR\PHnt to current and qualified
          Crewmembers covered by the single collective bargaining
          agreement, or any similar provisions related to Crewmember
          qualifications, and the Company has not fully implemented a Federal
          Aviation Administration (FAA)-approved Multiple Operator Certificate
          Training Program (MOCTP) or its equivalent or a comparable
          structure, then pending approval and implementation of an FAA-
          approved MOCTP or its equivalent or a comparable structure:
          a. ³FXUUHQW DQG TXDOLILHG &UHZPHPEHUV´ RU DQ\ VLPLODr provision
             related to Crewmember qualifications, shall be applied without
             regard to whether a Crewmember is current and qualified under
             DSDUWLFXODURSHUDWLQJFHUWLILFDWH,QVWHDG³FXUUHQWDQGTXDOLILHG´
             or any similar provisions related to Crewmember qualifications,
             shall mean the Crewmember is current and qualified on the
             aircraft fleet type affected by the transaction without regard to
             operating certificate; and
          b. employment offers with the acquirer shall be offered in system
             seniority order to Crewmembers who are current and qualified
             Crewmembers as described in Paragraph 1, above, the number
             of which shall be in accordance with the provisions of the
             $UELWUDWRU¶VGHFLVLRQ
      14. If an MOCTP or its equivalent or a comparable structure has not
          been fully implemented within forty-two (42) months after the
          effective date of the SCBA, Section 34 of the SCBA shall be
          DPHQGHG ZLWKRXW IXUWKHU DFWLRQ DV IROORZV  ³7KLV $JUHHPHQW VKDOO
          become effective [the date the arbitration award is signed by the
          arbitrator] and shall continue in force and effect until [five (5) years
          from the date the arbitration award is signed by the arbitrator] and
          shall renew itself without change thereafter, unless written notice by
          either party of intended change is served in accordance with Section
          6, Title II, of the Railway Labor Act, as amended, no more than three

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          KXQGUHGDQGVL[W\ILYH  GD\VSULRUWRRUDQ\WLPHWKHUHDIWHU´
      15. On the effective date of the SCBA, Crewmembers shall be employed
          by Atlas Air, Inc.
      16. Paragraphs 1, 2, 11 and 12 of this LOA shall terminate after the
          Company performs the obligations set forth therein. Paragraphs 3,
          6, 10 and 15 of this LOA shall remain in effect concurrent with the
          SCBA. Paragraphs 4, 5, 7, 8, 9 and 14 of this LOA shall terminate
          when an FAA-approved MOCTP or its equivalent or a comparable
          structure is fully implemented. Paragraph 13 of this LOA shall
          terminate on the first day of the second Bid Month after an FAA-
          approved MOCTP or its equivalent or a comparable structure is fully
          implemented.
      17. This LOA shall be enforceable through Section 20 and Section 21 of
          the SCBA.
          DEFINITIONS:
      ³)XOO\LPSOHPHQWHG´PHDQVHYHU\DFWLYH&UHZPHPEHUZLWKDW\SHUDWLQJ
      in an aircraft type assigned to more than one certificate (e.g., B-747-400)
      is qualified in his Status to perform flight duties in such aircraft type,
      regardless of certificate, without additional training (e.g. a Pilot who
      completed a flight assignment on an Atlas Air certificated aircraft may
      deplane and operate a Polar Air Cargo certificated aircraft without
      additional training).
      ³02&73 RU LWV HTXLYDOHQW RU D FRPSDUDEOH VWUXFWXUH´ PHDQV DQ )$$-
      approved training program that permits Crewmembers to perform flight
      GXWLHVRQDQ\DLUFUDIWLQWKH&RPSDQ\¶VIOHHWZLWKDFRPPRQW\SH rating,
      without regard to the certificate to which the aircraft is assigned, with no
      additional training.
      ³3RVLWLRQ´DVXVHGLQ3DUDJUDSKRIWKLV/2$PHDQV6WDWXVDQG$LUFUDIW
      Type without regard to Base.
      IN WITNESS WHEREOF, the parties hereto have signed this Letter of
      Agreement on this _____ day of ________________, 20_____.
      FOR ATLAS AIR, INC.:                    FOR INTERNATIONAL
                                              BROTHERHOOD OF
                                              TEAMSTERS,
                                              AIRLINE DIVISION:

      _____________________________           ____________________________
      John W. Dietrich,                       David Bourne,
      Executive Vice President and Chief      Director,
      Operator Officer                        Teamsters Airline Division


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      _____________________________         ____________________________
      Jeffrey D. Carlson,                   Joe Muckle, President,
      Vice President of Flight Operations   APA Teamsters Local 1224

      _____________________________         ____________________________
      Scott K. Lindsay,                     Robert Kirchner,
      Senior Director, Crew Resources &     TEC Co-Chairman
      Contract Administration
                                            ____________________________
                                            Stephen Richards,
                                            TEC Co-Chairman

                                            ____________________________
                                            Robert Ulrich,
                                            Negotiating Committee Chairman

                                            ____________________________
                                            Daniel Wells,
                                            Negotiating Committee

                                            ____________________________
                                            William Holcomb,
                                            Negotiating Committee

                                            ____________________________
                                            Paul Kvernplassen,
                                            Negotiating Committee




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      APPENDIX A: DAY OFF HOURS PAY FOR OCTOBER 2010
      Theoretical Example:




      * As reported by Flight Operations Finance Department




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                                      ATLAS  AIR,  INC.  
                                               and  
                            THE  FLIGHT  DECK  CREWMEMBERS  
                                       in  the  service  of  
                            ATLAS  AIR,  INC.  as  represented  by  
                  International  Brotherhood  of  Teamsters,  Airline  Division  

      ATLAS LAX CLOSURE LOA
      7KLV /HWWHU RI $JUHHPHQW ³/2$´  LV PDGH DQG HQWHUHG LQWR LQ
      accordance with the provisions of Title II of the Railway Labor Act, as
      amended, by and between Atlas Air, Inc., their successors and assigns
       ³&RPSDQ\´  DQG WKH 3LORWV LQ WKH VHUYLFH RI $WODV $LU ,QF DV
      represented by the International Brotherhood of Teamsters, Airline
      'LYLVLRQ ³7HDPVWHUV´³,%7´RU³8QLRQ´ 
      THEREFORE, BE IT RESOLVED:
      1. On December 1, 2010 the Company will announce the closure of the
         Atlas-LAX Base. The Company will on the same date post Position
         Vacancies at other current Bases. The total number of Position
         Vacancies at the other current Bases will be equal to or greater than
         the number of Atlas Crewmembers by Status assigned to the Atlas-
         LAX Base. All Position Vacancies referred to herein, including
         Position Vacancies resulting from a Crewmember awarded a
         Position Vacancy pursuant to this Paragraph 1 that the Company
         elects to fill, will be filled in accordance with the Atlas Air, Inc.
         Collective Bargaining Agreement.
      2. On 12/1/2010, the Company will offer Gateway rights to all Atlas
         Crewmembers in accordance with the October 20, 2010 Section 6
         single collective bargaining agreement (SCBA) tentative agreement
         between the parties.
      3. The Company will not close a Base after closure of the Atlas-LAX
         Base unless the need to close the Base is caused, in major part, by
         an event or circumstance beyond the control of the Company. The
         term "event or circumstance beyond the control of the Company"
         means:
          a.   a natural disaster;
          b.   a labor dispute;
          c.   grounding of a substantial number of the Company's aircraft by
               government agency or voluntary action by the Company for
               safety reasons in lieu thereof, which in either case could not be
               avoided or cured by the Company;


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          d.   reduction in flying operations because of a decrease in available
               fuel supply or suppliers being unable to provide sufficient critical
               materials for the Company's operations;
          e.   revocation of the Company's operating certificate(s);
          f.   war emergency;
          g.   acts of terrorism;
          h.   RZQHU¶VGHOD\LQGHOLYHU\RIDLUFUDIWVFKHGXOHGIRUGHOLYHU\
          i.   PDQXIDFWXUHU¶VGHOD\LQGHOLYHU\RIQHZDLUFUDIW
          In addition to the above, if a customer of the Company or the
          Company requires flying assigned to a particular Base be assigned
          to another Base as a result of entering into a new contract or similar
          business agreement or maintaining a current contract or similar
          business agreement, the Company may close the Base utilizing the
          provisions of Section 24 of the Atlas Collective Bargaining
          Agreement. The Company will provide the Union with information
          necessary to verify the customer or Company requirement referred to
          herein.
      4. Prior to the effective date of the SCBA, the Company may open a
         new Base with the concurrence of the Union. The Union shall not
         unreasonably withhold its concurrence.
      5. On December 1, 2010, the Company will post eight (8) Captain 747-
         400 Position Vacancies at the HSV Base. Such Position Vacancies
         will be filled in accordance with Section 24 of the Atlas Air Inc.
         Collective Bargaining Agreement.
      6. On December 1, 2010, the Company will post four (4) Captain 747-
         400 Position Vacancies at one or more current Bases. Such Position
         Vacancies will be filled in accordance with Section 24 of the Atlas Air
         Inc. Collective Bargaining Agreement.
      7. Unless the parties agree otherwise, this LOA will become null and
         void on the effective date of the SCBA; provided, the Company has
         performed the obligations contained herein.
      8. This LOA shall be enforceable through Section 20 and Section 21 of
         the Agreement.
      For Atlas Air, Inc.:
      For International Brotherhood Of Teamsters, Airline Division:
      December 3, 2010



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                                   LETTER  OF  AGREEMENT  
                                            between  
                           POLAR  AIR  CARGO  WORLDWIDE,  INC.  
                                               and  
                            THE  FLIGHT  DECK  CREWMEMBERS  
                                       in  the  service  of  
                        POLAR  AIR  CARGO,  INC.  as  represented  by  
                  International  Brotherhood  of  Teamsters,  Airline  Division  

      POLAR ANC CLOSURE LOA
      7KLV /HWWHU RI $JUHHPHQW ³/2$´  LV PDGH DQG HQWHUHG LQWR LQ
      accordance with the provisions of Title II of the Railway Labor Act, as
      amended, by and between Polar Air Cargo Worldwide, Inc., their
      VXFFHVVRUV DQG DVVLJQV ³&RPSDQ\´  DQG WKH 3LORWV LQ WKH VHUYLFH RI
      Polar Air Cargo Worldwide, Inc., as represented by the International
      %URWKHUKRRG RI 7HDPVWHUV $LUOLQH 'LYLVLRQ ³7HDPVWHUV´ ³,%7´ RU
      ³8QLRQ´ 
      THEREFORE, BE IT RESOLVED:
      1. On February 1, 2011 the Company will announce the closure of the
         Polar-ANC Base. The Company will on the same date post Position
         Vacancies at the Polar-CVG and Polar-LAX Bases. The total
         number of Position Vacancies at the Polar-CVG and Polar-LAX
         Bases will be equal to or greater than the number of Polar
         Crewmembers by Status assigned to the Polar-ANC Base. All
         Position Vacancies referred to herein, including Position Vacancies
         resulting from a Crewmember being awarded a Position Vacancy
         pursuant to this Paragraph 1 that the Company elects to fill, will be
         filled in accordance with the Polar Air Cargo Collective Bargaining
         Agreement.
      2. On February 1, 2011, the Company will offer Gateway rights to all
         Polar Crewmembers in accordance with the October 20, 2011
         Section 6 SCBA tentative agreement between the parties.
      3. The Company will not close a Base after closure of the Polar-ANC
         Base unless the need to close the Base is caused, in major part, by
         an event or circumstance beyond the control of the Company. The
         term "event or circumstance beyond the control of the Company"
         means:
          a.   a natural disaster;
          b.   a labor dispute;
          c.   grounding of a substantial number of the Company's aircraft by
               government agency or voluntary action by the Company for


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               safety reasons in lieu thereof, which in either case could not be
               avoided or cured by the Company;
          d.   reduction in flying operations because of a decrease in available
               fuel supply or suppliers being unable to provide sufficient critical
               materials for the Company's operations;
          e.   revocation of the Company's operating certificate(s);
          f.   war emergency;
          g.   acts of terrorism;
          h.   RZQHU¶VGHOD\Ln delivery of aircraft scheduled for delivery;
          i.   PDQXIDFWXUHU¶VGHOD\LQGHOLYHU\RIQHZDLUFUDIW
          In addition to the above, if a customer of the Company or the
          Company requires flying assigned to a particular Base be assigned
          to another Base as a result of entering into a new contract or similar
          business agreement or maintaining a current contract or similar
          business agreement, the Company may close the Base utilizing the
          provisions of Section 24 of the Polar Air Cargo Collective Bargaining
          Agreement. The Company will provide the Union with information
          necessary to verify the customer or Company requirement referred to
          herein.
      4. Prior to the effective date of the SCBA, the Company may open a
         new Base with the concurrence of the Union. The Union shall not
         unreasonably withhold its concurrence.
      5. Unless the parties agree otherwise, this LOA will become null and
         void on the effective date of the SCBA; provided, the Company has
         performed the obligations contained herein.
      6. This LOA shall be enforceable through Section 20 and Section 21 of
         the Agreement.


      For Polar Air Cargo Worldwide, Inc:
      December 3, 2010
      For International Brotherhood Of Teamsters, Airline Division:
      Dan C. Wells
      December 23, 2010




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                                  LETTER  OF  AGREEMENT  
                                          between  
                                 POLAR  AIR  CARGO,  INC.  
                                             and  
                                   THE  CREWMEMBERS  
                                     in  the  service  of  
                        POLAR  AIR  CARGO,  INC.  as  represented  by    
                   THE  AIRLNE  PILOTS  ASSOCIATION,  INTERNATIONAL  

      FLIGHT ENGINEER REINSTATEMENT SETTLEMENT AGREEMENT LOA
      THIS LETTER OF AGREEMENT is made and entered into by and
      between POLAR AIR CARGO, INC. (hereinafter referred to as "Polar" or
      "the Company") and the CREWMEMBERS in the service of POLAR AIR
      CARGO, INC., as represented by the AIR LINE PILOTS ASSOCIATION,
      INTERNATIONAL (hereinafter referred to as "the Association").
      WHEREAS, on July 10, 2006, Polar terminated the employment of the
      fifty-seven (57) flight engineers whose names appear on Attachment A to
      this Flight Engineer Reinstatement Settlement Agreement (the "FEs" or
      "Grievants"), effective 2359z on June 30, 2006; and
      WHEREAS, ALPA filed or caused to be filed individual grievances
      challenging those terminations; and
      WHEREAS, those grievances have progressed to the Polar Air Cargo
      Pilots' System Board of Adjustment (the "Board") for a consolidated
      hearing; and
      WHEREAS, the Company has offered reinstatement to the FEs and has
      commenced the steps necessary to accomplish the reinstatement of the
      FEs; and
      WHEREAS, the Company, ALPA and the FEs (collectively, the "Parties")
      wish, under the unique facts presented, to fully and finally resolve the
      fifty-seven (57) consolidated grievances now pending before the Board;
      WHEREAS, the Company and ALPA have agreed to provide the FEs
      three options, to include reinstatement, resignation (retirement), and
      Recall Leave of Absence;
      WHEREFORE, FOR AND IN CONSIDERATION of the mutual promises
      contained herein, the sufficiency of which are hereby acknowledged,
      Polar, ALPA, and ALPA on behalf of the FEs agree as follows:
      A. Make Whole Provisions (Back Pay, Benefit Expenses, other)
          1.   Back pay shall be paid to each FE for the period of July 1, 2006
               until October 31, 2006, inclusive. An individual FE's back pay
               entitlement shall be based on his applicable hourly rate


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               (including any longevity increase during this time period) times
               65 hours per month, subject to the following:
               a. Backpay will be reduced by the amount of any compensation
                  received from interim employment and unemployment
                  benefits.
               b. Backpay will not be reduced by the amount of any
                  compensation earned as a result of employment that existed
                  prior to July 1, 2006 and that continued during the period of
                  discharge.
               c. FEs shall be not be eligible for backpay during any period in
                  which he or she was, absent discharge, otherwise ineligible
                  for active service (e.g., on a medical or military leave of
                  absence, etc.).
               d. There shall be no entitlement to per diem.
               e. Standard deductions shall be taken from backpay, including,
                  without limitation, state and federal taxes, Social Security,
                  Medicare, dues check-off, premiums that otherwise would
                  have been paid for insurance, 401(k) deferrals, etc. [Note:
                  401(k) deductions cannot include loan payments.]
               f.   Receipt of backpay is contingent upon the FE's completion
                    and submission of Attachment B to this Settlement
                    Agreement.
          2.   Each FE shall be made whole for his benefit expenses for the
               period of July 1, 2006 until October 31, 2006, inclusive, as
               follows:
               a. FEs who elected COBRA shall receive reimbursement of
                  COBRA payments, minus the amount of the applicable
                  employee contribution;
               b. FEs who did not elect COBRA but purchased private health
                  insurance shall receive reimbursement up to the amount of
                  the COBRA payments they otherwise would have made,
                  minus the amount of the applicable employee contribution;
                  or
               c. FEs who did not elect COBRA or purchase private health
                  insurance shall receive reimbursement, up to the amount of
                  the COBRA payments they would have made, minus the
                  amount of the applicable employee contribution, for out-of-
                  pocket medical expenses.



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               d. Receipt of benefits expenses listed covered above is
                  contingent upon the FE's completion and submission of
                  Attachment B to this Settlement Agreement.
               e. Notwithstanding paragraphs 2.a. through 2.d., above, an FE
                  who was not covered by Company-sponsored insurance at
                  the time of his discharge shall not be entitled to
                  reimbursement under paragraphs 2.a. through 2.d., above.
          3.   Each FE shall be credited for the vacation that would have been
               accrued during any period during which the FE is eligible for
               backpay.
          4.   Each FE shall receive the Company matching contribution to
               any 401(k) monies he directs be withheld from his back pay.
          5.   The Company will undertake the normal procedures reasonably
               necessary to request that the IRS re-characterize any FE 401(k)
               loan defaults that occurred during the back pay period through
               the Voluntary Correction Program. If the IRS declines to re-
               characterize the loan defaults, the Company will make payment
               of the l0% penalties arising from such defaults to the affected
               FEs.
          6.   Each FE who was a participant in the Company's health care
               plan and/or Cash Plan as of 1200 on June 30, 2006, shall be
               retroactively reinstated to such plan as if there had been no
               interruption to his employment caused by termination; provided,
               however, that no claims shall be paid on the Company's health
               care plan for the period July 1, 2006, until October 31, 2006,
               inclusive, except as provided in paragraph 2. above.
      B. Certification of Intent to Return to Work, Resign, or Accept a Recall
         Leave of Absence (Attachment C).
          1.   Each FE is required to complete and submit to the Company
               Attachment C to this Settlement Agreement indicating whether
               he intends to return to work, resign (or retire), or accept a Recall
               Leave of Absence as provided for in paragraph E, below.
          2.   In order to be effective, Attachment C must be received by the
               Company by 1800 EST, November 17, 2006. If the Company
               has not received a fully completed Attachment C by this date
               and time the FE irrevocably shall be considered to have declined
               reinstatement, and shall be treated in accordance with the
               provisions of paragraph D, below.
          3.   Attachment C may be delivered to the Company by:


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               a. Personal delivery to the office of Polar's Chief Pilot.
               b. Electronic transmission (email) to Polar's Chief Pilot of a
                  SGI´ ILOH RI $WWDFKPHQW & VLJQHG Ey the FE, followed by a
                  signed original delivered by U.S. Mail to Polar's Chief Pilot.
               c. A facsimile transmission of Attachment C, signed by the FE,
                  sent to (914) 701-8867, followed by a signed original
                  delivered by U.S. Mail to Polar's Chief Pilot.
               d. It is agreed and understood that ALPA may complete, sign
                  and submit Attachment C on an FE's behalf.
      C. Reinstatement
          1.   Reinstatement of an FE who timely submits Attachment C shall
               be effective November 1, 2006 and his initially assigned base
               shall be ORD.
          2.   Each reinstated FE shall have his sick bank restored to the level
               existing at 2359z on June 30, 2006, increased by the sick bank
               days that would have accrued during any period during which
               the FE is eligible for backpay herein.
          3.   A reinstated FE shall have his travel bank restored to the level
               existing at 2359z on June 30, 2006.
          4.   Each reinstated FE shall be entitled to unpaid vacation for use in
               2007 equal to the difference between their accrued vacation as
               provided in paragraph A.3, above, and the number of vacation
               days to which they would have been entitled had they not sold
               their accrued vacation back to Polar upon his termination. Such
               vacation shall be subject to the normal vacation bidding
               procedures.
          5.   Each reinstated FE shall retain his position on the Polar
               Crewmembers' System Seniority List, and shall be credited with
               accrued longevity for July 1, 2006 until October 31, 2006
               consistent with the terms of the Polar/ALPA collective bargaining
               agreement, as if there had been no interruption to his
               employment caused by his termination.
          6.   Reinstated FEs who choose to return to the Company's health
               insurance plan shall not be treated as new entrants and thus
               shall not be subject to preexisting condition exclusions because
               of their termination(s) and reinstatement(s).
          7.   Life and AD&D insurance coverage as of November 1, 2006, will
               be available to FEs who elect reinstatement without evidence of
               insurability. Supplemental Life and Supplemental AD&D

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               insurance coverages that had been elected as of June 30, 2006
               may be reinstated as of July 1, 2006 without evidence of
               insurability.
      D. Resignation and Retirement
          1.   An FE who declines reinstatement by indicating such on
               Attachment C, or by failing to timely submit Attachment C, shall
               be considered to have irrevocably resigned his employment
               effective 2359z, on October 31, 2006.
          2.   An FE who has declined reinstatement but who has reached age
               sixty (60) and has five (5) years of Company service as of
               October 31,2006 shall have his sick bank restored to the level
               existing at 2359z on June 30, 2006, increased by the number of
               sick bank days that would have accrued during any period
               during which the FE is eligible for backpay herein, and shall be
               eligible for the retirement "sick leave pay-out" provided for in
               Section 14.C.7 of the Polar/ALPA Collective Bargaining
               Agreement.. FEs who elect to retire as of October 31, 2006 will
               be offered COBRA with an October 31, 2006 qualifying date.
               This retirement election is a new COBRA qualifying event and is
               separate from any previously occurring COBRA event.
      E. Recall Leave of Absence.
          If an FE elects a "Recall Leave of Absence" on Attachment C, the
          following will apply:
          1.   Effective 2359z, on October 31, 2006, the FE will be placed on
               an indefinite leave of absence.
          2.   While on a Recall Leave of Absence the FE shall retain and
               continue to accrue seniority.
          3.   While on a Recall Leave of Absence the FE shall retain but will
               not accrue longevity.
          4.   A Recall Leave of Absence shall be unpaid.
          5.   An FE on Recall Leave of Absence shall have no uni1atera1
               right to return to work, but shall be treated for this purpose as if
               on furlough, and any and all rights to return to work shall be as
               provided in Section 23.B or any successor language thereto.
          6.   An FE's right to recall while on Recall Leave of Absence shall
               expire after five (5) years, or if the provisions of Section 23.B.3
               become effective, at which time the FE's name will be removed
               from the seniority list.


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      F. General
          1.   All records of the Section 19 proceedings in this matter shall be
               removed from each FE's personnel file.
          2.   ALPA, and ALPA on behalf of the FEs, shall withdraw the fifty-
               seven (57) consolidated grievances now pending before the
               Board. Those fifty-seven (57) consolidated grievances shall be
               considered to be, and are, null and void and shall not be refiled
               or otherwise pursued.
          3.   The Company, ALPA and ALPA behalf of the FEs agree that this
               Settlement Agreement is in resolution of disputed claims and
               shall not be deemed or otherwise construed as an admission by
               Polar that the FEs were terminated without just cause or that
               Polar otherwise violated the Polar/ALPA collective bargaining
               agreement.
          4.   This Settlement Agreement shall not constitute a precedent for
               use in any other matter, nor shall it be deemed to establish a
               practice. Neither Polar, ALPA nor any Polar crewmember
               (including, without limitation, any or all of the FEs) will raise or
               otherwise make reference to, or cause or allow any reference to
               be made to, this Settlement Agreement, the terms thereof, the
               underlying facts, or the results of this Settlement Agreement in
               any litigation, administrative proceeding, grievance proceeding,
               hearing, System Board of Adjustment hearing, or other
               adjudication except as necessary to enforce the terms of this
               Settlement Agreement.
          5.   Notwithstanding paragraph F.4, the parties are not precluded
               from introducing this Settlement Agreement into the proceedings
               of Grievance 07-06GG so long as the sole purpose of such
               introduction is to show that every FE has received a full remedy
               for the termination of his employment, effective 2359z on June
               30, 2006. The parties likewise are not precluded from
               introducing this Settlement Agreement into the proceedings of
               the Atlas/Polar crewmember seniority integration arbitration
               hearings before Arbitrator R.O. Harris.
          6.   The Association specifically stipulates and warrants that it has
               authority to settle these consolidated grievances on behalf of the
               FEs.
          7.   The language of all parts of this Settlement Agreement shall in
               all cases be construed as a whole, according to its fair meaning,
               and not strictly for or against any of the parties. Should any


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               provision of this Settlement Agreement be declared or be
               determined by any court to be illegal or invalid, the validity of the
               remaining parts, terms, or provisions shall not be affected
               thereby, and said illegal or invalid part, term, or provision shall
               be deemed not to be a part of this Settlement Agreement.
          8.   The parties agree to work cooperatively to resolve any disputes
               that may arise under this agreement, with the understanding that
               its back pay, benefit expense reimbursement and other
               provisions arc intended only to restore the affected FEs to the
               same pay and benefits as if they had not been terminated, and
               specifically not to cover or make them whole for any
               consequential, incidental or other losses. If the parties are
               unable to resolve any disputes arising under this Settlement
               Agreement's remedial provisions within ninety (90) days after its
               execution, Arbitrator David Beckman shall have continuing
               jurisdiction only over such remedial disputes.
      IN WITNESS WHEREOF, the parties hereto have signed this Letter of
      Agreement on this 10th day of November, 2006.
      FOR ATLAS AIR, INC.: Chris Agnini, System Chief Pilot
      FOR THE AIR LINE PILOTS ASSOCIATION, INTERNATIONAL:
      Robert Henderson, Chairman, Polar Air Cargo MEC




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      ATTACHMENT A
     Name                               Name

     1.      Angel, Mike                31     Hunt, Dwayne
     2       Baldridge, Doug            32     Jackson, Dave
     3       Beall, Jack                33     Jaureguy, Mike
     4       Becker, Max                34     Johansen, Dave
     5       Belmont, Bill              35     Krause, Ralph
     6       Bermingham, Jim            36     Kuns, Dean
     7       Berry, Tom                 37     Lynch, Jim
     8       Blackett, Bill             38     Martin, Frank
     9       Brown, Tom                 39     Mathers, Jim
     10      Burnette, Bill             40     McKittrick, Mike
     11      Callaham, Richard          41     Morris, Brian
     12      Cannegan, Errol            42     Ogden, John
     13      Carter, Rick               43     Pace, Walt
     14      Close, Terry               44     Poorman, Dave
     15      Cocchi, Dino               45     Rafifar, Ahmad
     16      Colon, Bob                 46     Ramaker, Ron
     17      Craig, Leonard             47     Redmond, Mike
     18      Davis, Scott               48     Renfrow, Jim
     19      Del Villar, Bob            49     Ruiz, Sergio
     20      Dimoff, Greg               50     Russo, Ralph
     21      Ellis, Jerry               51     Sieb, Joe
     22      Ennis, Scotty              52     Squires, Del
     23      Farrell, Tom               53     Szarko, Brian
     24      Ford, Don                  54     Thurston, Bill
     25      Garcia, Gil                55     Walden, Mel
     26      Goodwin, Rich              56     Wood, Don
     27      Grandone, Tony             57     Workman, Bill
     28      Hanna, Mery
     29      Hayden, JP
     30      Hudson, Wally




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                                   LETTER  OF  AGREEMENT  
                                            between  
                                      ATLAS  AIR,  INC.  
                                               and  
                                      AIR  LINE  PILOTS  
                                       in  the  service  of  
                   THE  AIR  LNE  PILOTS  ASSOCIATION,  INTERNATIONAL  

      RECALL FROM FURLOUGH LOA
      THIS LETTER OF AGREEMENT is made and entered into by and
      between ATLAS AIR, INC. (hereinafter referred to as the "Company")
      and the Air Line Pilots in the service of ATLAS AIR, INC., as represented
      by the AIR LINE PILOTS ASSOCIATION, INTERNATIONAL (hereinafter
      UHIHUUHGWRDVWKH³$VVRFLDWLRQ´ 
      It is mutually agreed between the Company and the Association that
      notwithstanding the provisions of Section 23.C.3, the Company may, in
      its sole discretion, extend the number of days beyond the twenty-one
      (21) days currently provided in which a Crewmember must be able to
      report for duty or training, as appropriate, after he has been notified of
      his recall. Generally, such an extension shall be granted only for
      compelling reasons, and normally for no more than sixty (60) days.
      This letter of Agreement shall be effective as of the date of its signing
      and unless otherwise amended shall remain in full force and effect
      concurrent with the duration of the Collective Bargaining Agreement
      between the parties.
      IN WITNESS WHEREOF, the parties hereto have signed this Letter of
      Agreement on this 7 day of September, 2002.
      FOR ATLAS AIR, INC.:
      James R. Cato, Vice President, Labor Relations
      FOR THE AIRLINE PILOTS ASSOCIATION, INTERNATIONAL:
      David P. Bourne, Chairman, Atlas Air, Inc., MEC




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                                     ATLAS  AIR,  INC.  
                                             and  
                           THE  FLIGHT  DECK  CREWMEMBERS  
                                     in  the  service  of  
                                      Atlas  Air,  Inc.  
                                    as  represented  by  
                     INTERNATIONAL  BROTHERHOOD  OF  TEAMSTERS,  
                                   AIRLINE  DIVISION  

      SECTION 11 LOA
      7KLV /HWWHU RI $JUHHPHQW ³/2$´  LV PDGH DQG HQWHUHG LQWR LQ
      accordance with the provisions of Title II of the Railway Labor Act, as
      amended, by and between Atlas Air, Inc., their successors and assigns
       ³&RPSDQ\´  DQG WKH 3LORWV LQ WKH VHUYLFH RI $WODV $LU ,QF DV
      represented by the International Brotherhood of Teamsters, Airline
      'LYLVLRQ ³7HDPVWHUV´³,%7´RU³8QLRQ´ 
      WHEREAS, the parties bargained and reached certain understandings
      regarding the administration of Section 11 of the Collective Bargaining
      $JUHHPHQW ³$JUHHPHQW´ 
      THEREFORE, BE IT RESOLVED:
      1. The following individuals shall be grandfathered in their current
         instructor positions as described below and shall not be displaced by
         operation of subsection 11.F of the Agreement:
          B747 ± 400:
          Permanent Instructors
                   Haigney, Frank ± Simulator Check Airman
                   Bensimon, Patrick ± Simulator Check Airman
                   Chancellor, Ian ± Simulator Instructor
                   Miranda, Carlos ± Simulator Instructor
          Contract Instructors
                   Doherty, Jack ± Simulator Check Airmen
                   Morgan, John ± Simulator Instructor
                   Nevin, Paul (Mike) ± Simulator Instructor
                   Curtis, James ± Simulator Instructor
                   Rankin, Bruce ± Simulator Instructor
          B747 Classic:
                   Permanent Instructors
                   Mulkey, David ± Simulator Check Airman
                   Zellmer, Ken ± Simulator Check Airman


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                   Vaziri, Ali ± Simulator Check Airmen
                   Giordano, Mike ± Simulator Check Airman (FE)
                   Browning, Mike ± Simulator Check Airman (FE)
          Contract Instructors
                   Safdar, Nana ± Simulator Instructor
      2. Individuals referred in Paragraph A, above, do not count toward the
         fifty percent (50%) Crewmember Training Instructor requirement in
         subsection 11.F.1.b of the Agreement.
      3. Frank Haigney, Jack Doherty, David Mulkey, Ken Zellmer, Ali Vaziri,
         Mike Gordano and Mike Browning may continue to conduct
         checkrides in the aircraft in which they are currently performing
         checkrides.
      4. This LOA is enforceable through Section 20 and Section 21 of the
         Agreement.
      IN WITNESS WHEREOF, the parties hereto have signed this Letter of
      Agreement on this _____ day of ________________, 20_____.
      FOR ATLAS AIR, INC.:                  FOR INTERNATIONAL
                                            BROTHERHOOD OF TEAMSTERS,
                                            AIRLINE DIVISION:

      _____________________________         ____________________________
      John W. Dietrich,                     David Bourne,
      Executive Vice President and Chief    Director,
      Operator Officer                      Teamsters Airline Division

      _____________________________         ____________________________
      Jeffrey D. Carlson,                   Joe Muckle, President,
      Vice President of Flight Operations   APA Teamsters Local 1224

      _____________________________         ____________________________
      Scott K. Lindsay,                     Robert Kirchner,
      Senior Director, Crew Resources &     TEC Co-Chairman
      Contract Administration
                                            ____________________________
                                            Stephen Richards,
                                            TEC Co-Chairman

                                            ____________________________
                                            Robert Ulrich,
                                            Negotiating Committee Chairman



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                                        ____________________________
                                        Daniel Wells,
                                        Negotiating Committee

                                        ____________________________
                                        William Holcomb,
                                        Negotiating Committee

                                        ____________________________
                                        Paul Kvernplassen,
                                        Negotiating Committee




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                                     ATLAS  AIR,  INC.  
                                             and  
                           THE  FLIGHT  DECK  CREWMEMBERS  
                                     in  the  service  of  
                                      Atlas  Air,  Inc.  
                                    as  represented  by  
                     INTERNATIONAL  BROTHERHOOD  OF  TEAMSTERS,  
                                   AIRLINE  DIVISION  

      SECTION 14 LOA
      7KLV /HWWHU RI $JUHHPHQW ³/2$´  LV PDGH DQG HQWHUHG LQWR LQ
      accordance with the provisions of Title II of the Railway Labor Act, as
      amended, by and between Atlas Air, Inc., their successors and assigns
       ³&RPSDQ\´  DQd the Pilots in the service of Atlas Air, Inc., as
      represented by the International Brotherhood of Teamsters, Airline
      'LYLVLRQ ³7HDPVWHUV´³,%7´RU³8QLRQ´ 
      WHEREAS, the parties bargained and reached certain understandings
      regarding the administration of Section 14 of the Collective Bargaining
      $JUHHPHQW ³$JUHHPHQW´ 
      THEREFORE, BE IT RESOLVED:
      1. The full-time employment requirement (30 hours of work per week)
         contained in the Long Term Disability Plan (LTD Plan) shall not apply
         to Crewmembers if the result is to render a Crewmember ineligible
         for LTD Plan coverage or benefits.
      2. All Crewmembers shall be enrolled by the Company in LTD Basic
         Coverage within thirty (30) days of the effective date of collective
         bargaining agreement (Agreement). Crewmembers hired after the
         effective date of the Agreement shall be enrolled by the Company in
         LTD Basic Coverage in accordance with the LTD Plan.                  All
         Crewmembers may elect Optional LTD Coverage at any time in
         accordance with the LTD Plan. Crewmembers on the seniority list on
         the effective date of the Agreement are not required to undergo a
         medical exam or prove good health as condition of enrollment in LTD
         Basic Coverage. Crewmembers on the seniority list on the effective
         date of the Agreement are not subject to pre-existing condition
         limitations applicable to LTD Basic Coverage. Medical examination,
         proof of good health and pre-existing condition limitations set forth in
         the LTD Plan apply to Optional LTD Coverage.
      3. A Crewmember who becomes disabled within the meaning of the
         LTD Plan must file an application for LTD benefits in accordance with


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          the LTD Plan. During the one hundred and twenty (120) day LTD
          Plan waiting period, a Crewmember shall use accrued, unused sick
          days under Section 14 of the Agreement. When a Crewmember is
          receiving LTD benefits, the Crewmember may not use accrued,
          unused sick days under Section 14 of the Agreement, including
          under subsection 14.D.9; provided, there shall be no reduction in
          LTD benefits as a result thereof. If a Crewmember does not qualify
          for LTD benefits, exhausts LTD benefits or later becomes ineligible to
          receive LTD benefits, the Crewmember may use accrued, unused
          sick days under Section 14, including subsection 14.D.9.
      4. The Return to Work Incentive/Transitional Work/Light Duty
         requirements in the LTD Plan shall not apply to Crewmembers.
      5. The Company may change LTD Plan insurance carriers, self-insure,
         and change plan administrators, but no change shall result in lesser
         benefits than those in effect on August 31, 2010, conflict with the
         Agreement or the terms of this LOA. The Company will provide the
         Union with advance notice and an opportunity to discuss changes to
         the LTD Plan that conform to the requirements of this Paragraph.
      6. On the effective date of WKH $JUHHPHQW 3RODU &UHZPHPEHU¶V
         accrued, unused sick leave balance shall be allocated between the
         short term and catastrophic banks referred in Section 14 of the
         Agreement according to the following procedure: Allocate the first
         twenty-four (24) days to the short term bank. Multiply the remainder
         of days by two (2) (because Polar sick days are paid at 100%) and
         allocate the product to the catastrophic bank. (e.g., If a Polar
         Crewmember has sixty (60) days of accrued, unused sick days,
         deposit twenty-four (24) days in the short term bank. Multiply thirty-
         six (36) by two (2) and deposit seventy-two (72) days in the
         catastrophic bank).
      7. Polar Crewmembers who are age sixty (60) or older with five (5) or
         more years of Longevity on the effective date of the Agreement who
         (1) retire at age sixty-five (65) or (2) who retire as a result of losing
         WKHLU $LUPDQ¶V 0HGLFDO &HUWLILFDWH UHJDUGOHVV RI DJH VKDOO UHFHLYH
         fifty percent (50%) of accrued but unused sick leave pay at
         retirement up to a maximum of forty-five (45) days. Payment shall be
         in one (1) lump sum.
      8. The amount of sick days contained in the Sick Leave Donation Bank
         referenced in subsection 14.D.9 of the Agreement on the day prior to
         the effective date of the Agreement shall be available for use only by
         Crewmembers who were employed by Polar Air Cargo on the day
         prior to the effective date of the Agreement. Administration shall be


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          as follows:
          A.   Donation Provisions
                    i. N/A.
          B.   Pay Out Provisions
               i.   Paid at 50% WUDQVIHUHH¶V salary
          C.   Reduction of Bank Balance
               i.   Reduce Bank Balance by one-half (½) day for every day
                    transferred to a Crewmember
          D.   Cap
               i.   Absent extraordinary circumstances, a Crewmember shall
                    not receive more than forty-eight (48) sick days from the Sick
                    Leave Donation Bank. The Union shall inform the Company
                    when the forty-eight (48) day cap will be exceeded and
                    provide the name of the affected pilot.
      9. Sick days donated to the Sick Leave Donation Bank referenced in
         subsection 14.D.9 beginning on the effective date of the Agreement
         shall be available to all Crewmembers. Administration shall be as
         follows:
          A.   Donation Provisions
               i.   Days deducted from WUDQVIHURU¶VFDWDVWURSKLFEDQN
          B.   Pay Out Provisions
               i.   3DLGDWRIWUDQVIHUHH¶VVDODU\
          C.   Reduction of Bank Balance
               i.   Reduce Bank Balance by one (1) day for every day
                    transferred to a Crewmember
          D.   Cap
               i.   Absent extraordinary circumstances, a Crewmember shall
                    not receive more than forty-eight (48) sick days from the Sick
                    Leave Donation Bank. The Union shall inform the Company
                    when the forty-eight (48) day cap will be exceeded and
                    provide the name of the affected pilot.
      10. This LOA is enforceable through Section 20 and Section 21 of the
          Agreement.




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      IN WITNESS WHEREOF, the parties hereto have signed this Letter of
      Agreement on this _____ day of ________________, 20_____.

      FOR ATLAS AIR, INC.:                  FOR INTERNATIONAL
                                            BROTHERHOOD OF TEAMSTERS,
                                            AIRLINE DIVISION:

      _____________________________         ____________________________
      John W. Dietrich,                     David Bourne,
      Executive Vice President and Chief    Director,
      Operator Officer                      Teamsters Airline Division

      _____________________________         ____________________________
      Jeffrey D. Carlson,                   Joe Muckle, President,
      Vice President of Flight Operations   APA Teamsters Local 1224

      _____________________________         ____________________________
      Scott K. Lindsay,                     Robert Kirchner,
      Senior Director, Crew Resources &     TEC Co-Chairman
      Contract Administration
                                            ____________________________
                                            Stephen Richards,
                                            TEC Co-Chairman

                                            ____________________________
                                            Robert Ulrich,
                                            Negotiating Committee Chairman

                                            ____________________________
                                            Daniel Wells,
                                            Negotiating Committee

                                            ____________________________
                                            William Holcomb,
                                            Negotiating Committee

                                            ____________________________
                                            Paul Kvernplassen,
                                            Negotiating Committee




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                                     ATLAS  AIR,  INC.  
                                             and  
                           THE  FLIGHT  DECK  CREWMEMBERS  
                                     in  the  service  of  
                                      Atlas  Air,  Inc.  
                                    as  represented  by  
                     INTERNATIONAL  BROTHERHOOD  OF  TEAMSTERS,  
                                   AIRLINE  DIVISION  

      SIGNING BONUS LOA
      7KLV /HWWHU RI $JUHHPHQW ³/2$´  LV PDGH DQG HQWHUHG LQWR LQ
      accordance with the provisions of Title II of the Railway Labor Act, as
      amended, by and between Atlas Air, Inc., its successors and assigns
       ³&RPSDQ\´  DQG WKH 3LORWV LQ WKH VHUYLFH RI $WODV $LU ,QF DV
      represented by the International Brotherhood of Teamsters, Airline
      DivisioQ ³7HDPVWHUV´³,%7´RU³8QLRQ´ 
      WHEREAS, the parties bargained for and reached agreement on a
      $10.5 million signing bonus in connection with the Single Collective
      %DUJDLQLQJ$JUHHPHQW ³$JUHHPHQW´ DQG
      WHEREAS, the parties desire to set forth the procedure for allocating
      the signing bonus among Crewmembers;
      NOW THEREFORE, BE IT RESOLVED:
      1. Crewmembers who are on the integrated Pilot System Seniority List
         or integrated Flight Engineer System Seniority List on the effective
         date of the Agreement shall be eligible for payment of a signing
         ERQXVLQDFFRUGDQFHZLWKWKLV/2$DQGWKHSDUWLHV¶$JUHHPHQWRQD
         signing bonus; provided, that Crewmembers on a System Seniority
         List who are not part of the craft or class of Pilots or Flight Engineers
         ( i.e., Management Crewmembers Letter of Agreement Dated
         October 20, 2009 and all other managers identified by the parties)
         are not eligible for payment of a signing bonus nor shall their
         longevity be recognized in determining allocation of the signing
         bonus.
      2. The $10.5 million signing bonus shall be allocated as follows:
               A. Each Crewmember eligible for payment of a signing bonus
                  shall have his longevity calculated based upon his Accrued
                  0RQWKVRI/RQJHYLW\³$FFUXHG0RQWKVRI/RQJHYLW\´PHDQV
                  the sum of all months of longevity on the seniority lists. The
                  Company shall provide the Union with an updated longevity
                  accrual list within seven (7) days of the effective date of this
                  LOA. The Company will send an email to all eligible, active

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                   crewmembers and a letter to all eligible, inactive
                   crewmembers setting forth the procedures for protesting
                   accumulated months of longevity. The procedures set forth
                   in the aforementioned email/letter have been agreed to by
                   the parties and appear in Appendix A of this LOA.
               B. Once each CreZPHPEHU¶VORQJHYLW\KDVEHHQGHWHUPLQHGDW
                  the end of the above-mentioned protest period, then the
                  aggregate months of longevity for all eligible Crewmembers
                  shall be determined. The determination shall be final and
                  binding for purposes of this LOA
               C. To determine the amount that each month of a
                  &UHZPHPEHUV¶ DFFUXHG ORQJHYLW\ LV ZRUWK ZLWK UHVSHFW WR
                  allocating the signing bonus, $10.5 million shall then be
                  divided by the aggregate of months of longevity for all
                  Crewmembers combined, as determined in subparagraph B.
                  above.
               D. Each eligible Crewmember shall then be paid a signing
                  bonus equal to his months of longevity, as determined in
                  subparagraph A. above, multiplied by the amount that each
                  month of Crewmember longevity is worth, as determined in
                  subparagraph C. above. The end date for calculating each
                  Crewmembers signing bonus will be September 7, 2011.
      3. Signing bonuses will be paid on the second pay period following the
         effective date of the Agreement. Payment shall not be made in the
         same check or deposit as normal wages, but shall be made by
         separate check or deposit. Signing bonuses are subject to all
         applicable taxes and withholdings.
      4. If Crewmembers are entitled to payment of $1.5 million (or any
         portion thereof) under Paragraph 8(h) of the Implementation LOA,
         the procedures set forth in this LOA shall govern payment.
      5. This LOA is enforceable through Section 20 and Section 21 of the
         Agreement.
      IN WITNESS WHEREOF, the parties hereto have signed this Letter of
      Agreement on this 17 day of September, 2011.


      FOR ATLAS AIR, INC.:                   FOR INTERNATIONAL
                                             BROTHERHOOD OF
                                             TEAMSTERS,
                                             AIRLINE DIVISION:


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      _____________________________         ____________________________
      John W. Dietrich,                     David Bourne,
      Executive Vice President and Chief    Director,
      Operator Officer                      Teamsters Airline Division

      _____________________________         ____________________________
      Jeffrey D. Carlson,                   Joe Muckle, President,
      Vice President of Flight Operations   APA Teamsters Local 1224

      _____________________________         ____________________________
      Scott K. Lindsay,                     Robert Kirchner,
      Senior Director, Crew Resources &     TEC Co-Chairman
      Contract Administration
                                            ____________________________
                                            Stephen Richards,
                                            TEC Co-Chairman

                                            ____________________________
                                            Robert Ulrich,
                                            Negotiating Committee Chairman

                                            ____________________________
                                            Daniel Wells,
                                            Negotiating Committee

                                            ____________________________
                                            William Holcomb,
                                            Negotiating Committee

                                            ____________________________
                                            Paul Kvernplassen,
                                            Negotiating Committee




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